Case 3:24-cv-00707-L       Document 38       Filed 04/15/24      Page 1 of 276     PageID 1268



                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 BRAEMAR HOTELS & RESORTS INC.,

                                         Plaintiff,

                            -against-                              Civil Action No. 3:24-cv-707-L

 BLACKWELLS CAPITAL LLC, BLACKWELLS
 ONSHORE I, LLC, BLACKWELLS HOLDING CO. LLC,
 VANDEWATER CAPITAL HOLDINGS, LLC,
 BLACKWELLS ASSET MANAGEMENT LLC, BW
 COINVEST MANAGEMENT I LLC, JASON AINTABI,
 MICHAEL CRICENTI, JENNIFER M. HILL, BETSY L.
 MCCOY, AND STEVEN J. PULLY,

                                         Defendants.




              APPENDIX TO BRAEMAR HOTELS & RESORTS INC.’S
         REPLY IN SUPPORT OF ITS MOTION FOR EXPEDITED DISCOVERY
                     AND EXPEDITED BRIEFING SCHEDULE

        Pursuant to Local Rule 7.1(i), Plaintiff Braemar Hotels & Resorts Inc. (“Braemar”)

 respectfully submits this Appendix to its Reply in Support of Its Motion for Expedited Discovery

 and Expedited Briefing Schedule.


                              Document                                 Appendix Pages

  Declaration of Adam K. Magid dated April 15, 2024                    App. 1-3

      Exhibit A: April 3, 2024 Definitive Proxy Statement filed by
      Blackwells Capital LLC, Blackwells Onshore I LLC, Jason
      Aintabi, Michael Cricenti, Jennifer M. Hill, Betsy L. McCoy,
      and Steven J. Pully                                          App. 4-43

      Exhibit B: April 10, 2024 Press Release Issued by Blackwells
      Capital LLC                                                  App. 44-51

    APPENDIX TO PLAINTIFF BRAEMAR HOTELS & RESORTS INC.’S REPLY IN
    SUPPORT OF ITS MOTION FOR EXPEDITED DISCOVERY AND EXPEDITED
                          BRIEFING SCHEDULE
Case 3:24-cv-00707-L      Document 38       Filed 04/15/24     Page 2 of 276       PageID 1269




                             Document                                Appendix Pages

      Exhibit C: March 26, 2024 Supplement to Blackwells Capital
      LLC’s Notice of Intention to Nominate Individuals for Election
      as Directors and to Submit Business Proposals for Stockholder
      Consideration at the 2024 Annual Meeting of Stockholders of
      Braemar Hotels & Resorts Inc.                                  App. 52-154

      Exhibit D: April 11, 2024 Complaint for Declaratory and
      Injunctive Relief filed by Blackwells Capital LLC in Blackwells
      Capital LLC v. Braemar Hotels & Resorts Inc., et al., Case 3:24-
      cv-984-N                                                         App. 155-239

      Exhibit E: May 19, 2020 Form 8-K filed with the SEC by
      Braemar Hotels & Resorts Inc.                          App. 240-43

      Exhibit F: May 11, 2021 Form 8-K filed with the SEC by
      Braemar Hotels & Resorts Inc.                          App. 244-47

      Exhibit G: May 11, 2022 Form 8-K filed with the SEC by
      Braemar Hotels & Resorts Inc.                          App. 248-52

      Exhibit H: May 10, 2023 Form 8-K filed with the SEC by
      Braemar Hotels & Resorts Inc.                          App. 253-57

      Exhibit I: Excerpt of March 28, 2024 Proxy Statement filed
      with the SEC by Braemar Hotels & Resorts Inc.              App. 258-61

  Declaration of Paul Schulman dated April 15, 2024                  App. 262-63




   APPENDIX TO PLAINTIFF BRAEMAR HOTELS & RESORTS INC.’S REPLY IN
   SUPPORT OF ITS MOTION FOR EXPEDITED DISCOVERY AND EXPEDITED
                         BRIEFING SCHEDULE
Case 3:24-cv-00707-L     Document 38      Filed 04/15/24    Page 3 of 276   PageID 1270




 Dated: April 15, 2024                        Respectfully submitted,



 CADWALADER, WICKERSHAM & TAFT                AKIN GUMP STRAUSS HAUER & FELD
 LLP, Of Counsel                              LLP


 Adam K. Magid (Admitted Pro Hac Vice)       /s/ M. Scott Barnard
 New York Bar No. 4652202                    M. Scott Barnard
 Samuel G. Mann (Admitted Pro Hac Vice)      Texas Bar No. 24001690
 New York Bar No. 5233036                    Tabitha M. Kempf
 Sanders Keyes Gilmer (Admitted Pro Hac      Texas Bar No. 24139777
 Vice)                                       2300 N. Field Street
 D.C. Bar No. 90019265                       Ste. 1800
 200 Liberty Street                          Dallas, TX 75201
 New York, NY 10281                          Telephone: (214) 969-4299
 Telephone: (212) 504-6000                   Facsimile: (214) 969-4343
 Facsimile: (212) 406-6666                   Email: sbarnard@akingump.com
 Email: adam.magid@cwt.com                           tkempf@akingump.com
        samuel.mann@cwt.com
        keyes.gilmer@cwt.com
                                              ATTORNEYS FOR PLAINTIFF




   APPENDIX TO PLAINTIFF BRAEMAR HOTELS & RESORTS INC.’S REPLY IN
   SUPPORT OF ITS MOTION FOR EXPEDITED DISCOVERY AND EXPEDITED
                         BRIEFING SCHEDULE
Case 3:24-cv-00707-L       Document 38         Filed 04/15/24     Page 4 of 276      PageID 1271



                                 CERTIFICATE OF SERVICE

        Undersigned counsel certifies that on April 15, 2024, a true and correct copy of the

 foregoing Appendix to Braemar Hotels & Resorts Inc.’s Reply in Support of Its Motion for

 Expedited Discovery and Expedited Briefing Schedule was filed via the Court’s CM/ECF filing

 system and served on all counsel of record.


                                                             /s/ M. Scott Barnard
                                                             M. Scott Barnard




    APPENDIX TO PLAINTIFF BRAEMAR HOTELS & RESORTS INC.’S REPLY IN
    SUPPORT OF ITS MOTION FOR EXPEDITED DISCOVERY AND EXPEDITED
                          BRIEFING SCHEDULE
 Case 3:24-cv-00707-L        Document 38        Filed 04/15/24   Page 5 of 276     PageID 1272

                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


BRAEMAR HOTELS & RESORTS INC.,

                                         Plaintiff,

                           -against-                             Civil Action No. 3:24-cv-707-L

BLACKWELLS CAPITAL LLC, BLACKWELLS
ONSHORE I, LLC, BLACKWELLS HOLDING CO. LLC,
VANDEWATER CAPITAL HOLDINGS, LLC,
BLACKWELLS ASSET MANAGEMENT LLC, BW
COINVEST MANAGEMENT I LLC, JASON AINTABI,
MICHAEL CRICENTI, JENNIFER M. HILL, BETSY L.
MCCOY, AND STEVEN J. PULLY,

                                         Defendants.




                          DECLARATION OF ADAM K. MAGID

       My name is Adam K. Magid. I am over 21 years old, and the information contained in this

Declaration is based upon my personal knowledge.

              1.      I am a Partner of the law firm Cadwalader, Wickersham & Taft LLP

(“Cadwalader”). I represent Braemar Hotels & Resorts Inc. (“Braemar”) in this matter. I

respectfully submit this Declaration to place before the Court certain materials referenced in

Braemar’s Reply in Support of Its Motion for Expedited Discovery and Expedited Briefing

Schedule, filed concurrently herewith.

              2.      A true and correct copy of a definitive proxy statement filed with the

Securities and Exchange Commission (“SEC”) on April 3, 2024 by Blackwells Capital LLC

(“Blackwells”), Blackwells Onshore I LLC, Jason Aintabi, Michael Cricenti, Jennifer M. Hill,




                                               -1-

                                                                                                  APP.001
Case 3:24-cv-00707-L           Document 38         Filed 04/15/24     Page 6 of 276      PageID 1273

Betsy L. McCoy, and Steven J. Pully (collectively, the “Blackwells Defendants”) is attached to

my Declaration as Exhibit A and is incorporated by reference.

               3.        A true and correct copy of a press release issued by Blackwells on April 10,

2024 titled Blackwells Files Definitive Proxy Statement for Braemar Hotels & Resorts Inc.’s 2024

Annual Meeting is attached to my Declaration as Exhibit B and is incorporated by reference. The

press    release    is     publicly    available     at   https://www.globenewswire.com/fr/news-

release/2024/04/10/2860659/0/en/Blackwells-Files-Definitive-Proxy-Statement-for-Braemar-

Hotels-Resorts-Inc-s-2024-Annual-Meeting.html.

               4.        A true and correct copy of Blackwells’ “Supplement to Notice of Intention

to Nominate Individuals for Election as Directors and to Submit Business Proposals for

Stockholder Consideration at the 2024 Annual Meeting of Stockholders of Braemar Hotels &

Resorts Inc.,” dated March 26, 2024, is attached to my Declaration as Exhibit C and is

incorporated by reference.

               5.        A true and correct copy of Complaint for Declaratory and Injunctive Relief

filed by Blackwells in the U.S. District Court for the Northern District of Texas on April 11, 2024

in the action captioned, Blackwells Capital LLC v. Braemar Hotels & Resorts Inc., et al., Case

3:24-cv-00894-N, is attached to my Declaration as Exhibit D and is incorporated by reference.

               6.        A true and correct copy of a Form 8-K filed by Braemar with the SEC on

May 19, 2020 is attached to my Declaration as Exhibit E and is incorporated by reference.

               7.        A true and correct copy of a Form 8-K filed by Braemar with the SEC on

May 11, 2021 is attached to my Declaration as Exhibit F and is incorporated by reference.

               8.        A true and correct copy of a Form 8-K filed by Braemar with the SEC on

May 11, 2022 is attached to my Declaration as Exhibit G and is incorporated by reference.




                                                   -2-

                                                                                                        APP.002
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 7 of 276   PageID 1274




                                                                               App. 003
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 8 of 276   PageID 1275




                        EXHIBIT A
Case 3:24-cv-00707-L         Document 38             Filed 04/15/24            Page 9 of 276              PageID 1276




 DEFC14A 1 ea0202363-02.htm PROXY STATEMENT

                                                     UNITED STATES
                                         SECURITIES AND EXCHANGE COMMISSION
                                                  Washington, D.C. 20549
                                                    _________________
                                                            SCHEDULE 14A
                                                           _________________
                                              Proxy Statement Pursuant to Section 14(a) of
                                                  the Securities Exchange Act of 1934

            Filed by the Registrant                    ☐
            Filed by a Party other than the Registrant ☒

            Check the appropriate box:

            ☐    Preliminary Proxy Statement
            ☐    Confidential, for Use of the Commission Only (as permitted by Rule 14a-6(e)(2))
            ☒    Definitive Proxy Statement
            ☐    Definitive Additional Materials
            ☐    Soliciting Material under §240.14a-12


                                      Braemar Hotels & Resorts Inc.
                                           (Name of Registrant as Specified In Its Charter)

                                                      Blackwells Capital LLC
                                                    Blackwells Onshore I LLC
                                                           Jason Aintabi
                                                          Michael Cricenti
                                                          Jennifer M. Hill
                                                          Betsy L. McCoy
                                                           Steven J. Pully
                               (Name Of Person(s) Filing Proxy Statement, if Other Than the Registrant)

            Payment of Filing Fee (Check all boxes that apply):

            ☒    No fee required.

            ☐    Fee paid previously with preliminary materials.

            ☐    Fee computed on table in exhibit required by Item 25(b) per Exchange Act Rules 14a-6(i)(1) and 0-11.




                                                                                                                        APP.004
Case 3:24-cv-00707-L            Document 38              Filed 04/15/24             Page 10 of 276             PageID 1277


                                           BLACKWELLS CAPITAL LLC

                                                      April 3, 2024
     Dear Fellow Stockholder:

            Blackwells Capital LLC (“Blackwells Capital”), Blackwells Onshore I LLC (“Blackwells Onshore”) and
     Jason Aintabi (collectively with Blackwells Onshore and Blackwells Capital, “Blackwells” or “we”), together
     with the other participants in this solicitation, own an aggregate of 752,092 shares of common stock, $0.01 par
     value per share (the “Common Stock”), of Braemar Hotels & Resorts Inc., a Maryland corporation (“Braemar”
     or the “Corporation”). For the reasons set forth in the attached Proxy Statement, we believe changes to the
     composition of the Board of Directors of the Corporation (the “Board”) and to the Corporation’s governance
     policies are necessary in order to help ensure that the Corporation is operating in a manner consistent with the
     best interests of all stockholders. The attached Proxy Statement and the enclosed WHITE Universal Proxy Card
     are first being made available to stockholders on April 3, 2024.

           We are seeking your support at the Corporation’s 2024 Annual Meeting of Stockholders, which is
     scheduled to be held at 14185 Dallas Parkway, Suite 1200, Dallas, Texas 75254 on May 15, 2024 at 9:00 A.M.
     Central Daylight Time (including any other meeting of stockholders held in lieu thereof, and adjournments,
     postponements, reschedulings or continuations thereof, the “Annual Meeting”). We are soliciting proxies from
     the Corporation’s stockholders on the following matters:
           •    The election of each of our director nominees — Michael Cricenti, Jennifer M. Hill, Betsy
                L. McCoy and Steven J. Pully (collectively, the “Blackwells Nominees”) — to the Board, each to
                serve as a director on the Board for a one-year term or until his or her respective successor is duly
                elected and qualified;

           •    Blackwells’ non-binding stockholder proposal to urge the Board to amend the Corporation’s Fifth
                Amended and Restated Bylaws, as amended (the “Bylaws”) to remove the Overreaching Advance
                Notice Provision (as defined in the Proxy Statement) (Proposal 2);

           •    Blackwells’ non-binding stockholder proposal to urge the Board to amend the Bylaws to preclude
                any current or former employee, director, officer, or control person of the Corporation or Ashford
                (as defined in the Proxy Statement) and Ashford’s affiliates from serving as the Corporation’s
                chairman of the Board (Proposal 3);
           •    Blackwells’ non-binding stockholder proposal to require the Board to disclose all extraordinary
                transaction proposals made by stockholders, affiliates and third parties during the two most recently
                completed calendar years and the terms of those proposed transactions (Proposal 4);

           •    Blackwells’ non-binding stockholder proposal to require the Board to disclose all compensation
                paid by the Corporation to members of the Bennett family, The Dallas Express and employees,
                directors or agents of The Dallas Express, including Louis Darrouzet (Proposal 5);

           •    The Corporation’s proposal to approve, on an advisory basis, executive compensation (Proposal 6);
                and
           •    The Corporation’s proposal to ratify the appointment of BDO USA, P.C. as the Corporation’s
                independent registered public accountants for fiscal year 2024 (Proposal 7).

           Together, Proposals 2, 3, 4 and 5 are referred to as the “Blackwells Proposals.” In addition, stockholders
     may consider such other matters as may properly come before the Annual Meeting and any postponement or
     adjournment thereof.

           We further believe that the Blackwells Proposals will contribute to the Corporation’s continued growth
     and governance efforts, ensuring the future success of the Corporation. We urge you to carefully consider the
     information contained in the attached Proxy Statement and then support our efforts by signing, dating and
     returning the enclosed WHITE Universal Proxy Card today.
           Pursuant to the universal proxy rules adopted by the Securities and Exchange Commission (the “SEC”),
     the enclosed WHITE Universal Proxy Card also includes the names of the Corporation’s nominees. As
     Blackwells is using a “universal” proxy card, there is no need to use the Corporation’s gold proxy card or voting
     instruction form,




                                                                                                                         APP.005
Case 3:24-cv-00707-L             Document 38              Filed 04/15/24             Page 11 of 276             PageID 1278




      regardless of how you wish to vote. We ask that you only cast your votes “FOR” Mr. Cricenti, Ms. Hill, Ms.
      McCoy and Mr. Pully and “WITHHOLD” your votes on each of the Corporation’s nominees. We also ask you
      to vote “FOR” the non-binding Blackwells Proposals, which would allow the Board to restore proper
      governance, limit the appearance of self-dealing appointments and transactions and increase corporate
      transparency.
            Unfortunately, the Board has again taken what we believe to be a baseless and unfounded position in what
      appears to be an effort to entrench itself and reject legitimate stockholder feedback. The Board has purported to
      reject as invalid our nominations to elect the Blackwells Nominees and determined that our notice is
      purportedly non-compliant with the Bylaws and defective. On March 24, 2024, the Corporation brought suit
      against Blackwells, Blackwells Onshore I, LLC, Blackwells Holding Co. LLC, Vandewater Capital Holdings,
      LLC, Blackwells Asset Management LLC, BW Coinvest Management I LLC, Jason Aintabi and the Blackwells
      Nominees in the United States District Court for the Northern District of Texas (the “District Court”), seeking
      injunctive relief against solicitation of proxies by Blackwells and a declaratory judgment that Blackwells’
      nomination is invalid due to Blackwells’ alleged violations of the Corporation’s Bylaws, and, as a result,
      Blackwells’ slate of purported nominees is invalid and ineligible to stand for election by the Corporation’s
      stockholders. Ultimately, we believe the Corporation’s claims have no merit. The outcome of the Corporation’s
      lawsuit and any related litigation may affect our ability to deliver proxies submitted to us on the enclosed
      WHITE Universal Proxy Card.

            As the Corporation has disclosed in its proxy statement, if Blackwells’ nominations and proposals are
      determined to be valid by the District Court, the Corporation will need to furnish new proxy cards to
      stockholders, including the Blackwells Nominees and the Blackwells Proposals. If you vote on the
      Corporation’s gold proxy card accompanying its proxy statement and any subsequent litigation results in the
      conclusion that our nominations and proposals are valid, your votes on the Corporation’s gold proxy card will
      not be recognized or tabulated at the Annual Meeting and you will need to vote again for your vote to be
      counted. Stockholders are urged to use the WHITE Universal Proxy Card only, which contains the names of all
      directors up for election at the Annual Meeting, to ensure their vote is counted at the Annual Meeting.

            Stockholders should refer to the Corporation’s preliminary proxy statement, filed with the SEC on April 2,
      2024, and the Corporation’s definitive proxy statement, when available, for the names, backgrounds,
      qualifications and other information concerning the Corporation’s nominees. You may access the Corporation’s
      proxy statement without cost on the SEC’s website. There is no assurance that any of the Corporation’s
      nominees will serve as directors if one or more of the Blackwells Nominees are elected.
             If you have any questions or require any assistance with voting your shares, please contact our proxy
      solicitor, MacKenzie Partners, Inc., at its address and toll-free numbers listed below.

                                                                      Thank you for your support,

                                                                      /s/ Jason Aintabi
                                                                      Jason Aintabi
                                                                      Founder and Chief Investment Officer
                                                                      Blackwells Capital LLC

            If you have any questions or need assistance in voting your WHITE Universal Proxy Card, or need
      additional copies of Blackwells’ proxy materials, please contact:
                                                   MacKenzie Partners, Inc.
                                                  1407 Broadway, 27th Floor
                                                     New York, NY 10018
                                               Call Toll Free: 1-800-322-2885
                                             Email: proxy@mackenziepartners.com




                                                                                                                          APP.006
Case 3:24-cv-00707-L            Document 38             Filed 04/15/24             Page 12 of 276              PageID 1279


                                 2024 ANNUAL MEETING OF STOCKHOLDERS
                                                  OF
                                     BRAEMAR HOTELS & RESORTS INC.

                                               _____________________

                                              PROXY STATEMENT
                                                     OF
                                           BLACKWELLS CAPITAL LLC
                                               _____________________

         PLEASE SIGN, DATE AND RETURN THE ENCLOSED WHITE UNIVERSAL PROXY CARD
                                         TODAY

            Blackwells Capital LLC (“Blackwells Capital”), Blackwells Onshore I LLC (“Blackwells Onshore”) and
     Jason Aintabi (collectively with Blackwells Onshore and Blackwells Capital, “Blackwells” or “we”), together
     with the other participants in this solicitation, own an aggregate of 752,092 shares of common stock, $0.01 par
     value per share (the “Common Stock”), of Braemar Hotels & Resorts Inc., a Maryland corporation (“Braemar”
     or the “Corporation”). For the reasons set forth in the attached Proxy Statement, we believe changes to the
     composition of the Board of Directors of the Corporation (the “Board”) and to the Corporation’s governance
     policies are necessary in order to help ensure that the Corporation is operating in a manner consistent with the
     best interests of all stockholders. The attached Proxy Statement and the enclosed WHITE Universal Proxy Card
     are first being made available to stockholders on or about April 3, 2024.
           We are seeking your support at the Corporation’s 2024 Annual Meeting of Stockholders, which is
     scheduled to be held at 14185 Dallas Parkway, Suite 1200, Dallas, Texas 75254 on May 15, 2024 at 9:00 A.M.
     Central Daylight Time (including any other meeting of stockholders held in lieu thereof, and adjournments,
     postponements, reschedulings or continuations thereof, the “Annual Meeting”). We are soliciting proxies from
     the Corporation’s stockholders on the following matters:

          •     “FOR” each of our director nominees — Michael Cricenti, Jennifer M. Hill, Betsy L. McCoy and
                Steven J. Pully (collectively, the “Blackwells Nominees”) — to the Board, each to serve as a
                director on the Board for a one-year term or until his or her respective successor is duly elected and
                qualified;

          •     “FOR” Blackwells’ non-binding stockholder proposal to urge the Board to amend the Bylaws to
                remove the Overreaching Advance Notice Provision (as defined in the Proxy Statement)
                (Proposal 2);
          •     “FOR” Blackwells’ non-binding stockholder proposal to urge the Board to amend the Bylaws to
                preclude any current or former employee, director, officer, or control person of the Corporation or
                Ashford (as defined in the Proxy Statement) and Ashford’s affiliates from serving as the
                Corporation’s chairman of the Board (Proposal 3);

          •     “FOR” Blackwells’ non-binding stockholder proposal to require the Board to disclose all
                extraordinary transaction proposals made by stockholders, affiliates and third parties during the two
                most recently completed calendar years and the terms of those proposed transactions (Proposal 4);

          •     “FOR” Blackwells’ non-binding stockholder proposal to require the Board to disclose all
                compensation paid by the Corporation to members of the Bennett family, The Dallas Express and
                employees, directors or agents of The Dallas Express, including Louis Darrouzet (Proposal 5);
          •     “AGAINST” the Corporation’s proposal to approve, on an advisory basis, executive compensation
                (Proposal 6); and

          •     “FOR” the Corporation’s proposal to ratify the appointment of BDO USA, P.C. as the Corporation’s
                independent registered public accountants for fiscal year 2024 (Proposal 7).

           Together, Proposals 2, 3, 4 and 5 are referred to as the “Blackwells Proposals.” In addition, stockholders
     may consider such other matters as may properly come before the Annual Meeting and any postponement or
     adjournment thereof.

                                                            1



                                                                                                                         APP.007
Case 3:24-cv-00707-L             Document 38              Filed 04/15/24              Page 13 of 276              PageID 1280


            We urge you to carefully consider the information contained in this Proxy Statement and support our
     efforts by signing, dating and returning the enclosed WHITE Universal Proxy Card today.
            Pursuant to the universal proxy adopted by the Securities and Exchange Commission (the “SEC”), the
     enclosed WHITE Universal Proxy Card also includes the names of the Corporation’s nominees. As Blackwells
     is using a “universal” proxy card, there is no need to use the Corporation’s gold proxy card or voting instruction
     form, regardless of how you wish to vote. We ask that you only cast your votes “FOR” Mr. Cricenti, Ms. Hill,
     Ms. McCoy and Mr. Pully and “WITHHOLD” your votes on each of the Corporation’s nominees. We also ask
     you to vote “FOR” the non-binding Blackwells Proposals, which would allow the Board to restore proper
     governance, limit the appearance of self-dealing appointments and transactions and increase corporate
     transparency.

           Stockholders should refer to the Corporation’s proxy statement, filed with the SEC on April 2, 2024, for
     the names, backgrounds, qualifications and other information concerning the Corporation’s nominees. You may
     access the Corporation’s proxy statement without cost on the SEC’s website. There is no assurance that any of
     the Corporation’s nominees will serve as directors if one or more of the Blackwells Nominees are elected.

            On March 24, 2024, the Corporation brought suit against Blackwells, Blackwells Onshore I, LLC,
     Blackwells Holding Co. LLC, Vandewater Capital Holdings, LLC, Blackwells Asset Management LLC, BW
     Coinvest Management I LLC, Jason Aintabi and the Blackwells Nominees in the United States District Court
     for the Northern District of Texas (the “District Court”), seeking injunctive relief against solicitation of proxies
     by Blackwells and a declaratory judgment that Blackwells’ nomination is invalid due to Blackwells’ alleged
     violations of the Corporation’s Bylaws, and, as a result, Blackwells’ slate of purported nominees is invalid and
     ineligible to stand for election by the Corporation’s stockholders. Ultimately, we believe the Corporation’s
     claims have no merit. The outcome of the Corporation’s lawsuit and any related litigation may affect our ability
     to deliver proxies submitted to us on the enclosed WHITE Universal Proxy Card.
           As the Corporation has disclosed in its proxy statement, if Blackwells’ nominations and proposals are
     determined to be valid by the District Court, the Corporation will need to furnish new proxy cards to
     stockholders including the Blackwells Nominees and the Blackwells Proposals. If you vote on the Corporation’s
     gold proxy card accompanying its proxy statement and any subsequent litigation results in the conclusion that
     our nominations and proposals are valid, your votes on the Corporation’s gold proxy card will not be recognized
     or tabulated at the Annual Meeting and you will need to vote again for your vote to be counted. Stockholders
     are urged to use the WHITE Universal Proxy Card only, which contains the names of all directors up for
     election at the Annual Meeting, to ensure their vote is counted at the Annual Meeting.

            If you have already voted on the Corporation’s gold proxy card, you have every right to change your vote
     by (i) signing, dating and returning a later dated WHITE Universal Proxy Card, (ii) voting via the Internet, by
     following the instructions on the WHITE Universal Proxy Card, or (iii) voting at the Annual Meeting.

          If your shares are registered in more than one name, the WHITE Universal Proxy Card should be signed
     and dated by all such persons to ensure that all shares are voted for each of the Blackwells Nominees and the
     Blackwells Proposals.
          This Proxy Statement is soliciting proxies to elect the Blackwells Nominees and for the Blackwells
     Proposals. See “Voting and Proxy Procedures” below for additional information.

           The Corporation has set the close of business on March 14, 2024 as the Record Date (the “Record Date”)
     for determining stockholders entitled to notice of and to vote at the Annual Meeting. Stockholders of record at
     the close of business on the Record Date will be entitled to vote at the Annual Meeting. According to the
     Corporation, as of the Record Date, there was an aggregate of 84,453,761 shares of voting stock outstanding,
     consisting of 66,520,711 shares of Common Stock, 16,158,870 shares of Series E Preferred Stock and
     1,774,180 shares of Series M Preferred Stock. The principal executive offices of the Corporation are located at
     14185 Dallas Parkway, Suite 1200, Dallas, Texas 75254. Holders of record of shares on the Record Date are
     urged to submit the WHITE Universal Proxy Card, even if such shares have been sold after that date. Each
     share of Common Stock and preferred stock is entitled to one vote at the Annual Meeting.

           If you have any questions or need assistance in voting your WHITE Universal Proxy Card, or need
     additional copies of Blackwells’ proxy materials, please contact MacKenzie Partners, Inc., by phone at 1-800-
     322-2885 (toll-free for stockholders) or 212-929-5500 (call collect for banks, brokers, trustees and other
     nominees), or by email at proxy@mackenziepartners.com.

                                                              2



                                                                                                                            APP.008
Case 3:24-cv-00707-L            Document 38            Filed 04/15/24            Page 14 of 276             PageID 1281




           The solicitation is being made by Blackwells, Mr. Cricenti, Ms. Hill, Ms. McCoy and Mr. Pully, and not
     on behalf of the Board or management of the Corporation. Other than as described in this Proxy Statement, we
     are not aware of any other matters to be brought before the Annual Meeting. Should other matters, which we are
     not made aware of within a reasonable time before this solicitation, be brought before the Annual Meeting, the
     persons named as proxies in the enclosed WHITE Universal Proxy Card will vote on such matters in their
     discretion.
        BLACKWELLS URGES YOU TO SIGN, DATE AND RETURN THE WHITE UNIVERSAL PROXY
     CARD “FOR” EACH OF THE BLACKWELLS NOMINEES AND THE BLACKWELLS PROPOSALS.

          YOU MAY HAVE ALREADY RECEIVED, OR WILL SOON RECEIVE, A PROXY CARD FROM
     THE CORPORATION. PLEASE RETURN ONLY THE ENCLOSED WHITE UNIVERSAL PROXY
     CARD AND DO NOT RETURN ANY CORPORATION PROXY CARD UNDER ANY
     CIRCUMSTANCES. WE URGE YOU TO DISREGARD AND NOT TO RETURN ANY CORPORATION
     PROXY CARD AND RETURN THE WHITE UNIVERSAL PROXY CARD. ONLY THE LATEST DATED
     PROXY CARD YOU SUBMIT COUNTS. EVEN IF YOU RETURN THE CORPORATE PROXY CARD
     MARKED “WITHHOLD” AS A PROTEST AGAINST THE CORPORATION’S NOMINEES, IT WILL
     REVOKE ANY PROXY CARD YOU MAY HAVE PREVIOUSLY SENT TO US. ANY PROXY MAY BE
     REVOKED AT ANY TIME PRIOR TO THE ANNUAL MEETING BY (I) DELIVERING A WRITTEN
     NOTICE OF REVOCATION OR A LATER DATED PROXY FOR THE ANNUAL MEETING, (II) VOTING
     VIA THE INTERNET BY FOLLOWING THE INSTRUCTIONS ON THE WHITE UNIVERSAL PROXY
     CARD OR (III) VOTING AT THE ANNUAL MEETING.

              Important Notice Regarding the Availability of Proxy Materials for the Annual Meeting

                     This Proxy Statement and WHITE Universal Proxy Card are available at
                                        www.viewourmaterial.com/BHR.

                                                           3




                                                                                                                      APP.009
Case 3:24-cv-00707-L             Document 38             Filed 04/15/24             Page 15 of 276              PageID 1282


                                      BACKGROUND OF THE SOLICITATION

           The summary below details certain events related to this solicitation by Blackwells, Mr. Cricenti, Ms. Hill,
     Ms. McCoy and Mr. Pully (collectively, the “Participants”). This summary does not purport to catalogue every
     event, action or circumstance committed by or related to the Participants in connection with this solicitation.
           Blackwells made its initial investment in the Corporation in 2023.

           On October 21, 2023, a representative of Blackwells sent the Corporation a letter calling for an immediate
     investigation of potential breaches of fiduciary duty and/or other wrongdoing related to mismanagement or self-
     dealing by members of the Board and/or management in connection with the Corporation’s relationship with
     Mr. Bennett and Ashford (as defined in Proposal 3) (the “Demand Letter”).

           On October 23, 2023, Charles Grand, on behalf of The Dallas Express, sent Jason Aintabi and certain
     representatives of Blackwells an e-mail asking about details regarding the Demand Letter. Shortly thereafter,
     Mr. Aintabi responded to Charles Grand asking whether Montgomery Bennett, a director of the Corporation,
     owns The Dallas Express.
           On October 26, 2023, a representative of Braemar responded to the Demand Letter, acknowledging
     receipt.

           On December 1, 2023, Blackwells submitted a proposal (the “Bid Letter”) for a negotiated transaction
     pursuant to which Blackwells would acquire 100% of the outstanding equity interests in the Corporation for
     $4.50 per share in all cash, a 114.3% premium to the Corporation’s then current share price, to unlock
     stockholder value and curtail mismanagement (the “Proposed Acquisition”).

           On December 6, 2023, outside legal counsel to the Corporation sent a letter to Blackwells that did not
     address the terms of the Proposed Acquisition but instead requested extensive information regarding Blackwells
     and its financing (the “December 6 Letter”).
           On December 22, 2023, at the request of Blackwells, Blackwells’ outside legal counsel sent a letter in
     response to the December 6 Letter, responding to certain questions, noting that Blackwells would provide
     additional confidential information about its financing sources and thoughts regarding the termination fee owed
     to Ashford Inc. in connection with the Proposed Acquisition after receiving confirmation that the Board is
     interested in engaging in a discussion regarding the Proposed Acquisition, and emphasizing Blackwells’ desire
     to work collaboratively with the Board to discuss and advance the Proposed Acquisition.

          On December 27, 2023, outside legal counsel for Mr. Aintabi and Blackwells sent a cease and desist letter
     to The Dallas Express with respect to certain articles published by The Dallas Express that contained
     defamatory statements and demanded that The Dallas Express retract all claims made in such article.

           On December 28, 2023, outside legal counsel for Mr. Aintabi and Blackwells sent a letter to
     representatives of the Corporation requesting information regarding, among other things, potential violations of
     the Federal Securities laws by Mr. Bennett, the nature of any relationship between the Corporation and The
     Dallas Express, the monetary relationship between the Corporation and The Dallas Express and the disclosure
     of information from the Corporation to The Dallas Express (the “Information Request Letter”).
           On January 2, 2024, outside legal counsel to the Corporation responded to the December 22, 2023 letter
     by reiterating that the Board would not respond to the Bid Letter until it received responses to all of the
     questions included in the December 6 Letter and that, based on the information provided by Blackwells, the
     Board did not view the Proposed Acquisition as actionable.

          Also on January 2, 2024, following what Blackwells perceived as a stubborn failure on the part of the
     Board to engage constructively, Blackwells sent a letter to the Corporation requesting a copy of the
     Corporation’s form of written questionnaire and any other exhibits, forms, agreements or other materials within
     the Corporation’s possession that the Corporation believes its Articles of Amendment and Restatement, as
     amended and supplemented, and/or Bylaws require to be completed by stockholders in connection with the
     submission of any notice of qualifying stockholder nominations or proposals.

           On January 9, 2024, the Corporation responded to the Demand Letter with a report from the Corporation’s
     review committee, law firm and a securities advisor, denying a breach of fiduciary duty and providing no
     further action pursuant to the Demand Letter’s suggestions.

                                                             4




                                                                                                                          APP.010
Case 3:24-cv-00707-L             Document 38              Filed 04/15/24             Page 16 of 276              PageID 1283




           Also on January 9, 2024, the Board approved the Fifth Amended and Restated Bylaws of the Corporation
     (the “Bylaws”), which included the Overreaching Advanced Notice Provision (as defined herein).
           On January 17, 2024, a representative of the Corporation sent Blackwells, via a Blackwells representative,
     the Corporation’s form of questionnaire.

         On January 24, 2024, a representative of Blackwells sent a letter to the Corporation reiterating the
     demands set forth in the Information Request Letter.

           On February 27, 2024, the Board passed a resolution adopting Amendment No. 1 to the Bylaws of the
     Corporation, which reduced the quorum required for any matter proposed by the Board at an annual meeting of
     stockholders from a majority to one-third of all votes entitled to be cast at such meeting.
            On March 10, 2024, Blackwells sent a letter (the “Nomination Notice”) by email to Mr. Rose announcing
     its intention to nominate the Blackwells Nominees for election to the Board at the Annual Meeting and to
     submit the Blackwells Proposals for consideration by the Corporation’s stockholders, each on a non-binding,
     advisory basis, at the Annual Meeting. The Nomination Notice also provided notice to the Corporation pursuant
     to Rule 14a-19 under the Securities Exchange Act of 1934, as amended (the “Exchange Act”) of Blackwells’
     intent to solicit proxies for the Blackwells Nominees from the holders of shares representing at least 67% of the
     voting power of shares entitled to vote on the election of directors in support of director nominees other than the
     Corporation’s nominees. The Nomination Notice was also delivered by mail to the principal offices of the
     Corporation on March 11, 2024. Among other things, Blackwells stated in the Nomination Notice that after
     engaging with the Corporation as described in this section, Blackwells withdrew any interest it had in pursuing
     the Proposed Acquisition or any similar transaction with the Corporation. Blackwells noted that it believed
     certain portions of the advance notice provisions contained in the Bylaws are invalid. Blackwells stated its
     investment intent with respect to the Corporation was, among other things, to influence the Corporation’s
     management or Board, which may include (1) nominating director candidates for election and submitting
     business proposals for consideration by stockholders at the Annual Meeting and future annual meetings of
     stockholders, (2) submitting proposals to effect the termination of any and all relationships between the
     Corporation and Ashford Inc. and its affiliates, (3) finding a suitable replacement external advisor, asset
     manager and provider of hotel management services and design and construction services and (4) investigating
     any relationships between the Corporation and The Dallas Express.

           Also on March 10, 2024, Blackwells sent a letter by email to Mr. Rose expressing its concern with the
     Corporation’s latest amendments to its Bylaws and reiterating its willingness to have an ongoing constructive
     dialogue with the Corporation.

            On March 21, 2024, a representative of the Corporation provided representatives of Blackwells with
     notice of the Corporation’s intent to nominate Monty J. Bennett, Stefani D. Carter, Candace Evans, Kenneth
     H. Fearn, Jr., Rebeca Odino-Johnson, Matthew D. Rinaldi, Richard J. Stockton and Abteen Vaziri to the Board
     at the Annual Meeting.
           On March 22, 2024, Blackwells filed a preliminary proxy statement with the SEC.

            On March 24, 2024, outside counsel for the Corporation sent a letter to Blackwells’ counsel informing it
     that the Corporation has rejected and disregarded Blackwells’ nominations.

          Also on March 24, 2024, the Corporation filed a complaint and motion for preliminary injunction in the
     United States District Court for the Northern District of Texas, Dallas Division (the “Federal Action”), against
     the Nominating Stockholder, Blackwells Onshore I, LLC, Blackwells Holding Co. LLC, Vandewater Capital
     Holdings, LLC, Blackwells Asset Management LLC, BW Coinvest Management I LLC, Jason Aintabi and the
     Blackwells Nominees in connection with the Nomination Notice submitted to the Corporation by Blackwells.
            On each of March 26, 2024, March 27, 2024 and March 28, 2024, Blackwells’ outside counsel sent a
     letter to the Corporation’s counsel supplementing certain information set forth in the Nomination Notice.

           On March 28, 2024, the Corporation filed a definitive proxy statement and definitive additional materials
     with the SEC.

                                                             5




                                                                                                                           APP.011
Case 3:24-cv-00707-L           Document 38             Filed 04/15/24             Page 17 of 276          PageID 1284




            On March 29, 2024, outside legal counsel for Blackwells sent an email to the Corporation’s counsel
     regarding its client’s improper filing of a definitive proxy statement on March 28, 2024, including a demand
     that the Corporation withdraw such proxy statement and file a preliminary proxy statement.
          On April 2, 2024, the Corporation filed a preliminary proxy statement with the SEC.

           Also on April 2, 2024, Blackwells’ outside counsel sent a letter to the Corporation’s counsel
     supplementing certain information set forth in the Nomination Notice.

          On April 3, 2024, Blackwells filed a definitive proxy statement with the SEC.

                                                           6




                                                                                                                    APP.012
Case 3:24-cv-00707-L             Document 38              Filed 04/15/24              Page 18 of 276               PageID 1285
                                           REASONS FOR THE SOLICITATION

             Blackwells has nominated four highly qualified Board candidates — Mr. Cricenti, Ms. Hill, Ms. McCoy
       and Mr. Pully — each of whom is prepared and committed to objectively evaluate opportunities for the
       Corporation to help unlock value for all stockholders. The professionals that Blackwells has nominated have
       extensive leadership experience in capital allocation, real property law, real estate and corporate governance. If
       elected, the Blackwells Nominees have the necessary background and expertise to objectively evaluate the
       Corporation’s performance, adjust the Corporation’s strategy and enhance the Corporation’s governance
       practices to align with the best interests of all stockholders. The Blackwells Nominees are independent of
       influence from the Corporation’s advisor and intend to fully review the Corporation’s business, assets, capital
       structure, capital allocation priorities, strategies, operations and policies to ensure that the Corporation is
       operating at optimal levels. As an investor in the Corporation, we are disappointed with the current management
       and Board and we believe that there is significant potential in the Corporation, but that potential can only be
       unlocked through transformative change. Blackwells’ commitment to transforming the Corporation is
       demonstrated by the Blackwells Proposals, which would allow the Board to restore proper governance, limit the
       appearance of self-dealing and increase corporate transparency. We believe these changes are necessary to
       provide stockholders with a Board that embodies the Corporation’s five guiding principles: “ethical, innovative,
       profitable, engaging and tenacious.”1

                              The Blackwells Nominees Align With the Needs of Stockholders

             Stockholders need a Board that is equipped to evolve and respond to changes — changes in the market,
       changes in consumer preferences and changes in technology. While the Board’s current makeup includes
       valuable skills and institutional knowledge, the current directors have acquiesced to poor governance practices
       and have permitted the Corporation’s management to entrench themselves at the expense of stockholder value.
       However, the Blackwells Nominees possess skills and experience that will enhance the Board’s qualifications.
       Each of Mr. Cricenti, Ms. Hill, Ms. McCoy and Mr. Pully are experienced in governance matters, executive
       leadership of companies and importantly, will each be independent directors, primed to drive stockholder
       returns.

                         The Current Board Has Presided Over Negative Returns for Stockholders
            The Corporation has underperformed significantly. Over the past one, three and five years, the
       Corporation’s stock is down 48.3%, 69.4% and 83.4%, respectively.2

                      The Corporation’s External Advisory Agreement is Off-Market and Self-Dealing

             The Corporation continues to spend significant amounts of money on what Blackwells believes is an off-
       market and self-dealing advisory agreement between the Corporation and its external manager, Ashford
       Hospitality Advisors LLC. Ashford Hospitality Advisors LLC (“Ashford LLC”), a subsidiary of Ashford Inc.,
       provides advisory services to the Corporation through this advisory agreement. All of the hotel properties in the
       Corporation’s portfolio are currently asset-managed by Ashford LLC. In addition, the Corporation does not have
       any employees, and all of the advisory services that might have been provided by employees are provided to the
       Corporation by Ashford LLC. Even the Corporation’s senior management team has been provided to the
       Corporation by Ashford LLC. Although the Corporation’s total stockholder return continues to be very
       poor — down 83.4% since March 2019 — the Corporation pays Ashford LLC handsomely for its management
       and administrative services. All the while, Monty J. Bennett, the Chairman of the Board, serves as Chief
       Executive Officer and Chairman of the Board of Directors of Ashford Inc. The Corporation has stated that
       pursuant to the advisory agreement, regardless of Ashford LLC’s performance and without consideration to the
       Corporation’s financial outlook, the total amount of fees and reimbursements paid to Ashford LLC “as a
       percentage of market capitalization will never be less than the average of internalized expenses of our industry
       peers” and may “greatly [exceed] the average of internalized expenses” of the Corporation’s industry peers.3
       This external advisory agreement, which has allowed exorbitant resources to be diverted away from the
       Corporation and its stockholders and to its external managers, Ashford Inc., its subsidiary Ashford LLC and
       Mr. Bennett, shamefully perverts the entire ethos of commercial agreements.

       ____________
       1    “Guiding Principles” of the Corporation as stated on the Corporation’s website.
       2    Yahoo Finance, as of March 21, 2024.
       3    See the Corporation’s Annual Report on Form 10-K for the fiscal year ending December 31, 2023 (“The aggregate
            amount of fees and expense reimbursements paid to our advisor will exceed the average of internalized expenses of
            our industry peers (as provided in our advisory agreement), as a percentage of total market capitalization. As a
            part of these fees, we must pay a minimum advisory fee to our advisor regardless of our performance.”) (emphasis
            in original).

                                                                7

                                                                                                                                APP.013
Case 3:24-cv-00707-L             Document 38              Filed 04/15/24             Page 19 of 276              PageID 1286




                                             Investors Deserve Transparency

           Mr. Bennett controls both the Corporation and Ashford Inc. on the one hand, and is the co-founder and
     publisher of The Dallas Express on the other. We believe this causes The Dallas Express to essentially function
     as an undisclosed public relations arm of the Corporation. This has allowed Mr. Bennett and The Dallas Express
     to disseminate false and misleading information to the Corporation’s investors, at the detriment of the
     Corporation’s stockholders. Further, the Corporation does not currently disclose all compensation, if any, paid to
     members of the Bennett family or to The Dallas Express.

                          The Current Board Continues to Severely Limit Stockholders’ Rights
            Blackwells believes that the Corporation’s corporate governance demonstrates that the Board’s focus is
     not on creating long-term value for the Corporation’s investors. The Corporation’s troubling governance
     practices include the Overreaching Advanced Notice Provision. On January 9, 2024, the Corporation amended
     Section 11(a)(3)(D) of Article I of its Bylaws. The new provision requires that in the event any stockholder or
     any of such stockholder’s “Proposed Nominees” (as such term is used in the Bylaws) or Stockholder Associated
     Persons has in the twenty-four months immediately preceding the date of the submission by such stockholder of
     a notice pursuant to Article I, Section 11 of the Bylaws, made a proposal to acquire control of the Corporation,
     all information relating to such stockholder, the Proposed Nominee or the Stockholder Associated Person, as
     applicable, that would be disclosed in any notices, forms or filings required by U.S. federal laws or the rules and
     regulations of any agency, department or other instrumentality of the U.S. federal government in connection
     with such direct or indirect acquisition would have to be included in any notice submitted under Article I,
     Section 11. This provision was adopted by an entrenched Board without a stockholder vote as an illegitimate
     effort to unduly restrict stockholders’ rights.

           We believe that this and certain other provisions in the Corporation’s Bylaws and Charter that are
     intended to have an anti-takeover effect demonstrate an unwillingness on the part of the Board and management
     to consider all options to create value for stockholders.

                                                             8




                                                                                                                           APP.014
Case 3:24-cv-00707-L              Document 38                Filed 04/15/24               Page 20 of 276                 PageID 1287


                                                           PROPOSAL 1

                                                  ELECTION OF DIRECTORS

             We are seeking your support at the Annual Meeting to elect our four highly qualified Blackwells
       Nominees. Each of the Blackwells Nominees has consented to serve as a nominee, being named as a nominee in
       this Proxy Statement and serve as a director, if elected. The information below concerning name, age and
       employment and material occupations, positions or offices of the Blackwells Nominees has been furnished by
       each of the Blackwells Nominees. Except as described in this Proxy Statement, none of the Blackwells
       Nominees beneficially owns any Common Stock.
            Each director elected will hold office until the next annual meeting of stockholders and until his or her
       successor is elected and qualified or, if sooner, until the director’s death, resignation or removal.

              Each of Mr. Cricenti, Ms. Hill, Ms. McCoy and Mr. Pully presently is, and if elected as a director of the
       Corporation, would, in our view, be an “independent director” within the meaning of (i) New York Stock
       Exchange (“NYSE”) listing standards applicable to board composition, (ii) Section 301 of the Sarbanes-Oxley
       Act of 2002, (iii) Item 407(a) of Regulation S-K of the rules and regulations of the SEC (“Regulation S-K”) and
       (iv) the Corporation’s Amended and Restated Corporate Governance Guidelines. No Blackwells Nominee is a
       member of the Corporation’s Audit, Compensation, Nominating/Corporate Governance or Related Party
       Transactions Committees.

              If elected, the Blackwells Nominees will represent four out of eight members of the Board, and therefore
       it is not guaranteed that they will be able to implement any actions that they may believe are necessary to
       enhance stockholder value.4 However, we believe the election of the Blackwells Nominees is an important step
       in the right direction for enhancing long-term value at the Corporation.

             We do not endorse any of the Corporation’s director nominees. You should refer to the Corporation’s
       proxy statement, available at no charge on the SEC’s website at http://www.sec.gov, for the names, background,
       qualifications and other information concerning the Corporation’s nominees.
             Proxies cannot be voted for a greater number of persons than the current size of the Board; however, we
       reserve the right to nominate additional person(s), in accordance with the Bylaws and applicable law, if the
       Corporation increases the size of the Board above its existing size or increases the number of directors whose
       terms expire at the Annual Meeting. Blackwells does not expect that any of the Blackwells Nominees will be
       unable to stand for election or for good cause will not serve as a director, but if any vacancy in the slate of the
       Blackwells Nominees occurs for any reason (including if the Corporation makes or announces any changes to
       its Bylaws or takes or announces any other action that has, or if consummated would have, the effect of
       disqualifying any or all of the Blackwells Nominees), the shares represented by the WHITE Universal Proxy
       Card received by Blackwells and not properly revoked will be voted for the substitute nominee(s) properly
       nominated by Blackwells in compliance with the rules of the SEC and any other applicable laws and, if
       applicable, the Bylaws.

             If Blackwells lawfully identifies or nominates substitute nominee(s) before the Annual Meeting,
       Blackwells will file an amended proxy statement that identifies any such substitute nominee(s), discloses
       whether such nominee(s) has or have consented to being named in the revised proxy statement and includes all
       disclosure requirements required by Schedule 14A with respect to such substitute nominee(s).

       ____________
       4    The following is a list of agreements that contain change of control provisions that the Corporation and the respective
            counterparty may, in the event of the Blackwells Nominees being elected, interpret as having been triggered,
            depending on the outcome of the Annual Meeting: Braemar Hotels & Resorts, Inc. Second Amended and Restated
            2013 Equity Incentive Plan, as amended, and the award agreements thereunder; Second Amended and Restated Credit
            Agreement, dated as of October 25, 2019, by and among Braemar Hotels & Resorts Inc., Braemar Hospitality Limited
            Partnership, Bank of America, N.A. and the other lenders party thereto, as amended; Credit Agreement, dated as of
            July 31, 2023, by and among Braemar Hospitality Limited Partnership, Braemar Hotels & Resorts Inc., the lenders
            party thereto and Bank of America, N.A.; Ashford Hospitality Prime, Inc. Advisor Equity Incentive Plan, dated as of
            November 5, 2013; and Richard Stockton’s Restricted Stock Award Agreement, dated as of November 2, 2016. The
            foregoing list is based on a review of the Corporation’s material contracts and agreements that are publicly available
            on the SEC’s electronic data gathering, analysis and retrieval system. The Nominating Stockholder does not believe
            that any change of control provisions have been triggered as a result of the nomination of the Blackwells Nominees.

                                                                   9



                                                                                                                                      APP.015
Case 3:24-cv-00707-L                 Document 38            Filed 04/15/24              Page 21 of 276                PageID 1288


       Information About the Blackwells Nominees

       Name                    Age                  Principal Occupation                           Business Address
       Michael Cricenti         39     Managing Partner and Chief Investment             3979 Clover Ln. Dallas,
                                       Officer of Magis Capital Partners                 Texas 75220
       Jennifer M. Hill         58     Founder and CEO of Murphy Hill                    9 Dancing Bear Rd. Norwalk,
                                       Consulting LLC                                    Connecticut 06853
       Betsy L. McCoy           62     General Counsel and Vice President for            2850 Tigertail Avenue Suite 800,
                                       The Related Group                                 Miami, Florida 33133
       Steven J. Pully          64     Chairman of the Board of Directors and            4564 Meadowood Dr. Dallas,
                                       part-time Chief Executive Officer of              Texas 75220
                                       Harvest Oil and Gas Corporation

             We believe the Blackwells Nominees have the experience and qualifications to address the Corporation’s
       strategic, operational and governance deficiencies and possess the skill sets required to address the
       Corporation’s current needs.

       Michael Cricenti

             Michael Cricenti, age 39, currently serves as Managing Partner and Chief Investment Officer of Magis
       Capital Partners, a private investment firm that employs a fundamental, value-oriented approach to investing in
       special situations, since January 2017. Mr. Cricenti also served as a Senior Real Estate Investment Advisor at
       IsZo Capital Management LP, a hedge fund, from January 2017 to November 2021. Previously, from
       September 2009 until January 2017, Mr. Cricenti served as Managing Director at Bluestem Asset Management
       (“Bluestem”), an investment firm with more than $1.5 billion in assets under management based in
       Charlottesville, Virginia. Mr. Cricenti worked as a mergers and acquisitions analyst at Harris Williams & Co., a
       leading middle-market advisory firm, in June 2007 until July 2009. He also worked as a Summer Analyst at JP
       Morgan Private Bank, a private banking facility that has been in operation for more than 200 years, from
       May 2006 to August 2006.
           Mr. Cricenti has served as the Chairman of the board of directors of Nam Tai Property Inc.
       (OTC: NTPIF), a publicly-traded international real estate developer in turnaround, since November 2021.

            Mr. Cricenti received a Bachelor of Science in Business Administration with a concentration in finance
       and quantitative methods from Babson College in 2007.

             Blackwells believes that Mr. Cricenti’s extensive experience in capital allocation, corporate governance
       and finance, as well as his background in mergers and acquisitions in the public market qualify him to serve as a
       director of the Corporation.

       Jennifer M. Hill
             Jennifer M. Hill, age 58, currently serves as the Founder and CEO of Murphy Hill Consulting LLC, a
       Connecticut-based consulting business providing consulting services focused on the financial services, asset
       management, insurance and risk management industries, since January 2015. Ms. Hill served as the Chief
       Financial Officer of Bank of America Merrill Lynch (NYSE: BAC), an investment bank and financial services
       holding company, from July 2011 to December 2014.1 Prior to joining Bank of America, Ms. Hill was Group
       Director of Strategy and Corporate Finance at Royal Bank of Scotland (now known as NatWest Group PLC
       (NYSE: NWG)), a banking and insurance holding company, from July 2008 to July 2011. From
       September 2006 to July 2008, Ms. Hill served as the Chief Financial Officer of Tisbury Capital Management, an
       event-driven hedge fund, and from September 1996 to September 2006, Ms. Hill served as a Managing Director
       of Goldman Sachs & Co. (NYSE: GS), an investment banking, securities and investment management firm. Ms.
       Hill also served as a Vice President at Citigroup Inc. (NYSE: C), an investment bank and financial services
       company, from June 1994 to August 1996. Ms. Hill also served as an Assistant Vice President at Credit
       Lyonnais, a French banking network now part of the Crédit Agricole Group, from February 1989 to June 1994,
       and served as an Assistant Treasurer at the European American Bank, a banking network that is now part of
       Citigroup Inc., from June 1987 to February 1989.
       ____________
       1      Bank of America Merrill Lynch was the marketing name for a division of Bank of America.

                                                                  10



                                                                                                                                APP.016
Case 3:24-cv-00707-L            Document 38             Filed 04/15/24             Page 22 of 276             PageID 1289



           Ms. Hill has served as Chairman of the Board of Directors and member of the Audit Committee of
     ExcelFin Acquisition Corp. (NASDAQ: XFIN), a blank check company focused in the financial technology
     sector, since April 2021. Ms. Hill also serves as a member of the Board of Directors and Chairman of the
     Compensation Committee of Cantor Fitzgerald Europe, an integrated, full-service investment bank, since
     February 2021. She also serves as a member of the Board of Directors and Chairman of the Compensation
     Committee of Xplor Technologies, a company providing enterprise-grade SaaS solutions, since October 2021.
     Ms. Hill served as a member of the Board of Directors and Chair of the Audit Committee of BlockFi, a
     cryptocurrency lending platform, from October 2021 to December 2023, a member of the Board of Directors of
     Melqart Funds, which are London-based hedge funds focused on event-driven strategies, from January 2015 to
     October 2022, a member of the Board of Directors of Keal Funds, hedge funds focused on event-driven
     strategies, from August 2015 to September 2022, a member of the Board of Directors of Arkadia Systematic
     Equity Fund, a hedge fund, from August 2019 to February 2022 and a member of the Board of Directors of
     LaCrosse Milling Company, an oat milling company, from July 2018 to June 2021.
           As a volunteer, Ms. Hill served as a Regional Director on the Board of Directors of buildOn, a community
     service organization, from January 1994 to December 2017. She also served as the Chairman of the Board of
     Advisors to the Richard Paul Richman Center at Columbia University, a research university, from January 2013
     to June 2022. Ms. Hill further served as a member of the Board of Trustees of Hamilton College, a liberal arts
     college, from January 2009 to January 2013.

            Ms. Hill received a Bachelor of Arts in Government and French from Hamilton College in 1987 and a
     Master’s in Business Administration from Columbia University in 1994. She has held Series 7 and 27
     certifications.

           Blackwells believes Ms. Hill’s leadership, board experience, and extensive knowledge of and background
     in investing, real estate and innovation qualify her to serve as a director of the Corporation.

     Betsy L. McCoy
           Betsy L. McCoy, age 62, currently serves as General Counsel and Vice President for The Related Group, a
     private real estate development company, a position she has served in since May 2010. In her role, Ms. McCoy
     oversees the in-house legal department, including all aspects of compliance, management of legal services, legal
     reporting to executives, and legal guidance and as legal and business counsel to an affiliated real estate
     management company. From January 2008 to May 2013, Ms. McCoy served as Associate General Counsel and
     Vice President of The Related Group. She currently is an Adjunct Professor in the Real Property Development
     L.L.M. program at the University of Miami School of Law since January 2016. Ms. McCoy also serves as the
     President of McCoy Real Estate Advisors and Lawyers, LLC, a private real estate advisory company, since 2013
     and as President of REEL McCoy Productions 5 LLC, a private productions company, since October 2023.
     Prior to this, Ms. McCoy was in private practice as a principal and stockholder of her law firm, Law Offices of
     Betsy L. McCoy P.A., from 2000 to 2008. Ms. McCoy was partner in Solomon & Benedict, P.A., a law firm
     located in Tampa, Florida, specializing in Business Litigation, Commercial Law, Bankruptcy, Banking, Real
     Estate Finance, and Real Property Law, from 1990 to 2000. Ms. McCoy maintains her real estate license in
     Florida since 2018 and is associated with Related Realty LLC, a Florida real estate sales broker, since
     May 2021.
           Ms. McCoy serves as the President and as a director for Gables on the Green Condominium Association
     West, Inc., a private luxury condominium association, beginning in July 2022. Ms. McCoy previously served on
     the board of directors for the Mayor’s Beautification Program of Tampa, a committee formed to make
     suggestions to the City Commission in matters related to City Parks and Beautification, from 1996 to 2000; she
     also served as Chairman of the Board on the committee from 1999 to 2000.
           Ms. McCoy graduated from Creighton University, College of Arts and Sciences, in Omaha, Nebraska in
     1984, where she earned a Bachelor’s Degree. She also attended Creighton University School of Law where she
     earned her Juris Doctorate degree in 1987, as well as the University of Miami School of Law, where Ms.
     McCoy earned an L.L.M. in real property development in 2007.
            Blackwells believes Ms. McCoy’s vast legal experience — including her recognized expertise in business
     litigation and mastery of real property development law — as well as her extensive background in real estate,
     executive management, education, and public service qualify her to serve as a director of the Corporation.

                                                           11




                                                                                                                        APP.017
Case 3:24-cv-00707-L             Document 38             Filed 04/15/24             Page 23 of 276              PageID 1290




     Steven J. Pully

           Steven J. Pully, age 64, serves on public and private company boards, he provides investment banking and
     consulting services through Speyside Partners LLC, an investment banking firm he co-founded in 2017, and he
     serves as an expert witness in legal disputes, generally in connection with his expertise in governance matters.
     Over the course of his board service, he has served on boards of companies involved in a variety of different
     industries, he has served as Executive Chairman, Chairman and Lead Director of various boards, and he has
     chaired a variety of board committees.
           From January 2008 to September 2014, Mr. Pully served as General Counsel and as a partner of Carlson
     Capital, L.P., a multi-strategy hedge fund. Prior to joining Carlson Capital, Mr. Pully served as the President of
     Newcastle Capital Management, L.P. (“Newcastle”), a deep value, control-oriented hedge fund, from 2002 to
     2007. Prior to working in the hedge fund business, Mr. Pully worked for several large investment banks,
     including as a Managing Director at Banc of America Securities (now, Bank of America, NYSE: BAC), an
     investment banking firm and as a Senior Managing Director in the investment banking department of The Bear
     Stearns Companies, Inc. Mr. Pully began his career at a private, full-service law firm, Baker Botts L.L.P.,
     practicing in areas such as securities, M&A, and restructuring.

            Mr. Pully serves as Chairman of the Board of Directors and Chair of the Audit Committee of Enzo
     Biochem, Inc. (NYSE: ENZ), a biomedical research and development company, since October 2023, and as
     chairman of its Compensation and Nominating and Governance Committees since January 2024., Mr. Pully has
     served as Chairman of the Board of Directors for RumbleOn, Inc. (NASDAQ: RMBL) (“RumbleOn”), a retailer
     of powersports vehicles, since December 2023 and previously served as its Executive Chairman from July 2023
     to December 2023. Mr. Pully served as the Chair of the Audit Committee at RumbleOn in July of 2023. He was
     initially appointed to the board of RumbleOn in May 2023. Mr. Pully also serves as the part-time Chief
     Executive Officer and Chairman of Harvest Oil & Gas Corp., a company that is currently in the process of
     dissolving. Mr. Pully joined the board in June 2018 when the company was a public company; he became the
     Chief Executive Officer in January 2021.

          Within the past five years, he has also served on the boards of the following public companies: VAALCO
     Energy, Inc. (NYSE: EGY), an oil and gas company, from August 2015 to June 2020, and served as Chair of the
     Compensation Committee from 2018 to June 2019 and Chair of the Governance Committee from June 2019 to
     June 2020; Goodrich Petroleum Corporation (NYSE: GDP) from March 2017 to August 2019, Bellatrix
     Exploration Ltd., a Western Canadian based oil and gas company from January 2015 to May 2019, and of Titan
     Energy, an and oil and gas company, from May 2017 to April 2021.
          Mr. Pully is licensed as an attorney and CPA in the state of Texas and also holds the Chartered Financial
     Analyst (CFA) designation. Mr. Pully also holds FINRA certifications (Series 7, 63 and 79). He received his
     undergraduate degree with honors in Accounting from Georgetown University in 1982 and received a J.D. from
     The University of Texas School of Law in 1985.

           Blackwells believes Mr. Pully’s executive management and board experience and extensive background
     in investment banking, corporate governance, law and accounting qualify him to serve as a director of the
     Corporation.

           If elected, the Blackwells Nominees will be entitled to such compensation from the Corporation as is
     consistent with the Corporation’s practices for services of non-employee directors.
           On March 26, 2024, Blackwells Onshore, Blackwells Capital, Mr. Aintabi and each of the Blackwells
     Nominees entered into a Joint Filing and Solicitation Agreement pursuant to which, among other things, each of
     Blackwells Onshore, Blackwells Capital, Mr. Aintabi and the Blackwells Nominees agreed to the joint filing on
     behalf of each of them to allow for the solicitation of proxies for the election of the Blackwells Nominees and in
     favor of the Blackwells Proposals.

           On April 2, 2024, Messrs. Cricenti and Pully and Ms. Hill each engaged Vinson & Elkins L.L.P. (“V&E”)
     to represent them in connection with the Federal Action. On April 3, 2024, Ms. McCoy engaged V&E to
     represent her in connection with the Federal Action. Blackwells has agreed to pay for V&E’s legal fees in
     connection with its representation of the Nominees in the Federal Action.

                                                            12




                                                                                                                          APP.018
Case 3:24-cv-00707-L            Document 38             Filed 04/15/24            Page 24 of 276              PageID 1291




           Other than as described in this Proxy Statement, there are no arrangements or understandings between or
     among any Blackwells Nominee and any other person pursuant to which any Blackwells Nominee was or is to
     be selected as a director or nominee.

     Share Ownership of the Blackwells Nominees
         The following table contains a summary of the total number of shares of Common Stock beneficially
     owned by the Blackwells Nominees as of the Record Date.

           The address for each Blackwells Nominee is listed below. The information in the following table has been
     furnished to us by the respective Blackwells Nominees. Percentage of beneficial ownership is based on
     84,453,761 shares outstanding as of the Record Date, as disclosed in the Corporation’s proxy statement.

                                                                                   Number of          Percentage of
                                                                                     Shares              Shares
                                                                                   Beneficially        Beneficially
     Name and Address                                                                Owned               Owned
     Michael Cricenti                                                                             0              0%
       3979 Clover Ln.,
       Dallas, Texas 75220
     Jennifer M. Hill                                                                             0              0%
       9 Dancing Bear Rd.,
       Norwalk, Connecticut 06853
     Betsy L. McCoy                                                                               0              0%
       2850 Tigertail Avenue Suite 800,
       Miami, Florida 33133
     Steven J. Pully                                                                              0              0%
       4564 Meadowood Dr.,
       Dallas, Texas 75220

            Blackwells will be using a universal proxy card for voting on the election of directors at the Annual
     Meeting, which will include the names of all nominees for election to the Board. Stockholders will have the
     ability to vote for up to eight nominees on the enclosed WHITE Universal Proxy Card. Any stockholder who
     wishes to vote for one or more of the Corporation’s nominees in addition to one or more of the Blackwells
     Nominees may do so on Blackwells’ WHITE Universal Proxy Card. The Corporation’s gold proxy card is
     not a universal proxy card and does not include the names of the Blackwells Nominees or the Blackwells
     Proposals. There is no need to use the Corporation’s gold proxy card, regardless of how you wish to vote.
            Stockholders are permitted to vote for fewer than eight nominees or for any combination (up to eight
     total) of the Blackwells Nominees, the Corporation’s nominees and on the WHITE Universal Proxy Card.
     Voting “FOR” fewer than eight nominees will result in your shares being be voted “FOR” only those nominees
     you have so marked and default to a “WITHHOLD” vote with respect to any nominee left unmarked. If you
     vote “FOR” more than eight nominees, your vote regarding the election of directors will be invalid and will not
     be counted.

      WE URGE YOU TO VOTE “FOR” THE ELECTION OF THE BLACKWELLS NOMINEES ON THE
      ENCLOSED WHITE UNIVERSAL PROXY CARD AND INTEND TO VOTE OUR SHARES “FOR”
                             THE BLACKWELLS NOMINEES.

                                                           13




                                                                                                                        APP.019
Case 3:24-cv-00707-L             Document 38               Filed 04/15/24             Page 25 of 276               PageID 1292




                                                       PROPOSAL 2

      NON-BINDING STOCKHOLDER PROPOSAL TO URGE THE BOARD TO AMEND THE BYLAWS
                TO REMOVE THE OVERREACHING ADVANCE NOTICE PROVISION

           Blackwells is asking stockholders to indicate their support at the Annual Meeting for a non-binding,
     advisory proposal urging the Board to amend the Bylaws to remove clause (iv) of Section 11(a)(3)(D) of
     Article I (the “Overreaching Advance Notice Provision”) of the Bylaws, in effect as of the date hereof (such
     proposal, the “Amendment to Advance Notice Provisions Proposal”).
           The following is the text of the proposed resolution:

           “RESOLVED, that the stockholders hereby urge the Board to amend Braemar Hotels & Resorts Inc.’s
           Fifth Amended and Restated Bylaws, as amended, to delete clause (iv) of Section 11(a)(3)(D) of Article I
           of the Bylaws in its entirety.”

            We favor this proposal at the Annual Meeting because the Overreaching Advance Notice Provision
     requires that in the event any stockholder or any of such stockholder’s “Proposed Nominees” (as such term is
     used in the Bylaws) or Stockholder Associated Persons has in the twenty-four months immediately preceding
     the date of the submission by such stockholder of a notice pursuant to the Advance Notice Bylaws, made a
     proposal to acquire control of the Corporation (whether through the acquisition of a majority of the outstanding
     securities of the Corporation, the acquisition of all or substantially all of the Corporation’s assets or otherwise),
     all information relating to such stockholder, the Proposed Nominee or the Stockholder Associated Person, as
     applicable, that would be disclosed in any notices, forms or filings required by U.S. federal laws or the rules and
     regulations of any agency, department or other instrumentality of the U.S. federal government in connection
     with such direct or indirect acquisition would have to be included in any notice submitted under the Advance
     Notice Bylaws.
           The Overreaching Advance Notice Provision was not adopted on a proverbial clear day but rather was
     adopted by what could be categorized as an entrenched board of directors without a stockholder vote in the
     immediate wake of the Corporation having received from Blackwells, a good faith proposal to acquire 100% of
     the outstanding equity interests in the Corporation for a cash price equal to an approximate 114.3% premium to
     the then current share price of the Common Stock. Blackwells supports the Amendment to Advance Notice
     Provisions Proposal at the Annual Meeting because it believes that the Overreaching Advance Notice Provision
     was an illegitimate effort to unduly restrict the stockholder franchise. Blackwells believes that the Overreaching
     Advance Notice Provision requires disclosures that (i) require the assumption of hypothetical events, resulting
     in the provision being ambiguous and (ii) are either outside of the scope of the legitimate corporate interest of
     the Corporation or are already required under the other paragraphs of the Advance Notice Bylaws and are,
     therefore, redundant.

            Other than as described elsewhere in this Proxy Statement, Blackwells does not have any material interest
     in this proposal, individually or in the aggregate, including any anticipated benefit to us. As the Amendment to
     Advance Notice Provisions Proposal is non-binding, it does not require the Board or the Corporation to take any
     action, even if approved by the requisite number of stockholder votes.

       WE URGE YOU TO VOTE “FOR” PROPOSAL 2 AND INTEND TO VOTE OUR SHARES “FOR”
                                    THIS PROPOSAL.

                                                              14




                                                                                                                             APP.020
Case 3:24-cv-00707-L             Document 38             Filed 04/15/24             Page 26 of 276             PageID 1293



                                                      PROPOSAL 3

      NON-BINDING STOCKHOLDER PROPOSAL TO URGE THE BOARD TO AMEND THE BYLAWS
         TO PRECLUDE ANY CURRENT OR FORMER EMPLOYEE, DIRECTOR, OFFICER, OR
                                      CONTROL
        PERSON OF THE CORPORATION OR ASHFORD AND ASHFORD’S AFFILIATES FROM
                                      SERVING
                     AS THE CORPORATION’S CHAIRMAN OF THE BOARD

           Blackwells is asking stockholders to indicate their support at the Annual Meeting for a non-binding,
     advisory proposal to amend the Corporation’s Corporate Governance Guidelines, as revised on March 24, 2023
     (the “Corporate Governance Guidelines”), to add a provision precluding any current or former employee,
     director, officer or control person of Ashford Hospitality Trust, Inc., a Maryland corporation, Ashford
     Hospitality Limited Partnership, a Delaware limited partnership, Ashford Inc., a Nevada corporation, Ashford
     Hospitality Advisors LLC, a Delaware limited liability company and the asset manager of the Corporation,
     Premier Project Management LLC, a Maryland limited liability company, Remington Lodging & Hospitality,
     LLC, a Delaware limited liability company, or any of the affiliates of the foregoing (collectively, “Ashford”)
     from serving as the Corporation’s chairman of the board of directors (such proposal, the “Governance
     Guidelines Amendment Proposal”).
           The following is the text of the proposed resolution:

           “RESOLVED, that the stockholders hereby urge the Board to amend Braemar Hotels & Resorts Inc.’s
           Corporate Governance Guidelines to add the following new paragraph at the end of Section VII (“Board
           Composition and Size”):

           Notwithstanding anything to the contrary contained in these Guidelines, any current or former employee,
           officer, director or control person of Ashford Hospitality Trust, Inc., a Maryland corporation, Ashford
           Hospitality Limited Partnership, a Delaware limited partnership, Ashford Inc., a Nevada corporation,
           Ashford Hospitality Advisors LLC, a Delaware limited liability company and the asset manager of the
           Corporation, Premier Project Management LLC, a Maryland limited liability company, Remington
           Lodging & Hospitality, LLC, a Delaware limited liability company, or any of the affiliates of the
           foregoing shall be precluded from serving as the Chairman.”
            We favor this proposal at the Annual Meeting so that the Board chairman does not owe conflicting
     loyalties to the Corporation and to its asset manager. Ashford Hospitality Advisors LLC, a subsidiary of Ashford
     Inc., provides advisory services to the Corporation through an advisory agreement. All of the hotel properties in
     the Corporation’s portfolio are currently asset-managed by Ashford LLC. Asset management functions include
     acquisition, renovation, financing and disposition of assets, operational accountability of managers, budget
     review, capital expenditures and property-level strategies. In addition, the Corporation does not have any
     employees, and all of the advisory services that might be provided by employees are provided to the
     Corporation by Ashford LLC. Even the Corporation’s senior management team has been provided to the
     Corporation by Ashford. And while the Corporation’s total stockholder return has been poor, the Corporation
     pays Ashford handsomely for its management and administrative services. All the while, Monty J. Bennett, the
     Chairman of the Board of the Corporation, serves as Chief Executive Officer and Chairman of the Board of
     Directors of Ashford Inc.

           Blackwells believes that the Governance Guidelines Amendment Proposal will help to prevent the Board
     from being beholden to the interests of Ashford and its owners and will, in fact, serve the Board’s only
     legitimate purpose — protecting the interests of the Corporation and its stockholders.

            Other than as described elsewhere in this Proxy Statement, Blackwells does not have any material interest
     in this proposal, individually or in the aggregate, including any anticipated benefit to us. As the Governance
     Guidelines Amendment Proposal is non-binding, it does not require the Board or the Corporation to take any
     action, even if approved by the requisite number of stockholder votes.

       WE URGE YOU TO VOTE “FOR” PROPOSAL 3 AND INTEND TO VOTE OUR SHARES “FOR”
                                    THIS PROPOSAL.

                                                            15




                                                                                                                         APP.021
Case 3:24-cv-00707-L             Document 38             Filed 04/15/24             Page 27 of 276             PageID 1294




                                                      PROPOSAL 4

       NON-BINDING STOCKHOLDER PROPOSAL TO REQUIRE THE BOARD TO DISCLOSE ALL
       EXTRAORDINARY TRANSACTION PROPOSALS MADE BY STOCKHOLDERS, AFFILIATES
      AND THIRD PARTIES DURING THE TWO MOST RECENTLY COMPLETED CALENDAR YEARS
                    AND THE TERMS OF THOSE PROPOSED TRANSACTIONS

            Blackwells is asking stockholders to indicate their support at the Annual Meeting for a non-binding,
     advisory proposal to require the Board to disclose all extraordinary transaction proposals made by stockholders,
     affiliates and third parties during the two most recently completed calendar years and the terms of those
     proposed transactions (such proposal, the “Extraordinary Transaction Disclosure Proposal”).
           The following is the text of the proposed resolution:

           “RESOLVED, that the Corporation shall disclose any and all extraordinary transactions, including
           proposed change in control transactions, mergers, acquisitions and dispositions of all or substantially all
           assets of the Corporation, which were proposed to the Corporation by its stockholders, and affiliates and
           by third parties during the two most recently completed calendar years.”

           We favor this proposal at the Annual Meeting to shine light on what extraordinary transactions have been
     presented to and considered by the Board so that stockholders can assess the independence of the Board and the
     Corporation from Ashford, Bennett and their respective affiliates and to permit stockholders to assess whether
     the Board is open to all options to maximize value.
            Other than as described elsewhere in this Proxy Statement, Blackwells does not have any material interest
     in this proposal, individually or in the aggregate, including any anticipated benefit to us. As the Extraordinary
     Transaction Disclosure Proposal is non-binding, it does not require the Board or the Corporation to take any
     action, even if approved by the requisite number of stockholder votes.

       WE URGE YOU TO VOTE “FOR” PROPOSAL 4 AND INTEND TO VOTE OUR SHARES “FOR”
                                    THIS PROPOSAL.

                                                            16




                                                                                                                         APP.022
Case 3:24-cv-00707-L            Document 38             Filed 04/15/24             Page 28 of 276             PageID 1295




                                                     PROPOSAL 5

       NON-BINDING STOCKHOLDER PROPOSAL TO REQUIRE THE BOARD TO DISCLOSE ALL
       COMPENSATION PAID BY THE CORPORATION TO MEMBERS OF THE BENNETT FAMILY,
         THE DALLAS EXPRESS AND EMPLOYEES, DIRECTORS OR AGENTS OF THE DALLAS
                         EXPRESS, INCLUDING LOUIS DARROUZET
           Blackwells is asking stockholders to indicate their support at the Annual Meeting for a non-binding,
     advisory proposal to require the Board to disclose all compensation paid by the Corporation to members of the
     Bennett family, The Dallas Express and employees, directors or agents of The Dallas Express, including Louis
     Darrouzet (the “Compensation Disclosure Proposal”).

          The following is the text of the proposed resolution:

          “RESOLVED, that the Corporation shall disclose any and all compensation that was paid by the
          Corporation to Monty Bennett, the Bennett family more broadly and The Dallas Express (a general
          interest daily news source published by Monty Bennett) and its employees, directors and agents, including
          Louis Darrouzet, during the two most recently completed calendar years.”
           We favor this proposal at the Annual Meeting to shine light on the relationships among the Corporation,
     Mr. Bennett, the Bennett family more broadly and The Dallas Express and its employees. Blackwells believes
     that disclosure of the foregoing compensation will provide stockholders with critical information to assess the
     Corporation’s independence from Mr. Bennett, the Bennett family and its affiliates, including The Dallas
     Express.

            Other than as described elsewhere in this Proxy Statement, Blackwells does not have any material interest
     in this proposal, individually or in the aggregate, including any anticipated benefit to us. As the Compensation
     Disclosure Proposal is non-binding, it does not require the Board or the Corporation to take any action, even if
     approved by the requisite number of stockholder votes.

       WE URGE YOU TO VOTE “FOR” PROPOSAL 5 AND INTEND TO VOTE OUR SHARES “FOR”
                                    THIS PROPOSAL.

                                                           17




                                                                                                                        APP.023
Case 3:24-cv-00707-L             Document 38             Filed 04/15/24             Page 29 of 276              PageID 1296




                     OTHER MATTERS TO BE CONSIDERED AT THE ANNUAL MEETING

     Proposal 6: Advisory Vote on Executive Compensation

           As discussed in further detail in the Corporation’s proxy statement, the Corporation is asking stockholders
     to vote on the following advisory resolution:
            RESOLVED, that the Corporation’s stockholders hereby approve, on an advisory basis, the compensation
     of the named executive officers of Braemar Hotels & Resorts Inc. as disclosed in the Corporation’s proxy
     statement for the 2024 annual meeting of stockholders, in accordance with the SEC’s compensation disclosure
     rules. As disclosed in the Corporation’s proxy statement, the vote on this proposal is non-binding, but the
     Compensation Committee of the Board will take the voting results into account when considering future
     executive compensation decisions. Further information regarding the Corporation’s executive compensation can
     be found in the section of the Corporation’s proxy statement.

           As disclosed in the Corporation’s proxy statement, the Corporation provides its stockholders with this
     advisory vote to approve executive compensation on an annual basis.

          We encourage all stockholders to review the Corporation’s disclosures related to this proposal in the
     Corporation’s proxy statement in detail.

      WE RECOMMEND YOU VOTE “AGAINST” PROPOSAL 6 AND INTEND TO VOTE OUR SHARES
                             “AGAINST” THIS PROPOSAL.

     Proposal 7: Ratification of the Appointment of BDO USA, P.C. as the Corporation’s Independent Auditor
           As discussed in further detail in the Corporation’s proxy statement, the Audit Committee of the Board (the
     “Audit Committee”) has selected BDO USA, P.C. as the Corporation’s independent registered public accounting
     firm for the fiscal year ending December 31, 2024. The Corporation is submitting its selection of BDO USA,
     P.C. for ratification by the stockholders at the Annual Meeting.

            As disclosed in the Corporation’s proxy statement, stockholder approval is not required to appoint BDO
     USA, P.C. as the Corporation’s independent registered public accounting firm, but the Corporation is submitting
     the selection of BDO USA, P.C. to stockholders for ratification as a matter of good corporate governance. If the
     stockholders fail to ratify the selection, then the Corporation has indicated that the Audit Committee will
     reconsider the appointment. The Corporation has further disclosed that even if the appointment is ratified by
     stockholders, the Audit Committee may in its discretion select a different registered public accounting firm at
     any time during the year if it determines that such a change would be in the best interests of the Corporation and
     its stockholders.

          We encourage all stockholders to review the Corporation’s disclosures related to this proposal in the
     Corporation’s proxy statement in detail.

        WE RECOMMEND YOU VOTE “FOR” PROPOSAL 7 AND INTEND TO VOTE OUR SHARES
                               “FOR” THIS PROPOSAL.

                                                            18




                                                                                                                          APP.024
Case 3:24-cv-00707-L            Document 38              Filed 04/15/24             Page 30 of 276             PageID 1297




                                  WHO CAN VOTE AT THE ANNUAL MEETING

           The Record Date for determining stockholders entitled to notice of, and to vote at, the Annual Meeting is
     March 14, 2024. Stockholders of the Corporation at the close of business on the Record Date are entitled to one
     vote for each share of Common Stock, Series E Redeemable Preferred Stock (“Series E Preferred Stock”) and
     Series M Redeemable Preferred Stock (“Series M Preferred Stock”) owned as of the Record Date. Based on
     publicly available information, we believe that the Corporation’s voting equity securities include: shares of
     Common Stock, Series E Preferred Stock and Series M Preferred Stock. Each share of Common Stock, Series E
     Preferred Stock and Series M Preferred Stock entitles the holder to one vote. The Series E Preferred Stock and
     Series M Preferred Stock will vote together with the holders of Common Stock as a single class on all matters.
     According to the Corporation’s proxy statement, the number of shares of Common Stock outstanding as of the
     Record Date is 84,453,761, the number of shares of Series E Preferred Stock as of the Record Date is
     16,158,870 and the number of shares of Series M Preferred Stock as of the Record Date is 1,774,180.
           Only stockholders as of the close of business on the Record Date will be entitled to vote at the Annual
     Meeting. If you were a stockholder on the Record Date, then you will retain your voting rights for the Annual
     Meeting even if you sold your shares after the Record Date. Accordingly, it is important that you vote the shares
     held by you on the Record Date, or grant a proxy to vote such shares, even if you sold such shares after the
     Record Date.

                                                            19




                                                                                                                         APP.025
Case 3:24-cv-00707-L             Document 38               Filed 04/15/24             Page 31 of 276               PageID 1298


                                               HOW TO VOTE BY PROXY

           To vote in favor of the election of the Blackwells Nominees to the Board and to vote in favor of the
     Blackwells Proposals, promptly complete, sign, date and return the enclosed WHITE Universal Proxy Card in
     the enclosed postage-paid envelope. Whether you plan to attend the Annual Meeting or not, we urge you to
     complete and return the enclosed WHITE Universal Proxy Card. Please contact our proxy solicitor, MacKenzie
     Partners, Inc., by phone at 1-800-322-2885 (toll-free for stockholders) or 212-929-5500 (call collect for banks,
     brokers, trustees and other nominees), or by email at proxy@mackenziepartners.com if you require assistance in
     voting your shares or need additional copies of our proxy materials.
           Properly executed proxies will be voted in accordance with the directions indicated thereon. If you sign
     the WHITE Universal Proxy Card but do not make any specific choices, your proxy will vote your shares as
     follows:

           •     Vote “FOR” the election of each of our director nominees — Michael Cricenti, Jennifer M. Hill,
                 Betsy L. McCoy and Steven J. Pully (collectively, the “Blackwells Nominees”) — to the Board,
                 each to serve as a director on the Board for a one-year term or until his or her respective successor is
                 duly elected and qualified;

           •     Vote “FOR” Blackwells’ non-binding stockholder proposal to urge the Board to amend the Bylaws
                 to remove the Overreaching Advance Notice Provision. (Proposal 2);
           •     Vote “FOR” Blackwells’ non-binding stockholder proposal to urge the Board to amend the Bylaws
                 to preclude any current or former employee, director, officer, or control person of the Corporation or
                 Ashford and Ashford’s affiliates from serving as the Corporation’s chairman of the Board
                 (Proposal 3);

           •     Vote “FOR” Blackwells’ non-binding stockholder proposal to require the Board to disclose all
                 extraordinary transaction proposals made by stockholders, affiliates and third parties during the two
                 most recently completed calendar years and the terms of those proposed transactions (Proposal 4);

           •     Vote “FOR” Blackwells’ non-binding stockholder proposal to require the Board to disclose all
                 compensation paid by the Corporation to members of the Bennett family, The Dallas Express and
                 employees, directors or agents of The Dallas Express, including Louis Darrouzet (Proposal 5);
           •     Vote “AGAINST” the Corporation’s proposal to approve executive compensation (Proposal 6); and

           •     Vote “FOR” the Corporation’s proposal to ratify the appointment of BDO USA, P.C. as the
                 Corporation’s independent registered public accountants for fiscal year 2024 (Proposal 7).

            Blackwells will be using a universal proxy card for voting on the election of directors at the Annual
     Meeting, which will include the names of all nominees for election to the Board. Stockholders will have the
     ability to vote for up to eight nominees on Blackwells’ enclosed WHITE Universal Proxy Card. Stockholders
     are permitted to vote for fewer than eight nominees or for any combination (up to eight total) of the Blackwells
     Nominees or the Corporation’s nominees on the WHITE Universal Proxy Card. Voting “FOR” fewer than
     eight nominees will result in your shares being be voted “FOR” only those nominees you have so marked and
     default to a “WITHHOLD” vote with respect to any nominee left unmarked. If you vote “FOR” more than
     eight nominees, your vote regarding the election of directors will be invalid and will not be counted. The
     Corporation’s gold proxy card is not a universal proxy card and does not include the names of the
     Blackwells Nominees or the Blackwells Proposals. There is no need to use the Corporation’s gold proxy
     card, regardless of how you wish to vote. There is no need to use the Corporation’s gold proxy card or voting
     instruction form, regardless of how you wish to vote. If Blackwells withdraws its solicitation or fails to comply
     with the universal proxy rules, any votes cast in favor of the Blackwells Nominees will be disregarded and not
     be counted, whether such vote is provided on our WHITE Universal Proxy Card or the Corporation’s gold
     proxy card.
           Rule 14a-4(c)(3) of the Exchange Act governs our use of our discretionary proxy voting authority with
     respect to a matter that is not known by us a reasonable time before our solicitation of proxies. It provides that if
     we do not know within a reasonable time before making our solicitation that a matter is to be presented at the
     meeting, then we are allowed to use our discretionary voting authority when the proposal is raised at the
     meeting, without any discussion of the matter in this Proxy Statement. If any other matters are presented at the
     Annual Meeting for which we may exercise

                                                              20



                                                                                                                             APP.026
Case 3:24-cv-00707-L            Document 38              Filed 04/15/24             Page 32 of 276             PageID 1299




     discretionary voting, your proxy will be voted in accordance with the discretion of the persons named as proxies
     on the attached WHITE Universal Proxy Card. At the time this Proxy Statement was made available, we knew
     of no matters which needed to be acted on at the Annual Meeting, other than those discussed in this Proxy
     Statement.
           If any of your shares are held in the name of a brokerage firm, bank, bank nominee or other institution on
     the Record Date, only that entity can vote your shares and only upon its receipt of your specific instructions.
     Accordingly, please contact the person responsible for your account at such entity and instruct that person to
     execute and return the WHITE Universal Proxy Card on your behalf. You should also sign, date and return the
     voting instruction that your broker or banker sends you (or, if applicable, vote by following the instructions
     supplied to you by your brokerage firm or bank, including voting via the Internet). Please do this for each
     account you maintain to ensure that all of your shares are voted.

           A large number of brokerage firms and banks are participating in a program that allows eligible
     stockholders to vote via the Internet. If a stockholder’s brokerage firm or bank is participating in the Internet
     voting program, then such brokerage firm or bank will provide the stockholder with instructions for voting via
     the Internet on the voting form. Internet voting procedures, if available through a stockholder’s brokerage firm
     or bank, are designed to authenticate stockholders’ identities to allow stockholders to give their voting
     instructions and to confirm that their instructions have been properly recorded. Stockholders voting via the
     Internet should understand that there might be costs that they must bear associated with electronic access, such
     as usage charges from Internet access providers. If a stockholder’s brokerage firm or bank does not provide the
     stockholder with a voting form, but the stockholder instead receives our WHITE Universal Proxy Card, then
     such stockholder should mark our WHITE Universal Proxy Card, date and sign it, and return it in the enclosed
     postage-paid envelope. Stockholders are encouraged to submit their votes on the WHITE Universal Proxy Card
     or voting instructions form.

                                                            21




                                                                                                                         APP.027
Case 3:24-cv-00707-L             Document 38               Filed 04/15/24             Page 33 of 276               PageID 1300



                                         VOTING AND PROXY PROCEDURES

           The Board currently consists of eight individuals. Under the current structure, if elected, Michael Cricenti,
     Jennifer M. Hill, Betsy L. McCoy and Steven J. Pully would each serve as a director on the Board for a one-
     year term or until his or her respective successor is duly elected and qualified.
           Stockholders entitled to cast at least one-third of all of the votes entitled to be cast at the Annual Meeting,
     represented in person or by proxy, constitute a quorum. No business may be conducted at the Annual Meeting if
     a quorum is not present. If you submit a properly executed proxy card or authorize a proxy via the Internet, you
     will be considered part of the quorum. Withhold votes (in the case of the election of directors) and abstentions
     will be included in the number of stockholders present at the Annual Meeting for the purpose of determining the
     presence of a quorum.

            A “broker non-vote” results when a broker who holds shares for another person has not received voting
     instructions from the owner of the shares and either chooses not to vote those shares on a routine matter or does
     not have discretionary authority to vote on a matter under the applicable rules. Brokers are not permitted to vote
     shares without instructions on proposals that are not considered “routine.” The NYSE rules determine whether
     proposals are routine or not routine. If a proposal is routine, a broker holding shares for an owner in street name
     may vote on the proposal without voting instructions. For brokerage accounts that receive proxy materials from,
     or on behalf of, the Corporation and Blackwells, all of the matters to be voted on at the Annual Meeting will be
     considered “non-routine” matters and there will be no broker non-votes by such broker. In that case, if you do
     not submit any voting instructions to your broker, your broker will not have discretionary authority to vote your
     shares at the Annual Meeting on any proposal, your shares will not be counted in determining the outcome of
     any of the proposals at the Annual Meeting and your shares will not be counted for purposes of determining
     whether a quorum exists. However, for brokerage accounts that receive proxy materials only from the
     Corporation, the broker will be entitled to vote shares held for a beneficial owner on routine matters without
     instructions from the beneficial owner of those shares and will not be entitled to vote the shares on non-routine
     items. The only proposal that would be considered routine would be Proposal 7. Accordingly, if you receive
     proxy materials only from the Corporation, your broker may exercise discretion to vote your shares on the
     ratification of BDO USA, P.C. as the Corporation’s independent registered public accounting firm, even in the
     absence of your voting instruction. If your shares are voted on the ratification of BDO USA, P.C. as the
     Corporation’s independent registered public accounting firm, as directed by your broker, your shares will
     constitute “broker non-votes” on each of the non-routine proposals. Any broker non-votes will be counted in
     determining whether a quorum exists at the Annual Meeting, but will not be counted as votes cast.

           Proposal 1: Election of Directors — The Corporation has adopted a plurality voting standard for director
     elections, meaning the nominees who receive the highest number of votes cast “FOR” their election will be
     elected to the Board. Stockholders may vote “FOR” up to eight nominees and “WITHHOLD” for up to eight
     nominees. With respect to the election of directors, “WITHHOLD” votes and broker non-votes will be counted
     for purposes of determining if there is a quorum at the Annual Meeting for this proposal but will not be counted
     as “votes cast” and therefore, will have no direct effect on the outcome of the election of directors.
            Proposal 2: The Amendment to Advance Notice Provisions Proposal — The affirmative vote of a majority
     of all votes cast at the annual meeting will be required for approval. Abstentions and broker non-votes, if any,
     will not be included in the vote totals and will not be considered as “votes cast,” and accordingly will have no
     effect on the outcome. As Proposal 2 is non-binding, it does not require the Board or the Corporation to take any
     action, even if approved by the requisite number of stockholder votes.

           Proposal 3: The Governance Guidelines Amendment Proposal — The affirmative vote of a majority of all
     votes cast at the annual meeting will be required for approval. Abstentions and broker non-votes, if any, will not
     be included in the vote totals and will not be considered as “votes cast,” and accordingly will have no effect on
     the outcome. As Proposal 3 is non-binding, it does not require the Board or the Corporation to take any action,
     even if approved by the requisite number of stockholder votes.

           Proposal 4: The Extraordinary Transaction Disclosure Proposal — The affirmative vote of a majority of
     all votes cast at the annual meeting will be required for approval. Abstentions and broker non-votes, if any, will
     not be included in the vote totals and will not be considered as “votes cast,” and accordingly will have no effect
     on the outcome. As Proposal 4 is non-binding, it does not require the Board or the Corporation to take any
     action, even if approved by the requisite number of stockholder votes.

                                                              22




                                                                                                                             APP.028
Case 3:24-cv-00707-L             Document 38              Filed 04/15/24              Page 34 of 276              PageID 1301




           Proposal 5: The Compensation Disclosure Proposal — The affirmative vote of a majority of all votes cast
     at the annual meeting will be required for approval. Abstentions and broker non-votes, if any, will not be
     included in the vote totals and will not be considered as “votes cast,” and accordingly will have no effect on the
     outcome. As Proposal 5 is non-binding, it does not require the Board or the Corporation to take any action, even
     if approved by the requisite number of stockholder votes.
            Proposal 6: Advisory Vote on Executive Compensation — According to the Corporation’s proxy
     statement, the affirmative vote of a majority of all votes cast at the annual meeting will be required for approval.
     According to the Corporation’s proxy statement, abstentions and broker non-votes, if any, will not be included
     in the vote totals and will not be considered as “votes cast,” and accordingly will have no effect on the outcome.

           Proposal 7: Ratification of Appointment of Independent Registered Accountant — According to the
     Corporation’s proxy statement, the affirmative vote of a majority of all votes cast at the annual meeting will be
     required for approval.

           None of the applicable Maryland law, the Charter, nor the Bylaws provides for appraisal or other similar
     rights for dissenting stockholders in connection with any of the proposals set forth in this Proxy Statement.
     Accordingly, you will have no right to dissent and obtain payment for your shares in connection with such
     proposals.
           Any proxy may be revoked by you at any time prior to the time a vote is taken by delivering a notice of
     revocation bearing a later date, by delivering a duly executed proxy bearing a later date or by attending and
     voting at the Annual Meeting (but attendance at the Annual Meeting will not by itself constitute revocation of a
     prior delivered proxy). The revocation may be delivered either to Blackwells, at c/o Corporate Election
     Services, P.O. Box 3230, Pittsburgh, PA 15230 or to the Corporation’s Secretary at 14185 Dallas Parkway, Suite
     1200, Dallas, Texas 75254 or any other address provided by the Corporation.

         ALTHOUGH YOU MAY VOTE MORE THAN ONCE, ONLY YOUR LATEST-DATED, VALIDLY
     EXECUTED PROXY WILL BE COUNTED AT THE ANNUAL MEETING.

           If you have already sent a proxy card to the Corporation, you can revoke that proxy card by (i) signing,
     dating and mailing the WHITE Universal Proxy Card, (ii) voting via the Internet, by following the instructions
     on the WHITE Universal Proxy Card or (iii) voting at the Annual Meeting.

                                                             23




                                                                                                                            APP.029
Case 3:24-cv-00707-L             Document 38              Filed 04/15/24              Page 35 of 276              PageID 1302




                                      SOLICITATION OF PROXIES; EXPENSES

           The solicitation of proxies under this Proxy Statement will be made by Blackwells.
           We have provided the required notice to the Corporation pursuant to the Universal Proxy Rules, including
     Rule 14a-19(a)(1) under the Exchange Act, and intend to solicit proxies from the holders of shares representing
     at least 67% of the voting power of shares entitled to vote on the election of directors in support of the
     Blackwells Nominees’ election in accordance with applicable law and intend to comply with applicable
     requirements of the Exchange Act.

           Proxies may be solicited by Blackwells by mail, facsimile, telephone, electronic mail, Internet, in person
     or by advertisements. Blackwells will bear the entire cost of this solicitation. As of the date of this Proxy
     Statement, Blackwells does not intend to seek reimbursement from the Corporation of any expenses it incurs in
     connection with its solicitation of proxies for the election of the Blackwells Nominees and for the Blackwells
     Proposal at the Annual Meeting. While no precise estimate of the cost of solicitation can be made at the present
     time, Blackwells currently estimates that it will spend a total of approximately $5,000,000 for its solicitation of
     proxies, including fees for attorneys, accountants, public relations or financial advisers, solicitors, advertising,
     printing, transportation, litigation and related expenses. As of the date hereof, Blackwells estimates that it has
     incurred proxy solicitation expenses of approximately $2,000,000.

            Brokerage houses, banks and other custodians and fiduciaries will be requested to forward proxy
     solicitation material to their customers for whom they hold shares and Blackwells will reimburse them for their
     reasonable out-of-pocket expenses.
            Solicitations may be made by certain of the respective directors, officers, members and employees of
     Blackwells, none of whom will, except as described elsewhere in this Proxy Statement, receive additional
     compensation for such solicitation. Certain of Blackwells’ full-time employees will assist in the solicitation and
     will, among other things, communicate with stockholders. The Blackwells Nominees may make solicitations of
     proxies but, except as described herein, will not receive compensation for acting as Blackwells Nominees.

            Blackwells will also reimburse brokers, fiduciaries, custodians and other nominees, as well as persons
     holding stock for others who have the right to give voting instructions, for out-of-pocket expenses incurred in
     forwarding this Proxy Statement and related materials to, and obtaining instructions or authorizations relating to
     such materials from, beneficial owners of Common Stock. Blackwells will pay for the cost of these
     solicitations, but these individuals will receive no additional compensation for these solicitation services.

            Blackwells has engaged MacKenzie Partners, Inc. as proxy solicitor in connection with this solicitation.
     Blackwells anticipates that certain employees of MacKenzie Partners, Inc. may communicate in person, by
     telephone or otherwise with a limited number of institutions, brokers or other persons who are stockholders of
     the Corporation for the purpose of assisting in the solicitation of proxies for the Annual Meeting. Approximately
     20 employees of MacKenzie Partners, Inc. will solicit holders of the Common Stock in connection with the
     Annual Meeting. Blackwells expects to pay a fee up to $180,000 for its services in connection with the
     solicitation of proxies for the Annual Meeting.

                                                             24




                                                                                                                            APP.030
Case 3:24-cv-00707-L             Document 38              Filed 04/15/24             Page 36 of 276              PageID 1303
                                   ADDITIONAL PARTICIPANT INFORMATION

          Under the applicable SEC regulations, Blackwells Capital, Blackwells Onshore I, Jason Aintabi,
     Mr. Cricenti, Ms. Hill, Ms. McCoy and Mr. Pully are participants in the solicitation of proxies from the
     Corporation’s stockholders to vote in favor of the election of the Blackwells Nominees to the Board and the
     approval of the Blackwells Proposal.
           Additional information regarding the purchases and sales of securities of the Corporation during the past
     two years by the Participants is set forth on Schedule I to this Proxy Statement and is incorporated into this
     Proxy Statement by reference. Information in this Proxy Statement about each Participant was provided by that
     Participant.

            The principal business of Blackwells Onshore is the proprietary trading of securities. The principal
     business of Blackwells Capital is the proprietary trading of securities. The principal occupation of Mr. Aintabi is
     serving as the managing partner of Blackwells Capital. The principal occupation of Mr. Cricenti is serving as
     Managing Partner and Chief Investment Officer of Magis Capital Partners. The principal occupation of Ms. Hill
     is serving as the Founder and CEO of Murphy Hill Consulting LLC. The principal occupation of Ms. McCoy is
     serving as the General Counsel and Vice President for The Related Group. The principal occupation of
     Mr. Pully is serving as the Chairman of the Board of Directors and part-time Chief Executive Officer of Harvest
     Oil and Gas Corporation.

           The business address of Blackwells Capital, Blackwells Onshore and Mr. Aintabi is 400 Park Ave.,
     4th Floor, New York, New York 10022. Blackwells Capital’s address is 400 Park Ave., 4th Floor, New York,
     New York 10022. Mr. Cricenti’s business address is 3979 Clover Ln., Dallas, Texas 75220. Ms. Hill’s business
     address is 9 Dancing Bear Rd., Norwalk, Connecticut 06853. Ms. McCoy’s business address is 2850 Tigertail
     Avenue, Suite 800, Miami, Florida 33133. Mr. Pully’s business address is 4564 Meadowood Dr., Dallas, Texas
     75220.

          Each of Blackwells Onshore and Blackwells Capital is a Delaware limited liability company. Each of
     Mr. Aintabi, Mr. Cricenti, Ms. Hill, Ms. McCoy and Mr. Pully is a citizen of the United States of America.
          As of the Record Date, Blackwells Capital beneficially owned an aggregate of 100 shares of Common
     Stock.

         As of the Record Date, Blackwells Onshore beneficially owned an aggregate of 10,000 shares of
     Common Stock.

           As of the Record Date, Mr. Aintabi beneficially owned an aggregate of 10,100 shares of Common Stock.
         As of the Record Date, none of Mr. Cricenti, Ms. Hill, Ms. McCoy or Mr. Pully owned any shares of
     Common Stock or has entered into any transactions in securities of the Corporation during the past two years.

          For information regarding the transactions in securities of the Corporation during the past two years by
     Blackwells Onshore, Blackwells Capital, Mr. Aintabi, Mr. Cricenti, Ms. Hill, Ms. McCoy or Mr. Pully, see
     Schedule I.

           As discussed further in the “Background of the Solicitation,” on March 24, 2024, the Corporation initiated
     the Federal Action.
            Other than as set forth in this Proxy Statement, there are no material proceedings to which any Participant
     or any associate of any Participant has been a party which is adverse to the Corporation or any of its
     subsidiaries, nor does any Participant or any associate of any Participant have a material interest adverse to the
     Corporation or any of its subsidiaries. Except as described herein, no Participant nor any of his or its respective
     associates has any interest in the matters to be voted upon at the Annual Meeting, other than an interest, if any,
     as a stockholder of the Corporation. Other than as disclosed in this Proxy Statement, there are no arrangements
     or understandings between Blackwells or its affiliates and the Blackwells Nominees or any other person
     pursuant to which the nominations are to be made by Blackwells.

            Except as set forth in this Proxy Statement (including the Schedules hereto), (i) during the past ten years,
     no Participant has been convicted in a criminal proceeding (excluding traffic violations or similar
     misdemeanors); (ii) no Participant directly or indirectly beneficially owns any securities of the Corporation;
     (iii) no Participant owns any securities of the Corporation which are owned of record but not beneficially;
     (iv) no Participant has purchased or sold any securities of the Corporation during the past two years; (v) no part
     of the purchase price or market value of the securities of the Corporation owned by any Participant is
     represented by funds borrowed or otherwise obtained for the purpose of acquiring or holding such securities;
     (vi) no Participant is, or within the past year was, a party to any contract, arrangement or understanding with
     any person with respect to any securities of the Corporation, including,

                                                             25

                                                                                                                           APP.031
Case 3:24-cv-00707-L              Document 38               Filed 04/15/24              Page 37 of 276               PageID 1304




     but not limited to, joint ventures, loan or option arrangements, puts or calls, guarantees against loss or
     guarantees of profit, division of losses or profits, or the giving or withholding of proxies; (vii) no associate of
     any Participant owns beneficially, directly or indirectly, any securities of the Corporation; (viii) no Participant
     owns beneficially, directly or indirectly, any securities of any parent or subsidiary of the Corporation; (ix) no
     Participant or any of his or its associates, nor any immediate family member of any Participant or any
     Participant’s associates, had a direct or indirect interest in any transaction, or series of similar transactions, since
     the beginning of the Corporation’s last fiscal year, or is a party to any currently proposed transaction, or series
     of similar transactions, to which the Corporation or any of its subsidiaries was or is to be a party, in which the
     amount involved exceeds $120,000; (x) no Participant or any of his or its associates has any arrangement or
     understanding with any person with respect to any future employment by the Corporation or its affiliates, or
     with respect to any future transactions to which the Corporation nor any of its affiliates will or may be a party;
     (xi) no Participant has a substantial interest, direct or indirect, by securities holdings or otherwise in any matter
     to be acted on at the Annual Meeting; (xii) no Participant holds any positions or offices with the Corporation;
     (xiii) no Participant has a family relationship with any director, executive officer, or person nominated or chosen
     by the Corporation to become a director or executive officer; and (xiv) no companies or organizations, with
     which any of the Participants has been employed in the past five years, is a parent, subsidiary or other affiliate
     of the Corporation. Except as set forth in this Proxy Statement (including the Schedules hereto), (i) there are no
     material proceedings to which any Participant or any of his or its associates is a party adverse to the Corporation
     or any of its subsidiaries or has a material interest adverse to the Corporation or any of its subsidiaries and
     (ii) none of the events enumerated in Item 401(f)(1)-(8) of Regulation S-K occurred during the past ten years.
           Blackwells has not paid any compensation to the Blackwells Nominees as a result of their nomination for
     election as directors of the Corporation by Blackwells at the Annual Meeting. There are no other arrangements
     or understandings with either of the Blackwells Nominees, other than as set forth herein.

                                                               26




                                                                                                                                APP.032
Case 3:24-cv-00707-L             Document 38              Filed 04/15/24             Page 38 of 276              PageID 1305




                                                   OTHER MATTERS

           Other than as discussed in this Proxy Statement, Blackwells is unaware of any other matters to be
     considered at the Annual Meeting. However, should other matters, which Blackwells is not aware of a
     reasonable time before this solicitation, be brought before the Annual Meeting, the persons named as proxies on
     the enclosed WHITE Universal Proxy Card will vote on such matters in their discretion.

                       STOCKHOLDER PROPOSALS FOR THE 2025 ANNUAL MEETING

     Stockholder Proposals for Inclusion in the Corporation’s Proxy Statement
           Stockholders interested in presenting a proposal for inclusion in the Corporation’s proxy statement for the
     2025 Annual Meeting of Stockholders (the “2025 Annual Meeting”) may do so by following the procedures in
     Rule 14a-8 under the Exchange Act. To be eligible for inclusion in the Corporation’s proxy statement,
     stockholder proposals must be received at the Corporation’s principal executive offices no later than the close of
     business on the date that we expect will be disclosed in the Corporation’s proxy statement.

     Stockholder Nominations for Directors for Inclusion in the Corporation’s Proxy Statement

            According to the Corporation’s Bylaws, written notice of stockholder nominations to the Board that are to
     be included in the Corporation’s proxy statement for the 2025 Annual Meeting of Stockholders pursuant to the
     proxy access provisions in Article I, Section 12 of the Corporation’s Bylaws must be delivered to the
     Corporation’s secretary at its principal executive offices not later than 90 nor earlier than 120 days prior to the
     first anniversary of the date of the preceding year’s proxy statement.

     Stockholder Proposals and Nominations for Directors to be Presented at the Annual Meeting

            Pursuant to the Bylaws, nominations of individuals for election to the Board and the proposal of other
     business to be considered by stockholders at the 2025 Annual Meeting of Stockholders, but not included in the
     Corporation’s proxy statement, may be made by a person who is a stockholder of record at the time of giving
     notice, and at the time of the 2025 Annual Meeting of Stockholders, who delivers notice along with the
     additional information and materials required by the Bylaws to the Corporation’s Secretary at its principal
     executive offices not later than 5:00 p.m., Eastern Time on the 60th day nor earlier than the 90th day prior to the
     first anniversary of the preceding year’s Annual Meeting of Stockholders.

            In addition to satisfying the requirements under the Bylaws described in the immediately preceding
     paragraph, to comply with the universal proxy rules under the Exchange Act, any stockholder who intends to
     solicit proxies in support of director nominees other than the Board’s nominees must provide notice that sets
     forth the information required by Rule 14a-19 under the Exchange Act no later than the date that we expect will
     be disclosed in the Corporation’s proxy statement. However, if the date of the 2025 Annual Meeting is more
     than 30 days before or after the anniversary of the date of the prior year’s annual meeting, then such notice must
     be delivered by the later of (x) the tenth day following the public announcement of the date of the 2025 Annual
     Meeting is first made by the Corporation and (y) the date which is 60 days prior to the date of the 2025 Annual
     Meeting.
          The incorporation of this information in this Proxy Statement should not be construed as an admission by
     Blackwells that such procedures are legal, valid or binding.

                                                             27




                                                                                                                           APP.033
Case 3:24-cv-00707-L            Document 38              Filed 04/15/24             Page 39 of 276             PageID 1306




                                            YOUR VOTE IS IMPORTANT

           Your proxy is important no matter how many shares of Common Stock you own. Be sure to vote “FOR”
     the Blackwells Nominees and “FOR” the Blackwells Proposal on the WHITE Universal Proxy Card.
     Blackwells urges you NOT to sign any proxy card sent to you by the Corporation or any other party. The
     Corporation’s gold proxy card is not a universal proxy card and does not include the names of the
     Blackwells Nominees or the Blackwells Proposals. There is no need to use the Corporation’s gold proxy
     card, regardless of how you wish to vote.
           If you have already submitted a proxy card to the Corporation for the Annual Meeting, you may change
     your vote to a vote “FOR” the election of the Blackwells Nominees by (i) signing, dating and returning the
     enclosed WHITE Universal Proxy Card, which must be dated after any proxy card you may previously have
     submitted to the Corporation, (ii) voting via the Internet, by following the instructions on the WHITE Universal
     Proxy Card or (iii) voting at the Annual Meeting. Only your latest dated proxy card will count at the Annual
     Meeting.

           If any of your shares are held in the name of a bank, broker or other nominee, only it can vote such shares
     of Common Stock and only upon receipt of your specific instructions. Depending on your broker or custodian,
     you may be able to vote via the Internet. Please contact the person responsible for your account and direct him
     or her to vote on the WHITE Universal Proxy Card “FOR” the election of the Blackwells Nominees.

          If you hold your shares in more than one type of account or your shares are registered differently, you
     may receive more than one WHITE Universal Proxy Card. We encourage you to vote each WHITE Universal
     Proxy Card that you receive.
          NO MATTER HOW MANY OR HOW FEW SHARES YOU OWN WE ARE SEEKING YOUR
     SUPPORT. PLEASE VOTE “FOR” THE BLACKWELLS NOMINEES — MR. CRICENTI, MS. HILL,
     MS. MCCOY AND MR. PULLY — AND “FOR” THE BLACKWELLS PROPOSALS BY SIGNING,
     DATING AND RETURNING THE WHITE UNIVERSAL PROXY CARD IN THE ENCLOSED POSTAGE-
     PAID ENVELOPE AS SOON AS POSSIBLE. ONLY YOUR LATEST DATED PROXY COUNTS. EVEN IF
     YOU HAVE ALREADY RETURNED A PROXY CARD TO THE CORPORATION, YOU HAVE EVERY
     LEGAL RIGHT TO REVOKE SUCH PROXY CARD BY (I) SIGNING, DATING AND MAILING THE
     ENCLOSED WHITE UNIVERSAL PROXY CARD, (II) VOTING VIA THE INTERNET, BY FOLLOWING
     THE INSTRUCTIONS ON THE WHITE UNIVERSAL PROXY CARD OR (III) VOTING AT THE
     ANNUAL MEETING.

                                       PLEASE CALL IF YOU HAVE QUESTIONS.

           If you have any questions or require any assistance in voting your WHITE Universal Proxy Card or need
     additional copies of Blackwells’ proxy materials, please contact:
                                               MacKenzie Partners, Inc.
                                              1407 Broadway, 27th Floor
                                                 New York, NY 10018
                                           Call Toll Free: 1-800-322-2885
                                         Email: proxy@mackenziepartners.com
          IT IS IMPORTANT THAT YOU RETURN YOUR WHITE UNIVERSAL PROXY CARD
     PROMPTLY. PLEASE SIGN AND DATE YOUR WHITE UNIVERSAL PROXY CARD AND RETURN
     IT IN THE ENCLOSED POSTAGE-PAID ENVELOPE TO AVOID UNNECESSARY EXPENSE AND
     DELAY. NO POSTAGE IS NECESSARY.

                                                            28




                                                                                                                         APP.034
Case 3:24-cv-00707-L           Document 38             Filed 04/15/24            Page 40 of 276            PageID 1307




     CERTAIN ADDITIONAL INFORMATION

          WE HAVE OMITTED FROM THIS PROXY STATEMENT CERTAIN DISCLOSURE REQUIRED BY
     APPLICABLE LAW THAT IS EXPECTED TO BE INCLUDED IN THE CORPORATION’S PROXY
     STATEMENT RELATING TO THE ANNUAL MEETING BASED ON OUR RELIANCE ON RULE 14A-
     5(C) UNDER THE EXCHANGE ACT. THIS DISCLOSURE IS EXPECTED TO INCLUDE, AMONG
     OTHER THINGS, CURRENT BIOGRAPHICAL INFORMATION ON THE CORPORATION’S
     DIRECTORS, INFORMATION CONCERNING EXECUTIVE COMPENSATION AND DIRECTOR
     COMPENSATION, INFORMATION CONCERNING THE COMMITTEES OF THE BOARD AND OTHER
     INFORMATION CONCERNING THE BOARD, INFORMATION CONCERNING CERTAIN RELATIONS
     AND RELATED PARTY TRANSACTIONS, INFORMATION ABOUT THE EFFECT OF CHANGE OF
     CONTROL PROVISIONS IN CERTAIN OF THE CORPORATION’S MATERIAL AGREEMENTS AND
     HOUSEHOLDING OF PROXY MATERIALS. SEE SCHEDULE II FOR INFORMATION REGARDING
     PERSONS WHO BENEFICIALLY OWN MORE THAN 5% OF THE SHARES AND THE OWNERSHIP OF
     THE SHARES BY THE DIRECTORS AND MANAGEMENT OF THE CORPORATION. WE DO NOT
     MAKE ANY REPRESENTATION AS TO THE ACCURACY OR COMPLETENESS OF THE
     INFORMATION CONTAINED IN THE CORPORATION’S PROXY STATEMENT.
           The information concerning the Corporation contained in this Proxy Statement and the Schedules attached
     hereto has been taken from, or is based upon, publicly available information.

                                               Blackwells Capital LLC
                                                    April 3, 2024

                                                          29




                                                                                                                     APP.035
Case 3:24-cv-00707-L             Document 38             Filed 04/15/24             Page 41 of 276              PageID 1308




                                                      SCHEDULE I

        TRANSACTIONS IN THE CORPORATION’S SECURITIES DURING THE PAST TWO YEARS

          Information relating to any transactions in securities of the Corporation by the Participants during the past
     two years is reflected in the table below.

                                            BLACKWELLS CAPITAL LLC

                                                                           Securities Purchased         Date of
     Nature of the Transaction                                                    (Sold)             Purchase/Sale
     Purchase of Common Stock                                                              100              6/26/2023
     Purchase of Common Stock                                                          656,161              3/26/2024
     Purchase of Common Stock                                                           36,447              3/27/2024
     Purchase of Common Stock                                                           24,692              3/28/2024
     Purchase of Common Stock                                                           24,692               4/1/2024

                                          BLACKWELLS ONSHORE I LLC

                                                                           Securities Purchased         Date of
     Nature of the Transaction                                                    (Sold)             Purchase/Sale
     Purchase of Common Stock                                                           10,000               3/4/2024

                                                    JASON AINTABI

                                                          None.

                                                 MICHAEL CRICENTI

                                                          None.

                                                  JENNIFER M. HILL
                                                          None.

                                                   BETSY L. MCCOY

                                                          None.

                                                   STEVEN J. PULLY

                                                          None.
           Except as otherwise stated in this Proxy Statement, no part of the purchase price or market value of any of
     the securities specified in the transactions listed in this Schedule I was represented by funds borrowed or
     otherwise obtained for the purpose of acquiring or holding such securities.

                                                            I-1




                                                                                                                          APP.036
Case 3:24-cv-00707-L              Document 38               Filed 04/15/24               Page 42 of 276               PageID 1309


                                                          SCHEDULE II

           The following tables are reprinted from the Corporation’s proxy statement filed with the SEC on
       March 28, 2024:

                             Security Ownership of Management and Certain Beneficial Owners
              The following table sets forth information as of March 14, 2024 regarding the ownership of our equity
       securities by (i) each person known to us who beneficially owns, directly or indirectly, more than five percent of
       our outstanding shares of voting stock, (ii) each of our directors and named executive officers and (iii) all of our
       directors and executive officers as a group. In accordance with SEC rules, each listed person’s beneficial
       ownership includes: (i) all shares the person owns beneficially; (ii) all shares over which the person has or
       shares voting or dispositive control (such as in the capacity of a general partner of an investment fund); and
       (iii) all shares the person has the right to acquire within 60 days. Unless otherwise indicated, each person or
       entity named below has sole voting and investment power with respect to all shares of our voting stock shown
       to be beneficially owned by such person or entity. As of March 14, 2024, we had an aggregate of 84,453,761
       shares of voting stock outstanding, consisting of 66,520,711 shares of our common stock, 16,158,870 shares of
       our Series E Preferred Stock and 1,774,180 shares of our Series M Preferred Stock. Except as indicated in the
       footnotes to the table below, the address of each person listed below is the address of our principal executive
       office, 14185 Dallas Parkway, Suite 1200, Dallas, Texas 75254.

       Security Ownership of Management and Directors

                                              Common Stock              Series E Preferred Stock    Series M Preferred Stock
                                         Amount and                     Amount and                  Amount and
                                          Nature of                      Nature of                   Nature of
                                          Beneficial     Percent of      Beneficial   Percent of     Beneficial    Percent of
       Name of Beneficial Owner          Ownership(1)     Class(2)      Ownership       Class       Ownership        Class
       Monty J. Bennett                    321,318(3)           *           44,444              *            —                  *
       Richard J. Stockton                 230,247              *                —              *            —                  *
       Deric S. Eubanks                    305,189              *                —              *            —                  *
       Mark L. Nunneley                    434,822              *           18,000              *            —                  *
       Alex Rose                                 —              *                —              *            —                  *
       Stefani D. Carter                    82,421              *                —              *            —                  *
       Candace Evans                        33,292              *             1,206             *            —                  *
       Kenneth H. Fearn, Jr.                70,626              *                —              *            —                  *
       Rebeca Odino-Johnson                 14,925              *                —              *            —                  *
       Matthew D. Rinaldi                   91,764              *             4,444             *            —                  *
       Abteen Vaziri                        46,940              *                —              *            —                  *
       All directors and executive
         officers as a group (11
         persons)                        1,197,329            1.8%          51,205              *            —                  *
       ____________
       *     Denotes less than 1.0%
       (1)   Ownership includes common units of Braemar OP issued in connection with our spin-oﬀ from Ashford Trust in
             November 2013. Beginning one year from the issuance date, such common units issued are redeemable by the holder
             for cash or, at our option, shares of our common stock on a one-for-one basis. Assumes that all common units of our
             operating partnership held by such person or group of persons are redeemed for common stock (regardless of when
             such units are redeemable). The number includes LTIP units in our operating partnership that have achieved economic
             parity with the common units as of March 14, 2024 but excludes any LTIP units (including Performance LTIPs)
             issued subsequent to March 14, 2024 or that have not yet achieved economic parity or PSUs, LTIP units or
             Performance LTIPs that have not yet vested. All LTIP units that have achieved economic parity with the common
             units are, subject to certain time-based and/or performance-based vesting requirements, convertible into common
             units, which may be redeemed for either cash or, at our sole discretion, up to one share of our common stock.
             Ownership does not include shares of our Series C Preferred Stock, none of which have been issued. The Company
             has no immediate plans to issue any Series C Preferred Stock.

                                                                 II-1



                                                                                                                                    APP.037
Case 3:24-cv-00707-L              Document 38                   Filed 04/15/24            Page 43 of 276               PageID 1310




      (2)   In computing the percentage ownership of a person or group, we have assumed that the common units of Braemar OP
            held by that person or the persons in the group have been redeemed for shares of our common stock and the LTIP
            units held by that person or the persons in the group that have achieved economic parity with the common units are
            redeemed for common stock and that those shares are outstanding but that no common units or LTIP units held by
            other persons are redeemed for shares of our common stock.
      (3)   Includes 246,954 common units held directly by Ashford Financial Corporation, 50% of which is owned by
            Mr. Monty J. Bennett. Mr. Monty J. Bennett disclaims beneficial ownership in excess of his pecuniary interest in such
            common units.

      Security Ownership of Certain Beneficial Owners

            The following table sets forth information as of March 14, 2024 regarding the ownership of our equity
      securities by the persons known to Braemar to be the beneficial owners of five percent or more of our common
      stock, our Series E Preferred Stock or Series M Preferred Stock, by virtue of the filing of a Schedule 13D or
      Schedule 13G with the SEC. To our knowledge, other than as set forth in the table below, there are no persons
      owning more than five percent of any class of Braemar’s common stock.

                                                  Common Stock            Series E Preferred Stock Series M Preferred Stock
                                             Amount and             Amount and            Amount and
                                              Nature of              Nature of             Nature of
      Name and Address of Beneficial          Beneficial Percent of Beneficial Percent of Beneficial                 Percent of
      Owner                                  Ownership(1)  Class    Ownership    Class    Ownership                    Class
      BlackRock, Inc.                         9,963,188(2)        15.0%             —             *             —              *
      Al Sham Investments Limited             6,563,000(3)        9.8%              —             *             —              *
      Zazove Associates, LLC                  6,701,446   (4)
                                                                  9.68%             —             *             —              *
      The Vanguard Group                      3,399,117(5)        5.15%             —             *             —              *
      ____________
      (1)   As of March 14, 2024, there were outstanding and entitled to vote 66,520,711 shares of common stock. Ownership
            does not include shares of our Series C Preferred Stock, none of which have been issued. The Company has no
            immediate plans to issue any Series C Preferred Stock.
      (2)   Based on information provided by BlackRock, Inc. in a Schedule 13G ﬁled with the SEC on January 22, 2024. Per
            such Schedule 13G, BlackRock, Inc. has sole voting power over 9,223,186 shares and sole dispositive power of all of
            such shares. The principal business address of BlackRock, Inc. is 50 Hudson Yards, New York, New York 10001.
      (3)   Based on information provided by Al Shams Investments Limited in a Schedule 13G ﬁled with the SEC on
            February 14, 2023. Per such Schedule 13G, Al Shams Investments Limited has shared voting power over all of such
            shares and shared dispositive power of all of such shares. The principal business address of Al Shams Investments
            Limited is 5B Waterloo Lane, Pembroke HM 08, Bermuda.
      (4)   Based on information provided by Zazove Associates, LLC in a Schedule 13G ﬁled with the SEC on January 10,
            2024. Per such Schedule 13G, Zazove Associates, LLC has sole voting power over all of such shares and sole
            dispositive power of all of such shares. The principal business address of Zazove Associates, LLC is 1001 Tahoe
            Blvd., Incline Village, NV 89451.
      (5)   Based on information provided by The Vanguard Group in a Schedule 13G ﬁled with the SEC on February 13, 2024.
            Per such Schedule 13G, The Vanguard Group has shared voting power of 29,625 shares, sole dispositive power of
            3,345,921 shares and shared dispositive power of 53,196 shares. The principal business address of The Vanguard
            Group is 100 Vanguard Blvd., Malvern, PA 19355.

                                                                  II-2




                                                                                                                                    APP.038
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 44 of 276   PageID 1311




                                                                                 APP.039
Case 3:24-cv-00707-L                                                                                                                                                                                                                                                      Document 38                                                                                                                                                                                                                                      Filed 04/15/24                                                                                                                                                                                                                                                         Page 45 of 276                                                                                                                                                                                                                                                              PageID 1312




      YOUR VOTE IS I MPORTANT . P LEASE VOTE TODAY. VOTE B Y I N TERNET – Q U I C K A N D E A S Y IMMED I A T E – 2 4 H O U R S A DAY , 7 DAYS A WEEK OR B Y MAI L Braemar Hotels & Resorts Inc. As a stockholder of Braemar Hotels & Resorts Inc. (the “Company”), you have the option of voting your shares electronically through the Internet or by telephone, eliminating the need to return the WHITE proxy card. Your electronic or telephonic vote authorizes the named proxies to vote your shares in the same manner as if you marked, signed, dated and returned the WHITE proxy card. Votes submitted electronically over the Internet or by telephone must be received by 11:59 p.m., Eastern Time, on May 14, 2024. VOTE BY INTERNET – WWW.CESVOTE.COM Use the Internet to transmit your voting instructions. Have your WHITE proxy card in hand when you access the web site and follow the instructions to create an electronic voting instruction form. OR VOTE BY TELEPHONE – 1-888-693-8683 Use any touch-tone telephone to transmit your voting instructions. Have your
      WHITE proxy card in hand when you call and then follow the instructions. OR VOTE BY MAIL Mark, sign and date your WHITE proxy card and return it in the postage-paid envelope we have provided to: Blackwells Capital LLC, c/o Corporate Election Services, P.O. Box 3230, Pittsburgh, PA 15230. If you vote by Internet or by telephone, you do NOT need to mail back your WHITE proxy card. CONTROL NUMBER If submitting a proxy by mail, please sign and date the card below and fold and detach card at perforation before mailing. 1. Election of Directors -- Instructions for Proposal 1: While you may mark instructions to any or all of the nominees, you may mark a vote “FOR” only eight nominees in total. You are permitted to vote for fewer than eight nominees. If you vote “FOR” fewer than eight nominees, your shares will be voted “FOR” those nominees you have marked and default to a “WITHHOLD” vote with respect to any nominee left unmarked. If you vote “FOR” more than eight nominees, your elections in Proposal 1 will be invalid and, depending on your broker, bank, or other nominee
      through which you hold shares, your votes on all other proposals before the 2024 Annual Meeting of Stockholders (including any adjournments, postponements, or continuations thereof, the “Annual Meeting”) may also be invalid. We will also transact any other business that may properly come before the Annual Meeting. Blackwells recommends you vote FOR the Blackwells nominees Blackwells recommends you vote FOR the Blackwells nominees BLACKWELLS NOMINEES FOR WITHHOLD 1a. Michael Cricenti 1b. Jennifer M. Hill 1c. Betsy L. McCoy 1d. Steven J. Pully COMPANY NOMINEES FOR WITHHOLD 1e. Monty J. Bennett 1f. Stefani D. Carter 1g. Candace Evans 1h. Kenneth H. Fearn, Jr. 1i. Rebeca Odino-Johnson 1j. Matthew D. Rinaldi 1k. Richard J. Stockton 1l. Abteen Vaziri Blackwells recommends you vote FOR the following Blackwells proposals: 2. The Blackwells proposal, if properly presented at the meeting, to adopt a non-binding, advisory resolution to urge the Board to amend the Company’s Bylaws to remove clause (iv) of Section 11(a)(3)(D) of Article I of the Company’s
      Bylaws. 3. The Blackwells proposal, if properly presented at the meeting, to adopt a non-binding, advisory resolution urging the Board to amend the Company’s Corporate Governance Guidelines to add a provision precluding any current or former employee, director, officer, or control person of Ashford Hospitality Trust, Inc., a Maryland corporation, Ashford Hospitality Limited Partnership, a Delaware limited partnership, Ashford Inc., a Nevada corporation, Ashford Hospitality Advisors, LLC, a Delaware limited liability company and the asset manager of the Corporation, Premier Project Management LLC, a Maryland limited liability company, Remington Lodging & Hospitality, LLC, a Delaware limited liability company, or any of the affiliates of the foregoing from serving as the Company’s chairman of the Board 4. The Blackwells proposal, if properly presented at the meeting, to adopt a non-binding, advisory resolution requiring the Board to disclose all extraordinary transaction proposals made by stockholders, affiliates and third parties during the two most recently completed calendar years and the terms
      of those proposed transactions. 5. The Blackwells proposal, if properly presented at the meeting, to adopt a non-binding, advisory resolution requiring the Board to disclose all compensation paid by the Company to members of the Bennett family, The Dallas Express and employees, directors or agents of The Dallas Express, including Louis Darrouzet. Blackwells recommends you vote AGAINST the following Company proposal: 6. To obtain advisory approval of the Company’s executive compensation. Blackwells recommends you vote FOR the following Company proposal: 7. To ratify the appointment of BDO USA, P.C., a national public accounting firm, as the Company’s independent auditors for the fiscal year ending December 31, 2024 FOR AGAINST ABSTAIN Date , 2024 (Signature) (Signature if Held Jointly) NOTE: Please sign exactly as name(s) appear(s) hereon. When signing as attorney, executor, administrator or other fiduciary, please give full title as such. Joint owners should each sign personally. If a corporation, limited liability company or partnership, please sign in full corporate, limited
      liability company or partnership name by authorized officer or person.




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 APP.040
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 46 of 276   PageID 1313




                                                                                 APP.041
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 47 of 276   PageID 1314




                                                                                 APP.042
Case 3:24-cv-00707-L                                                                                                                                                                                                                                Document 38                                                                                                                                                                                                                  Filed 04/15/24                                                                                                                                                                                                                                   Page 48 of 276                                                                                                                                                                                                                                        PageID 1315




      Important Notice Regarding the Availability of Proxy Materials for the Annual Meeting The Proxy Statement is available at: www.viewourmaterial.com/BHR If you have questions or require any assistance with voting your shares, please contact Blackwells’ proxy solicitor listed below: 1407 Broadway, 27th Floor New York, New York 10018 Call Collect: (212) 929-5500 or Toll-Free (800) 322-2885 Email: proxy@mackenziepartners.com If submitting a proxy by mail, please sign and date the card and fold and detach card at perforation before mailing. BRAEMAR HOTELS & RESORTS INC. 2024 ANNUAL MEETING OF STOCKHOLDERS May 15, 2024 THIS WHITE PROXY IS SOLICITED ON BEHALF OF BLACKWELLS AND NOT ON BEHALF OF THE BOARD OF DIRECTORS OF THE COMPANY WHITE PROXY CARD The undersigned hereby appoints Jason Aintabi and Bob Marese (together, as “Proxies”), and each of them acting individually or in the absence of others, with full power of substitution and re-substitution and all powers that the undersigned would possess if personally
      present, as proxies to vote all the shares of common stock, Series E Preferred Stock and Series M Preferred Stock of the Company that the undersigned is entitled to vote at the Annual Meeting of the Company to be held on May 15, 2024 at 9:00 A.M. Central Daylight Time. By validly executing this proxy, the undersigned acknowledges receipt of the Notice of Annual Meeting and the accompanying Proxy Statement, the terms of which are incorporated by reference herein, and revokes any proxy previously given by the undersigned with respect to the Annual Meeting. BLACKWELLS CAPITAL LLC (“BLACKWELLS”) RECOMMENDS YOU VOTE “FOR” THE ELECTION OF BLACKWELLS’ FOUR DIRECTOR NOMINEES ON PROPOSAL 1, “FOR” PROPOSAL 2, “FOR” PROPOSAL 3, “FOR” PROPOSAL 4, “FOR” PROPOSAL 5, “AGAINST” PROPOSAL 6 AND “FOR” PROPOSAL 7 USING THE WHITE PROXY CARD. THIS WHITE PROXY CARD, WHEN PROPERLY EXECUTED, WILL BE VOTED AS DIRECTED BY THE UNDERSIGNED. IF NO DIRECTION IS MADE AS TO
      ANY ITEM, THIS PROXY WILL BE VOTED “FOR” ALL OF THE BLACKWELLS NOMINEES IN PROPOSAL 1, “WITHHOLD” ON THE COMPANY NOMINEES, “FOR” PROPOSAL 2, “FOR” PROPOSAL 3, “FOR” PROPOSAL 4, “FOR” PROPOSAL 5, “AGAINST” PROPOSAL 6 AND “FOR” PROPOSAL 7 AND, TO THE EXTENT AUTHORIZED UNDER RULE 14A-4(C) UNDER THE SECURITIES EXCHANGE ACT OF 1934, AS AMENDED, IN THE DISCRETION OF THE PROXIES NAMED HEREIN WITH RESPECT TO SUCH OTHER BUSINESS AS MAY PROPERLY COME BEFORE THE MEETING. IMPORTANT – PLEASE MARK, SIGN, DATE AND RETURN YOUR WHITE PROXY CARD PROMPTLY. THANK YOU FOR VOTING. (Continued and to be dated and signed on reverse side)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   APP.043
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 49 of 276   PageID 1316




                         EXHIBIT B
   Case 3:24-cv-00707-L      Document 38         Filed 04/15/24   Page 50 of 276           PageID 1317

                Blackwells Files Definitive
                Proxy Statement for Braemar
                Hotels & Resorts Inc.’s 2024
                Annual Meeting
                10 avr. 2024 07h30 | Source: Blackwells Capital              Suivre


                HE                         LLC




Share
                 Urges Shareholders to Hold Braemar’s Board Accountable for

                 Massive Value Destruction and Enrichment of Monty Bennett


                 Recommends Shareholders Elect Blackwells’ Highly Qualified

                                  Candidates to Serve All Shareholders


                 Launches www.NoMoreMonty.com to Promote Transparency


                NEW YORK, April 10, 2024 (GLOBE NEWSWIRE) --

                Blackwells Capital LLC (“Blackwells”), a shareholder of

                Braemar Hotels & Resorts Inc. (“Braemar” or the “Company”)

                (NYSE: BHR) has filed a definitive proxy statement with the

                Securities    and         Exchange   Commission   (the    “SEC”)      in

                connection with its nomination of four highly qualified

                candidates—Jennifer M. Hill, Betsy L. McCoy, Steven J. Pully

                and Michael Cricenti (collectively, the “Blackwells Nominees”)

                —for election to the board of directors of Braemar (the

                “Board”)     at     the    Company’s   2024   annual     meeting      of
                                                                                                     APP.044
Case 3:24-cv-00707-L     Document 38         Filed 04/15/24      Page 51 of 276        PageID 1318
             shareholders (the “2024 Annual Meeting”) to be held on May

             15, 2024.


             Jason Aintabi, Chief Investment Officer of Blackwells, said:


             “Braemar is in a pitiful state. Despite its exceptional assets,

             Monty Bennett’s failed leadership has had shareholders suffer

             through an almost 90% decline in share price over the last 10

             years.i During the same period, management fees paid to

             Ashford Hospitality Advisors, LLC (“Ashford LLC”), have grown

             by over 575%.ii,iii Braemar has become a thinly traded

             microcap     stock   with   a     measly     $133     million    market

             capitalization.iv Astonishingly, the termination fee Mr. Bennett

             and Ashford think they are owed—after having presided over

             this disaster—outstrips the entire market value of Braemar.v If

             this is not corporate piracy, we simply do not know what

             is.


             Several     months   ago,       Blackwells   called     on      Braemar

             to investigate potential breaches of fiduciary duty and/or other

             wrongdoing by the Board and/or management in connection

             with the Company’s relationship with Monty Bennett and

             Ashford. Blackwells also made a proposal to acquire

             Braemar in an offer that provided for a termination fee payable

             to Mr. Bennett of $35 million—a fraction of what we believe Mr.

             Bennett thinks he and Ashford are owed.vi Another institution

             may have recently made an offer to acquire Braemar, which



                                                                                                 APP.045
Case 3:24-cv-00707-L      Document 38       Filed 04/15/24     Page 52 of 276        PageID 1319
             Blackwells believes the Board of Braemar, perhaps under Mr.

             Bennett’s orders, swept under the rug as well.vii


             The Braemar Board could have pursued a range of options

             beneficial to shareholders, including, among others:

                  Engage in good faith with Blackwells on its proposal;
                  Engage with the other institution that recently made an
                  offer to acquire Braemar;
                  Run a proper sale process to seek the highest value for
                  shareholders; and,
                  Compel Mr. Bennett and Ashford to “come down to earth”
                  and reduce their termination fee, which we currently
                  estimate    as    being    substantially more    than
                  the entire market value of Braemar.

             Instead     of   acting   in   shareholders’    best   interests   as

             independent fiduciaries must, and in the face of Blackwells’

             impending director nominations, the Board and Mr. Bennett

             chose to:

                  Modify the Company’s Bylaws (the “Bylaws”) to require
                  extensive disclosure in connection with director
                  nominations, such that Blackwells’ nomination materials
                  required the submission of a 445-page document
                  package;
                  File suit against Blackwells, its affiliates and its nominees
                  in U.S. Federal Court to obstruct Blackwells’ nominations;
                  Hire a law firm that we understand has a history of
                  personal business with Mr. Bennett to whitewash and
                  obstruct Blackwells’ demand for an independent
                  investigation; and
                  Use the “newspaper” Mr. Bennett publishes, The Dallas
                  Express, to publish defamatory articles about Blackwells’
                  CIO, Jason Aintabi.

             Blackwells believes Mr. Bennett’s behavior disqualifies him

             from being involved in any public company. More problematic

             still, is the ever-ballooning fee stream he and his affiliates

                                                                                               APP.046
Case 3:24-cv-00707-L      Document 38    Filed 04/15/24      Page 53 of 276        PageID 1320
             derive from Braemar—having increased from approximately

             $9 million in 2013 to a whopping $61 million in 2023.viii These

             fees represent almost half of the entire market value of

             Braemar, and have nearly doubled in the last two years

             alone.ix,x   As   one   might   imagine,   Braemar’s     ‘conflicts

             committee’ is the subject of much examination by Blackwells,

             as will be revealed in upcoming materials.


             Mr. Bennett can commission childish articles about Blackwells

             and its principals, he can continue to drive shareholders away

             from the real issues, and file meritless litigation meant to

             preserve his gravy train. This will not change the fact that Mr.

             Bennett must be removed from his roles at Braemar, and the

             external management agreement that Blackwells believes

             turns the Company into his personal “piggybank” must be

             terminated.


             Braemar’s current directors have cowered to poor governance

             practices, and have permitted the Company’s management to

             entrench themselves at the expense of shareholder value. The

             Blackwells    Nominees     possess   the   skills   necessary   to

             transform the Board and business of Braemar, unlocking value

             for shareholders that the Board has incessantly decimated

             over the past decade.


             We encourage shareholders to review our materials, the

             details of our engagement with the Company and other

             information at www.NoMoreMonty.com.

                                                                                             APP.047
Case 3:24-cv-00707-L    Document 38      Filed 04/15/24    Page 54 of 276       PageID 1321
             About the Blackwells Nominees


             Jennifer M. Hill, currently serves as the Founder and CEO of

             Murphy Hill Consulting LLC, a Connecticut-based consulting

             business providing consulting services focused on the

             financial services, asset management, insurance and risk

             management industries, since January 2015. Ms. Hill served

             as the Chief Financial Officer of Bank of America Merrill Lynch,

             an investment bank and financial services holding company,

             from July 2011 to December 2014.xi


             Betsy L. McCoy, currently serves as General Counsel and

             Vice President for The Related Group, a private real estate

             development company, a position she has served in since May

             2010. In her role, Ms. McCoy oversees the in-house legal

             department, including all aspects of compliance, management

             of legal services, legal reporting to executives, and legal

             guidance and as legal and business counsel to an affiliated

             real estate management company. From January 2008 to May

             2013, Ms. McCoy served as Associate General Counsel and

             Vice President of The Related Group.


             Steven J. Pully, serves on public and private company

             boards, he provides investment banking and consulting

             services through Speyside Partners LLC, an investment

             banking firm he co-founded in 2017, and he serves as an

             expert witness in legal disputes, generally in connection with

             his expertise in governance matters. Over the course of his

                                                                                          APP.048
Case 3:24-cv-00707-L    Document 38          Filed 04/15/24   Page 55 of 276     PageID 1322
             board service, he has served on boards of companies

             involved in a variety of different industries, he has served as

             Executive Chairman, Chairman, and Lead Director of various

             boards, and he has chaired a variety of board committees.


             Michael Cricenti, currently serves as Managing Partner and

             Chief Investment Officer of Magis Capital Partners, a private

             investment firm that employs a fundamental, value-oriented

             approach to investing in special situations, since January

             2017. Mr. Cricenti also served as a Senior Real Estate

             Investment Advisor at IsZo Capital Management LP, a hedge

             fund, from January 2017 to November 2021. Previously, from

             September 2009 until January 2017, Mr. Cricenti served as

             Managing        Director   at    Bluestem    Asset   Management

             (“Bluestem”), an investment firm with more than $1.5 billion in

             assets under management based in Charlottesville, Virginia.


             About the Blackwells Proposals


             Blackwells seeks Braemar shareholder support on proposals

             that include:

                  The election of each Blackwells director nominees—
                  Michael Cricenti, Jennifer M. Hill, Betsy L. McCoy and
                  Steven J. Pully;
                  The amendment of the Bylaws to remove the recently
                  adopted provision that Blackwells believes is unlawful;
                  The amendment of the Bylaws to preclude any current or
                  former employee, director, officer, or control person of the
                  Company or Ashford Inc. and Ashford’s affiliates from
                  serving as the Company’s chairman of the Board;
                  The requirement that the Board disclose all extraordinary
                  transaction proposals made by shareholders, affiliates
                  and third parties during the two most recently completed
                                                                                           APP.049
Case 3:24-cv-00707-L Document 38 Filed 04/15/24   Page 56 of 276 PageID 1323
                  calendar years and the terms of those proposed
                  transactions; and
                 The requirement that the Board disclose all compensation
                 paid by the Company to members of the Bennett
                 family, The Dallas Express and employees, directors or
                 agents of The Dallas Express, including Louis Darrouzet.

            About Blackwells Capital


            Blackwells Capital was founded in 2016 by Jason Aintabi, its

            Chief Investment Officer. Since that time, it has made

            investments in public securities, engaging with management

            and boards, both publicly and privately, to help unlock value

            for stakeholders, including shareholders, employees and

            communities. Throughout their careers, Blackwells’ principals

            have invested globally on behalf of leading public and private

            equity firms and have held operating roles and served on the

            boards of media, energy, technology, insurance and real

            estate     enterprises.   For   more    information,   please

            visit www.blackwellscap.com.


            Contacts


            Shareholders

            MacKenzie Partners, Inc.

            Toll Free: +1 (800) 322-2885

            proxy@mackenziepartners.com


            Media

            Gagnier Communications

            Dan Gagnier & Riyaz Lalani



                                                                             APP.050
Case 3:24-cv-00707-L   Document 38     Filed 04/15/24   Page 57 of 276   PageID 1324




            646-569-5897

            blackwells@gagnierfc.com




                                                                                   APP.051
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 58 of 276   PageID 1325




                         EXHIBIT C
    Case 3:24-cv-00707-L                  Document 38   Filed 04/15/24       Page 59 of 276                PageID 1326




Lawrence S. Elbaum lelbaum@velaw.com
Tel +1.212.237.0084 Fax +1.917.849.5379




March 26, 2024

BY HAND DELIVERY AND ELECTRONIC MAIL

Cadwalader, Wickersham & Taft LLP
200 Liberty Street
New York, New York 10281
Attn: Richard Brand

          Re:       Supplement to Notice of Intention to Nominate Individuals for Election as Directors
                    and to Submit Business Proposals for Stockholder Consideration at the 2024 Annual
                    Meeting of Stockholders of Braemar Hotels & Resorts Inc.

Dear Mr. Brand:

        We write on behalf of our client, Blackwells Capital LLC (the “Nominating Stockholder”), to
hereby submit this supplement (this “Supplement”) to its notice of intention to nominate individuals for
election as directors and to submit business proposals for stockholder consideration at the 2024 annual
meeting of stockholders (including any other meeting of stockholders held in lieu thereof, and any
adjournments, postponements, reschedulings or continuations thereof, the “Annual Meeting”) of Braemar
Hotels & Resorts Inc. (the “Corporation”), dated March 10, 2024 (such letter and all exhibits attached
thereto, the “Nomination Notice”). Defined terms used but not defined herein shall have the meanings
ascribed to them in the Nomination Notice. All matters disclosed in any part of this Supplement shall be
deemed disclosed for purposes of the Nomination Notice, which for the avoidance of doubt shall also be
deemed disclosed for the purposes of the questionnaires attached as Exhibit G thereto.

        Article I, Section 11(c)(1) of the Bylaws purports to require that the Nominating Stockholder
“notify the Corporation of any inaccuracy or change (within two Business Days of becoming aware of
such inaccuracy or change)” in information disclosed in the Nomination Notice. Accordingly, the
Nominating Stockholder is submitting this Supplement to update and supplement certain information set
forth in the Nomination Notice, as specifically set forth below.

        This Supplement should be read in conjunction with, and deemed to be a part of, the Nomination
Notice. However, to the extent the following information differs from, updates or conflicts with
information contained in the Nomination Notice for which the Bylaws may be properly interpreted to
request supplemental information be provided to the Corporation following a stockholder’s submission of
notice of intent to nominate persons for election and submit proposals for stockholder consideration, the
supplemental information below is more current and reflects information as of the date of this Supplement.
The inclusion or incorporation by reference of the information contained in this Supplement shall not be
deemed to constitute an admission that any such information is required by Article I, Section 11 of the
Vinson & Elkins LLP Attorneys at Law                                The Grace Building, 1114 Avenue of the Americas, 32nd Floor
Austin Dallas Dubai Houston London Los Angeles                      New York, NY 10036-7708
New York Richmond San Francisco Tokyo Washington                    Tel +1.212.237.0000 Fax +1.212.237.0100 velaw.com



                                                                                                                                  APP.052
   Case 3:24-cv-00707-L         Document 38        Filed 04/15/24        Page 60 of 276             PageID 1327



                                                                Cadwalader, Wickersham & Taft LLP March 26, 2024 Page 2




Bylaws. Information included in any subsection below shall also be deemed to be information provided
in response to items requested in any other subsection of the Notice, whether specifically set forth or not.

       The disclosure provided under Section D.(ii) of the Nomination Notice regarding a
description of the investment strategy or objective, if any, of such stockholder and each such
Stockholder Associated Person who is not an individual and a copy of the prospectus, offering
memorandum or similar document and any presentation, document, offering memorandum or
similar document and any presentation, document or marketing material provided to third parties
(including investors and potential investors) to solicit an investment in such stockholder and each
such Stockholder Associated Person that contains or describes such stockholder’s and each such
Stockholder Associated Person’s performance, personnel or investment thesis or plans or proposals
with respect to the Corporation is hereby supplemented with information as of the date of this
Supplement as follows:

               In the process of preparing the Nomination Notice, the date listed on the first page of the
       presentation, attached as Exhibit C to the Nomination Notice (the “December 2023
       Presentation”), was inadvertently changed from “December 2023” to “March 2024.” The version
       of the December 2023 Presentation that was provided to Vinson & Elkins L.L.P. (“V&E”) by the
       Nominating Stockholder was dated December 2023. In the process of redacting the name of the
       recipient of the December 2023 Presentation, V&E erroneously titled the presentation March 2024.
       Attached as Exhibit A is the actual version of the December 2023 Presentation that was provided
       to V&E, manually redacted to omit the name of the recipient. As stated in the Nomination Notice,
       the Nominating Stockholder will share information related to the individuals contacted in
       connection with the Proposed Acquisition of the Corporation pursuant to a suitable and mutually
       agreeable non-disclosure agreement. The Nomination Notice is hereby corrected to include the
       correct date of “December 2023” on the cover page of the December 2023 Presentation. The
       information in the December 2023 Presentation remains unchanged except that, as stated in the
       Nomination Notice, the Nominating Stockholder currently has no intention of pursuing an
       acquisition or similar transaction with respect to the Corporation.

      The disclosure provided under Section D.(iii) of the Nomination Notice regarding all
information relating to the stockholder, the Nominees or the Stockholder Associated Person that
would be required to be disclosed in connection with the solicitation of proxies pursuant to
Regulation 14A (or any successor provision) under the Securities Exchange Act of 1934, as
amended, is hereby supplemented to include the entry into the following agreements, arrangements
or understandings as of the date of this Supplement as follows:

              On March 26, 2024, the Nominating Stockholder, Blackwells Onshore I LLC, Jason
       Aintabi and the Nominees (collectively, the “Parties”) entered into a Joint Filing and Solicitation



                                                                                                                      APP.053
   Case 3:24-cv-00707-L        Document 38        Filed 04/15/24        Page 61 of 276             PageID 1328



                                                               Cadwalader, Wickersham & Taft LLP March 26, 2024 Page 3




       Agreement pursuant to which the Parties agreed, among other things, to the joint filing of
       solicitation materials with the Securities and Exchange Commission on behalf of each of the
       Parties in connection with the joint solicitation of proxies for the election of the Nominees and in
       favor of the Proposals at the Annual Meeting. A copy of the Joint Filing and Solicitation
       Agreement is attached hereto as Exhibit B and is incorporated herein by reference.

                Blackwells has engaged MacKenzie Partners, Inc. (“MacKenzie”) as a proxy solicitor in
       connection with the Annual Meeting and anticipates that certain employees of MacKenzie may
       communicate in person, by telephone or otherwise with a limited number of institutions, brokers
       or other persons who are stockholders of the Corporation for the purpose of assisting in the
       solicitation of proxies for the Annual Meeting. Approximately 20 employees of MacKenzie will
       solicit holders of securities of the Corporation in connection with the Annual Meeting. Blackwells
       expects to pay MacKenzie a fee not to exceed $180,000 for its services in connection with the
       solicitation of proxies for the Annual Meeting.

        The disclosure provided under Section H. of the Nomination Notice regarding a completed
Nominee questionnaire (which questionnaire shall be provided by the Corporation, upon request,
to the stockholder providing the notice and shall include all information relating to the Nominee
that would be required to be disclosed in connection with the solicitation of proxies for the election
of the Nominee as a director in an election contest (even if an election contest is not involved), or
would otherwise be required in connection with such solicitation, in each case pursuant to
Regulation 14A (or any successor provision) under the Exchange Act and the rules thereunder, or
would be required pursuant to the rules of any national securities exchange on which any securities
of the Corporation are listed or over-the-counter market on which any securities of the Corporation
are traded), is hereby supplemented as follows:

              As stated in the signature page to the questionnaire, Betsy L. McCoy completed the
       questionnaire to the best of her knowledge and agreed to notify the Corporation immediately if
       any information contained therein becomes inaccurate, incomplete or otherwise changes. Ms.
       McCoy has notified the Nominating Stockholder that she misread Question 14(b) in Part IA of the
       questionnaire to require responses only for the 2 years preceding the submission of the Nomination
       Notice. After receiving the March 24 Letter (defined below) referencing her failure to disclose
       information regarding “bankruptcy matters” and upon re-reading her questionnaire, she now
       supplements her response to Part IA, Question 14(b) of the questionnaire as follows:

              In 2004 Ms. McCoy filed a petition for relief under chapter 13 of the Bankruptcy
              Code in the United States Bankruptcy Court for the Middle District of Florida (the
              “2004 Bankruptcy Proceeding”). In connection with the 2004 Bankruptcy
              Proceeding, Ms. McCoy participated in a full plan of reorganization and made



                                                                                                                     APP.054
   Case 3:24-cv-00707-L          Document 38        Filed 04/15/24         Page 62 of 276             PageID 1329




                                                                  Cadwalader, Wickersham & Taft LLP March 26, 2024 Page 4




               monthly payments to the U.S. trustee, which payments were used to meet creditor
               obligations.

       Accordingly, the questionnaire provided by Ms. McCoy, included in Exhibit G of the
       Nomination Notice, is hereby corrected to include the 2004 Bankruptcy Proceeding.


                                             * * *
        The Nominating Stockholder is in receipt of a letter dated March 24, 2024 from Cadwalader,
Wickersham & Taft LLP, counsel for the Corporation, purporting to notify the Nominating Stockholder
that the Corporation has rejected and disregarded the nomination of the Nominees (the “March 24
Letter”). We and the Nominating Stockholder are reviewing the March 24 Letter and will provide a
response in due course.

        Please address any correspondence to Vinson & Elkins L.L.P., 1114 Avenue of the Americas, 32nd
Floor, New York, New York 10036, Attention: Lawrence S. Elbaum, telephone: 212-237-0084, facsimile:
917-849-5379, email: lelbaum@velaw.com and C. Patrick Gadson, telephone: 212-237-0198, facsimile:
917-849-5386, email: pgadson@velaw.com (with a copy to Blackwells Capital LLC, 400 Park Ave., 4th
Floor, New York, New York 10022, Attention: Jason Aintabi, telephone (212) 792-6096). The giving of
this Supplement is not an admission that any purported procedures for notice concerning the nomination
of directors to the Corporation’s board of directors and submission of the business proposal are legal, valid
or binding, and the Nominating Stockholder reserves the right to challenge their validity. If the
Corporation contends this Supplement is incomplete or is otherwise deficient, please promptly notify the
individuals listed in this paragraph setting forth the facts that the Corporation contends support its position
and specifying any additional information believed to be required. In the absence of such prompt notice,
the Nominating Stockholder will assume that the Corporation agrees that the Nomination Notice and this
Supplement comply in all respects with the requirements of the Bylaws. The Nominating Stockholder
reserves the right to withdraw, modify, correct and/or supplement in any way (including, without
limitation, by adding or substituting Nominees) the Nomination Notice and/or this Supplement at any
time.



                                                        Sincerely,

                                                        /s/ Lawrence S. Elbaum
                                                        Lawrence S. Elbaum




                                                                                                                        APP.055
Case 3:24-cv-00707-L   Document 38     Filed 04/15/24      Page 63 of 276             PageID 1330




                                                  Cadwalader, Wickersham & Taft LLP March 26, 2024 Page 5




                                     Exhibit A

                           December 2023 Presentation




                                                                                                        APP.056
                Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 64 of 276   PageID 1331




                              PROJECT TIGER

                                  Braemar Hotels & Resorts Inc.




DECEMBER 2023


                                                                                                     APP.057
                                          Case 3:24-cv-00707-L                    Document 38                Filed 04/15/24              Page 65 of 276                PageID 1332


                                                                                       LEGAL DISCLAIMER

The views expressed in this presentation (the “Presentation”) represent the opinions of Blackwells Capital LLC and/or certain affiliates (“Blackwells”) and the investment funds it manages that hold shares in Braemar Hotels &
Resorts (“BHR”, “Braemar” or the “Company”) (NYSE: BHR). This Presentation is for informational purposes only, and it does not have regard to the specific investment objective, financial situation, suitability or particular need
of any specific person who may receive the Presentation and should not be taken as advice on the merits of any investment decision. The views expressed in the Presentation represent the opinions of Blackwells and are
based on publicly available information and Blackwells’ analyses.

Certain financial information and data used in the Presentation have been derived or obtained from filings made with the Securities and Exchange Commission (“SEC”) by the Company or other companies that Blackwells
considers comparable. Certain statements and information included herein have been sourced from third parties. Blackwells has not sought or obtained consent from any third party to use any statements or information
indicated in the Presentation as having been obtained or derived from a third party. Any such statements or information should not be viewed as indicating the support of such third party for the views expressed in the
Presentation. Information contained in the Presentation has not been independently verified by Blackwells, and Blackwells disclaims any and all liability as to the completeness or accuracy of the information and for any
omissions of material facts. Blackwells disclaims any obligation to correct, update or revise the Presentation or to otherwise provide any additional materials. Blackwells recognizes that the Company may possess confidential
information that could lead it to disagree with Blackwells’ views and/or conclusions.

Blackwells currently beneficially owns, and/or has an economic interest in, shares of the Company. Blackwells is in the business of trading—buying and selling—securities. Blackwells may buy or sell or otherwise change the
form or substance of any of its investments in any manner permitted by law and expressly disclaims any obligation to notify any recipient of the Presentation of any such changes. There may be developments in the future that
cause Blackwells to engage in transactions that change its beneficial ownership and/or economic interest in the Company.

The securities or investment ideas listed are not presented in order to suggest or show profitability of any or all transactions. There should be no assumption that any specific portfolio securities identified and described in the
Presentation were or will be profitable. Under no circumstances is the Presentation to be used or considered as an offer to sell or a solicitation of an offer to buy any security.

This document is the property of Blackwells and may not be published or distributed without the express written consent of Blackwells. All registered or unregistered service marks, trademarks and trade names referred to in
this Presentation are the property of their respective owners, and Blackwells’ use herein does not imply an affiliation with, or endorsement by, the owners of these service marks, trademarks and trade names.

The information herein contains “forward-looking statements.” Specific forward-looking statements can be identified by the fact that they do not relate strictly to historical or current facts and include, without limitation, words
such as “may,” “will,” “expects,” “believes,” “anticipates,” “plans,” “estimates,” “projects,” “targets,” “forecasts,” “seeks,” “could,” “should” or the negative of such terms or other variations on such terms or comparable
terminology. Similarly, statements that describe our objectives, plans or goals are forward-looking. Forward-looking statements are subject to various risks and uncertainties and assumptions. There can be no assurance that
any idea or assumption herein is, or will be proven, correct. If one or more of the risks or uncertainties materialize, or if Blackwells’ underlying assumptions prove to be incorrect, the actual results may vary materially from
outcomes indicated by these statements. Accordingly, forward-looking statements should not be regarded as a representation by Blackwells that the future plans, estimates or expectations contemplated will ever be achieved.




                                                                                                                                                                                                                                         2

                                                                                                                                                                                                                                             APP.058
                  Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 66 of 276   PageID 1333


                                          TABLE OF CONTENTS


      I        Executive Summary                                                                       4

     II        Financials Summary                                                                      16

     III       Properties Overview                                                                     25

    IV         LBO Model                                                                               60

     V         Debt Overview                                                                           68

Appendix I     Comparable Hotel Sales By Brand                                                         75

Appendix II    Comparable Hotel Sales By Property                                                      77

Appendix III   Public Comps                                                                            85

Appendix IV    Board and Management                                                                    87



                                                                                                            3

                                                                                                                APP.059
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 67 of 276   PageID 1334




                Executive Summary




                                                                                     APP.060
                             Case 3:24-cv-00707-L        Document 38       Filed 04/15/24   Page 68 of 276      PageID 1335


                                                         EXECUTIVE SUMMARY

BHR Background
 Externally managed, small cap luxury hotel REIT
 Has long traded at a discount given external management structure by AHT, which is owned and controlled by Monty Bennett
      – Bennett’s AHT is also external manager for Ashford Hospitality, another small cap hospitality REIT
            • BW worked on a potential white knight financing in spring 2021 with AHT and it’s CEO
 Monty Bennett has poor reputation among public equity investors for a number of reasons, most recently his use of PPP U.S. government funds for his
  real estate entities
 Bennett is highly litigious including with shareholders (e.g. Ashford)
 Based on historic M&A comps for similar hotel assets and historic M&A multiples paid for lodging/hotel companies, BHR stock trades at a significant
  discount to current market comparables


Blackwells believes that an expensive/contentious proxy fight is unlikely to produce an optimal result, but that the unspoken threat of public
criticism/action by Blackwells will compel Bennett to open discussions with Blackwells at which point an appeal to Bennetts pocketbook may
produce a win-win-win (Shareholders, Take Private Interested Parties, Bennett) range of outcomes
 BHR is Bennett’s trophy portfolio
 BHR generated ~$20mm management fees per year to external manager pre-COVID
 Bennett has also received personal compensation for $1.7mm, $2.1mm, and $0.5mm for 2020, 2019 and 2018 respectively
 Baseline assumption is that Bennett/Company will put up strong resistance to a sale for anything other than a godfather offer plus a robust multiple on
  the management fee stream, but that in light of the current market dynamics Bennett may find some options favaorable enough to contemplate in
  earnest




                                                                                                                                                            5

                                                                                                                                                                APP.061
                          Case 3:24-cv-00707-L       Document 38      Filed 04/15/24     Page 69 of 276     PageID 1336


                                            TAKE PRIVATE CONSIDERATIONS

 Privatize a Large and High-Quality Luxury Hotel Portfolio Primed for Growth
     • Sizeable portfolio of high-quality institutional real estate priced at discount to net asset value (NAV)

     • Significant option value in acquiring successful platform focused on these markets
     • Well-located in high growth markets that are poised to benefit from travel trends

     • Scaled platform provides immediate platform growth opportunity to capitalize on current market dislocations



 Exceptional Returns with Significant Margin of Safety
      Generates ~28.7% IRR and ~3.2x MOIC over 5 years
      $409k implied price per key at $5.00 per share takeout price
      Attractive debt financing terms given underlying portfolio quality
      Current valuation discount reflects misplaced negative sector sentiment on hotel portfolio and lack of institutional ownership given
       small cap




                                                                                                                                              6

                                                                                                                                                  APP.062
                          Case 3:24-cv-00707-L      Document 38   Filed 04/15/24   Page 70 of 276    PageID 1337


                                     GOVERNANCE & VALUATION OVERVIEW

Poor Corporate Governance / Vulnerable to Proxy Contest
 ISS and Glass Lewis have been negatively predisposed against company for the last five years:
     – ISS gave multiple low marks and called out governance failures
     – Made numerous withhold vote recommendations for Directors



Valuation Discount:
 BHR trades at a significant discount to its NAV
     – Primary reason: “Monty Discount”
     – Additional reasons:
           • Small equity market capitalization (<$500mm)
           • Limited sell side coverage
           • Lack of active ownership (given small capitalization; index and quant funds represent ~25% of outstanding shares among top 15
              holders)




                                                                                                                                             7

                                                                                                                                                 APP.063
                               Case 3:24-cv-00707-L                            Document 38      Filed 04/15/24   Page 71 of 276    PageID 1338


                                                                    SHAREPRICE PERFORMANCE


                                                                               Historical Share Price Performance
$25.00




$20.00




$15.00




                                                                                                                                    $1.15                           $2.74
$10.00




 $5.00




   $-
    11/6/2013   11/6/2014              11/6/2015                   11/6/2016        11/6/2017       11/6/2018    11/6/2019    11/6/2020     11/6/2021   11/6/2022



                      Source: Company Presentations and filings.
                                                                                                                                                                            8

                                                                                                                                                                                APP.064
                                 Case 3:24-cv-00707-L                Document 38    Filed 04/15/24   Page 72 of 276   PageID 1339


                                                                     FINANCIALS SYNOPSIS


                                                                      At the current price of $2.74, BHR currently has:
Current Price                              $        2.74
Shares Outstanding                                  65.9                  – Market Cap = $181 mm
Equity Value                                $      180.6
Cash                                                 128                  – Enterprise Value = $1.7 bn
Debt                                               1,136
Preferreds                                           528
Enterprise Value                                  $1,717

Number of Keys                                    4,184               These valuations imply:
Implied Price per Key                      $    410,351
                                                                          – $410k per key
2022 NOI                                    $       201.5
2023E NOI                                   $       239.6
2024E NOI                                   $       248.8
                                                                          – 2023E Cap Rate = 11.74%
Cap Rate
2023E                                             11.74%
2024E                                             13.96%
                                                                          – 2024E Cap Rate = 13.96%
2025E                                             14.49%

EV / EBITDA
2023E                                                 8.5x                – EV / 2023E EBITDA = 8.5x
2024E                                                 7.2x
2025E                                                 6.9x                – EV / 2024E EBITDA = 7.2x




                        Source: Company Presentations and filings.
                                                                                                                                    9

                                                                                                                                        APP.065
                                           Case 3:24-cv-00707-L                            Document 38           Filed 04/15/24      Page 73 of 276             PageID 1340


                                                                                                PRICE PER KEY (PPK)

    BHR is currently trading at an implied price per key of $408 based on NAV analysis



Rooms                                   4,184                4,184           4,184              4,184    4,184     4,184    4,184      4,184        4,184        4,184        4,184         4,184        4,184        4,184

Price Per Key ($ thousands)              $408                $650             $675              $700      $725     $750      $775       $800         $825         $850         $875         $900          $925         $950

Gross Asset Value                 $1,707,398          $2,719,600 $2,824,200 $2,928,800 $3,033,400 $3,138,000 $3,242,600 $3,347,200             $3,451,800   $3,556,400   $3,661,000   $3,765,600    $3,870,200 $3,974,800




Balance Sheet Adjustments

Net Balance Sheet Adjustments:   ($1,526,575)       ($1,526,575) ($1,526,575) ($1,526,575) ($1,526,575) ($1,526,575) ($1,526,575) ($1,526,575) ($1,526,575) ($1,526,575) ($1,526,575) ($1,526,575) ($1,526,575) ($1,526,575)




Net Asset Value                     $180,823          $1,193,025 $1,297,625 $1,402,225 $1,506,825 $1,611,425 $1,716,025 $1,820,625             $1,925,225   $2,029,825   $2,134,425   $2,239,025    $2,343,625 $2,448,225

Net Asset Value Per Share               $2.74              $18.08           $19.66          $21.25      $22.83    $24.42   $26.00     $27.59       $29.17       $30.76       $32.34       $33.93        $35.51       $37.10

% from current                                            559.8%           617.6%          675.5%       733.3%   791.2%    849.0%    906.9%       964.7%      1022.5%      1080.4%      1138.2%       1196.1%      1253.9%




                                  Source: Company Presentations and filings.
                                  Note: Current Price of $2.74 and 65.9 mm shares outstanding                                                                                                                                  10

                                                                                                                                                                                                                                    APP.066
                         Case 3:24-cv-00707-L    Document 38     Filed 04/15/24   Page 74 of 276   PageID 1341


                                                    HOTELS OVERVIEW

 At June 30th, 2023, the company owns interests in a high-quality, geographically diverse portfolio of 16 hotel properties
  located in seven states, the District of Columbia, Puerto Rico and St. Thomas, U.S. Virgin Islands.
 The properties have 4,181 total rooms, or 3,946 net rooms, excluding those attributable to the joint venture partner.
 All of the hotel properties in our portfolio are generally located in markets that exhibit strong growth characteristics resulting
  from multiple demand generators.
 Nine of the 16 hotel properties in our portfolio operate under premium brands affiliated with Marriott International, Inc.
  (“Marriott”) and Hilton Worldwide, Inc. (“Hilton”).
     – One hotel property is managed by Accor Management US Inc. (“Accor”),

     – One is managed by Hyatt Corporation (“Hyatt”),

     – One is managed by Four Seasons Hotels Limited (“Four Seasons”) and

     – Four hotel properties are managed by Remington Hotels, a subsidiary of Ashford Inc.

 For the year ended December 31, 2022, approximately 79% of the rooms revenue was generated by transient business,
  approximately 19% was generated by group sales and 2% was generated by contract sales




                                                                                                                                       11

                                                                                                                                            APP.067
                                     Case 3:24-cv-00707-L                    Document 38        Filed 04/15/24     Page 75 of 276   PageID 1342


                                                                                  PORTFOLIO LIST

                                                                                                                 Total                     Select Properties
Hotel Property                                                Location                            Market         Rooms
Hilton La Jolla Torrey Pines                                  La Jolla, CA                        Resort             394
Capital Hilton                                                Washington, D.C.                    Urban              550
Marriott Seattle Waterfront                                   Seattle, WA                         Urban              361
The Clancy                                                    San Francisco, CA                   Urban              410
The Notary Hotel                                              Philadelphia, PA                    Urban              499
The Ritz-Carlton Lake Tahoe                                   Truckee, CA                         Resort             170
The Ritz-Carlton Sarasota                                     Sarasota, FL                        Resort             276
Sofitel Chicago Magnificent Mile                              Chicago, IL                         Urban              415
Pier House Resort & Spa                                       Key West, FL                        Resort             142
Bardessono Hotel and Spa                                      Napa Valley, CA                     Resort                 65
The Ritz-Carlton St. Thomas                                   St. Thomas, U.S. Virgin Islands     Resort             180
Park Hyatt Beaver Creek Resort & Spa                          Beaver Creek, CO                    Resort             190
Hotel Yountville                                              Napa Valley, CA                     Resort                 80
Mr. C Beverly Hills Hotel                                     Beverly Hills, CA                   Urban              143
The Ritz-Carlton Reserve Dorado Beach                         Puerto Rico                         Resort                 96
Four Seasons Resort Scottsdale                                Scottsdale, AZ                      Resort             210
Total                                                                                                              4,181


                            Source: Company Presentations and filings.
                                                                                                                                                               12

                                                                                                                                                                    APP.068
                   Case 3:24-cv-00707-L                                Document 38                   Filed 04/15/24             Page 76 of 276                   PageID 1343


                                                                HIGH QUALITY PORTFOLIO
      Hotel Yountville                  Park Hyatt Beaver Creek                 Pier House Resort & Spa            Bardessono                    Hilton La Jolla Torrey Pines                The Four Seasons Scottsdale




                    Yountville, CA                     Beaver Creek, CO                            Key West, FL                 Yountville, CA                           La Jolla, CA                           Scottsdale, AZ


The Ritz-Carlton Lake Tahoe                                                                                                                                                             The Ritz-Carlton Reserve Dorado Beach




                         Truckee, CA                                                                                                               Key (1)                                                           Dorado, PR

                                                                                                                                                 Resort: 62%
 The Ritz-Carlton Sarasota                                                                                                                                                                   The Ritz-Carlton St. Thomas
                                                                                                                                                 Urban: 38%




                         Sarasota, FL                                                                                                                                                                         St. Thomas, USVI


Marriott Seattle Waterfront               Mr. C Beverly Hills               Sofitel Chicago Magnificent Mile       The Clancy                           Capital Hilton                            The Notary Hotel




                         Seattle, WA                    Beverly Hills, CA                            Chicago, IL           San Francisco, CA                      Washington, D.C.                             Philadelphia, PA


        Source: Company Presentations and filings.
                                                                                                                                                                                                                                  13

                                                                                                                                                                                                                                       APP.069
                                         Case 3:24-cv-00707-L   Document 38              Filed 04/15/24                 Page 77 of 276                          PageID 1344


                                                                     LBO SYNOPSIS
                                          Sources                                                                                                                       Uses
Sources                                                                                                   Uses
Investor Cash Equity                                            $      717,987                            Outstanding Equity (at $5.00 Share Price)                                                           $     434,136
Cash on Target Balance Sheet                                           118,025                            Repay Debt                                                                                                  1,054,430
Assumed Mortgage Debt                                                        -                            Assumed Mortgage Debt                                                                                               -
CMBS Pool 1                                                            800,000                            Repay Preferreds                                                                                              577,777
CMBS Pool 2                                                                  -                            Buyout Park Minority Interest                                                                                  69,250
CMBS Pool 3                                                                  -                            Target Purchase Price                                                                               $   2,135,593
Bridge Financing                                                       800,000                            Transaction Costs                                                                                             300,419
Total Sources                                                   $    2,436,012                            Total Uses                                                                                          $   2,436,012
   Debt as a % of Net Sources                                                  69%


                                                                              Cash Flow Summary
  Year:                                                                                            Year 1                      Year 2                      Year 3              Year 4            Year 5                Year 6

  BHR Revenue
  Rooms                                                                              $        494,877       $             516,112       $             538,305       $     560,962       $   588,362       $       613,051
  Food and Beverage                                                                           215,194                     223,493                     233,103             242,933           254,172               264,817
  Other                                                                                        86,943                      88,147                      91,937              95,857            98,845               102,936
  Total Hotel Revenue                                                                $        797,013       $             827,752       $             863,345       $     899,752       $   941,380       $       980,804

  NOI
  Total Hotel Revenue                                                                $         797,013     $              827,752     $                863,345     $       899,752     $     941,380     $         980,804
  Less: Hotel Operating Expenses                                                              (496,235)                  (515,374)                    (537,535)           (560,202)         (586,120)             (610,667)
  Less: Property Taxes and Insurance                                                            (37,271)                   (38,708)                     (40,373)            (42,075)          (44,022)              (45,866)
  Less: Hotel Management Services Fees     3.0% of revenue                                      (23,910)                   (24,833)                     (25,900)            (26,993)          (28,241)              (29,424)
  Total Property Nominal NOI                                                         $         239,597     $              248,837     $                259,537     $       270,482     $     282,996     $         294,847
    Annual Growth                                                                                       NA                       3.9%                         4.3%                4.2%              4.6%                  4.2%

  Less: Total Capex                        5.5% of revenue                                     (43,836)                    (45,526)                    (47,484)            (49,486)          (51,776)              (53,944)
  Economic NOI                                                                       $        195,761     $               203,311     $               212,053     $       220,995     $     231,220     $         240,903
    Annual Growth                                                                                      NA                        3.9%                        4.3%                4.2%              4.6%                  4.2%

  Less: General and Administrative                                                             (10,281)                    (10,347)                    (10,360)            (10,347)          (10,355)              (10,298)
  Unlevered Cash Flow                                                                $        185,479       $             192,964       $             201,693       $     210,648       $   220,865       $       230,605

  Less: Interest Expense                                                             $       (134,987)      $            (123,026)      $             (120,505)     $     (119,886)     $   (120,155)     $       (60,222)
  Levered Cash Flow                                                                  $         50,493       $              69,938       $               81,188      $       90,763      $    100,709      $       170,383



                                                                                                                                                                                                                                 14

                                                                                                                                                                                                                                      APP.070
                                      Case 3:24-cv-00707-L       Document 38          Filed 04/15/24    Page 78 of 276        PageID 1345


                                                                 LBO SYNOPSIS (CONT.)

                                                                                  Returns Summary




Year:                                                                    Year 0           Year 1       Year 2      Year 3           Year 4        Year 5      Year 6

Levered
Unlevered Basis                                              $       (2,317,987) $           -   $        -   $       -   $           -   $          -    $     -
Plus: Debt                                                            1,600,000              -            -           -               -              -          -
Plus: Bridge Debt Proceeds                                              800,000              -            -           -               -              -          -
Less: Bridge Debt Repayment                                            (800,000)             -            -           -               -              -          -
Levered Cash Flow                                                           -             50,493       69,938      81,188          90,763        100,709        -
Plus: Exit Value                                                            -                -            -           -               -        3,528,764        -
Less: Exit Transaction Costs                                                -                -            -           -               -          (35,288)       -
Less: Debt Repayment                                                        -                -            -           -               -       (1,600,000)       -
Total Levered Cash Flow                                      $         (717,987) $        50,493 $     69,938 $    81,188 $        90,763 $    1,994,186 $      -

Levered Yield (ex. Value-Add CapEx)                                                       3.3%         4.6%        5.3%             6.0%          6.6%              -

Levered IRR                                   28.7%
Levered Multiple                                3.2x
Profit                                    $1,568,580
Cash Flow as a % of Profit                    25.1%




                                                                                                                                                                        15

                                                                                                                                                                             APP.071
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 79 of 276   PageID 1346




               Financials Summary




                                                                                     APP.072
          Case 3:24-cv-00707-L                       Document 38                Filed 04/15/24         Page 80 of 276          PageID 1347


                                              HISTORICAL PERFORMANCE

                                                                                           Total        %                          FY 2022
Hotel Property                                Location                           Market   Rooms       Owned    Occupancy      ADR        RevPAR       EBITDA
Hilton La Jolla Torrey Pines                  La Jolla, CA                       Resort        394         75%     77.25% $      251 $        194   $   17,328
Capital Hilton                                Washington, D.C.                   Urban         550         75%     65.17%        228          149       10,174
Marriott Seattle Waterfront                   Seattle, WA                        Urban         361        100%     56.88%        286          163        9,217
The Clancy                                    San Francisco, CA                  Urban         410        100%     70.05%        299          209        8,354
The Notary Hotel                              Philadelphia, PA                   Urban         499        100%     55.92%        218          122        7,673
The Ritz-Carlton Lake Tahoe                   Truckee, CA                        Resort        170        100%     57.60%        737          424       11,383
The Ritz-Carlton Sarasota                     Sarasota, FL                       Resort        276        100%     74.47%        618          460       30,377
Sofitel Chicago Magnificent Mile              Chicago, IL                        Urban         415        100%     65.36%        251          164        8,288
Pier House Resort & Spa                       Key West, FL                       Resort        142        100%     74.81%        707          529       18,115
Bardessono Hotel and Spa                      Napa Valley, CA                    Resort          65       100%     63.96%      1,258          804        9,127
The Ritz-Carlton St. Thomas                   St. Thomas, U.S. Virgin Islands    Resort        180        100%     73.81%      1,205          889       30,137
Park Hyatt Beaver Creek Resort & Spa          Beaver Creek, CO                   Resort        190        100%     60.58%        601          364       13,620
Hotel Yountville                              Napa Valley, CA                    Resort          80       100%     54.06%        907          490        6,958
Mr. C Beverly Hills Hotel                     Beverly Hills, CA                  Urban         143        100%     74.26%        348          258        3,157
The Ritz-Carlton Reserve Dorado Beach         Puerto Rico                        Resort          96       100%     63.53%      1,929        1,225       14,887
Four Seasons Resort Scottsdale                Scottsdale, AZ                     Resort        210        100%     45.15%      1,057          477        1,710
Total / Weighted Average                                                                     4,181                 65.62% $      452 $        296   $ 200,505


                                                                                           Total        %                          Q2 2023
Hotel Property                                Location                           Market   Rooms       Owned    Occupancy      ADR        RevPAR     TTM EBITDA
Hilton La Jolla Torrey Pines                  La Jolla, CA                       Resort        394         75%    82%    $       246 $        202   $   17,204
Capital Hilton                                Washington, D.C.                   Urban         550         75%    82%            278          228       15,750
Marriott Seattle Waterfront                   Seattle, WA                        Urban         369        100%    79%            311          244       11,582
The Clancy                                    San Francisco, CA                  Urban         410        100%    75%            292          220        9,348
The Notary Hotel                              Philadelphia, PA                   Urban         499        100%    71%            238          168        9,472
The Ritz-Carlton Lake Tahoe                   Truckee, CA                        Resort        170        100%    53%            513          272       10,904
The Ritz-Carlton Sarasota                     Sarasota, FL                       Resort        276        100%    63%            590          374       25,023
Sofitel Chicago Magnificent Mile              Chicago, IL                        Urban         415        100%    75%            275          205        7,347
Pier House Resort & Spa                       Key West, FL                       Resort        142        100%    71%            642          457       15,925
Bardessono Hotel and Spa                      Napa Valley, CA                    Resort          65       100%    73%          1,105          805        7,179
The Ritz-Carlton St. Thomas                   St. Thomas, U.S. Virgin Islands    Resort        180        100%    76%          1,065          804       24,970
Park Hyatt Beaver Creek Resort & Spa          Beaver Creek, CO                   Resort        193        100%    34%            313          106       10,904
Hotel Yountville                              Napa Valley, CA                    Resort          80       100%    59%            764          447        3,014
Mr. C Beverly Hills Hotel                     Beverly Hills, CA                  Urban         143        100%    80%            319          254        2,641
The Ritz-Carlton Reserve Dorado Beach         Puerto Rico                        Resort          96       100%    64%          2,270        1,454       20,040
Four Seasons Resort Scottsdale                Scottsdale, AZ                     Resort        210        100%    49%            852          415       21,692
Total / Weighted Average                                                                     4,192                71%    $       436 $        309   $ 212,995


 Source: Company Presentations and filings.
                                                                                                                                                                 17

                                                                                                                                                                      APP.073
          Case 3:24-cv-00707-L                Document 38       Filed 04/15/24    Page 81 of 276     PageID 1348


                                REVENUE BREAKDOWN - GEOGRAPHY




                                                                               FY 2022
Primary Geographical Market                      # of Hotels      Rooms      Food and Bev    Other Hotel      Total
California                                            6        $    134,635 $       45,952 $       19,152 $    199,739
Puerto Rico                                           1               38,077        14,238          8,931        61,246
Arizona                                               1                3,107         1,430            657         5,194
Colorado                                              1               25,253        16,397          8,965        50,615
Florida                                               2               73,629        34,068         24,771       132,468
Illinois                                              1               24,829         7,150          1,656        33,635
Pennsylvania                                          1               22,237         4,121          1,178        27,536
Washington                                            1               21,445         3,619          1,321        26,385
Washington, D.C.                                      1               29,877        13,276          1,960        45,113
USVI                                                  1               58,426        18,990         10,238        87,654
Total                                                 16        $    431,515 $     159,241 $       78,829 $     669,585




 Source: Company Presentations and filings.
                                                                                                                          18

                                                                                                                               APP.074
                   Case 3:24-cv-00707-L                 Document 38            Filed 04/15/24      Page 82 of 276       PageID 1349


                            EXPOSURE TO LUXURY HOTELS & RESORTS

                 Ritz-Carlton Drives Q2 TTM Hotel EBITDA(1)                                      Luxury Hotels Drive Q1 TTM Hotel EBITDA(1)
$105,000
                                                                                     $180,000               Luxury
            Ritz-Carlton                                                                                   $155,401
 $90,000      $80,937                                                                $160,000

                                                                                     $140,000
 $75,000
                                                                                     $120,000
 $60,000
                              Independent                                            $100,000
                                                                                                                                  Upper
                        Hilton $31,759    Marriott/                                                                              Upscale
 $45,000                                                                              $80,000
                       $32,954          Autograph                                                                                $63,356
                                          $30,402       Four                          $60,000
 $30,000                                              Seasons
                                                      $21,692 Park Hyatt Sofitel      $40,000
                                                               $13,666 $7,347
 $15,000                                                                              $20,000

                                                                                          $-
      $-


            High Transient Demand Drives Q2 TTM Revenue                                                   Resorts Drive Q2 TTM Results

                                             Contract, 2%
           Group, 22%                                                                                                             Urban, 26%




                                                            Transient, 76%                      Resort,
                                                                                                74%

                                                                                                                                               19

                                                                                                                                                    APP.075
          Case 3:24-cv-00707-L        Document 38     Filed 04/15/24       Page 83 of 276     PageID 1350


                                  2024 REVPAR FORECAST

8.00%
                  7.39%




6.00%




                                   4.15%
              3.69%
4.00%    3.57%
                                                                       3.04%
                                                  2.84%                     2.86%
                              2.56%                    2.60%


2.00%                                                                               1.70%
                          1.54%
                                                                                                                 0.86%
                                                                                                            0.73%
                                                                                             0.59%
                                                                                                      0.13%
0.00%
                                             -0.23%             -0.17%


                                                                                        -1.09%

-2.00%




             Luxury       Upper Upscale         Upscale         Upper Midscale         Midscale        Economy


                                                                                                                         20

                                                                                                                              APP.076
             Case 3:24-cv-00707-L                                             Document 38                               Filed 04/15/24                               Page 84 of 276                                 PageID 1351


                                                                                OCCUPANCY AND ADR

                                                                                                         HOTEL OCCUPANCY(1)(2)
                        100%

                                                   78.9%
                          80%
                                                                                                                                                                         64.7%                                   67.3%

                          60%                                                                                                     51.9%

                          40%
                                                                                           30.3%

                          20%


                            0%
                                                     2019                                   2020                                   2021                                    2022                                 TTM
                                                                                                                                                                                                                Q2'23


                                                                                                                HOTEL ADR(1)(2)

                         $500                                                                                                                                              $482                                   $468
                                                                                                                                    $458

                         $400
                                                                                             $333
                                                      $296
                         $300


                         $200


                          $100


                               $-
                                                      2019                                   2020                                   2021                                   2022                                  TTM
                                                                                                                                                                                                                 Q2'23
(1) As reported in Earnings Releases: 2019 as reported on 2/25/2021; 2020 as reported on 2/24/2022;2021 and 2022 as reported on 2/22/2023; TTM Q1’23 as reported on 5/2/23
(2) Due to the economic effects of the COVID-19 pandemic on the Company, the lodging industry and the broader economy, the information provided should not be relied upon as an accurate representation of the current or future financial condition or performance of the C   21
Source: Company Presentations and filings.
                                                                                                                                                                                                                                                                                    APP.077
              Case 3:24-cv-00707-L                                                           Document 38      Filed 04/15/24      Page 85 of 276       PageID 1352


                                                                        ACQUISITIONS PERFORMANCE

                                                                                                                                                            TTM         TTM
                                                  Property                                            Acq Date            Price          Price / Key       EBITDA     Yield on
                                                                                                                                                           Multiple     Cost

                  Sofitel Chicago Magnificent Mile                                                     2/24/2014         $153.0M           $369K            20.8x      5.0%

                                   Key West Pier House                                                 3/3/2014           $92.7M           $653K             5.8x      17.8%

                                                Bardessono                                             7/9/2015           $85.0M           $1.3M            11.8x      12.2%

                                Ritz-Carlton St. Thomas                                               12/15/2015          $64.0M           $356K             2.6x      18.0%

                             Park Hyatt Beaver Creak                                                   4/3/2017          $145.5M           $754K            10.6x      8.3%

                                         Hotel Yountville                                              5/11/2017          $96.5M           $1.2M             16x       6.4%

                                  Ritz-Carlton Sarasota                                                4/4/2018          $171.0M           $620K             6.8x      12.6%

                              Ritz-Carlton Lake Tahoe                                                  1/15/2019         $103.3M(1)        $608K             9.5x      6.9%

                               Mr. C Beverly Hills Hotel                                               8/5/2021           $77.9M           $545K(2)         29.5x      2.6%

               Ritz-Carlton Reserve Dorado Beach                                                           3/11/22       $193.0M           $1.8M(3)          9.6x      9.2%

                              Four Seasons Scottsdale                                                      12/1/22       $250.0M(1)        $1.2M            11.5x      7.2%

                                 Weighted Average:                                                                                                                     9.4%



Note: Yield on Cost is calculated as TTM NOI (EBITDA less FF&E Reserve) divided by Net Book Value

Source: Company Presentations and filings.                                                                                                                                       22

                                                                                                                                                                                      APP.078
              Case 3:24-cv-00707-L                    Document 38      Filed 04/15/24     Page 86 of 276    PageID 1353


                               GROWTH DRIVERS – URBAN PROPERTIES

                ADR Up – Q2 2019 to Q2 2023                                         Occupancy Stabilizing – Q2 2019 to Q2 2023
800                                                                         100%
                          Pandemic

                                                                             90%
700
                                                                    62.6%
                                                                             80%
                                                                                                                              -11.4%
600
                                                                             70%                                              -9.4%

500                                                                                                                           -4.8%
                                                                             60%
                                                                    36.8%
400                                                                          50%

                                                                             40%
300
                                                                    5.8%
                                                                              30%
200
                                                                             20%

100
                                                                             10%

  -                                                                            0%
        Q2'19              Q2'20              Q2'21   Q2'22    Q2'23                    Q2'19      Q2'20   Q2'21   Q2'22   Q2'23
                                                      Key:    Resort        Urban        Average

      Source: Company Presentations and filings.                                                                                       23

                                                                                                                                            APP.079
                   Case 3:24-cv-00707-L                                               Document 38                                Filed 04/15/24                                  Page 87 of 276                                  PageID 1354


                        GROWTH DRIVERS – URBAN PROPERTIES (CONT.)

           RevPAR(1) Up – Q2 2019 to Q2 2023
600
                                                                                                                                                                      Key Observations

500                                                                                                                                                                                                     Urban properties
                                                                                                                                                                                                         nearing full
                                                                                                                          54.9%                                                                            recovery
400



300
                                                                                                                          23.9%                                                                 Resort performance
                                                                                                                                                                                                    stabilizing
                                                                                                                          -6.3%
200

                                                                                                                                                                                              Average RevPAR is well
100                                                                                                                                                                                            above 2019 levels


  -
        Q2'19                     Q2'20                     Q2'21                     Q2'22                     Q2'23
      Key:                    Resort                          Urban                          Average
      (1) Same-store data for the current 16 hotel assets held by BHR
      Resort: Bardessono, Hotel Yountville, Ritz-Carlton St. Thomas, Ritz-Carlton Sarasota, Ritz-Carlton Lake Tahoe, Ritz-Carlton Reserve Dorado Beach, Pier House, Hilton Torrey Pines, Park Hyatt Beaver Creek, and Four Seasons Scottsdale   Source: Company Pr   24
      Urban: The Clancy, The Notary Hotel, Marriott Seattle Waterfront, Capital Hilton, Sofitel Chicago and Mr. C

                                                                                                                                                                                                                                                                          APP.080
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 88 of 276   PageID 1355




               Properties Overview




                                                                                     APP.081
                           Case 3:24-cv-00707-L        Document 38        Filed 04/15/24    Page 89 of 276   PageID 1356


                                                              PORTFOLIO LIST



                                                                                 Total      %                        Q2 2023
                                                                                                                                       TTM
Hotel Property                       Location                          Market   Rooms      Owned Occupancy       ADR       RevPAR     EBITDA
Hilton La Jolla Torrey Pines         La Jolla, CA                      Resort      394         75%  82%    $         246 $      202 $   17,204
Capital Hilton                       Washington, D.C.                  Urban       550         75%  82%              278        228     15,750
Marriott Seattle Waterfront          Seattle, WA                       Urban       369        100%  79%              311        244     11,582
The Clancy                           San Francisco, CA                 Urban       410        100%  75%              292        220       9,348
The Notary Hotel                     Philadelphia, PA                  Urban       499        100%  71%              238        168       9,472
The Ritz-Carlton Lake Tahoe          Truckee, CA                       Resort      170        100%  53%              513        272     10,904
The Ritz-Carlton Sarasota            Sarasota, FL                      Resort      276        100%  63%              590        374     25,023
Sofitel Chicago Magnificent Mile     Chicago, IL                       Urban       415        100%  75%              275        205       7,347
Pier House Resort & Spa              Key West, FL                      Resort      142        100%  71%              642        457     15,925
Bardessono Hotel and Spa             Napa Valley, CA                   Resort       65        100%  73%            1,105        805       7,179
The Ritz-Carlton St. Thomas          St. Thomas, U.S. Virgin Islands   Resort      180        100%  76%            1,065        804     24,970
Park Hyatt Beaver Creek Resort & Spa Beaver Creek, CO                  Resort      193        100%  34%              313        106     10,904
Hotel Yountville                     Napa Valley, CA                   Resort       80        100%  59%              764        447       3,014
Mr. C Beverly Hills Hotel            Beverly Hills, CA                 Urban       143        100%  80%              319        254       2,641
The Ritz-Carlton Reserve Dorado
Beach                                Puerto Rico                       Resort        96       100%    64%          2,270       1,454     20,040
Four Seasons Resort Scottsdale       Scottsdale, AZ                    Resort       210       100%    49%            852         415     21,692
Total / Weighted Average                                                          4,192               71%    $       436 $       309 $ 212,995




                                                                                                                                                  26

                                                                                                                                                       APP.082
             Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 90 of 276   PageID 1357


                               HILTON LA JOLLA TORREY PINES

Location             La Jolla, CA
Rooms                    394
Owned                   75%
Occupancy              77.25%


                       FY 2022
ADR                     $251
RevPAR                  $194
Net Income             $13,162
EBITDA                 $17,328




                                                                                                  27

                                                                                                       APP.083
                             Case 3:24-cv-00707-L         Document 38        Filed 04/15/24       Page 91 of 276        PageID 1358


                                                 HILTON LA JOLLA TORREY PINES

 BHR owns a 75% partnership interest in Ashford HHC Partners III LP, which is subject to a ground lease in the Hilton La Jolla Torrey Pines
  expiring in 2067. CHH Torrey Pines Hotel Partners LP, a subsidiary of Ashford HHC Partners III LP, leases the Hilton La Jolla Torrey Pines
  hotel to CHH Torrey Pines Tenant Corp. The remaining 25% partnership interest in Ashford HHC Partners III LP is owned by Park Hotels &
  Resorts, Inc. The hotel opened in 1989 and is comprised of 394 guest rooms, including 232 king rooms, 152 queen/queen rooms and 10
  suites. Approximately $32.3 million has been spent on capital expenditures since the acquisition of the hotel by Ashford HHC Partners III LP
  in 2007, which has included lobby, restaurant, meeting space and room renovations.
 The hotel’s location attracts all three major demand segments: corporate transient, group meetings and leisure transient. The famous Torrey
  Pines Golf Course, located on the property’s western boundary, appeals to each demand segment and provides exclusive tee times to
  guests staying at the hotel. Nearly every room has a private balcony or patio with ocean, garden or golf course views. In addition to the
  attraction of the golf course, the hotel is located within walking distance of the Torrey Pines State Nature Reserve with access to a number of
  outdoor activities and Pacific Ocean beaches. Numerous hospitals and research facilities are located within close proximity of the hotel.
 Additional property highlights include:
     – Meeting Space: Approximately 60,000 square feet of event space, including:
     – 21,000 square feet of function space in 21 rooms to accommodate up to 1,500 people;
     – over 32,000 square feet of outdoor function space; and
     – the 6,203 square foot Fairway Pavilion Ballroom overlooking the 18th fairway of Torrey Pines Golf Course South Course.
     – Food and Beverage: The Hilton La Jolla Torrey Pines hosts the Torreyana Grille and Lounge, an all-purpose, three-meal restaurant with 205 seats and the
       Horizons Coffee Cafe. Both outlets overlook the golf course and the Pacific Ocean.
     – Other Amenities: The hotel has a fitness center, outdoor pool, outdoor whirlpool, tennis courts, basketball court, business center, lush gardens and pathways,
       valet parking and a gift shop.
     – Location and Access. The hotel is located near the Pacific Ocean in a secluded area of the famous Torrey Pines Golf Course. The hotel is approximately 17
       miles from the San Diego International Airport.



                                                                                                                                                                        28

                                                                                                                                                                             APP.084
             Case 3:24-cv-00707-L     Document 38   Filed 04/15/24   Page 92 of 276   PageID 1359


                                           CAPITAL HILTON

Location           Washington, D.C.
Rooms                    550
Owned                   75%
Occupancy              65.17%


                       FY 2022
ADR                     $228
RevPAR                  $149
Net Income             $1,125
EBITDA                 $10,174




                                                                                                    29

                                                                                                         APP.085
                             Case 3:24-cv-00707-L          Document 38         Filed 04/15/24        Page 93 of 276       PageID 1360


                                                                   CAPITAL HILTON

 BHR owns a 75% partnership interest in Ashford HHC Partners III LP, which has a fee simple interest in the Capital Hilton. CHH Capital
  Hotel Partners LP, a subsidiary of Ashford HHC Partners III LP, leases the Capital Hilton to CHH Capital Tenant Corp. The remaining 25%
  partnership interest in Ashford HHC Partners III LP is owned by Park Hotels & Resorts, Inc. The hotel opened in 1943 and is comprised of
  550 guest rooms, including 283 king rooms, 94 queen/queen rooms, 90 double/double rooms, 81 single queen rooms and two parlor suites.
  Approximately $77.0 million has been spent on capital expenditures since the acquisition of the hotel by Ashford HHC Partners III LP in
  2007, which has included renovations to the guest rooms, public space, meeting space, lobby and restaurant.

 The hotel is strategically located at 16th and K Street, in close proximity to the White House and other government facilities. The hotel has
  significant historical connotations and is located near numerous Washington, D.C. attractions including the National Mall. The offices of a
  number of legal firms and national associations are located within walking distance of the property.

 Additional property highlights include:
     – Meeting Space: Approximately 31,000 square feet of contiguous meeting space located on the same floor.

     – Food and Beverage: The Capital Hilton hosts (i) the Northgate Grill, a full service restaurant with 130 seats and (ii) the Statler Lounge, a lobby bar with 72
       seats.

     – Other Amenities: The hotel has a health club, gift shop, business center and valet parking.

     – Location and Access. The hotel is conveniently located in the center of Washington, D.C., north of the White House and near the National Mall and numerous
       tourist attractions. By virtue of its size and clear signage, it is visible from both directions on 16th street. The hotel is approximately five miles from Ronald
       Reagan Washington National Airport.




                                                                                                                                                                            30

                                                                                                                                                                                 APP.086
             Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 94 of 276   PageID 1361


                           MARRIOTT SEATTLE WATERFRONT

Location              Seattle, WA
Rooms                    361
Owned                   100%
Occupancy              56.88%


                       FY 2022
ADR                      $286
RevPAR                   $163
Net Income              $3,790
EBITDA                  $9,217




                                                                                                  31

                                                                                                       APP.087
                             Case 3:24-cv-00707-L          Document 38         Filed 04/15/24       Page 95 of 276       PageID 1362


                                               MARRIOTT SEATTLE WATERFRONT

 BHR’s subsidiary, Ashford Seattle Waterfront LP, owns a fee simple interest in the Marriott Seattle Waterfront. The hotel opened in 2003 and
  is comprised of 348 guest rooms and 13 suites, including 204 king rooms, 155 double/double rooms and two Murphy beds. About half of the
  hotel’s guest rooms have water views overlooking Elliott Bay with the remaining guest rooms having partial water views. Approximately $34.2
  million has been spent on capital expenditures since the acquisition of the hotel in 2007. Capital improvements in 2017 included the
  relocation of the M Club from the eighth floor to the lobby level, which recaptured three guest rooms. A transformative guest room and
  corridor renovation occurred in 2022 which included case goods, flooring, wall covering, soft goods, lighting, and bathrooms.

 The hotel is located on the Seattle Waterfront within walking distance of Pike Place Market, a unique retail experience and a major Seattle
  tourist attraction. Numerous food vendors providing locally produced food, retail shops offering a variety of merchandise and the original
  Starbucks Coffee Shop complement the venue. The Seattle Great Wheel, one of the tallest Ferris wheels in the western United States, and
  the Seattle Aquarium are located along Alaskan Way, which is in close proximity to the hotel. The hotel is also located directly across from
  the Pier 66 cruise terminal, a strong leisure demand generator during the six-month long cruise season.

 Additional property highlights include:
     – Meeting Space: Approximately 18,000 square feet of meeting space.

     – Food and Beverage: The Marriott Seattle Waterfront hosts: (i) Hook and Plow, a full-service restaurant with 192 seats; (ii) Lobby Bar/Library with 120 seats;
       and (iii) the “Market” offering snacks, drinks and sundry items.

     – Other Amenities: The hotel has a fitness center, indoor/outdoor connected pool, business center, guest laundry facilities, valet parking and three electric
       vehicle charging stations.

     – Location and Access. The hotel is conveniently located on the Seattle waterfront, just off of the Alaskan Way S. exit from Highway 99 N. The hotel is
       approximately 13 miles from the Seattle/Tacoma International Airport.




                                                                                                                                                                       32

                                                                                                                                                                            APP.088
             Case 3:24-cv-00707-L      Document 38   Filed 04/15/24   Page 96 of 276   PageID 1363


                                              THE CLANCY

Location           San Francisco, CA
Rooms                    410
Owned                   100%
Occupancy               70.05%


                       FY 2022
ADR                      $299
RevPAR                   $209
Net Income             ($2,872)
EBITDA                  $8,354




                                                                                                     33

                                                                                                          APP.089
                          Case 3:24-cv-00707-L    Document 38     Filed 04/15/24    Page 97 of 276    PageID 1364


                                                           THE CLANCY


 BHR’s subsidiary, Ashford San Francisco II LP, owns a fee simple interest in The Clancy. The hotel opened in 2001 and is comprised of 410
  guest rooms, including 196 king rooms, 184 queen/queen rooms and 30 suites. Approximately $76.4 million has been spent on capital
  expenditures since the acquisition of the hotel in 2007, which included a restaurant renovation, a guest room soft goods renovation and a
  meeting space renovation. In early 2017, the hotel began an extensive custom designed guest room renovation. As part of this renovation
  the companyincreased the room count from 405 to 410 rooms utilizing former conference suites. The new guest rooms reflect the hotel’s
  ideal location in the new and evolving SoMa district. Bold vibrant colors with calming grey undertones mimic the stunning visual beauty
  expressed in the iconic city of San Francisco. Innovative smart technology combined with comfort and luxury provide travelers with an
  intriguing and unique experience.

 On October 1, 2020, BHR announced the opening of The Clancy, a conversion of the Courtyard San Francisco Downtown into a full service
  hotel within Marriott’s Autograph Collection®. The conversion included a complete redesign of the lobby, front desk, food and beverage
  outlets, meeting spaces, public areas and the façade. The custom designed guest rooms are commensurate with an upper upscale brand.
  Adding a few additional amenities and accessories completed their transition to an Autograph Collection Hotel. The reimaged public space
  and modern guest rooms elevate The Clancy within the upper upscale market. The hotel is located conveniently downtown in the heart of the
  SoMa district of San Francisco.

 The hotel is located near numerous high tech businesses and attractions, including the Moscone Convention Center, Transbay Transit
  Center, Oracle Park, Union Square and the Metreon Complex.




                                                                                                                                              34

                                                                                                                                                   APP.090
                             Case 3:24-cv-00707-L         Document 38         Filed 04/15/24       Page 98 of 276       PageID 1365


                                                             THE CLANCY (CONT.)


 Additional property highlights include:
     – Meeting Space: Approximately 9,900 square feet of indoor meeting space and nearly 1,000 square feet of private outdoor reception areas. In 2022, the
       company converted the former indoor swimming pool space into an approximate 1,200 square foot meeting room, which includes an outdoor balcony space
       overlooking the Block 9 Courtyard. Located on the second floor adjacent to the majority of the hotel’s meeting space, this new meeting room will allow the
       hotel to capture additional groups while providing much greater flexibility to the group meeting guests.

     – Food and Beverage: The transformed food and beverage outlets at The Clancy include completely reconfigured spaces to meet the requirements of today’s
       discerning traveler. The Seven Square Tap Room, open for breakfast, lunch, dinner and cocktails, seats 118. The dining area seats 78. The bar and lounge
       area seats six at the bar and 34 in the lounge. The Lobby Lounge is configured with a bar, couches, small tables and a community table, seats 43 guests
       including 10 at the bar, 10 at the community table and 23 in various other seating configurations. The Radiator Coffee Salon, open for breakfast and light
       lunches seats 35 patrons at tables and stadium style seating. An exterior sales window allows the outlet to capture business from local residents and office
       commuters. Two exterior venues are available for both group and transient guests: the original outdoor courtyard, renamed Block 9 and a completely new
       space, the Parklet. Block 9 includes a fire pit and has been redesigned to be flexible enough to offer overflow seating for the Lobby Lounge and for private
       receptions. Total seating in Block 9 encompasses 56 seats in lounge, table and stadium seating configurations. The Parklet is completely covered and can be
       used for small receptions and outdoor seating.

     – Other Amenities: The hotel has a fully equipped 1,400 square foot fitness center. In 2022 the company expanded the fitness center by approximately 600
       square feet. SOMA Mercantile, a gift shop of approximately 100 square feet contains food, beverage and retail items unique to San Francisco, along with
       national brand favorites. Valet parking is available in a two level subterranean garage

     – Original Art: During the conversion process, BHR commissioned two new outdoor murals, located in Block 9 and the Parklet and two sculptures, one located
       on a lobby wall and one on the exterior of the building. The hotel’s original art piece, a globe representing San Francisco’s unique position as a world class
       city, was moved from Block 9 to a prominent position in the Parklet.

     – Location and Access. The hotel is located in downtown San Francisco and is easily accessible from Interstate 80 and US 101. The hotel is approximately 14
       miles from the San Francisco International Airport. The Montgomery Street BART (Bay Area Rapid Transit) station is approximately three blocks from the
       hotel providing convenient access to the airport and East Bay communities.




                                                                                                                                                                        35

                                                                                                                                                                             APP.091
             Case 3:24-cv-00707-L      Document 38   Filed 04/15/24   Page 99 of 276   PageID 1366


                                         THE NOTARY HOTEL

Location            Philadelphia, PA
Rooms                     499
Owned                    100%
Occupancy               55.92%


                       FY 2022
ADR                      $218
RevPAR                   $122
Net Income              ($505)
EBITDA                  $7,673




                                                                                                     36

                                                                                                          APP.092
                            Case 3:24-cv-00707-L         Document 38        Filed 04/15/24      Page 100 of 276       PageID 1367


                                                            THE NOTARY HOTEL


 BHR’s subsidiary, Ashford Philadelphia Annex LP, owns a fee simple interest in The Notary Hotel. The hotel opened in 1999 and is
  comprised of 499 guest rooms, including 311 king rooms, 109 queen/queen rooms, 77 double/double rooms and two parlor suites.
  Approximately $59.2 million has been spent on capital expenditures since the acquisition of the hotel in 2007.

 On July 17, 2019, BHR announced the opening of The Notary Hotel. Listed on the National Register of Historic Places, the former Courtyard
  by Marriott Philadelphia Downtown underwent a rebranding and renovation in excess of $20 million to create The Notary Hotel.
  Improvements included a complete renovation of the guest rooms, guest corridors, and lobby. Additionally the restaurant was renovated and
  repositioned as an upscale tapas bar.

 The property joined Marriott’s Autograph Collection Hotels, a diverse portfolio of independent hotels around the world that reflect unique
  vision, design and environments. It is located in the center of Philadelphia’s downtown business district, across from City Hall and one block
  from the Philadelphia Convention Center. The hotel is also conveniently located next to the Historical District, the Reading Terminal Market,
  the University of Pennsylvania and Independence Hall.

 Additional property highlights include:
     – Meeting Space: Approximately 10,000 square feet of meeting space throughout 12 event rooms.

     – Food and Beverage: The Notary Hotel hosts (i) Sabroso+Sorbo, an exciting restaurant with Latin-inspired fare and specialty cocktails and (ii) La Colombe®,
       the hotel’s popular onsite coffee outlet featuring grab-and-go sandwiches, appetizing snacks, fresh salads and delectable pastries.

     – Other Amenities: The hotel has a fitness center, sundries shop/market, business center and valet parking.

     – Location and Access. The hotel is located in downtown Philadelphia and is accessible from Interstate 676. The hotel’s corner location and clear signage make
       it easily visible from both Juniper Street and South Penn Square. The hotel is approximately 10 miles from the Philadelphia International Airport



                                                                                                                                                                      37

                                                                                                                                                                           APP.093
             Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 101 of 276   PageID 1368


                               THE RITZ-CARLTON LAKE TAHOE

Location              Truckee, CA
Rooms                    170
Owned                   100%
Occupancy               57.60%


                       FY 2022
ADR                      $737
RevPAR                   $424
Net Income              $5,020
EBITDA                  $11,383




                                                                                                   38

                                                                                                        APP.094
                            Case 3:24-cv-00707-L         Document 38        Filed 04/15/24       Page 102 of 276        PageID 1369


                                                THE RITZ-CARLTON LAKE TAHOE


 On January 15, 2019, BHR acquired a 100% interest in the 170-room Ritz-Carlton Lake Tahoe located in Truckee, California for $120.0
  million. Approximately $7.9 million has been spent on capital expenditures since the acquisition of the hotel in January 2019.

 The Ritz-Carlton Lake Tahoe was built in 2009 and has 170 luxurious and spacious rooms, including 17 suites. The resort also offers an
  array of amenities, including ski-in/ski-out access to Northstar Ski Mountain, the ultra-luxury Lake Club on the shore of Lake Tahoe, a 17,000
  square foot full-service spa, six food and beverage outlets, including the acclaimed Manzanita restaurant, over 37,000 square feet of flexible
  indoor/outdoor meeting space, two outdoor pools, state-of-the-art fitness club and yoga studio, and the Ritz Kids Club.

 Additional property highlights include:
     – Meeting Space: The property has over 37,000 square feet of meeting space including 15,000 square feet of outdoor event space with the dramatic fireside
       terrace, two elegant ballrooms and the waterfront Lake Club, a multi-level venue for intimate events.

     – Food and Beverage: The property features six food and beverage outlets, including the extraordinary North Lake Tahoe dining in Manzanita, featuring artfully
       crafted cuisine and Backyard Bar and BBQ, featuring St. Louis style BBQ favorites.

     – Other Amenities: The property offers 170 luxurious guest rooms and suites with in-room gas fireplaces and floor-to-ceiling windows, a 17,000 square foot
       slope-side spa with treatments themed around nature and the Ritz Kids children’s program.

     – Location and Access. Located in the North Lake Tahoe area, the property is situated mid-mountain at the Northstar Ski Area. With its premier location, luxury
       brand affiliation and world-class amenities, The Ritz-Carlton Lake Tahoe is positioned as the leading resort in one of the country’s most popular tourist
       destinations. North Lake Tahoe, located approximately 45 minutes from Reno, Nevada and two hours from Sacramento, is a popular and growing upscale,
       year-round tourist destination. Beyond the first-class hotel experience, guests have easy access to the Lake Tahoe area’s many amenities and activities,
       including world-class skiing and winter sports, boating, fishing, hiking, golfing, as well as exceptional dining and shops.




                                                                                                                                                                       39

                                                                                                                                                                            APP.095
             Case 3:24-cv-00707-L    Document 38   Filed 04/15/24   Page 103 of 276   PageID 1370


                                 THE RITZ-CARLTON SARASOTA

Location              Sarasota, FL
Rooms                     276
Owned                    100%
Occupancy               74.47%


                        FY 2022
ADR                      $618
RevPAR                   $460
Net Income              $17,641
EBITDA                  $30,377




                                                                                                    40

                                                                                                         APP.096
                            Case 3:24-cv-00707-L         Document 38        Filed 04/15/24       Page 104 of 276        PageID 1371


                                                  THE RITZ-CARLTON SARASOTA


 On April 4, 2018, BHR acquired a 100% interest in The Ritz-Carlton Sarasota in Sarasota, Florida for $171.4 million and a 22-acre plot of
  vacant land for $9.7 million. Approximately $17.2 million has been spent on capital expenditures since the acquisition of the hotel in April
  2018.

 The Ritz-Carlton Sarasota was built in 2001 and has 276 luxurious and spacious rooms, including 31 suites. The resort also offers an array
  of amenities, including a 26,000 square foot Beach Club with 410 feet of beachfront, a private, luxury Tom Fazio designed Golf Club, the
  award-winning 15,000 square foot Ritz-Carlton Spa, eight food and beverage outlets, including the acclaimed Jack Dusty waterfront
  restaurant, 29,000 square feet of flexible indoor meeting space, two outdoor pools, 24-hour state-of-the-art fitness club and lighted tennis
  courts.

 Additional property highlights include:
     – Meeting Space: The property has a 26,000-square-foot conference center, outdoor venues for up to 1,200 guests as well as venues overlooking the Gulf of
       Mexico.

     – Food and Beverage: The property features four different restaurants, including the nautically inspired Jack Dusty and Ridley’s Porch, the relaxed beachfront
       Lido key Tiki Bar, as well as the Golf Club Grille overlooking the entire golf course.

     – Other Amenities: The property offers 276 guest rooms with private balconies, a serene private beach club on Lido Key, 18 holes of championship golf and a
       luxurious spa.

     – Location and Access. Located on Sarasota Bay in downtown Sarasota, the property, with its premier location, luxury-brand affiliation and world-class
       amenities, is positioned as the leading resort in one of country’s fastest growing markets. Sarasota, located approximately 60 miles south of Tampa, is a
       popular and growing upscale, year-round destination on the west coast of Florida. Beyond the first-class hotel experience, guests have easy access to the
       Sarasota area’s many amenities and activities, including exceptional dining and shops, art galleries, beaches, museums, boating, fishing, and golfing.



                                                                                                                                                                      41

                                                                                                                                                                           APP.097
             Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 105 of 276   PageID 1372


                        SOFITEL CHICAGO MAGNIFICENT MILE

Location              Chicago, IL
Rooms                    415
Owned                   100%
Occupancy               65.36%


                       FY 2022
ADR                      $251
RevPAR                   $164
Net Income              $2,226
EBITDA                  $8,288




                                                                                                   42

                                                                                                        APP.098
                            Case 3:24-cv-00707-L          Document 38         Filed 04/15/24       Page 106 of 276        PageID 1373


                                           SOFITEL CHICAGO MAGNIFICENT MILE


 On February 24, 2014, BHR acquired a fee simple interest in the Sofitel Chicago Magnificent Mile. The hotel opened in 2002 and is
  comprised of 415 guest rooms, including 63 suites. Approximately $19.9 million has been spent on capital expenditures at the hotel since the
  acquisition of the hotel in 2014. The fitness center and lobby bar were extensively renovated in the first quarter of 2017. A comprehensive
  guest room and corridor renovation began in the fourth quarter of 2017 and was completed in the second quarter of 2018.

 The 32-story building was designed by French architect Jean-Paul Viguier and has views of Lake Michigan and the Chicago skyline. It is
  located in the heart of the Gold Coast neighborhood, proximate to some of Chicago’s largest leisure demand generators, on the corner of
  Chestnut Street and Wabash Avenue.

 Additional property highlights include:
     – Meeting Space: Approximately 10,000 square feet of meeting space.

     – Food and Beverage: The Sofitel Chicago Magnificent Mile includes (i) CDA, an 82 seat French inspired casual restaurant; (ii) Le Bar, a 45 seat modern
       cocktail lounge; (iii) La Tarrasse, a 40-seat outdoor patio and lounge serving the cuisine of CDA; and (iv) Cigale, a restaurant space featuring an exhibition
       kitchen and frontage on Wabash Avenue overlooking Connors Park (currently utilized only for event space).

     – Other Amenities: The hotel has a fitness center, a business center and valet parking.

     – Location and Access. The hotel is located one block west of Chicago’s Magnificent Mile on a 0.6 acre parcel in an area of Chicago known as the Gold Coast.
       The hotel has easy access to the Chicago “L” train and is located approximately 18 miles from O’Hare International Airport and 13 miles from Midway
       International Airport.




                                                                                                                                                                        43

                                                                                                                                                                             APP.099
             Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 107 of 276   PageID 1374


                                  PIER HOUSE RESORT AND SPA

Location             Key West, FL
Rooms                    142
Owned                    100%
Occupancy               74.81%


                       FY 2022
ADR                      $707
RevPAR                   $529
Net Income              $12,377
EBITDA                  $18,115




                                                                                                   44

                                                                                                        APP.100
                             Case 3:24-cv-00707-L          Document 38        Filed 04/15/24       Page 108 of 276        PageID 1375


                                                    PIER HOUSE RESORT AND SPA


 On March 1, 2014, the company acquired a fee simple interest in the Pier House Resort & Spa from Ashford Trust pursuant to an option
  agreement that the company entered into in connection with our spin-off from Ashford Trust. The hotel opened in 1968 and is comprised of
  142 guest rooms, including 76 king rooms, 43 queen/queen rooms and 23 suites. Approximately $16.6 million has been spent on capital
  expenditures since the acquisition of the hotel in May 2013, which included spa, fitness center and guest rooms refresh renovations.

 The hotel is located on a six-acre parcel in Key West, Florida. In addition to its secluded private beach, the hotel is well-situated at the north
  end of Duval Street providing easy access to the heart of Key West and its many demand generators.

 Additional property highlights include:
      – Meeting Space: Approximately 2,600 square feet of conference space and 2,000 square feet of wedding space overlooking the Gulf of Mexico.

      – Food and Beverage: The Pier House Resort & Spa provides an al fresco beach bar, the 152-seat One Duval Restaurant as well as the 18-seat Chart Room.

      – Other Amenities: The hotel has a full-service spa, a private beach, a heated outdoor pool and a private dock for charter pick-ups.

      – Location and Access. The hotel is located on a six-acre compound in the historic district of Key West, Florida, on Duval Street, at the Gulf of Mexico. Key
        West, which is the southernmost point of the Florida peninsula, is 160 miles south of Miami. Key West International Airport is approximately four miles from
        the property. The Marathon and Miami airports are all within driving distance.




                                                                                                                                                                       45

                                                                                                                                                                            APP.101
             Case 3:24-cv-00707-L     Document 38   Filed 04/15/24   Page 109 of 276   PageID 1376


                                 BARDESSONO HOTEL AND SPA

Location             Yountville, CA
Rooms                     65
Owned                    100%
Occupancy               63.96%


                       FY 2022
ADR                     $1,258
RevPAR                   $804
Net Income              $4,488
EBITDA                  $9,127




                                                                                                     46

                                                                                                          APP.102
                              Case 3:24-cv-00707-L           Document 38          Filed 04/15/24        Page 110 of 276         PageID 1377


                                                      BARDESSONO HOTEL AND SPA


 On July 9, 2015, BHR acquired a 100% leasehold interest in the Bardessono Hotel and Spa in Yountville, California, which is subject to a
  ground lease that initially expires in 2065, with two 25-year extension options. The Bardessono Hotel and Spa was built in 2009 and has 65
  luxurious rooms and suites. Built and operated with a primary focus on green practices and is LEED Platinum certified. In 2016 the meeting
  space was renovated. In 2019 the company completed construction of a 3,705 square foot Maple Grove Villa, which consists of three large
  suites, each of which boasts a distinctive great room, stately king bedroom, spa bathroom, courtyard and plunge pool. Approximately $8.8
  million has been spent on capital expenditures since the acquisition of the hotel in July 2015.

 The hotel is located in Yountville, California and enjoys a central location in the heart of Napa Valley. It offers exceptional amenities, including
  large, well appointed guest rooms and suites with private patios/balconies. Guest rooms have fireplaces and oversized bathrooms, many
  featuring steam showers and a second shower located outdoors in a private garden.

 Additional property highlights include:
      – Meeting Space: Approximately 2,100 square feet of indoor and outdoor meeting space.

      – Food and Beverage: The Bardessono Hotel and Spa offers the acclaimed 84-seat Lucy restaurant and bar.

      – Other Amenities: The hotel offers an on-site spa and a fitness center. Outdoor amenities include a rooftop pool and a vegetable garden. Complimentary
        bicycles and five Lexus vehicles are available for guest use.

      – Location and Access. The hotel is approximately 60 miles north of San Francisco, approximately 68 miles from the San Francisco International Airport and
        approximately 60 miles from the Oakland International Airport. The hotel is located within the town of Yountville, offering numerous retail and restaurant
        establishments including the famed French Laundry. Yountville is in the heart of the Napa Valley, a premier wine and culinary destination with over 450
        wineries. In addition to the valley’s traditional wine and dining attractions, the region is also known as a popular leisure destination for hiking, biking, golfing,
        shopping and festivals.



                                                                                                                                                                                47

                                                                                                                                                                                     APP.103
             Case 3:24-cv-00707-L         Document 38   Filed 04/15/24   Page 111 of 276   PageID 1378


                                  THE RITZ-CARLTON ST. THOMAS

Location     St. Thomas, U.S. Virgin Islands
Rooms                     180
Owned                    100%
Occupancy               73.81%


                        FY 2022
ADR                      $1,205
RevPAR                   $889
Net Income              $18,920
EBITDA                  $30,137




                                                                                                         48

                                                                                                              APP.104
                            Case 3:24-cv-00707-L          Document 38         Filed 04/15/24       Page 112 of 276        PageID 1379


                                                  THE RITZ-CARLTON ST. THOMAS


 On December 15, 2015, BHR acquired a 100% interest in The Ritz-Carlton St. Thomas on the island of St. Thomas, U.S. Virgin Islands. The
  Ritz-Carlton St. Thomas opened in 1996 and has 155 luxurious guest rooms and 25 suites, all featuring a spacious private balcony with
  ocean or resort views. Approximately $115.4 million has been spent on capital expenditures since the acquisition of the hotel in December
  2015. Capital investment was primarily focused on remediation and reconstruction effort due to damage sustained after Hurricane Irma. The
  hotel operated as a 59-room Marriott-affiliated non-branded hotel for the majority of 2019 and re-opened as a full service Ritz-Carlton resort
  in late November 2019.

 Additional property highlights include:
     – Meeting Space: The property has more than 10,000 square feet of indoor and outdoor meeting and function space offering stunning views of Great Bay and
       neighboring St. John.

     – Food and Beverage: The property features (i) the 163 seat Bleuwater Restaurant; (ii) Alloro, a 100-seat Italian restaurant; (iii) Sails, a 155-seat beachside
       restaurant and bar; and (iv) Coconut Cove, a second beachside 118-seat restaurant, on the grounds of the adjacent Ritz-Carlton Destination Club. A new
       fresh service market, Southwind, opened in 2020, serving coffee, sandwiches, ice cream and other light fare.

     – Other Amenities: The resort offers a beachfront infinity-edge pool, as well as a children’s pool and hot tub, a 7,500 square foot full-service awardwinning spa
       and a 2,000 square foot fitness center. The resort also offers the Ritz Kids Club.

     – Location and Access. The hotel is located on 30 oceanfront acres along Great Bay, St. Thomas, U.S. Virgin Islands. It is 1.6 miles from Urman Victor
       Fredericks Marine Terminal in Red Hook and 11 miles from Cyril E. King Airport.




                                                                                                                                                                         49

                                                                                                                                                                              APP.105
             Case 3:24-cv-00707-L      Document 38   Filed 04/15/24   Page 113 of 276   PageID 1380


                   PARK HYATT BEAVER CREEK RESORT & SPA

Location            Beaver Creek, CO
Rooms                     190
Owned                    100%
Occupancy               60.58%


                        FY 2022
ADR                      $601
RevPAR                   $364
Net Income              $5,668
EBITDA                  $13,620




                                                                                                      50

                                                                                                           APP.106
                             Case 3:24-cv-00707-L           Document 38        Filed 04/15/24        Page 114 of 276         PageID 1381


                                      PARK HYATT BEAVER CREEK RESORT & SPA


 On March 31, 2017, BHR acquired a 100% interest in the 190-room Park Hyatt Beaver Creek Resort & Spa in Beaver Creek, Colorado.
  Located in the heart of Beaver Creek Village, approximately 100 miles west of Denver, it is located in one of the most exclusive resort
  destinations in North America. The Park Hyatt Beaver Creek Resort & Spa is an integral part of the Beaver Creek Village as the only full-
  service hotel with direct ski-in/ski-out access. The Park Hyatt Beaver Creek Resort & Spa was built in 1989 and has 190 luxurious and
  spacious rooms, including 81 king rooms, 66 double/double rooms, 20 double/queen rooms, 22 suites and one suite parlor. The hotel
  underwent a full lobby renovation in 2019, which included a new lobby bar and the addition of an epicurean market. Approximately $16.8
  million has been spent on capital expenditures since the acquisition of the hotel in March 2017.
 Additional property highlights include:
     – Meeting Space: The property has over 20,000 square feet of flexible indoor and outdoor event space and is home to the largest ballroom in Vail Valley.

     – Food and Beverage: The property has four food and beverage outlets, including the world-class 8100 Mountainside Bar & Grill, the Brass Bear Bar, the Fall
       Line epicurean market and Powder 8 Kitchen & Tap, serving the Beaver Creek community and hotel guests during the ski season.

     – Other Amenities: The resort offers an array of amenities, including the award-winning 30,000 square foot Exhale Spa, a heated outdoor pool and five outdoor
       hot tubs beneath a mountain waterfall, 24-hour state-of-the-art fitness club, ski valet service, outdoor fire pits, guest access to two private championship golf
       courses and the Beaver Creek Tennis Center. The property also features over 18,800 square feet of fully leased, highly visible retail space in the heart of
       Beaver Creek.

     – Location and Access. Located in the heart of Beaver Creek Village, Colorado, the Park Hyatt Beaver Creek Resort & Spa is positioned as the leading resort
       in one of North America’s most renowned luxury resort destinations. Beyond the world-class hotel, guests have easy access to Beaver Creek’s famous
       amenities, including exceptional dining and luxury boutique shopping, the 535-seat Vilar Performing Arts Center where festivals and large events are held and
       an outdoor ice skating rink. While the Vail Valley is home to some of the top ski areas in the world and is a well-known winter destination, it has become very
       popular as a summer destination due to its proximity to diverse leisure activities, including hiking, biking, horseback riding, white water rafting, fishing, golfing
       and festivals.




                                                                                                                                                                               51

                                                                                                                                                                                    APP.107
             Case 3:24-cv-00707-L     Document 38   Filed 04/15/24   Page 115 of 276   PageID 1382


                                        HOTEL YOUNTVILLE

Location             Yountville, CA
Rooms                     80
Owned                    100%
Occupancy               54.06%


                       FY 2022
ADR                      $907
RevPAR                   $490
Net Income              $2,547
EBITDA                  $6,958




                                                                                                     52

                                                                                                          APP.108
                            Case 3:24-cv-00707-L          Document 38         Filed 04/15/24       Page 116 of 276        PageID 1383


                                                               HOTEL YOUNTVILLE


 On May 11, 2017, BHR acquired a 100% interest in the 80-room Hotel Yountville in Yountville, California. The Hotel Yountville was originally
  built in 1998 and, in 2011, underwent an extensive expansion and renovation that upgraded all guest rooms, adding 29 new guest rooms,
  and added a restaurant, spa, meeting and event space, an outdoor pool, and lounge patio. Currently, the property has 80 luxury rooms
  consisting of 62 king rooms, eight double/queen rooms and 10 suites. Approximately $3.2 million has been spent on capital expenditures
  since the acquisition of the hotel in May 2017.

 Additional property highlights include:
     – Meeting Space: The property has approximately 4,400 square feet of indoor and outdoor event space.

     – Food and Beverage: The property has the acclaimed 46-seat Heritage Oak restaurant and bar, in-room dining service and complimentary wine tastings.

     – Other Amenities: The property offers well-appointed guest rooms and suites with private patios/balconies and a 6,500 square foot on-site spa. Its outdoor
       amenities are notable as well, including a resort-style outdoor heated pool and lounge, landscaping and water features, and the availability of complimentary
       bicycles for guest use.

     – Location and Access. Located in the heart of Yountville, California, the Hotel Yountville is approximately 60 miles north of San Francisco and enjoys a central
       location in the heart of the Napa Valley, widely acclaimed as the continent’s premier wine and culinary destination with over 450 wineries. Known as the
       “Culinary Capital of the Napa Valley,” Yountville boasts an array of restaurants by famed chefs, earning more Michelin stars per capita than any other place in
       North America. In addition to the valley’s traditional wine and dining attractions, the region is also known as a popular leisure destination for hiking, biking,
       golfing, shopping and festivals




                                                                                                                                                                           53

                                                                                                                                                                                APP.109
             Case 3:24-cv-00707-L     Document 38   Filed 04/15/24   Page 117 of 276   PageID 1384


                                  MR. C BEVERLY HILLS HOTEL

Location            Los Angeles, CA
Rooms                    143
Owned                   100%
Occupancy               74.26%


                       FY 2022
ADR                      $348
RevPAR                   $258
Net Income             ($1,390)
EBITDA                  $3,157




                                                                                                     54

                                                                                                          APP.110
                             Case 3:24-cv-00707-L          Document 38        Filed 04/15/24        Page 118 of 276        PageID 1385


                                                     MR. C BEVERLY HILLS HOTEL


 On August 5, 2021, the Company acquired a 100% interest in the 138-room Mr. C Beverly Hills Hotel and five luxury residences adjacent to
  the hotel. Approximately $819,000 has been spent on capital expenditures since the acquisition.

 The Mr. C was built in 1965 and underwent an extensive renovation in 2011. It has 138 luxurious and spacious rooms, including 12 suites
  and 10 mini suites. It is a luxury hotel ideally located in close proximity to high-end shopping on Rodeo Drive and business demand from
  Century City and Culver City.

 Additional property highlights include:
     – Meeting Space: The property has over 24,000 sq. ft. of flexible indoor/outdoor meeting space. The 12 floor ballroom features unparalleled 360-degree
       panoramic views of Los Angeles.

     – Food and Beverage: The property also boasts the acclaimed The Restaurant at Mr. C, which entices travelers and Angelenos alike with its truly authentic
       Italian flavor by the fourth generation Cipriani.

     – Other Amenities: The property offers an outdoor pool terrace with daybeds and cabanas, state-of-the-art fitness center and a business center. Additionally,
       the property includes five newly-constructed and fully-furnished residences which blend contemporary architecture with elegant, minimalistic design and
       range in size from 2,000 to 3,400 sq. ft. The residences are currently offered for extended-stay rentals.

     – Location and Access. With its premier location in the heart of West Los Angeles, the property is in the middle of more than 45 million sq. ft. of office space,
       supporting substantial corporate demand and a wide array of world-renowned leisure demand generators, including unrivaled shopping with high-end
       retailers, vibrant restaurants and various art and cultural attractions.




                                                                                                                                                                         55

                                                                                                                                                                              APP.111
             Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 119 of 276   PageID 1386




Location              Puerto Rico
Rooms                     96
Owned                    100%
Occupancy               63.53%


                       FY 2022
ADR                     $1,929
RevPAR                  $1,225
Net Income              $7,583
EBITDA                  $14,887




                                                                                                   56

                                                                                                        APP.112
                            Case 3:24-cv-00707-L         Document 38        Filed 04/15/24      Page 120 of 276        PageID 1387


                                  THE RITZ-CALRTON RESERVE DORADO BEACH


 On March 11, 2022, the Company acquired a 100% interest in the 96-room Ritz-Carlton Reserve Dorado Beach in Dorado, Puerto Rico.
  Approximately $1.3 million has been spent on capital expenditures since the acquisition.

 The Ritz-Carlton Reserve Dorado Beach opened in 2013. Situated on a portion of the original Rockefeller estate, the Ritz-Carlton Reserve
  Dorado Beach is an intimate refuge, infused with references to the surrounding natural landscape and diverse culture. It has 96 guest rooms,
  each of which features beautiful modern decor, a large wardrobe and marble floors. Some rooms also feature an en-suite plunge pool and
  spectacular ocean views.

 Additional property highlights include:
     – Meeting Space: The property offers entirely customizable meeting packages that combine ocean-view meeting space, bespoke services and meeting
       expertise. A private dining room and several lawns are also available for more social gatherings.

     – Food and Beverage: The property features three dining outlets including COA, the property’s signature steakhouse and Positivo, offering upscale openair,
       ocean front dining with an Asian inspired influence.

     – Other Amenities: The property offers an award winning spa, fitness center, kids club and excellent views of the Caribbean Sea.

     – Location and Access. Puerto Rico’s capital of San Juan is 25 miles away, and guests can reach Luis Muñoz Marín International Airport within a 50-minute
       drive of the property




                                                                                                                                                                  57

                                                                                                                                                                       APP.113
             Case 3:24-cv-00707-L     Document 38   Filed 04/15/24   Page 121 of 276   PageID 1388


                       FOUR SEASONS RESORT SCOTTSDALE

Location             Scottsdale, AZ
Rooms                     210
Owned                    100%
Occupancy               45.15%


                       FY 2022
ADR                     $1,057
RevPAR                   $477
Net Income               $933
EBITDA                  $1,710




                                                                                                     58

                                                                                                          APP.114
                             Case 3:24-cv-00707-L          Document 38         Filed 04/15/24       Page 122 of 276        PageID 1389


                                           FOUR SEASONS RESORT SCOTTSDALE


 On December 1, 2022, the Company acquired a 100% interest in the 210-room Four Seasons Resort Scottsdale at Troon North in
  Scottsdale, Arizona. Approximately $383,000 has been spent on capital expenditures since the acquisition.

 The Four Seasons Resort Scottsdale was opened in 1999. It has 210 luxurious and spacious guest rooms, including 22 suites that average
  1,214 sq. ft. in size, all boasting private patios or balconies overlooking the colorful desert landscapes.

 Additional property highlights include:
     – Meeting Space: The property boasts 35,900 square feet of total indoor and landscaped outdoor event space including three ballrooms and a variety of private
       meeting rooms including two dedicated boardrooms

     – Food and Beverage: Guests have multiple dining options including indulging at the 100-seat Talavera steakhouse, sampling American homestyle fare at 180-
       seat Proof cantina, enjoying desert and pool views at the 55-seat Saguaro Blossom poolside restaurant, or enjoying handcrafted cocktails at the 100-seat
       Onyx Bar and Lounge.

     – Other Amenities: The property offers locally inspired spa treatments at the 9,000 sq. ft. spa, a bi-level pool. It also offers guests opportunities for outdoor
       adventure, including close shuttle access to two world-class golf courses, four pickleball and two tennis courts, as well as the opportunities to hike, bike or
       rock climb surrounding hills.

     – Location and Access. Set in the majestic Sonoran Desert, Four Seasons Resort Scottsdale at Troon North is minutes from outdoor adventures and two world-
       class golf courses. The bustling downtowns of Scottsdale and Phoenix are 30 and 40 minutes away, respectively, but dining, shopping and area attractions
       are only a short drive from the Resort




                                                                                                                                                                         59

                                                                                                                                                                              APP.115
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 123 of 276   PageID 1390




                           LBO Model




                                                                                      APP.116
                                         Case 3:24-cv-00707-L                       Document 38             Filed 04/15/24         Page 124 of 276                  PageID 1391


                                       LBO MODEL – PURCHASE PRICE SUMMARY AND EXIT VALUE


PURCHASE PRICE SUMMARY                                                                                                 EXIT VALUE
Common Shares Outstanding                                                                         65,994               Exit Year                                                                            Year 5
OP Units Outstanding                                                                               7,224               Exit by Property
Plus: Dilution from Converted Shares                                                              13,609                 Property                                                 # of Keys     Exit Valuation
Total Shares and Units                                                                            86,827                    Hilton La Jolla Torrey Pines                             394      $            332,536
Current Price Per Share                                                              $              2.74                    Capital Hilton                                           550                   464,200
Current Equity Value                                                                 $           237,907                    Marriott Seattle Waterfront                              361                   304,684
Offer Price Per Share                        82.5% Premium to Current Share Price    $              5.00                    The Clancy                                               410                   346,040
Equity Value                                                                         $           434,136                    The Notary Hotel                                         499                   421,156
Plus: Net Debt (Excl. Convert)                                                                   737,155                    The Ritz-Carlton Lake Tahoe                              170                   143,480
Plus: Preferred Stock                                                                            460,827                    The Ritz-Carlton Sarasota                                276                   232,944
Plus: Convertible Preferreds                                                                      76,950                    Sofitel Chicago Magnificent Mile                         415                   350,260
Total Enterprise Value                                                               $         1,709,068                    Pier House Resort & Spa                                  142                   119,848
                                                                                                                            Bardessono Hotel and Spa                                  65                    54,860
VALUATION MULTIPLES                                                                                                         The Ritz-Carlton St. Thomas                              180                   151,920
                                                                    Current              At Takeout                         Park Hyatt Beaver Creek Resort & Spa                     190                   160,360
Purchase Price Per Key                                       $            361,569 $              408,770                    Hotel Yountville                                          80                    67,520
Implied 2024E Cap Rate                                                      15.8%                  14.0%                    Mr. C Beverly Hills Hotel                                143                   120,692
2024E Hotel EBITDA Multiple                                                   6.3x                   7.1x                   The Ritz-Carlton Reserve Dorado Beach                     96                    81,024
2025E Hotel EBITDA Multiple                                                   6.1x                   6.9x                   Four Seasons Resort Scottsdale                           210                   177,240
                                                                                                                       Gross Exit Value                                             4,181     $          3,528,764
EXIT VALUATION MULTIPLES                                                                                               Less: Transaction Costs                                                             (35,288)
Average Price Per Key                                                                $           844,000               Net Unlevered Proceeds                                                 $          3,493,476
Implied 2029E Cap Rate                                                                              8.4%               Less: Net Debt                                                         $         (1,600,000)
2029E Hotel EBITDA Multiple                                                                         12.0x              Net Levered Proceeds                                                   $          1,893,476




                                                                                                                                                                                                                      61

                                                                                                                                                                                                                           APP.117
                               Case 3:24-cv-00707-L   Document 38          Filed 04/15/24           Page 125 of 276            PageID 1392


                                             LBO MODEL – SOURCES AND USES

SOURCES AND USES AT CLOSING


Sources                                                                            Uses
Investor Cash Equity                                  $      717,987               Outstanding Equity (at $5.00 Share Price)                 $    434,136
Cash on Target Balance Sheet                                 118,025               Repay Debt                                                    1,054,430
Assumed Mortgage Debt                                              -               Assumed Mortgage Debt                                                    -
CMBS Pool 1                                                  800,000               Repay Preferreds                                               577,777
CMBS Pool 2                                                        -               Buyout Park Minority Interest                                   69,250
CMBS Pool 3                                                        -               Target Purchase Price                                     $   2,135,593
Bridge Financing                                             800,000               Transaction Costs                                              300,419
Total Sources                                         $     2,436,012              Total Uses                                                $   2,436,012
  Debt as a % of Net Sources                                     69%




SOURCES AND USES POST BRIDGE


Sources                                                                            Uses
Incremental Equity Needed                             $                -           Repay Bridge Financing                                    $    800,000
CMBS Pool 1                                                        -               Working Capital Reserve                                              -
CMBS Pool 2                                                  800,000
CMBS Pool 3                                                        -
Total Sources                                         $      800,000               Total Uses                                                $    800,000




                                                                                                                                                                62

                                                                                                                                                                     APP.118
                                              Case 3:24-cv-00707-L                Document 38        Filed 04/15/24               Page 126 of 276                      PageID 1393


                                                                        LBO MODEL – CAPITALIZATION

CAPITALIZATION

                                                          Pro Forma          Current      Current       Bucket            Adjustments                                   Adjustments            Permanent          % Of
                                                             6/30/23    Interest Rate     Maturity     (1/2/3)               (+) / (-)             At Signing              (+) / (-)           Cap Stack     Total Cap
Cash & Equivalants                                $        128,025                                                   $              (118,025) $             10,000 $                   -   $     10,000          0.4%

Existing Mortgage Debt
  Mortgage loan - The Ritz-Carlton Sarasota       $              -            L+2.65%      Apr-24     Already Paid   $                  - $                    -   $                   -   $          -              -
  Mortgage loan - Hotel Yountville                               -            L+2.65%      May-24     Already Paid                      -                      -                       -              -              -
  Mortgage loan - Notary/Clancy/CHI /SEA                   293,180            L+2.16%      Jun-25          1                      (293,180)                    -                       -              -              -
  Mortgage loan - Bardessano Hotel & Spa                         -            S+2.65%      Aug-23     Already Paid                      -                      -                       -              -              -
  Mortgage loan - Ritz St Thomas                            42,500            L+3.95%      Aug-24          1                       (42,500)                    -                       -              -              -
  Mortgage loan - Ritz Lake Tahoe                           54,000            S+2.20%      Jan-24          1                       (54,000)                    -                       -              -              -
  Mortgage loan - Capital Hilton / Torrey Pines            195,000            L+1.70%      Feb-24          1                      (195,000)                    -                       -              -              -
  Mortgage loan - Park Hyatt Beaver Creek                   70,500            S+2.86%      Feb-27          1                       (70,500)                    -                       -              -              -
  Mortgage loan - Dorado Beach                                   -            L+6.00%      Jan-00     Already Paid                      -                      -                       -              -              -
  Mortgage loan - Mr. C Beverly Hills                       30,000            L+3.60%      Aug-24          1                       (30,000)                    -                       -              -              -
  Mortgage loan - Pier House                                80,000            S+1.95%      Sep-24          1                       (80,000)                    -                       -              -              -
  Mortgage loan - Four Seasons Scottsdale                  100,000            S+3.75%      Dec-27          1                      (100,000)                    -                       -              -              -

Existing Corporate Debt
  Secured Term Loan Facility                      $        150,000                                        1          $            (150,000) $                  -   $                   -   $          -              -
  Secured Revolving Credit Facility                         39,250                                        1                        (39,250)                    -                       -              -              -
  Convertible Senior Notes                                  86,250               4.50%                  Convert                          -                     -                       -              -              -

Preferreds
    Series B                                      $         76,950                                         1         $             (76,950) $                  -   $                   -   $          -              -
    Series D                                                40,000                                         1                       (40,000)                    -                       -              -              -
    Series E                                               411,818                                         1                      (411,818)                    -                       -              -              -
    Series M                                                49,008                                         1                       (49,008)                    -                       -              -              -

New Debt
  Bridge Financing                                    $            -                                                 $             800,000 $              800,000 $           (800,000) $              -             -
  CMBS Pool 1                                                      -                                                               800,000                800,000                     -          800,000        34.7%
  CMBS Pool 2                                                      -                                                                      -                     -               800,000          800,000        34.7%
  CMBS Pool 3                                                      -                                                                      -                     -                     -                -             -
Total Debt                                            $     1,718,457                                                $               (32,207) $           1,600,000 $                   - $      1,600,000      69.3%
Net Debt                                          $       1,590,432                                                                          $          1,590,000                        $     1,590,000        68.9%
Public Equity                                     $         237,907                                                  $           (237,907) $                    - $                   - $              -             -
Private Equity                                    $               -                                                   $            717,987 $              717,987 $                   - $        717,987        31.1%
Total Capitalization                                  $     1,828,339                                                                          $          2,307,987                        $     2,307,987     100.0%



                                                                                                                                                                                                                         63

                                                                                                                                                                                                                              APP.119
                                       Case 3:24-cv-00707-L    Document 38   Filed 04/15/24     Page 127 of 276            PageID 1394


                                                          LBO MODEL – CASH FLOW SUMMARY


CASH FLOW SUMMARY

                                                                                    2024          2025          2026              2027          2028          2029
Year:                                                                              Year 1        Year 2        Year 3            Year 4        Year 5        Year 6

BHR Revenue
Rooms                                                                    $       494,877 $     516,112 $     538,305 $         560,962 $     588,362 $     613,051
Food and Beverage                                                                215,194       223,493       233,103           242,933       254,172       264,817
Other                                                                             86,943        88,147        91,937            95,857        98,845       102,936
Total Hotel Revenue                                                      $       797,013 $     827,752 $     863,345 $         899,752 $     941,380 $     980,804

NOI
Total Hotel Revenue                                                      $        797,013 $     827,752 $     863,345 $         899,752 $     941,380 $     980,804
Less: Hotel Operating Expenses                                                   (496,235)     (515,374)     (537,535)         (560,202)     (586,120)     (610,667)
Less: Property Taxes and Insurance                                                (37,271)      (38,708)      (40,373)          (42,075)      (44,022)      (45,866)
Less: Hotel Management Services Fees    3.0% of revenue                           (23,910)      (24,833)      (25,900)          (26,993)      (28,241)      (29,424)
Total Property Nominal NOI                                               $        239,597 $     248,837 $     259,537 $         270,482 $     282,996 $     294,847
  Annual Growth                                                                        NA          3.9%          4.3%              4.2%          4.6%          4.2%

Less: Total Capex                       5.5% of revenue                           (43,836)      (45,526)      (47,484)          (49,486)      (51,776)      (53,944)
Economic NOI                                                             $       195,761 $     203,311 $     212,053 $         220,995 $     231,220 $     240,903
  Annual Growth                                                                       NA          3.9%          4.3%              4.2%          4.6%          4.2%

Less: General and Administrative                                                 (10,281)      (10,347)      (10,360)          (10,347)      (10,355)      (10,298)
Unlevered Cash Flow                                                      $       185,479 $     192,964 $     201,693 $         210,648 $     220,865 $     230,605

Less: Interest Expense                                                   $       (134,987) $   (123,026) $   (120,505) $       (119,886) $   (120,155) $   (60,222)
Levered Cash Flow                                                        $         50,493 $      69,938 $      81,188 $          90,763 $     100,709 $    170,383




                                                                                                                                                                       64

                                                                                                                                                                            APP.120
                                      Case 3:24-cv-00707-L   Document 38           Filed 04/15/24     Page 128 of 276               PageID 1395


                                                        LBO MODEL – RETURNS SUMMARY
RETURNS SUMMARY

Year:                                                                 Year 0             Year 1         Year 2         Year 3              Year 4           Year 5           Year 6

Unlevered
Purchase Price                                               $    (2,066,343) $            -      $       -      $       -      $            -      $          -     $         -
Plus: Cash on Balance Sheet                                          118,025               -              -              -                   -                 -               -
Less: Park Minority Interest                                          (69,250)
Less: Transaction Costs                                             (300,419)               -              -              -                   -                -               -
Plus: Unlevered Cash Flow                                                  -           185,479        192,964        201,693             210,648          220,865              -
Plus: Exit Value                                                           -                -              -              -                   -         3,528,764              -
Less: Exit Transaction Costs                                               -                -              -              -                   -           (35,288)             -
Total Unlevered Cash Flow                                    $     (2,317,987) $        185,479 $      192,964 $      201,693 $           210,648 $      3,714,341       $         -

Unlevered IRR                                 16.0%
Unlevered Multiple                              1.9x
Profit                                     $2,187,138
Cash Flow as a % of Profit                     46.3%


Year:                                                                 Year 0             Year 1         Year 2         Year 3              Year 4           Year 5           Year 6

Levered
Unlevered Basis                                              $    (2,317,987) $             - $           - $            - $                  - $               - $            -
Plus: Debt                                                         1,600,000                -             -              -                    -                 -              -
Plus: Bridge Debt Proceeds                                           800,000                -             -              -                    -                 -              -
Less: Bridge Debt Repayment                                         (800,000)               -             -              -                    -                 -              -
Levered Cash Flow                                                          -            50,493        69,938         81,188               90,763           100,709             -
Plus: Exit Value                                                           -                -             -              -                    -          3,528,764             -
Less: Exit Transaction Costs                                               -                -             -              -                    -            (35,288)            -
Less: Debt Repayment                                                       -                -             -              -                    -         (1,600,000)            -
Total Levered Cash Flow                                      $       (717,987) $         50,493 $      69,938 $       81,188 $             90,763 $       1,994,186 $              -

Levered Yield (ex. Value-Add CapEx)                                                       3.3%           4.6%           5.3%                6.0%             6.6%                  -

Levered IRR                                   28.7%
Levered Multiple                                3.2x
Profit                                     $1,568,580
Cash Flow as a % of Profit                     25.1%


                                                                                                                                                                                       65

                                                                                                                                                                                            APP.121
                             Case 3:24-cv-00707-L         Document 38        Filed 04/15/24        Page 129 of 276      PageID 1396


                                               LBO MODEL – DEBT SUMMARY
                                                                     2023            2024          2025         2026         2027         2028          2029
Year:                                                               Year 0          Year 1        Year 2       Year 3       Year 4       Year 5        Year 6

LIBOR Curve                                                                         4.75%         3.60%        3.28%        3.20%        3.23%         3.27%
SOFR Curve                                                                          4.62%         3.48%        3.16%        3.09%        3.12%         3.16%
SOFR 3-Year Swap                                                                    3.43%         3.43%        3.43%        3.09%        3.12%         3.16%

Total Debt
Beginning Balance                                                        -      $1,600,000    $1,600,000   $1,600,000   $1,600,000   $1,600,000    $1,600,000
Ending Balance                                                   1,600,000       1,600,000     1,600,000    1,600,000    1,600,000    1,600,000              -
Interest Expense                                                         -       (134,987)     (123,026)    (120,505)    (119,886)    (120,155)       (60,222)
Amortization
Lump-Sum Payments                                                (800,000)       (800,000)             -            -            -            -    (1,600,000)
   Total Debt Service                                           ($800,000)      ($934,987)    ($123,026)   ($120,505)   ($119,886)   ($120,155)   ($1,660,222)


Bridge Loan
Beginning Balance                            SOFR Floor                          $800,000              -            -            -            -              -
(+) Loan Funding                               1.00%            $1,600,000               -             -            -            -            -              -
(-) Principal Amortization                                                               -             -            -            -            -              -
(-) CMBS Takeout                                                 (800,000)       (800,000)             -            -            -            -              -
(-) Lump-Sum Payment                                                                     -             -            -            -            -              -
Interest Expense                               4.25%                              (34,425)             -            -            -            -              -
   Ending Balance                                                $800,000                -             -            -            -            -              -

CMBS Pool 1
Beginning Balance                            SOFR Floor                          $800,000      $800,000     $800,000     $800,000     $800,000      $800,000
(+) Loan Funding                               1.00%             $800,000                -             -            -            -            -             -
(-) Principal Amortization                                                               -             -            -            -            -             -
(-) Lump-Sum Payment                                                                     -             -            -            -            -     (800,000)
Interest Expense                             S+4.000%                             (68,962)      (59,826)     (57,305)     (56,686)     (56,955)      (28,622)
   Ending Balance                                                $800,000        $800,000      $800,000     $800,000     $800,000     $800,000              -

CMBS Pool 2
Beginning Balance                            SOFR Floor                                  -     $800,000     $800,000     $800,000     $800,000      $800,000
(+) Loan Funding                               1.00%                     -       $800,000              -            -            -            -             -
(-) Principal Amortization                                                               -             -            -            -            -             -
(-) Lump-Sum Payment                                                                     -             -            -            -            -     (800,000)
Interest Expense                               7.90%                              (31,600)      (63,200)     (63,200)     (63,200)     (63,200)      (31,600)
   Ending Balance                                                        -       $800,000      $800,000     $800,000     $800,000     $800,000              -




                                                                                                                                                                 66

                                                                                                                                                                      APP.122
             Case 3:24-cv-00707-L           Document 38              Filed 04/15/24         Page 130 of 276            PageID 1397


                                       LBO MODEL – SENSITIVITY ANALYSIS




Interest Rate vs. Exit Price Per Key
                                                                                   Exit Price Per Key
                                                           Upside                        Base                          Downside
                                             $750,000                $800,000          $844,000          $875,000                  $900,000
                                  $4.25     27.5% / 3.0x            30.2% / 3.3x      32.4% / 3.6x      33.9% / 3.8x              35.0% / 4.0x
                                  $4.50     25.8% / 2.8x            28.5% / 3.1x      30.6% / 3.4x      32.1% / 3.6x              33.2% / 3.8x
      Acquisition                 $4.75     24.8% / 2.7x            27.5% / 3.0x      29.6% / 3.3x      31.1% / 3.5x              32.2% / 3.6x
         Price                    $5.00     23.9% / 2.6x            26.5% / 2.9x      28.7% / 3.2x      30.1% / 3.4x              31.2% / 3.5x
                                  $5.25     23.0% / 2.6x            25.7% / 2.8x      27.8% / 3.1x      29.2% / 3.3x              30.3% / 3.4x
                                  $5.50     22.2% / 2.5x            24.9% / 2.8x      27.0% / 3.0x      28.4% / 3.2x              29.5% / 3.3x
                                  $5.75     21.5% / 2.4x            24.1% / 2.7x      26.2% / 2.9x      27.6% / 3.1x              28.7% / 3.2x




                                                                                                                                                 67

                                                                                                                                                      APP.123
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 131 of 276   PageID 1398




                       Debt Overview




                                                                                      APP.124
                              Case 3:24-cv-00707-L   Document 38            Filed 04/15/24            Page 132 of 276               PageID 1399


                                               LIQUIDITY AND INDEBTEDNESS

                                                         BHR Capitalization (Pro Forma, 6.30.2023)
Cash Position                      (in $mms)
Cash and Cash Equivalents      $      128.0
                                                                                                                                                          PF 6/30/2023 Balance
Restricted Cash                       63.4
                                                         ($ in millions, except per share amounts)                      Security             Keys           Balance        / Key
Due from 3rd Party Managers           15.4
Revolver Capacity                      4.0               Credit Agricole Park Hyatt Beaver Creek - 1 hotel      Park Hyatt Beaver Creek             193           $71      $365K
                                                                                                                 Sofitel Chicago, The
Total Cash                     $      210.8              BAML - 4 Hotels (SASB)                                 Clancy, Seattle Marriott,       1,693             293      $173K
                                                                                                                      The Notary
                                                         Apollo Ritz-Carlton St. Thomas - 1 hotel               Ritz-Carlton St. Thomas             180               43   $236K
                                                         BAML - Lake Tahoe                                      Ritz-Carlton Lake Tahoe             170               54   $318K
YTD Operating Cash Flow            (in $mms)             Prudential - 2 hotels                                  Hilton DC, Hilton La Jolla          944           195      $207K
EBITDAre                       $      112.3              BAML Pier House - 1 hotel                                     Pier House                   142               80   $563K
                                                         Mr. C Beverly Hills Hotel Mortgage                        Mr. C Beverly Hills              143               30   $210K
Preferred Dividends                   (21.2)
                                                         Four Seasons Troon Mortgage                            Four Seasons Scottsdale             210           100      $476K
CapEx                                 (36.2)             Dorado Beach                                            Unencumbered Asset                  96                -     -

Debt Service                          (45.0)             Hotel Yountville                                        Unencumbered Asset                  80                -     -
                                                         Bardessono                                              Unencumbered Asset                  65                -     -
Cash Flow                      $       9.9               Sarasota                                                Unencumbered Asset                 276                -     -
                                                         Mortgage Debt / Hotel EBITDA                                                           4,192            $865      $206K
                                                                                                                    Hotel Yountville,
                                                         $150mm Secured Term Loan Facility                      Bardessono, Ritz-Carlton                          150      $36K
                                                                                                                      Lake Tahoe
                                                                                                                    Hotel Yountville,
                                                         $50mm Secured Revolving Credit Facility                Bardessono, Ritz-Carlton                              39   $9K
                                                                                                                      Lake Tahoe
                                                         4.5% Convertible Senior Notes (Conv. Price of $6.34)             NA                                          86   $21K
                                                         Less: Corporate G&A
                                                         Total Debt / Corporate EBITDA                                                                         $1,141      $272K



                                                                                                                                                                                   69

                                                                                                                                                                                        APP.125
                                      Case 3:24-cv-00707-L                 Document 38             Filed 04/15/24           Page 133 of 276              PageID 1400


                                                                                    INDEBTEDNESS
BHR Capitalization (Pro Forma, 6.30.2023)


                                                                                                 PF 6/30/2023 Balance     Book         Book Value   TTM EBITDA           Maturity           Interest
($ in millions, except per share amounts)                      Security             Keys           Balance        / Key   Value          / Key      Debt Yield   Excl. Ext.    Incl. Ext.     Rate


Credit Agricole Park Hyatt Beaver Creek - 1 hotel      Park Hyatt Beaver Creek             193           $71      $365K      $157        $812K        19.4%      Feb-2024      Feb-2027     S+2.860%
                                                        Sofitel Chicago, The
BAML - 4 Hotels (SASB) (1)                             Clancy, Seattle Marriott,       1,693             293      $173K       612        $362K        12.9%      Jun-2024      Jun-2025     L+2.160%
                                                             The Notary
Apollo Ritz-Carlton St. Thomas - 1 hotel               Ritz-Carlton St. Thomas             180               43   $236K       144        $802K        58.8%      Aug-2023      Aug-2024     L+3.950%
BAML - Lake Tahoe                                      Ritz-Carlton Lake Tahoe             170               54   $318K       124        $730K        20.2%      Jan-2024      Jan-2024     S+2.200%
Prudential - 2 hotels (2)                              Hilton DC, Hilton La Jolla          944           195      $207K       314        $333K        16.9%      Feb-2024      Feb-2024     L+1.700%
BAML Pier House - 1 hotel                                     Pier House                   142               80   $563K           96     $676K        19.9%      Sep-2024      Sep-2024     S+1.950%
Mr. C Beverly Hills Hotel Mortgage                        Mr. C Beverly Hills              143               30   $210K           75     $526K         8.8%      Aug-2024      Aug-2024     L+3.600%
Four Seasons Troon Mortgage                            Four Seasons Scottsdale             210           100      $476K       268       $1,277K       21.7%      Dec-2025      Dec-2027     S+3.750%
Dorado Beach                                            Unencumbered Asset                  96                -     -         198       $2,068K        NA            -              -          -
Hotel Yountville                                        Unencumbered Asset                  80                -     -             92    $1,148K        NA            -              -          -
Bardessono                                              Unencumbered Asset                  65                -     -             66    $1,017K        NA            -              -          -
Sarasota                                                Unencumbered Asset                 276                -     -         178        $644K         NA            -              -          -
Mortgage Debt / Hotel EBITDA                                                           4,192            $865      $206K    $2,325        $555K        23.2%       0.6yrs.       1.2yrs.      7.72%
                                                           Hotel Yountville,
$150mm Secured Term Loan Facility                      Bardessono, Ritz-Carlton                          150      $36K                                           Aug-2026      Aug-2027     S+2.850%
                                                             Lake Tahoe
                                                           Hotel Yountville,
$50mm Secured Revolving Credit Facility                Bardessono, Ritz-Carlton                              39   $9K                                            Aug-2026      Aug-2027     S+2.850%
                                                             Lake Tahoe
4.5% Convertible Senior Notes (Conv. Price of $6.34)             NA                                          86   $21K                                           Jun-2026      Jun-2026      4.50%
Less: Corporate G&A (3)
Total Debt / Corporate EBITDA                                                                         $1,141      $272K




                                                                                                                                                                                                       70

                                                                                                                                                                                                            APP.126
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 134 of 276   PageID 1401


                  DEBT MARKETS LANDSCAPE




                                                                                      71

                                                                                           APP.127
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 135 of 276   PageID 1402


            DEBT MARKETS LANDSCAPE (CONT.)




                                                                                      72

                                                                                           APP.128
                         Case 3:24-cv-00707-L                  Document 38                 Filed 04/15/24                 Page 136 of 276    PageID 1403


LBO FINANCING - COMMITTED BRIDGE LOAN FACILITY: INDICATIVE TERMS



                                  Detailed Terms & Conditions
 Borrower:                      A single-purpose, bankruptcy remote entity (“Borrower”), which is indirectly owned and controlled by
                                Sponsor
 Est. Loan Amount:              $1.600 billion, subject to maximum LTV of 60.0% and minimum 11.75% NCF debt yield.


                                                                                                                                                     SOFR Caps
 Sponsor:                       Blackwells

 Portfolio:                     16 luxury hotel properties located across the United States, Puerto Rico, and the US Virgin Islands
                                                                                                                                            UW NCF    Strike   Premium   UW NCF
 Loan Term:                     6+6 months
                                                                                                                                              DY                          DSCR
 Extension Conditions:          Minimum 12.25% NCF debt yield and 1.30x NCF DSCR
                                                                                                                                            12.0%     5.10%     0.37%     1.30x
 Extension Fees:                0.75%
                                                                                                                                            11.5%     4.60%     0.76%     1.30x
 Spread:                        [425] bps

 Spread Steps:                  Spread increases to [450] bps in month seven (7)
                                                                                                                                            11.0%     4.10%     1.21%     1.30x
 SOFR Floor:                    0.0%

 Amortization:                  None

 Prepayment Protection:         None

 Release Premiums:              110%

 Low Debt Yield Trigger:        10.0% for one (1) quarter in

 Recourse:                      Non-recourse, carry guaranty may be required




                                                                                                                                                                                  73

                                                                                                                                                                                       APP.129
                Case 3:24-cv-00707-L          Document 38                   Filed 04/15/24                 Page 137 of 276                       PageID 1404


       LBO FINANCING - SPOT MARKET SASB CMBS EXECUTION


                                                                                 Summary of Terms
Property Description:                                The Tiger Portfolio, a 16-property, 4,181-key full-service luxury and upper upscale hotel portfolio

Sponsor:                                       A single-purpose, bankruptcy remote entity (“Borrower”), which is indirectly owned and controlled by Sponsor

Target Execution Size:                                                           $500 million - $1 billion for each execution

Max UW Loan to Value:                                                                              60.0%

Min UW NCF DY / DSCR:                                                                         11.75% / 1.30x

Loan Type:                                              Floating                                                                          Fixed

Spread:                                                [400] bps                                                                        [395] bps

Index Floor:                                         SOFR: 0.00%                                                                5yr USD Treasury: 3.95%

Agent Structuring Fee:                                                                             1.00%

Initial Term:                                        Two (2) years                                                                    Five (5) years

Extension Options:                            Three (3), 12-month options                                                                 None

Extension Criteria:              (i) No event of default and (ii) purchase of a SOFR cap                                                   N/A

Hedging:                            SOFR strike shall be sized to a 1.30x NCF DSCR                                                         N/A

Prepay / Open Period:                      12 months of spread maintenance                                          Six (6) months open commencing in month 55

Release Premium:                                          110%                                                            110%, subject to yield maintenance

Upfront Reserves:                                                             105% of all immediate life safety / ADA repairs

On-going Reserves:            Only during a Cash Trigger Period: RET, Insurance & Ground Lease payments at 1/12th of projected amounts. Required FF&E (4% of revenue)

Cash Trigger Period:                                                     (i) Event of default and (ii) Low Debt Yield Trigger Event

Low DY Trigger Event:                                                       10.0% for one (1) quarter and two (2) quarters out

Expenses:                                   Borrower responsible for all securitization expenses; Borrower responsible for closing costs and OID (if applicable)

Recourse:                                                                         Non-recourse with standard carveouts




                                                                                                                                                                        74

                                                                                                                                                                             APP.130
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 138 of 276   PageID 1405




                           Appendix I
              Comparable Sales By Brand




                                                                                      APP.131
                                           Case 3:24-cv-00707-L                       Document 38          Filed 04/15/24           Page 139 of 276                  PageID 1406


                                                                           COMPARABLE SALES BY BRAND

Four Seasons
            Property Name                     City           State Units   Yr Built    Purchase Price      PPK      Cap Rate               Owner/Buyer                                    Seller                              Date
      Four Seasons at Troon North          Scottsdale         AZ    210     1999       267,800,000.00   1,275,238                   Braemar Hotels & Resorts                       Anbang Insurance                          Dec-22
  Four Seasons Resort Jackson Hole        Teton Village       WY    125     2003       315,000,000.00   2,520,000    6.6%              Host Hotels & Resorts                       Anbang Insurance                          Nov-22
          Four Seasons Hotel                Nashville         TN    235     2022       165,000,000.00    702,128                   Stonebridge Companies, GD              AECOM Capital, Congress Group Ventures             Oct-22
                                                                                                                                             Holdings
        Four Seasons Resort                  Irving          TX     431     1986            n/a                                Trinity Investments, Partners Group                           Extell                          May-22
  Four Seasons Resort & Residences         Calistoga         CA      85     2021       177,500,000.00   2,088,235                         Sunstone Hotel                 Alcion Ventures, Bald Mountain Development          Dec-21
         Four Seasons Hotel                  Miami           FL     221     2003       130,000,000.00    588,235                           Fort Partners                             Westbrook Partners                      Jul-21
        Four Seasons Lodging              Mount Vernon       IN      54     1968            n/a                                             Jaimin Patel                                Ramona J Cox                         May-21
Four Seasons Resort Orlando at Disney      Bay Lake          FL     444     2014       610,000,000.00   1,373,874                      Host Hotels & Resorts         Dune RE Partners LP, Four Seasons Hotels, Silverstein   Apr-21
               World                                                                                                                                                                      Properties
Four Seasons Resort Oahu at Ko Olina         Ko Olina         HI    387     1993            n/a                                      Henderson Land Dev                               The Resort Group                       Oct-20
        Four Seasons Resort                   Irving          TX    431     1986       235,000,000.00    545,244                            Extell                                        Blackstone                         Oct-18
                                                                                                        1,298,993

Ritz Carlton
            Property Name                       City         State Units   Yr Built    Purchase Price    PPK        Cap Rate           Owner/Buyer                                         Seller                             Date
      Ritz-Carlton Key Biscayne           Key Biscayne        FL    302     2001       214,311,953.90   709,642                        Brookfield AM                            Watermark Lodging Trust (WLT)                Oct-22
      Ritz Carlton San Francisco          San Francisco       CA    336     1909       187,241,427.90   557,266                        Brookfield AM                            Watermark Lodging Trust (WLT)                Oct-22
       Ritz-Carlton Philadelphia           Philadelphia       PA    300     1910       110,075,956.50   366,920                        Brookfield AM                            Watermark Lodging Trust (WLT)                Oct-22
   The Ritz-Carlton - Fort Lauderdale    Fort Lauderdale      FL    198     2007        60,955,152.20   307,854                        Brookfield AM                            Watermark Lodging Trust (WLT)                Oct-22
          Ritz-Carlton Bacara                 Goleta          CA    358     2000       140,203,178.50   391,629                        Brookfield AM                            Watermark Lodging Trust (WLT)                Oct-22
           Ritz Carlton Hotel            Fort Lauderdale      FL    166     2007        79,666,667.00   479,920                 Watermark Lodging Trust (WLT)                         Gencom Group                           Nov-21
    The Whitley Atlanta Buckhead              Atlanta         GA    507     1981       201,000,000.00   396,450                       Lone Star Funds                               Host Hotels & Resorts                    Nov-21
     The Ritz Carlton Lake Tahoe        Colfax-Monumental     CA    170     2009       103,300,000.00   607,647                   Braemar Hotels & Resorts                            Kennedy Wilson                         Jan-19
                                               Ridge
       Ritz Carlton Grande Lakes             Orlando          FL    584     2003       321,163,036.50   549,937                    Elliott Management, Trinity                            Blackstone                         Dec-18
                                                                                                                                            Investments
         Ritz Carlton St Louis              Clayton          MO     301     1990            n/a                                            Mark Burkhart                                 Bruce Karsh                         Aug-18
          Ritz-Carlton Denver                Denver          CO     202     1983       100,250,000.00   496,287      6.9%                      Xenia                                Pearlmark RE Partners                    Aug-18
         Ritz-Carlton Sarasota              Sarasota         FL     266     2001       176,500,000.00   663,534      6.0%      Braemar Hotels & Resorts, Ashford                       C Robert Buford                       Apr-18
                                                                                                                                               Prime
                                                                                                        502,462

Park Hyatt
            Property Name                      City          State Units   Yr Built    Purchase Price    PPK        Cap Rate             Owner/Buyer                                      Seller                              Date
        Park Hyatt Aviara Resort             Carlsbad         CA    329     1997       170,000,000.00   516,717       4.4%                   Xenia                        Wachovia 2007-C30, CWCapital Asset Mgmt            Nov-18
        Park Hyatt Beaver Creek          Minturn-Red Cliff    CO    190     1989       145,500,000.00   765,789       6.0%               Ashford Prime                         Walton Street Capital, Oaktree                Mar-17
                                                                                                        641,253



                                                                                                                                                                                                                                      76

                                                                                                                                                                                                                                           APP.132
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 140 of 276   PageID 1407




                           Appendix II
           Comparable Sales By Property




                                                                                      APP.133
                                            Case 3:24-cv-00707-L                Document 38      Filed 04/15/24     Page 141 of 276   PageID 1408


                                                                        COMPARABLE SALES BY PROPERTY


                                              Subject Property                                   City      State   Opened     Rooms
                               Hilton La Jolla Torrey Pines, Curio Collection                  La Jolla     CA     Nov-89      394


Comparable Sales Analysis
Hotel Proper Name                                                                                City      State   Opened     Rooms     Sale Price    Per Room   Sale Date
Hyatt Regency La Jolla                                                                        San Diego     CA     Dec/1989    416     $227,250,000   $546,274    Jul/2022
Embassy Suites La Jolla                                                                       San Diego     CA     Jul/1987    340     $226,666,667   $666,667   Dec/2021
Fairmont Grand Del Mar                                                                        San Diego     CA     Oct/2007    294     $162,900,000   $554,082   Dec/2021
Park Hyatt Aviara Resort Golf Club & Spa                                                      Carlsbad      CA     Aug/1997    327     $170,000,000   $654,217   Nov/2018

Total/Average                                                                                                                 1,377    $786,816,667   $571,399




                                             Subject Property                                    City      State   Opened     Rooms
                                              Capital Hilton                                  Washington    DC     Jan-43      550

Comparable Sales Analysis
Hotel Proper Name                                                                               City       State   Opened     Rooms      Sale Price   Per Room   Sale Date
Salamander Washington DC                                                                      Washington    DC     Mar/2004    373     $139,000,000   $372,654   Sep/2022
Hotel Washington (Former W Hotel)                                                             Washington    DC     Jun/1917    326     $220,000,000   $674,847   Aug/2021
Embassy Suites Washington DC Georgetown                                                       Washington    DC     Oct/1987    197      $90,375,000   $458,756   Feb/2020
Hilton Embassy Row (Converted to Tribute Portfolio)                                           Washington    DC     Jun/1970    231      $57,650,000   $249,567   Dec/2018
Kimpton Carlyle Hotel Dupont Circle (Converted to Lyle Washington DC)                         Washington    DC     Jun/1940    196      $82,250,000   $419,643   Dec/2018

Total/Average                                                                                                                 1,323    $589,275,000   $445,408




                                                                                                                                                                             78

                                                                                                                                                                                  APP.134
                                            Case 3:24-cv-00707-L        Document 38       Filed 04/15/24       Page 142 of 276   PageID 1409


                                                          COMPARABLE SALES BY PROPERTY (CONT.)


                                              Subject Property                            City        State   Opened     Rooms
                                         Seattle Marriott Waterfront                     Seattle       WA     Apr-03      361

Comparable Sales Analysis
Hotel Proper Name                                                                         City        State   Opened     Rooms      Sale Price   Per Room   Sale Date
Kimpton Hotel Monaco Seattle Downtown                                                    Seattle       WA     Jun/1997    189      $63,250,000   $334,656   May/2023
Pan Pacific Seattle                                                                      Seattle       WA     Nov/2006    153      $69,615,000   $455,000   Oct/2022
The Charter Hotel Curio Collection by Hilton                                             Seattle       WA     Aug/2018    229     $107,797,000   $470,729   Oct/2022
Loews Regency (Converted to Hotel 1000, LXR)                                             Seattle       WA     Jun/2006    120      $55,000,000   $458,333   Jun/2021
Embassy Suites Seattle Bellevue                                                         Bellevue       WA     Aug/1990    240      $59,126,214   $246,359   Jan/2019
Marriott Seattle Redmont                                                                Redmond        WA     Jun/2004    264      $70,000,000   $265,152   Mar/2018

Total/Average                                                                                                            1,195    $424,788,214   $355,471




                                             Subject Property                              City       State   Opened     Rooms
                                     The Clancy, Autograph Collection                 San Francisco    CA     Oct-01      410

Comparable Sales Analysis
Hotel Proper Name                                                                         City        State   Opened     Rooms      Sale Price   Per Room   Sale Date
Le Meridien San Francisco                                                             San Francisco    CA     Jan/1989    360     $221,500,000   $615,278   Sep/2021
The Barnes San Francisco, Tapestry Collection by Hilton                               San Francisco    CA     Jun/1908    189      $87,500,000   $462,963   Sep/2021
Hyatt Regency San Francisco Downtown SOMA                                             San Francisco    CA     Apr/1983    686     $315,250,000   $459,548   Nov/2018

Total/Average                                                                                                            1,235    $624,250,000   $505,466




                                                                                                                                                                        79

                                                                                                                                                                             APP.135
                                            Case 3:24-cv-00707-L           Document 38      Filed 04/15/24       Page 143 of 276   PageID 1410


                                                          COMPARABLE SALES BY PROPERTY (CONT.)



                                            Subject Property                                 City       State   Opened     Rooms
                                  The Notary Hotel, Autograph Collection                 Philadelphia    PA     Nov-99      499

Comparable Sales Analysis
Hotel Proper Name                                                                            City       State   Opened     Rooms     Sale Price    Per Room   Sale Date
Sofitel Philadelphia Rittenhouse Square                                                  Philadelphia    PA     May/2000    306     $80,000,000    $261,438    Jul/2022
Embassy Suites Center City (Converted to apartments in 2021)                             Philadelphia    PA     Jan/1964    288     $67,000,000    $232,639   Nov/2018
Marriott Philadelphia Old City (Former Sheraton Society Hill)                            Philadelphia    PA     Jul/1986    364     $95,500,000    $262,363   Mar/2018

Total/Average                                                                                                               958     $242,500,000   $253,132




                                              Subject Property                               City       State   Opened     Rooms
                                          Ritz-Carlton Lake Tahoe                          Truckee       CA     Dec-09      170

Comparable Sales Analysis
Hotel Proper Name                                                                          City         State   Opened     Rooms     Sale Price    Per Room   Sale Date
Landing Lake Tahoe Resort & Spa                                                      South Lake Tahoe    CA     Dec/2013     82     $42,000,000    $512,195   Mar/2018

Total/Average                                                                                                               82      $42,000,000    $512,195




                                                                                                                                                                          80

                                                                                                                                                                               APP.136
                                              Case 3:24-cv-00707-L      Document 38    Filed 04/15/24         Page 144 of 276   PageID 1411


                                                        COMPARABLE SALES BY PROPERTY (CONT.)


                                            Subject Property                            City         State   Opened     Rooms
                                          Ritz-Carlton Sarasota                       Sarasota        FL     Nov-01      266

Comparable Sales Analysis
Hotel Proper Name                                                                       City         State   Opened     Rooms     Sale Price    Per Room   Sale Date
Sirata Beach & Conference Center                                                   St. Pete Beach     FL     Jun/1962    382     $207,000,000   $541,885   Dec/2022
Wyndham Grand Clearwater Beach                                                    Clearwater Beach    FL     Mar/2017    343     $170,000,000   $495,627   Mar/2022
Renaissance Vinoy St. Petersburg Resort & Golf Club                               Saint Petersburg    FL     Dec/1925    362     $185,000,000   $511,050   Aug/2018

Total/Average                                                                                                           1,087    $562,000,000   $517,019




                                            Subject Property                            City         State   Opened     Rooms
                                     Chicago Sofitel Magnificent Mile                 Chicago         IL     Jun-02      415

Comparable Sales Analysis
Hotel Proper Name                                                                      City          State   Opened     Rooms     Sale Price    Per Room   Sale Date
CitizenM Chicago Downtown                                                             Chicago         IL     Sep/2022    280     $74,686,000    $266,736   Sep/2022
The Eamily Hotel (Former Ace Hotel Chicago)                                           Chicago         IL     Jul/2017    159     $61,000,000    $383,648   Jan/2022
The Talbott Hotel                                                                     Chicago         IL     Jun/1926    178     $54,000,000    $303,371   Sep/2021
Thompson Chicago                                                                      Chicago         IL     Oct/2013    247     $72,400,000    $293,117   Aug/2021
Waldorf Astoria Chicago                                                               Chicago         IL     Dec/2009    214     $54,500,000    $254,673   Nov/2020
Eurostars Hotel Magnificent Mile                                                      Chicago         IL     May/2008    216     $72,500,000    $335,648   May/2019

Total/Average                                                                                                           1,294    $389,086,000   $300,685




                                                                                                                                                                       81

                                                                                                                                                                            APP.137
                                              Case 3:24-cv-00707-L                 Document 38      Filed 04/15/24      Page 145 of 276   PageID 1412


                                                            COMPARABLE SALES BY PROPERTY (CONT.)



                                              Subject Property                                     City        State   Opened     Rooms
                                              Pier House Resort                                  Key West       FL     Jun-67      142

Comparable Sales Analysis
Hotel Proper Name                                                                                    City      State   Opened     Rooms      Sale Price   Per Room     Sale Date
Tranquility Bay Beachfront Hotel & Resort                                                         Marathon      FL     Nov/2005    103     $63,000,000     $611,650    Jan/2022
Baker's Cay Resort Key Largo (Converted to Hilton Baker's Cay, Curio Collection)                  Key Largo     FL     Nov/1985    200     $200,000,000   $1,000,000    Jul/2021
Islander Resort                                                                                  Islamorada     FL     Jun/1950    139      $73,000,000    $525,180    Feb/2021

Total/Average                                                                                                                      442     $336,000,000   $760,181




                                              Subject Property                                     City        State   Opened     Rooms
                                              Bardessono Hotel                                   Yountville     CA     Feb-09       65

Comparable Sales Analysis
Hotel Proper Name                                                                                   City       State   Opened     Rooms     Sale Price    Per Room     Sale Date
Four Seasons Resort & Residences Napa Valley                                                      Calistoga     CA     Oct/2021     85     $113,420,453   $1,334,358   Dec/2021
Estate Yountville (Converted to Vintage House at Estate Yountville)                               Yountville    CA     Jun/1985    192     $184,406,764    $960,452    Dec/2021
Montage Healdsburg                                                                               Healdsburg     CA     Dec/2020    130     $265,000,000   $2,038,462   Apr/2021

Total/Average                                                                                                                      407     $562,827,217   $1,382,868




                                                                                                                                                                                   82

                                                                                                                                                                                        APP.138
                                           Case 3:24-cv-00707-L     Document 38        Filed 04/15/24       Page 146 of 276   PageID 1413


                                                         COMPARABLE SALES BY PROPERTY (CONT.)


                                            Subject Property                          City         State   Opened     Rooms
                                         Park Hyatt Beaver Creek                  Beaver Creek      CO     Dec-89      190

Comparable Sales Analysis
Hotel Proper Name                                                                      City        State   Opened     Rooms      Sale Price   Per Room     Sale Date
Four Seasons Resort & Residences Jackson Hole                                      Teton Village    WY     Dec/2003    156     $315,000,000   $2,019,231   Nov/2022
Amangani                                                                             Jackson        WY     Oct/1998     40      $79,500,000   $1,987,500   Feb/2022

Total/Average                                                                                                          196     $394,500,000   $2,012,755




                                            Subject Property                         City          State   Opened     Rooms
                                            Mr. C Beverly Hills                   Beverly Hills     CA     May-65      143

Comparable Sales Analysis
Hotel Proper Name                                                                      City        State   Opened     Rooms      Sale Price   Per Room     Sale Date
Godfrey Hotel Hollywood                                                            Los Angeles      CA     Aug/2021    200     $114,000,000   $570,000     Jun/2022
Viceroy L'Ermitage Beverly Hills                                                   Beverly Hills    CA     Jun/1976    116     $100,000,000   $862,069     Oct/2020
Hotel Amarano BurbankHollywood                                                       Burbank        CA     Mar/2002    132      $72,900,000   $552,273      Jul/2019
DoubleTree Suites Santa Monica (Converted to Hilton Santa Monica)                 Santa Monica      CA     Jan/1990    253     $139,182,922   $550,130     Sep/2018
Hotel MdR Marina del Ray, DoubleTree                                              Marina Del Ray    CA     Jun/1978    283     $127,000,000   $448,763     Apr/2018

Total/Average                                                                                                          984     $553,082,922   $562,076




                                                                                                                                                                       83

                                                                                                                                                                            APP.139
                                              Case 3:24-cv-00707-L    Document 38        Filed 04/15/24        Page 147 of 276   PageID 1414


                                                            COMPARABLE SALES BY PROPERTY (CONT.)



                                               Subject Property                         City          State   Opened     Rooms
                                               Hotel Yountville                       Yountville       CA     Jun-98       80

Comparable Sales Analysis
Hotel Proper Name                                                                        City         State   Opened     Rooms     Sale Price    Per Room     Sale Date
Four Seasons Resort & Residences Napa Valley                                           Calistoga       CA     Oct/2021     85     $113,420,453   $1,334,358   Dec/2021
Estate Yountville (Converted to Vintage House at Estate Yountville)                    Yountville      CA     Jun/1985    192     $184,406,764    $960,452    Dec/2021
Montage Healdsburg                                                                    Healdsburg       CA     Dec/2020    130     $265,000,000   $2,038,462   Apr/2021

Total/Average                                                                                                             407     $562,827,217   $1,382,868




                                              Subject Property                           City         State   Opened     Rooms
                                          Four Seasons Troon North                    Scottsdale       AZ     Dec-99      210

Comparable Sales Analysis
Hotel Proper Name                                                                        City         State   Opened     Rooms     Sale Price    Per Room     Sale Date
Sanctuary Camelback Mountain                                                        Paradise Valley    AZ     Jun/1970    110     $88,842,090    $807,655     Nov/2021
JW Marriott Phoenix Desrt Ridge Resort & Spa                                           Phoenix         AZ     Nov/2002    950     $605,000,000   $636,842     Aug/2019

Total/Average                                                                                                            1,060    $693,842,090   $654,568




                                                                                                                                                                          84

                                                                                                                                                                               APP.140
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 148 of 276   PageID 1415




                          Appendix III
                           Public Comps




                                                                                      APP.141
                                             Case 3:24-cv-00707-L                                 Document 38                       Filed 04/15/24               Page 149 of 276                         PageID 1416


                                                                                                                PUBLIC COMPS

                                                                        Stock                                       Payout Ratio                         Equity                   Total              Net          Debt     Lvg.     Lvg. To       Est.     Prem/
                                                                        Price               Dividend                   2023E             Shares          Market                  Market             Debt/         -To-     -To-     Pvt. Mkt.    NAV /     (Disc)
Company                                                   Ticker       8/11/23            Amt.     Yield           FFO      AFFO         & Units      Capitalization          Capitalization       EBITDA         TMC      TMC       Value       Share    To NAV

Ashford Hospitality                                       AHT            $2.96           $0.00       0.0%           0%          0%       36,147         $106,995                  $4,095,283         12.7x       93.4%    97.4%       NA          NA        NA
Diamondrock Hospitality                                   DRH            $7.81           $0.12       1.5%          12%         16%       210,536       $1,644,284                 $3,058,299         5.7x        42.3%    46.2%      35.4%      $12.26    (36.3%)
Host Hotels                                               HST           $16.29           $0.60       3.7%          33%         41%       711,200       $11,585,448                $16,363,448        9.3x        29.2%    29.2%      21.9%      $23.94    (32.0%)
Summit Hotel Properties                                   INN            $5.85           $0.24       4.1%          28%         37%       123,447        $722,163                  $2,476,962         6.4x        60.3%    70.8%      60.1%       $9.45    (38.1%)
Pebblebrook Hotel Trust                                   PEB           $14.56           $0.04       0.3%           3%          4%       123,783       $1,802,274                 $5,268,660          NA         52.2%    65.8%      55.6%      $22.40    (35.0%)
RLJ Lodging Trust                                         RLJ            $9.82           $0.40       4.1%          25%         27%       160,078       $1,571,964                 $3,907,441         5.8x        59.8%    59.8%      43.7%      $18.79    (47.7%)
Sunstone Hotel Investors                                  SHO            $9.09           $0.28       3.1%          31%         40%       207,410       $1,885,357                 $2,999,087         3.2x        27.8%    37.1%      28.2%      $13.70    (33.7%)

Property Type Total / Wtd. Average                                                                   3.2%          27%         34%                     $19,318,486                $38,169,181          7.1x      45.4%    49.4%      33.6%                (34.3%)

REIT Industry Total / Wtd. Average                                                                   4.2%          66%         73%                    $1,130,807,145         $1,731,198,804            6.0x      34.3%    35.0%      31.8%                (9.3%)




                                                              EV/                 FFO                           AFFO                          P/FFO                      P/AFFO                     2022 Growth             2023E Growth          2024E Growth
Company                                          Ticker     EBITDA    2022       2023E    2024E       2022      2023E     2024E       2022    2023E   2024E      2022     2023E       2024E       FFO        AFFO          FFO       AFFO        FFO       AFFO

Ashford Hospitality                               AHT        15.1x    $1.63      $0.89    $0.97       $1.22     ($0.84)   ($0.95)     1.8x     3.3x   3.1x       2.4x     -3.5x        -3.1x    (232.8%)      (1452.2%)   (45.5%)      NA        8.4%     13.1%
Diamondrock Hospitality                           DRH        15.2x    $0.99      $0.97    $1.03       $0.76     $0.75      $0.82      7.9x     8.0x   7.6x       10.3x    10.4x        9.5x     726.7%           NA       (2.0%)     (0.4%)      6.1%      9.3%
Host Hotels                                       HST        30.8x    $1.78      $1.81    $1.78       $1.59     $1.46      $1.59      9.2x     9.0x   9.1x       10.3x    11.1x       10.3x     191.5%           NA        1.9%      (7.8%)     (1.7%)     8.6%
Summit Hotel Properties                           INN        11.0x    $0.89      $0.86    $0.70       $0.70     $0.65      $0.69      6.6x     6.8x   8.3x       8.4x     9.1x         8.5x     152.9%           NA       (2.8%)     (7.9%)     (18.3%)    7.0%
Pebblebrook Hotel Trust                           PEB         NA      $1.63      $1.57    $1.65       $1.08     $1.14      $1.33      9.0x     9.3x   8.8x       13.5x    12.8x       11.0x     (607.8%)         NA       (3.3%)      6.1%       5.2%     16.5%
RLJ Lodging Trust                                 RLJ        12.6x    $1.34      $1.59    $1.66       $1.35     $1.47      $1.56      7.3x     6.2x   5.9x       7.3x     6.7x         6.3x     605.8%           NA       18.3%       8.8%       4.4%      6.6%
Sunstone Hotel Investors                          SHO        13.2x    $0.80      $0.92    $0.93       $0.81     $0.70      $0.73      11.3x    9.9x   9.8x       11.3x    12.9x       12.4x     1910.0%          NA       13.9%     (12.6%)      1.2%      4.4%

Property Type Wtd. Average                                   19.3x                                                                    9.0x     8.7x   8.7x       10.3x   11.0x        10.1x       NA             NA        3.1%      -5.0%      -0.1%      8.8%

REIT Industry Total / Wtd. Average                           18.8x                                                                    17.8x   17.4x   16.7x      20.3x   19.5x        18.8x      13.8%         11.1%       1.5%       3.4%       4.2%      3.8%




                                     Source: J.P. Morgan Securities LLC, company reports, Bloomberg Finance L.P., SNL Financial.                                                                                                                                    86

                                                                                                                                                                                                                                                                         APP.142
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 150 of 276   PageID 1417




                          Appendix IV
                  Board and Management




                                                                                      APP.143
                                                      Case 3:24-cv-00707-L                              Document 38                     Filed 04/15/24                Page 151 of 276             PageID 1418


                                                                                                                        MANAGEMENT

Professionals
Name                                                                                                        Title
Bennett IV, Montgomery Jack                                                                                 Founder & Chairman of the Board
Background:
•  Founder of Braemar Hotels & Resorts, Inc. (formerly, Ashford Hospitality Prime, Inc.) and has been its Chairman since April 2013
•  Served as Chief Executive Officer of Braemar Hotels & Resorts from April 2013 to November 14, 2016.
•  Chairman and Chief Executive Officer of Ashford Inc. since November 2014 and has been its Director since 2014. He is the Founder of Ashford Inc.
•  Founder of Ashford Hospitality Trust, Inc. and has been its Chairman since January 19, 2013.
•  Chief Executive Officer of Ashford Hospitality Trust, Inc. since May 2003 until February 20, 2017 and serves as its Director since May 2003.
•  Founder, Chief Executive Officer and Chairman of Ashford Hospitality Advisors.
•  Executive Vice President, Director of Information Systems, General Manager and Operations Director at Remington Hotel Corporation
•  Chairman of Ashford Investment Management, LLC ("AIM)
•  Master’s degree in Business Administration from the S.C. Johnson Graduate School of Management in 1989
•  Bachelor of Science degree with distinction from the Cornell University School of Hotel Administration in 1988.




Stockton, Richard J.                                                                                        President, CEO & Director
Background:
•  Director at Braemar Hotels & Resorts Inc. since July 28, 2020.
•  Independent Trustee and Lead Independent Trustee at Spirit MTA REIT since May 30, 2018.
•  Chief Executive Officer of Braemar Hotels & Resorts Inc. (formerly, Ashford Hospitality Prime, Inc.) since November 14, 2016 and its President since April 2017.
•  Head of EMEA Real Estate Banking in London, at Morgan Stanley
•  Global chief operating officer for Real Estate at Carval Investors, a subsidiary of Cargill.
•  MBA in Finance and Real Estate from The Wharton School, University of Pennsylvania
•  Bachelor of Science degree from Cornell University, School of Hotel Administration.



Eubanks C.F.A., CFA, Deric S.                                                                               CFO & Treasurer
Background:
•  Chief Financial Officer at Braemar Hotels & Resorts, Inc. (formerly, Ashford Hospitality Prime, Inc.) since June 13, 2014 and also serves as its Treasurer since June 2014
•  Chief Financial Officer and Treasurer at Ashford Inc. since June 2014
•  Chief Financial Officer and Treasurer at Ashford Trust since June 2014.
•  Chief Financial Officer at Ashford Holding Corp., and Ashford Merger Sub Inc.
•  Chief Financial Officer and Treasurer at Ashford Hospitality Trust, Inc. since June 14, 2014
•  Vice President of Investments of Ashford Trust
•  Manager of Financial Analysis at ClubCorp,
•  Senior Vice President-Finance at Ashford Trust since September 2011.
•  CFA charter holder and is a Member of the CFA Institute and the CFA Society of Dallas-Fort Worth. Mr. Eubanks earned a BBA from the Cox School of Business at Southern Methodist University.




                                                                                                                                                                                                                88

                                                                                                                                                                                                                     APP.144
                                                       Case 3:24-cv-00707-L                              Document 38                      Filed 04/15/24               Page 152 of 276                   PageID 1419


                                                                                                          BOARD OF DIRECTORS
Board Members
Name                                                                                                            Title
Bennett IV, Montgomery Jack                                                                                     Founder & Chairman of the Board
Background:
•  Founder of Braemar Hotels & Resorts, Inc. (formerly, Ashford Hospitality Prime, Inc.) and has been its Chairman since April 2013
•  Served as Chief Executive Officer of Braemar Hotels & Resorts from April 2013 to November 14, 2016.
•  Chairman and Chief Executive Officer of Ashford Inc. since November 2014 and has been its Director since 2014. He is the Founder of Ashford Inc.
•  Founder of Ashford Hospitality Trust, Inc. and has been its Chairman since January 19, 2013.
•  Chief Executive Officer of Ashford Hospitality Trust, Inc. since May 2003 until February 20, 2017 and serves as its Director since May 2003.
•  Founder, Chief Executive Officer and Chairman of Ashford Hospitality Advisors.
•  Executive Vice President, Director of Information Systems, General Manager and Operations Director at Remington Hotel Corporation
•  Chairman of Ashford Investment Management, LLC ("AIM)
•  Master’s degree in Business Administration from the S.C. Johnson Graduate School of Management in 1989
•  Bachelor of Science degree with distinction from the Cornell University School of Hotel Administration in 1988.

Stockton, Richard J.                                                                                             President, CEO & Director
Background:
•   Director at Braemar Hotels & Resorts Inc. since July 28, 2020.
•   Independent Trustee and Lead Independent Trustee at Spirit MTA REIT since May 30, 2018.
•   Chief Executive Officer of Braemar Hotels & Resorts Inc. (formerly, Ashford Hospitality Prime, Inc.) since November 14, 2016 and its President since April 2017.
•   Head of EMEA Real Estate Banking in London, at Morgan Stanley
•   Global chief operating officer for Real Estate at Carval Investors, a subsidiary of Cargill.
•   MBA in Finance and Real Estate from The Wharton School, University of Pennsylvania
•   Bachelor of Science degree from Cornell University, School of Hotel Administration.

Carter, Stefani Danielle                                                                                        Lead Independent Director
Background:
•   Independent Director of Axos Financial, Inc. since August 31, 2021.
•   Independent Director of Axos Bank from August 31, 2021.
•   Independent Director at Braemar Hotels & Resorts, Inc. (formerly, Ashford Hospitality Prime, Inc.) since November 5, 2013.
•   Lead Independent Director at Braemar Hotels & Resorts Inc.
•   Senior Counsel at the law firm of Estes Thorne & Carr PLLC, a position she has held since November 2017. From 2011 to November 2017
•   Elected representative of Texas House District 102 in the Texas House of Representatives (the "Texas House") between 2011 and 2015
•   Vice-Chair of the Texas House Committee on Criminal Jurisprudence during that period.
•   Associate attorney at Vinson & Elkins from 2005 to 2007.
•   Lead Director of the Board of Directors of Wheeler Real Estate Investment Trust, Inc. (NASDAQ: WHLR), a retail real estate investment trust (“REIT”).
•   Juris Doctor from Harvard Law School, a Master's in Public Policy from Harvard University's John F. Kennedy 8 School of Government
•   Bachelor of Arts in Government and a Bachelor of Journalism in News/Public Affairs from The University of Texas at Austin.

Evans, Mary Candace                                                                                      Independent Director
Background:
•  Independent Director at Braemar Hotels & Resorts Inc. since July 31, 2019.
•  Founder & Publisher of CandysDirt.com and SecondShelters.com,
•  M.S.J. from the Columbia University Graduate School of Journalism and her undergraduate degree at Wheaton College, and studied at Dartmouth College. She holds an active Texas real estate license.




                                                                                                                                                                                                                       89

                                                                                                                                                                                                                            APP.145
                                                      Case 3:24-cv-00707-L                             Document 38                        Filed 04/15/24                  Page 153 of 276                       PageID 1420


                                                                                          BOARD OF DIRECTORS (CONT.)
Board Members
Name                                                                                                          Title
Odino-Johnson, Rebeca                                                                                         Independent Director
Background:
•   Ms. Rebeca Odino-Johnson is the Executive Lead and National Vice-President of Direct Response Marketing and Constituent Experience at the American Heart Association, a position she has held since April 2018.
•   She serves as Independent Director of Braemar Hotels & Resorts Inc. since May 11, 2022. Previously, Ms. Odino-Johnson served as the Chief Marketing and Sales Officer of Main Event Entertainment, LP from December 2015 to March 2018.
•   Ms. Odino-Johnson served as the Chief Marketing and Culinary Officer of Bob Evans Farms from December 2013 to October 2015. Additionally, Ms. Odino-Johnson served as Senior Vice President and Chief Marketing and Culinary Officer at Dine Brands Global Inc. from November 2008
    to July 2013, where she led marketing efforts for restaurant brands such as Applebees. From January 2004 to February 2008,
•   Ms. Odino-Johnson served as Executive Vice President, Senior Vice President and Chief Marketing and Global Branding Officer for Brinker International, Inc.
•   Ms. Odino-Johnson worked at PepsiCo, Inc. in various marketing and sales positions including General Manager and Vice-President of Marketing for Frito-Lay North America, with direct financial and strategic planning responsibility for the profitable growth and Cheetos business unit,
    representing 30% of Frito-Lay North America. She grew the Cheetos brand and launched Baked Lay representing Frito-Lay’s most successful launch.
•   Ms. Odino-Johnson received a Bachelor of Business Administration in Marketing and Finance from Dallas Baptist University, from which she graduated magna cum laude. She also graduated from the Harvard Business School Advanced Management Program.
•   Ms. Odino-Johnson has served on the Alex Lee Family of Companies Board of Directors since February 2016. She has served on the Advisory Boards of Zubi Farms and Data Axie since July 2020 and May 2021, respectively, and previously served on PepsiCo’s Latino/Hispanic Advisory
    Board.
•   Ms. Odino-Johnson has been a Member of the Chief Marketing Officer Council since September 2020.
•   Ms. Odino-Johnson brings extensive experience as a marketing executive, counseling companies and organizations on strategic and digital marketing strategies, to the Board of Directors.-

Rinaldi, Matthew D.                                                                                               Independent Director
Background:
•   Independent Director of Braemar Hotels & Resorts, Inc. (formerly known as Ashford Hospitality Prime, Inc.) since November 05, 2013.
•   General Counsel of Qantas Healthcare Management, LLC.
•   Partner at Rinaldi Law Office. Prior to that he was Senior Counsel with the law firm of Dykema, a position he held since July 2014
•   Elected representative of Texas House District 115 in the Texas House.
•   Juris Doctor, cum laude, from Boston University
•   Bachelor of Business Administration in Economics, cum laude, from James Madison University.

Fearn Jr., Kenneth Hopkins                                                                                        Independent Director
Background:
•   Founder and Managing Partner at Integrated Capital LLC.
•   Managing Director and Chief Financial Officer at Maritz, Wolff & Co.
•   Chairman for the Santa Monica Bay Chapter at Young President’ Organization.
•   Advisory Board of the Medical Genetics Institute at Cedars-Sinai Medical Center
•   Board of Commissioners of the Community Redevelopment Agency of the City of Los Angeles, the Board of the Los Angeles Area Chamber of Commerce, the Board of Directors of Berger Bros.
•   Bachelor of Arts in Political Science from the University of California, Berkeley and a Master of Business Administration from the Harvard University Graduate School of Business.

Vaziri J.D., Abteen                                                                                             Independent Director
Background:
•   Independent Director of Braemar Hotels & Resorts, Inc. (formerly known as Ashford Hospitality Prime, Inc.) since October 01, 2017.
•   Analyst at Precept Capital Management.
•   Managing Director at Brevet Capital Management, a hedge fund focused on debt financing of assets with government backing
•   Bachelor of Science in Computer Science at the University of Texas at Dallas and a Masters of Business Administration in Finance from the Cox School of Business at Southern Methodist University.
•   Juris Doctor degree from Fordham University School of Law with a concentration in Finance and Business Law.




                                                                                                                                                                                                                                                                                                 90

                                                                                                                                                                                                                                                                                                      APP.146
Case 3:24-cv-00707-L   Document 38     Filed 04/15/24      Page 154 of 276              PageID 1421




                                                   Cadwalader, Wickersham & Taft LLP March 26, 2024 Page 6




                                     Exhibit B

                       Joint Filing and Solicitation Agreement




                                                                                                         APP.147
Case 3:24-cv-00707-L        Document 38        Filed 04/15/24       Page 155 of 276       PageID 1422



                   JOINT FILING AND SOLICITATION AGREEMENT

       WHEREAS, certain of the undersigned are stockholders, direct or beneficial, of Braemar
Hotels & Resorts Inc., a Maryland corporation (the “Company”);

        WHEREAS, Blackwells Capital LLC, a Delaware limited liability company
(“Blackwells”), Blackwells Onshore I LLC, a Delaware limited liability company, Jason Aintabi,
Michael Cricenti, Jennifer M. Hill, Betsy L. McCoy and Steven J. Pully wish to form a group for
the purpose of seeking representation on the Company’s Board of Directors (the “Board”) at the
2024 annual meeting of stockholders of the Company (including any other meeting of stockholders
held in lieu thereof, and any adjournments, postponements, reschedulings or continuations thereof,
the “Annual Meeting”) and for the purpose of taking all other action necessary to achieve the
foregoing.

       NOW, IT IS AGREED, this 26th day of March 2024 by the parties hereto:

        1.     In accordance with Rule 13d-1(k)(1)(iii) under the Securities Exchange Act of
1934, as amended (the “Exchange Act”), each of the undersigned (collectively, the “Group”)
agrees to the joint filing on behalf of each of them of statements on Schedule 13D, and any
amendments thereto, with respect to the securities of the Company in the event that the Group, in
the aggregate, becomes the beneficial owner of 5% or greater of the outstanding shares of the
Common Stock of the Company. Each member of the Group shall be responsible for the accuracy
and completeness of his, her or its own disclosure therein, and is not responsible for the accuracy
and completeness of the information concerning the other members, unless such member knows
that such information is inaccurate. Blackwells or its representative shall provide each member of
the Group with copies of all Schedule 13D filings and other public filings to be filed on behalf of
such member as soon as practicable prior to the filing or submission thereof.

        2.      So long as this Agreement is in effect, each of the undersigned shall provide written
notice to Jason Aintabi of (i) any of their purchases or sales of securities of the Company, or (ii)
any securities of the Company over which they acquire or dispose of beneficial ownership. Notice
shall be given no later than the following business day after each such transaction.

        3.      Unless otherwise prohibited by any agreement in effect as of the date of this
Agreement, each of the undersigned agrees to form the Group for the purpose of (i) soliciting
proxies or written consents for proposals submitted to stockholders for approval and the election
of the persons nominated by the Group to the Board, each at the Annual Meeting, (ii) taking such
other actions as the parties deem advisable, and (iii) taking all other action necessary or advisable
to achieve the foregoing.

       4.     Blackwells shall have the right to pre-approve all expenses incurred in connection
with the Group’s activities and agree to pay directly all such pre-approved expenses.

        5.      Each of the undersigned agrees that any SEC filing, press release or stockholder
communication proposed to be made or issued by the Group or any member of the Group in
connection with the Group’s activities set forth in herein shall be first approved by Blackwells, or
its representatives, which approval shall not be unreasonably withheld.



                                                                                                        APP.148
Case 3:24-cv-00707-L        Document 38         Filed 04/15/24       Page 156 of 276       PageID 1423

         6.     The relationship of the parties hereto shall be limited to carrying on the business of
the Group in accordance with the terms of this Agreement. Such relationship shall be construed
and deemed to be for the sole and limited purpose of carrying on such business as described herein.
Nothing herein shall be construed to authorize any party to act as an agent for any other party, or
to create a joint venture or partnership, or to constitute an indemnification. Nothing herein shall
restrict any party’s right to purchase or sell securities of the Company, as he, she or it deems
appropriate, in his, her or its sole discretion, provided that all such sales are made in compliance
with all applicable securities laws.

        7.      This Agreement may be executed in counterparts, each of which shall be deemed
an original and all of which, taken together, shall constitute but one and the same instrument, which
may be sufficiently evidenced by one counterpart.

       8.      In the event of any dispute arising out of the provisions of this Agreement or their
investment in the Company, the parties hereto consent and submit to the exclusive jurisdiction of
the Federal and State Courts in the State of New York.

       9.      Any party hereto may terminate his, her or its obligations under this Agreement on
24 hours’ written notice to all other parties, with a copy by email to Jason Aintabi, c/o: Blackwells
Capital LLC, jaintabi@blackwellscap.com.

        10.    Each party acknowledges that Blackwells shall, in its sole discretion, select and
retain counsel for both the Group and Blackwells and its affiliates relating to their investment in
the Company.




                                                  2

                                                                                                         APP.149
Case 3:24-cv-00707-L     Document 38         Filed 04/15/24       Page 157 of 276   PageID 1424

        IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed
as of the day and year first above written.


                                            BLACKWELLS CAPITAL LLC



                                            By:    /s/ Jason Aintabi
                                            Name: Jason Aintabi
                                            Title: Managing Partner




                                            BLACKWELLS ONSHORE I LLC



                                            By:    /s/ Jason Aintabi
                                            Name: Jason Aintabi
                                            Title: President & Secretary




                                            /s/ Jason Aintabi
                                            JASON AINTABI




                   [Signature Page to Joint Filing and Solicitation Agreement]

                                                                                              APP.150
Case 3:24-cv-00707-L     Document 38         Filed 04/15/24       Page 158 of 276   PageID 1425


                                    /s/ Michael Cricenti
                                    MICHAEL CRICENTI




           [Signature Page to Joint Filing and Solicitation Agreement]


                                                                                              APP.151
Case 3:24-cv-00707-L     Document 38         Filed 04/15/24       Page 159 of 276   PageID 1426

                                    /s/ Jennifer M. Hill
                                    JENNIFER M. HILL




           [Signature Page to Joint Filing and Solicitation Agreement]

                                                                                              APP.152
Case 3:24-cv-00707-L     Document 38         Filed 04/15/24       Page 160 of 276   PageID 1427

                                    /s/ Betsy L. McCoy
                                    BETSY L. MCCOY




           [Signature Page to Joint Filing and Solicitation Agreement]

                                                                                              APP.153
Case 3:24-cv-00707-L     Document 38         Filed 04/15/24       Page 161 of 276   PageID 1428


                                    /s/ Steven J. Pully
                                    STEVEN J. PULLY




           [Signature Page to Joint Filing and Solicitation Agreement]


                                                                                              APP.154
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 162 of 276   PageID 1429




                         EXHIBIT D
Case 3:24-cv-00707-L        Document 38        Filed 04/15/24      Page 163 of 276      PageID 1430

    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                  Page 1 of 85 PageID 1



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 BLACKWELLS CAPITAL LLC,

                                       Plaintiff,
                                                         Civil Action No. 3:24-cv-894
       v.
                                                          JURY TRIAL DEMANDED
 BRAEMAR HOTELS & RESORTS INC.;
 MONTGOMERY J. BENNETT; STEFANI
 DANIELLE CARTER; RICHARD J.
 STOCKTON; KENNETH H. FEARN, JR.;
 ABTEEN VAZIRI; MARY CANDACE
 EVANS; MATTHEW D. RINALDI; and
 REBECA ODINO-JOHNSON,

                                     Defendants.


            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiff Blackwells Capital LLC (“Blackwells”), by its undersigned attorneys, files this

Complaint against Braemar Hotels & Resorts Inc. (“Braemar” or the “Company”) and the

members of Braemar’s board of directors (Montgomery J. Bennett; Stefani Danielle Carter;

Richard J. Stockton; Kenneth H. Fearn, Jr.; Abteen Vaziri; Mary Candace Evans; Matthew D.

Rinaldi; and Rebeca Odino-Johnson). On information and belief, Blackwells alleges as follows:

                    INTRODUCTION AND NATURE OF THE ACTION

       1.      This case is about the right to vote.

       2.      Defendant Braemar is an underperforming real estate company that has been

egregiously mismanaged by its board of directors (the “Board”). The Board is chaired by

Defendant Montgomery J. Bennett, who in recent years has engaged in a troubling series of self-

dealing transactions designed to further his own financial interests.

                                                                                                   APP.155
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 164 of 276 PageID 1431
     Case 3:24-cv-00894-N Document 1 Filed 04/11/24                Page 2 of 85 PageID 2



        3.      Under Mr. Bennett’s leadership, the Company executed a series of three contracts

 under which it pays wildly above-market rates to so-called “external” firms. Those contracts are:

                a.     a management agreement with Ashford Hospitality Advisors LLC
                       (“Ashford Hospitality”), under which the Company pays fees and
                       reimbursements for “advisory” and “management” services;

                b.     management agreements with Remington Lodging & Hospitality, LLC
                       (“Remington Lodging”), under which the Company pays fees and
                       reimbursements for hotel management and hospitality services; and

                c.     an agreement with Premier Project Management LLC (“Premier”), under
                       which the Company pays for certain maintenance and construction services.

        4.      Ashford Hospitality, Remington Lodging, and Premier are all subsidiaries of

 Ashford Inc., in which Mr. Bennett owns a significant equity stake. Mr. Bennett is the Chief

 Executive Officer of Ashford Inc. and the Chairman of Ashford Inc.’s board of directors.

        5.      The web of business dealings described above has allowed Mr. Bennett to use

 Braemar’s resources to broker numerous transactions that have personally enriched Mr. Bennett

 and his family, but do not serve the best interests of the Company’s shareholders.

        6.      Plaintiff Blackwells is an investment manager with a reputation for unlocking

 shareholder value by spearheading governance reforms at mismanaged companies.

        7.      After conducting extensive research on the Company, Blackwells reached the

 conclusion that changes in the composition of the Company’s Board could unlock significant value

 for Blackwells and other shareholders of the Company. So in June 2023, Blackwells moved shares

 in the Company into record form.1 And in January 2024, Blackwells sent the Company a letter

 requesting a copy of the questionnaire that nominees to the Company’s Board must submit prior



 1
   The Company’s Bylaws do not permit shareholders that own shares of the Company only through
 their stockbrokers (in “street name”) to nominate directors. Instead, the Bylaws only allow
 shareholders that own and hold shares with the Company’s stock transfer agent and appear on a
 list of registered shareholders maintained by the transfer agent (in “record form”) to do so.

                                                 2
                                                                                                     APP.156
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                       Page 165 of 276 PageID 1432
     Case 3:24-cv-00894-N Document 1 Filed 04/11/24                   Page 3 of 85 PageID 3



 to standing for election to become directors (the “Questionnaire”). These steps initiated what is

 known as a “proxy contest,” which occurs when a shareholder such as Blackwells attempts to

 persuade other shareholders in a company to use their proxy votes to install new corporate directors

 or force other reforms to corporate governance.

        8.      The Board responded to Blackwells’ request for the Questionnaire by voting in bad

 faith to amend the Company’s Bylaws so as to make it unreasonably difficult—if not outright

 impossible—for shareholders to nominate candidates to oppose incumbent directors. The Bylaw

 amendments require nominating shareholders to make a wide variety of onerous disclosures.

 Those disclosure requirements go far beyond any similar requirements contained in the bylaws of

 the Company’s peers; they are not proportionate to any legitimate information-gathering need, and

 they clearly serve no legitimate business purpose. The Bylaw amendments also contain numerous

 ambiguous and subjective phrases designed to function as “trip wires” that would allow the

 Company to reject supposedly “deficient” nominations in its unfettered discretion. The Bylaw

 amendments were purpose-built to chill shareholders’ rights to participate in the corporate

 franchise, a pillar of which is shareholders’ entitlement to free and fair elections for directors.

        9.      The amendments were the exact inverse of legitimate Bylaw amendments effected

 on a proverbial “clear day”: They were adopted just one week after the Company became aware

 of the forthcoming proxy fight, and they include features tailor-made to burden potential

 nominations by Blackwells in particular. These amendments were adopted in bad faith by the

 members of the Board in an effort to (1) entrench the incumbent directors’ power and (2) stifle

 shareholder-led reforms that might imperil sweetheart deals those directors have brokered for

 themselves, or otherwise uncover the troubling details that enabled such deals to begin with.




                                                   3
                                                                                                        APP.157
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 166 of 276 PageID 1433
     Case 3:24-cv-00894-N Document 1 Filed 04/11/24                Page 4 of 85 PageID 4



        10.     In March 2024, Blackwells formally notified the Company of its intent to nominate

 four highly-qualified individuals for election to the Company’s Board and submit business

 proposals for consideration at the upcoming May 15, 2024 Annual Meeting. The Company sent

 Blackwells a letter two weeks later that purported to “reject and disregard” Blackwells’ nominees.

 According to that letter, Blackwells’ nomination notice supposedly failed to comply with certain

 of the Company’s “advance notice bylaws,” which require a shareholder who nominates director

 candidates or submits business proposals to make certain disclosures to the Company regarding

 those nominations or business proposals.       The Company’s rejection letter was rife with

 inaccuracies, contained numerous misrepresentations and falsehoods, and rested at bottom on

 several objectively incorrect readings of the Company’s Bylaws.

        11.     After rejecting Blackwells’ nominees, the Company embarked on an aggressive

 campaign to ensure that the Company’s shareholders would not be able to leverage their voting

 rights to oust the incumbent directors. As detailed below, the Company’s conduct during the proxy

 fight has violated the securities laws in various respects. Among other things, the Company made

 a number of false and misleading statements about Blackwells in a press release issued on March

 25, 2024, and then failed to file that press release with the Securities and Exchange Commission

 (“SEC”) as soliciting material, thus committing two independent violations of the Securities

 Exchange Act of 1934 (“Exchange Act”) and the SEC’s implementing regulations for the same.

        12.     Moreover, the Company has unlawfully failed to disclose to the SEC and the public

 that an undisclosed participant in its proxy campaign is a “newspaper” called The Dallas Express.

 Mr. Bennett finances and publishes The Dallas Express. Actual journalists have characterized The

 Dallas Express as a “propaganda site.” From November 2023 to January 2024, The Dallas Express

 ran a series of five articles about Blackwells and Jason Aintabi, who is Blackwells’ Chief




                                                 4
                                                                                                      APP.158
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                      Page 167 of 276 PageID 1434
     Case 3:24-cv-00894-N Document 1 Filed 04/11/24                  Page 5 of 85 PageID 5



 Investment Officer. Those articles included a number of false and misleading claims about

 Blackwells and Mr. Aintabi, and were clearly published at Mr. Bennett’s behest with the intent of

 influencing the Company’s shareholders and directors with respect to a proxy contest that Mr.

 Bennett knew was impending. Mr. Bennett’s efforts to leverage The Dallas Express as his personal

 mouthpiece during the proxy fight are consistent with his long-running pattern of engaging in

 “pay-to-play” journalism, which was previously the subject of a 2020 article in The New York

 Times. The Company’s failure to disclose The Dallas Express as a proxy participant is a plain

 violation of the Exchange Act, as are The Dallas Express’s numerous false and misleading

 statements in the hit pieces it published against Mr. Aintabi.

        13.     In lieu of attempting to engage with Blackwells regarding its concerns about the

 Company and its proposals for reform, the Company opted to sue Blackwells in this Court on the

 same day that they sent Blackwells the rejection letter. That lawsuit, styled Braemar Hotels &

 Resorts Inc. v. Blackwells Capital LLC et al., was docketed as case number 3:24-cv-00707 and

 assigned to the Honorable Sam A. Lindsay. The Company’s lawsuit seeks, among other things, a

 declaration that Blackwells’ nominations were improper and were therefore validly rejected.

        14.     But in fact the opposite is true. Blackwells’ nomination notice fully complied with

 the advance-notice provisions in the Company’s Bylaws, and the Company’s rejection of that

 notice was therefore wrongful and illegal. And in any case, the amended Bylaws that Blackwells

 purportedly violated are themselves invalid under Maryland law because they improperly and

 unfairly infringe shareholders’ rights to nominate and vote for directors of their choice.

        15.     Through this lawsuit, Blackwells seeks a declaration that its nominations were

 valid. Blackwells also seeks to hold the Company accountable for breaching its Bylaws, which

 are a contract with the Company’s shareholders. To the extent that the Blackwells nominations




                                                  5
                                                                                                      APP.159
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                        Page 168 of 276 PageID 1435
     Case 3:24-cv-00894-N Document 1 Filed 04/11/24                    Page 6 of 85 PageID 6



 are found to be invalid under the Bylaws, Blackwells seeks in the alternative a declaration that the

 relevant provisions of the Bylaws are unlawful and unenforceable. Blackwells also seeks through

 this lawsuit to hold the Company liable for numerous substantive and procedural violations of the

 securities laws, which are unfairly influencing the ongoing proxy contest.

                                  JURISDICTION AND VENUE

        16.     This Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because this case

 arises under Section 14(a) of the Exchange Act and the implementing regulations promulgated

 thereunder by the SEC.       See 15 U.S.C. § 78n(a) (“Section 14(a)”); 17 C.F.R. § 240.14a

 (“Regulation 14A”). As detailed below, Blackwells alleges that Defendants have committed a

 variety of substantive and procedural violations of Section 14(a) and Regulation 14A.

        17.     This Court also has competent subject-matter jurisdiction under 28 U.S.C.

 § 1332(a) because the matter in controversy exceeds the sum of $75,000, exclusive of interest and

 costs, and because the parties to this lawsuit are citizens of different States.

        18.     This Court also has supplemental jurisdiction over Blackwells’ state-law claims

 under 28 U.S.C. § 1367(a) because those claims are so related to Blackwells’ federal claims that

 they form part of the same case or controversy under Article III of the United States Constitution.

        19.     This Court has authority to grant declaratory and injunctive relief under the

 Declaratory Judgment Act, 28 U.S.C. §§ 2201–02, and under its inherent equitable powers.

        20.     Venue is proper in this District because “a substantial part of the events or

 omissions giving rise to the claim occurred” in Dallas, Texas, 28 U.S.C. § 1391(b)(2), and because

 Defendants conduct business and may be found in Dallas, Texas, 15 U.S.C. § 78aa(a). The

 Company maintains its principal place of business in Dallas, Texas; conducts its Board-level

 decisionmaking in Dallas, Texas; has violated Section 14(a) and Regulation 14A via speech and




                                                    6
                                                                                                        APP.160
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 169 of 276 PageID 1436
     Case 3:24-cv-00894-N Document 1 Filed 04/11/24                Page 7 of 85 PageID 7



 conduct that occurred in Dallas, Texas; and, on information and belief, prepared and sent various

 communications regarding the Blackwells Nomination Notice from Dallas, Texas.

        21.     This Court has competent personal jurisdiction over the Defendants because the

 Company maintains its principal place of business in Dallas, Texas and because Defendants have

 personally availed themselves of conducting business in Texas.

                                            PARTIES

        A.      Plaintiff

        22.     Plaintiff Blackwells Capital LLC is a Delaware limited liability company whose

 principal place of business is located at 400 Park Avenue, 4th Floor, in New York, New York

 10022. The sole member and 100% owner of Blackwells Capital LLC is Blackwells Holding Co.

 LLC, which is a Delaware limited liability company. The sole member and 100% owner of

 Blackwells Holding Co. LLC is Vandewater Capital Holdings, LLC, which is a Delaware limited

 liability company. The sole member and 100% owner of Vandewater Capital Holdings, LLC is

 Jason Aintabi, who is a natural person domiciled in Florida. Mr. Aintabi is a U.S. citizen.

        23.     Blackwells is a multi-strategy investment firm that was founded by Mr. Aintabi in

 2016. Blackwells makes investments in securities, and engages with management and boards, to

 help unlock value for stakeholders. Although Blackwells has especially significant experience in

 the real estate investment trust (“REIT”) sector, it has made investments in public and private

 companies across many different parts of the American economy. Blackwells’ principals have

 served on boards of heavy-industry, media, energy, technology, and real estate companies.

        24.     Blackwells has been a record holder of common stock in the Company since June

 27, 2023. Blackwells (collectively with its affiliates Blackwells Onshore I LLC; Blackwells

 Holding Co. LLC; Vandewater Capital Holdings, LLC; Blackwells Asset Management LLC; BW

 Coinvest Management I LLC; and Mr. Aintabi) is the Company’s tenth largest shareholder.


                                                 7
                                                                                                     APP.161
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 170 of 276 PageID 1437
     Case 3:24-cv-00894-N Document 1 Filed 04/11/24                Page 8 of 85 PageID 8



        B.      Defendants

        25.     Defendant Braemar Hotels & Resorts Inc. is a publicly traded Maryland corporation

 (NYSE: BHR, BHR-PB, BHR-PD) that owns 16 hotel properties. The Company is taxed as a

 REIT under the Internal Revenue Code. The Company’s principal place of business is located at

 14185 Dallas Parkway, Suite 1100, Dallas, Texas 75254.

        26.     The Company is externally managed by Ashford Inc. and its subsidiary, Ashford

 Hospitality.

        27.     Defendant Montgomery J. Bennett is the Chairman of the Company’s Board.

 Mr. Bennett is also the Chief Executive Officer and Chairman of the board of directors of Ashford

 Inc., in which he and his family own a significant equity stake. See infra ¶ 43. On information

 and belief, Mr. Bennett is a natural person domiciled in Texas.

        28.     Defendant Stefani Danielle Carter is “Lead Director” on the Company’s Board. On

 information and belief, Ms. Carter is a natural person domiciled in Texas.

        29.     Defendant Richard J. Stockton is a member of the Company’s Board who also

 serves as Chief Executive Officer and President of the Company. Mr. Stockton is also the Senior

 Managing Director and Head of Acquisitions for Ashford Inc. On information and belief,

 Mr. Stockton is a natural person domiciled in Texas.

        30.     Defendant Kenneth H. Fearn, Jr. is a member of the Company’s Board. On

 information and belief, Mr. Fearn is a natural person domiciled in California.

        31.     Defendant Abteen Vaziri is a member of the Company’s Board. On information

 and belief, Mr. Vaziri is a natural person domiciled in Texas.

        32.     Defendant Mary Candace Evans is a member of the Company’s Board. On

 information and belief, Ms. Evans is a natural person domiciled in Texas.




                                                 8
                                                                                                     APP.162
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                     Page 171 of 276 PageID 1438
     Case 3:24-cv-00894-N Document 1 Filed 04/11/24                 Page 9 of 85 PageID 9



        33.     Defendant Matthew D. Rinaldi is a member of the Company’s Board. On

 information and belief, Mr. Rinaldi is a natural person domiciled in Texas.

        34.     Defendant Rebeca Odino-Johnson is a member of the Company’s Board. On

 information and belief, Ms. Odino-Johnson is a natural person domiciled in Texas.

                                              FACTS

        A.      The Company’s Egregious Mismanagement and Self-Dealing

        35.     Over the course of the last three-, five-, and ten-year periods, the Company has

 delivered abysmal returns for its shareholders. The Company’s stock price has declined by almost

 90 percent in the last four years alone. See Braemar Hotels & Resorts Inc. (BHR:NYSE), CNBC,

 https://perma.cc/6Z9KMRYK (showing decline of stock price from a high of $13.71 in April 2020

 to below $2.00 in April 2024).

        36.     One financial analyst noted in 2023 that the Company’s “share price, a reflection

 of market sentiment, shows a long-term decline” and that the Company’s “share price has fallen

 continuously over the past decade.” Philip Wang, Braemar Hotels & Resorts: Bad Q2, Even Worse

 Balance Sheet, Seeking Alpha (Aug. 8, 2023).

        37.     The Company is managed pursuant to an external management agreement with

 Ashford Inc., through which the Company pays fees and reimbursements to Ashford Inc. and its

 subsidiaries that dramatically exceed market rates. The Company’s 2023 Form 10-K discloses

 that Ashford Hospitality acts as the Company’s advisor. The Company relies on Ashford

 Hospitality to provide, or obtain on the Company’s behalf, the personnel and services necessary

 for the Company’s business. The Company has no employees of its own. Ashford Hospitality has

 the right to require the Company to include two persons it designates as candidates for election as

 directors at any stockholder meeting at which Company directors are to be elected.




                                                 9
                                                                                                       APP.163
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 172 of 276 PageID 1439
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24                 Page 10 of 85 PageID 10



        38.     The Company’s 2023 Form 10-K conceded that “[t]he aggregate amount of fees

 and expense reimbursements paid to our advisor will exceed the average of internalized expenses

 of our industry peers” and that “there may be times when the total amount of fees and incentives

 paid to our advisor greatly exceeds the average of internalized expenses of our industry peers.”

 The same report conceded that the Company “must pay a minimum advisory fee to [Ashford

 Hospitality] regardless of [the Company’s] performance.”

        39.     The Company’s 2023 Form 10-K discloses that the Company is also “required to

 make minimum base hotel management fee payments under [its] hotel management agreements”

 with Remington Lodging, which is “a subsidiary of Ashford Inc.”

        40.     The Company’s 2023 Form 10-K discloses that the Company receives design and

 construction services through Premier, which is yet another subsidiary of Ashford Inc.

        41.     The Company disclosed in its most recent Form 10-K that in 2023 the Company

 paid advisory services fees of approximately $31.1 million and additional fees for products or

 services of approximately $30.2 million, all of which was paid to Ashford and its affiliates.2 Over

 the last ten years, management fees paid by the Company to Ashford Affiliates have grown by

 over 575 percent. Those fees now represent almost half the market value of the Company.

 Remarkably, the Company’s operating load as a percentage of its market capitalization is higher

 than 70 percent, which is approximately fourteen times higher than the average among the

 Company’s peer hotel REITs. The Company’s extraordinarily high operating expenses and “fee”

 obligations are a major cause for concern among the Company’s shareholders.3


 2
  This Complaint will refer to Ashford Inc., Ashford Hospitality, Remington Lodging, and Premier
 as the “Ashford Affiliates.”
 3
   Blackwells’ recent dealings with the Company have revealed that Mr. Bennett and Ashford
 apparently believe they would be owed a comically high “termination fee” in the event that the
 Company’s advisory agreement with Ashford Hospitality were terminated. The exact amount of

                                                 10
                                                                                                       APP.164
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                      Page 173 of 276 PageID 1440
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24                   Page 11 of 85 PageID 11



        42.     The Company’s 2023 Form 10-K acknowledged that “[c]onflicts of interest with

 Remington Hospitality and Premier, each of which is a subsidiary of Ashford Inc., could result in

 [the Company’s] management acting other than in our stockholders’ best interest.”

        43.     Mr. Bennett is the Chairman of both the Company’s Board and Ashford Inc.’s

 board, and he is personally enriched by the Company’s agreements with the Ashford Affiliates.

 The Company’s 2023 Form 10-K discloses that Mr. Bennett and his father own approximately 19

 percent of Ashford Inc., plus convertible stock that, if converted, would increase their ownership

 percentage in Ashford Inc. to 65 percent. Mr. Bennett told the Dallas Morning News in 2020 that

 “my family and I own the vast majority of preferred stock at Ashford Inc.” Natalie Walters, Villain

 or Victim? How Dallas Hotelier Monty Bennett Became PPP’s Face of Corporate Greed, Dallas

 Morning News (July 5, 2020), https://perma.cc/67PL-3EST.

        44.     In 2020, “Brookfield Asset Management, an Ashford lender, accused Ashford in a

 letter of committing a ‘fraudulent scheme’ by moving money between entities.” Patrick Sisson,

 Monty Bennett’s Fire and Brimstone Journey, The Real Deal (May 1, 2023), https://

 perma.cc/Q2KR-B2A8.

        45.     The Company’s 2023 Form 10-K conceded that “[t]he potential for conflicts of

 interest as a result of our management structure may provoke dissident stockholder activities that

 result in significant costs” and that “actual and potential conflicts of interest with Ashford” were a

 “risk factor” that could lead the Company’s financial results to vary from the Company’s

 predictive, forward-looking statements. The same Form 10-K acknowledged that some individuals




 that termination fee depends on financial metrics of Ashford Hospitality and opaque formulas that
 the Ashford Affiliates have brokered among themselves. In Blackwells’ estimation, the
 “termination fee” that Mr. Bennett believes he and the Ashford Affiliates would be owed outstrips
 the entire market capitalization of Braemar, which is currently approximately $130 million.


                                                  11
                                                                                                          APP.165
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                     Page 174 of 276 PageID 1441
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24                  Page 12 of 85 PageID 12



 have “dual responsibilities” as officers or directors of both the Company and Ashford Affiliates.

 According to that Form 10-K, those “dual responsibilities may create conflicts of interest” that

 result in decisions which benefit Ashford Affiliates “more than they benefit [the C]ompany.”

        46.     The Company’s 2023 Form 10-K acknowledged that Mr. Bennett’s “ownership

 interests in and management obligations to Ashford Inc. present him with conflicts of interest in

 making management decisions related to the commercial arrangements between [the Company]

 and Ashford Inc., and his management obligations to Ashford Inc. reduce the time and effort he

 spends overseeing [the Company].”

        47.     In addition to Mr. Bennett, Ashford Inc. and the Company also share other officers

 and directors. Defendant Richard J. Stockton is a member of the Company’s Board who also

 serves as the Senior Managing Director and Head of Acquisitions for Ashford Inc. Non-party

 Deric S. Eubanks is the Chief Financial Officer of both the Company and Ashford Inc. And non-

 party Alex Rose is the General Counsel and Secretary of both the Board and Ashford Inc.

        48.     One analyst recently noted that “it is clear” that “conflicts exist among the various

 Ashford entities.” Rob Schneider, Braemar Hotels Faces Board Challenge from Activist Investor,

 Hotel Investment Today (Mar. 25, 2024), https://perma.cc/WA62-T8MR.

        49.     The Company’s Form 10-K acknowledged that “Ashford [Hospitality] and its

 employees, some of whom are our executive officers, face competing demands relating to their

 time and this may adversely affect [the Company’s] operations.” The Company’s 2023 Form 10-

 K also stated that Ashford Hospitality and its affiliates are not obligated to dedicate any of their

 respective employees exclusively to the Company.

        50.     Conflicts of interest are so ubiquitous at the Company and the Ashford Affiliates

 that the Company has created a Related Party Transactions Committee (“Conflicts Committee”)




                                                 12
                                                                                                        APP.166
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                      Page 175 of 276 PageID 1442
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24                   Page 13 of 85 PageID 13



 with power to approve self-dealing transactions that affect the Company. Committees of this type

 are exceedingly uncommon, especially at REITs. According to the Company’s most recent Form

 10-K, the so-called “independent” members of the Conflicts Committee include Mr. Rinaldi and

 Ms. Carter—both of whom are long-time loyalists of Mr. Bennett. Texas Monthly recently

 reported that Mr. Rinaldi “had been made an asset of the Bennett empire” when Mr. Bennett “made

 Rinaldi a director of one of his [REITs]” even though “[t]his was a dramatic departure from

 Rinaldi’s work experience.” Christopher Hooks, Sinners in the Hands of an Angry GOP, Texas

 Monthly (Dec. 2023), https://perma.cc/X82Q-GC5G. That article reported that Mr. Rinaldi

 “caught a lucky break” when “he met Monty Bennett,” who helped “fund Rinaldi’s tentative first

 steps into elected politics.” Id. Mr. Rinaldi was later elected to the Texas Legislature. The same

 article went on to report that “Rinaldi was not the only future state representative” that Mr. Bennett

 employed in his effort to “gain influence in the Legislature.” Id. Mr. Bennett also “acquired . . .

 Stefani Carter, who represented a Dallas-area district in the [Texas] House from 2011 to 2015,”

 and who now serves together with Mr. Rinaldi as an “independent” director of Braemar. Id.4 The

 Company’s most recent Form 10-K acknowledged, in an understatement for the ages, that the

 Conflicts Committee “may not be adequate to address all of the conflicts that may arise.”

        51.     In lieu of engaging with shareholders on potential reforms that might unlock value,

 the Board has opted to severely limit shareholder rights. The Corporation’s Bylaws vest unilateral

 power to amend the Bylaws in the Board, denying shareholders a voice in governance practices.




 4
  In March 2016, the Company’s predecessor entity claimed in a public presentation that Ms. Carter
 was an “independent” director despite the fact that “Monty Bennett has contributed to [her]
 political campaigns.” Questions and Answers, Ashford Hospitality Prime (Mar. 2016), https://
 perma.cc/GW9W-XBK2.


                                                  13
                                                                                                          APP.167
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 176 of 276 PageID 1443
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                Page 14 of 85 PageID 14



 As described in paragraphs 68 to 76, the Board invoked that power to unilaterally amend the

 Bylaws to make notice requirements for Board nominations exceedingly stringent and onerous.

        B.      Blackwells Attempts to Unlock Value for the Company’s
                Shareholders By Proposing to Acquire the Company

        52.     On October 21, 2023, Blackwells sent a letter to the Company (the “Blackwells

 October 21 Letter”). That letter expressed Blackwells’ grave concern with the damage that had

 been caused to the Company and its shareholders by the Board’s acquiescence in a management

 arrangement that enriches Mr. Bennett and the Ashford Affiliates, but causes material losses for

 shareholders. The Blackwells October 21 Letter demanded that the Board investigate potential

 breaches of fiduciary duty and suggested several reforms which would provide better returns for

 shareholders and prevent further self-dealing.

        53.     On December 1, 2023, Mr. Aintabi sent a letter to the Company’s Board (the

 “Blackwells December 1 Letter”). The Blackwells December 1 Letter made a “preliminary

 proposal” for Blackwells to acquire 100% of the outstanding equity interests in the Company (the

 “Proposed Acquisition”). Blackwells, in its opening salvo, proposed an all-cash deal in which it

 would acquire the Company for $4.50 a share, which was more than double the Company’s then-

 existing stock price.

        54.     On December 22, 2023, Blackwells sent the Company a second letter that reiterated

 Blackwells’ interest in acquiring the Company. At the Company’s request, this second letter also

 provided additional information on Blackwells’ potential sources of funding for the Proposed

 Acquisition. The second letter also offered to provide additional confidential information related

 to potential financing sources if the Company were to confirm that it had interest in engaging in a

 confidential discussion with regard to Blackwells’ Proposed Acquisition.




                                                  14
                                                                                                       APP.168
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                      Page 177 of 276 PageID 1444
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24                   Page 15 of 85 PageID 15



           55.   On January 9, 2024, two members of the Company’s Board wrote a letter to

 Blackwells responding to the Blackwells October 21 Letter (the “Company’s January 9 Letter”).

 The Company’s January 9 Letter dismissed Blackwells’ concerns and stated that the Company

 would refuse Blackwells’ demands to take the actions requested in the Blackwells October 21

 Letter.

           56.   The stated basis for the Board’s decision was an “internal investigation” conducted

 by Holland & Knight, which has previously represented Mr. Bennett and one of the Ashford

 Affiliates in responding to accusations of misconduct. That conflicted firm never bothered to

 contact Blackwells during its “investigation” concerning the Blackwells October 21 Letter.

           C.    Blackwells Nominates Four Individuals to Serve as Directors of the Company

           57.   Between late December and early January 2024, Blackwells reevaluated its interest

 in acquiring the Company. Blackwells ultimately abandoned its intent to acquire the Company

 and instead decided to pursue a different course—i.e., unlocking shareholder value by having new,

 reform-minded directors elected to the Company’s Board.

           58.   Blackwells’ decision to abandon its effort to acquire the Company was based on a

 number of factors, including, among others: (1) the refusal of the Company’s Board to reasonably

 consider Blackwells’ Proposed Acquisition; (2) attempts by the Company, Mr. Bennett, and Mr.

 Bennett’s agents to misrepresent Blackwells’ intentions, including by having The Dallas Express

 publish hit pieces on Blackwells and Mr. Aintabi; (3) the Company’s efforts to ignore Blackwells’

 demands to investigate the Company’s external management arrangement; (4) recent amendments

 to the Company’s Bylaws that had the effect of further enriching Mr. Bennett and complicating

 options to create shareholder value; and (5) Blackwells’ belief that independent voices are needed

 in the Company’s boardroom, among other reasons because those voices are necessary to ensure

 that any future transaction is in the best interests of shareholders and will not result in a windfall


                                                  15
                                                                                                          APP.169
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                      Page 178 of 276 PageID 1445
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                  Page 16 of 85 PageID 16



 for Mr. Bennett and his loyalists.

        59.     On January 2, 2024, Blackwells requested from the Company the Questionnaire

 that nominees to the Company’s Board must submit to the Company prior to standing for election.

        60.     On January 17, 2024, fifteen days after Blackwells’ initial request, the Company

 sent Blackwells a copy of the Questionnaire.5

        61.     On March 10, 2024, Blackwells sent the Company a letter (the “Blackwells March

 10 Letter”) formally re-confirming that it was “withdraw[ing] any interest [Blackwells] had in a

 transaction with Braemar.” The letter also explained that the Company’s recent behavior had

 “reinforced [Blackwells’] belief that Braemar needs new voices in the boardroom.”

        62.     Also on March 10, 2024, Blackwells timely sent the Company a notice of its intent

 to nominate four highly qualified individuals for election to the Company’s Board at its upcoming

 2024 Annual Meeting (the “Blackwells Nomination Notice”). Blackwells nominated as director

 candidates Jennifer M. Hill, Betsy L. McCoy, Steven J. Pully, and Michael Cricenti (together, the

 “Blackwells Nominees”)—all of whom are experienced business professionals who would

 facilitate much-needed changes at the Company.

        63.     The Blackwells Nomination Notice also made a number of business proposals to

 be brought before the shareholders at the Company’s 2024 Annual Meeting (the “Blackwells

 Business Proposals”). Blackwells proposed that the Company amend its unfair advance-notice

 Bylaws; revise its Corporate Governance Guidelines; disclose any extraordinary transactions



 5
   The Questionnaire that was ultimately produced was off-market in a number of ways, and it
 required a level disclosure far beyond the disclosures that are ordinarily required to be included in
 director and officer questionnaires. Among other things, the Questionnaire requires great detail
 about every single job that the nominees have ever held, without any time limitation. Most
 questionnaires contain a reasonable lookback, often five years—the same as the requirement for
 disclosure about business experience contained in Item 401(e) of Regulation S-K.


                                                  16
                                                                                                         APP.170
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 179 of 276 PageID 1446
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                Page 17 of 85 PageID 17



 proposals made in the last two years; and disclose all compensation paid by the Company to The

 Dallas Express its employees, directors, or agents.

        64.     The Blackwells Nomination Notice contained as its Exhibit C a 90-page slide deck

 (the “December 2023 Slide Deck”).6 The December 2023 Slide Deck included information

 discussing the benefits of a potential “take private” transaction involving the Company.

        65.     The Blackwells Nomination Notice stated that, “[w]hile [Blackwells] currently has

 no intention to pursue an acquisition of the [Company], [Blackwells] could in the future make a

 bid to acquire the [Company].”

        D.      The Company Responds to Blackwells’ Campaign by Adopting Illegal Bylaws

        66.     The Company’s Bylaws, which are attached hereto as Exhibit A, are a contract

 between the Company and its shareholders. The Bylaws, and any dispute related to a construction

 of those Bylaws, are governed by the law of Maryland, where the Company is incorporated.

        67.     Article I, Section 11 of the Company’s Bylaws contains “Advance Notice

 Requirements.” Advance notice bylaws impose limitations on when and how stockholders may

 nominate director candidates for election at a company’s annual meeting. When employed fairly,

 advance notice bylaws can serve the legitimate purpose of ensuring that a company’s shareholders

 have information necessary to evaluate candidates to become directors. However, advance notice

 bylaws can be abused by poorly performing companies to entrench the power of incumbent

 directors and combat attempts at shareholder-driven reform. See Michael R. Levin, Advance


 6
   Although the slide deck was prepared in December 2023, the cover of the slide deck that was
 sent to the Company incorrectly listed “March 2024” as its date. As Blackwells later explained in
 a supplement to its nomination notice that was sent to the Company on March 26, 2024, the date
 listed on the first page of the slide deck was inadvertently changed from “December 2023” to
 “March 2024” during the redaction process performed by Blackwells’ counsel prior to transmitting
 the deck to the Company as an exhibit to the Blackwells Nomination Notice. See infra ¶ 123. The
 version of the slide deck that was provided by Blackwells to its counsel was dated December 2023.


                                                17
                                                                                                     APP.171
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                      Page 180 of 276 PageID 1447
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24                   Page 18 of 85 PageID 18



 Notice in Bylaws, The Activist Investor (2015), https://perma.cc/WAB4-RQ3U.

          68.    On January 9, 2024, the Company adopted an amendment to its Bylaws which it

 claimed would “enhance[]” those Bylaws’ Advance Notice Requirements. These Bylaw

 amendments were not made on a “clear day” because they were implemented (1) just one week

 after Blackwells requested the Questionnaire and (2) after Blackwells moved shares into record

 name some six months earlier, both of which were signals that made the Company aware of an

 impending proxy contest.

          69.    The January 2024 Bylaw Amendments added a new provision at Article I,

 Section 11(a)(3)(D)(iv) of the Bylaws. That new provision reads as follows:

          in the event that any of the stockholder, the Proposed Nominee or the Stockholder
          Associated Person has in the twenty-four months immediately preceding the date
          of such notice made a proposal to acquire control of the [Company] (whether
          through the acquisition of a majority of the outstanding securities of the [Company],
          the acquisition of all or substantially all of the [Company’s] assets or otherwise),
          all information relating to the stockholder, the Proposed Nominee or the
          Stockholder Associated Person that would be disclosed in any notices, forms or
          filings required by U.S. federal laws or the rules and regulations of any agency,
          department or other instrumentality of the U.S. federal government (“U.S. Federal
          Agency”) in connection with the direct or indirect acquisition by such person of
          control of the [Company] (including (i) all information that would be set forth under
          any U.S. federal laws or the rules and regulations of any U.S. Federal Agency that
          have been proposed and not withdrawn and (ii) all information that would be set
          forth in a voluntary filing made by an acquiror in connection with any transaction
          subject to the jurisdiction of any U.S. Federal Agency).

          70.    This change to the Bylaws, which imposed especially burdensome disclosure

 burdens on anyone who had “made a proposal to acquire the Company” in “the twenty-four months

 immediately preceding” its nomination notice, appears to have been intended to target Blackwells.

 At the time of the January 2024 Bylaw Amendments, the Board knew that Blackwells was part of

 a tiny category of shareholders who had offered to purchase the Company in the preceding two

 years.




                                                   18
                                                                                                     APP.172
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                         Page 181 of 276 PageID 1448
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24                      Page 19 of 85 PageID 19



           71.    The January 2024 Bylaw Amendments also made material changes to Article I,

 Section 11(a)(6) of the Bylaws. The post-amendment version of that section of the Bylaws is

 reproduced below, with the new amended material rendered in italics:

           For purposes of this Section 11, a “Stockholder Associated Person” of any
           stockholder shall mean any person (and such person’s affiliates and associates):
           (i) acting in concert with such stockholder; (ii) that has formed, or is acting together
           as, a group with such stockholder (or such stockholder’s affiliates or associates)
           for the purposes of acquiring, holding, voting or disposing Company Securities,
           regardless of whether such person is party to any written or unwritten agreement,
           arrangement or understanding; (iii) that shares, or with which is shared,
           information about an upcoming Schedule 13D filing (or amendment thereto) that
           such person and/or such stockholder and/or their respective affiliates and
           associates will be required to make, to the extent such information is not yet public
           and communicated with the purpose of causing others to make purchases, and such
           person and/or such stockholder and/or their respective affiliates and associates
           subsequently purchases Company Securities based on such information; (iv) that
           has entered into any pooling arrangement, whether formal or informal, written or
           unwritten, with such stockholder; (v) that, together with such stockholder and/or
           its affiliates and associates, has engaged in activities[7] undertaken with the purpose
           or effect of changing or influencing control of the [Company] or in connection with
           or as a participant in any transaction having such purpose or effect; (vi) that has
           taken concerted actions related to Company Securities where such person and such
           stockholder are directly or indirectly obligated to take such concerted action; (vii)
           that is the beneficial owner of shares of stock of the [Company] owned of record
           or beneficially by such stockholder (other than a stockholder that is a depositary);
           or (viii) directly, or indirectly through one or more intermediaries, controls, or is
           controlled by, or is under common control with, such stockholder or any other
           Stockholder Associated Person.

           72.    When read together, the 2024 Bylaw Amendments require any nominating

 shareholder who has made a bid to acquire the Company within the preceding two years to

 disclose, with respect to both itself and any “Stockholder Associated Person,” “all information

 . . . that would be disclosed in any notices, forms or filings required by U.S. federal laws or the

 rules and regulations of any agency,” including voluntary filings. That disclosure requirement is

 extremely onerous and serves no legitimate business purpose. On information and belief, there is


 7
     The term “engaged in activities” is not defined in the Bylaws.


                                                     19
                                                                                                       APP.173
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                      Page 182 of 276 PageID 1449
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24                   Page 20 of 85 PageID 20



 no other company incorporated in Maryland that requires this level of disclosure in connection

 with stockholder nominations.

        73.     The January 2024 Bylaw Amendments are incoherent. They are riddled with

 ambiguous language that was designed to (1) visit impossible burdens on nominating shareholders

 and (2) allow the Company’s directors to reject any shareholder nomination. The explanatory

 Current Report on Form 8-K that the Company filed with the SEC after adopting the January 2024

 Bylaw Amendments did not provide any details on the meaning of the ambiguous Bylaw

 amendments, nor any clues about how the Company would interpret their subjective language.

        74.     Article I, Section 11(a)(3)(D)(iv) of the Bylaws requires nominating shareholders

 to disclose “all information” that would be “disclosed in any notices,” but does not state whether

 a nominating shareholder is required to (1) make only those disclosures that would have been

 required had the actual acquisition bid made by the nominating shareholder been formally

 proposed and consummated, or instead (2) make all disclosures that any potential acquiror would

 have had to make in connection with any hypothetical acquisition bid (e.g., a stock/stock offer

 made by a public company, which would require a large amount of disclosures).

        75.     On February 27, 2024, the Company adopted an additional amendment to its

 Bylaws. That amendment reduced the quorum required for any matter proposed by the Board at

 an annual meeting from a simple majority to one-third of all votes entitled to be cast at the meeting.

 The purpose of this amendment was to disenfranchise shareholders by enabling the Company to

 simultaneously (1) discard all votes made on Blackwells’ proxy card and (2) nonetheless claim

 that the meeting was valid because more than one-third of all votes entitled to be cast at the meeting

 were cast.

        76.     The 2024 Bylaw Amendments, which were made shortly after the Company




                                                  20
                                                                                                          APP.174
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                          Page 183 of 276 PageID 1450
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                      Page 21 of 85 PageID 21



 became aware that Blackwells might wage a proxy campaign against the incumbent directors, were

 not made on a “clear day.” They are egregious attempts to chill participation in corporate elections.

           77.          Before the 2024 Bylaw Amendments, the Company’s Bylaws included a number

 of other Advance Notice Requirements. As relevant here, those requirements included:

                   i.         Article I, Section 11(a)(3)(C)(iv) of the Bylaws, which requires a
                              nominating stockholder to disclose any “substantial interest, direct or
                              indirect (including, without limitation, any existing or prospective
                              commercial, business or contractual relationship with the [Company]), by
                              security holdings or otherwise, of such stockholder, Proposed Nominee or
                              Stockholder Associated Person, in the [Company]”;

                 ii.          Article I, Section 11(a)(3)(D)(iii) of the Bylaws, which requires that the
                              stockholder’s notice set forth “all information relating to the stockholder,
                              the Proposed Nominee or the Stockholder Associated Person that would be
                              required to be disclosed in connection with the solicitation of proxies
                              pursuant to Regulation 14A (or any successor provision) under the
                              Exchange Act”8; and

                 iii.         Article I, Section 11(a)(4) of the Bylaws, which requires that the notice be
                              accompanied by “a completed Proposed Nominee questionnaire” that will
                              “be provided by the [Company].”9

           78.       At all times relevant to this case, the Bylaws also included language specifying

 when shareholders could make, and correct, nomination notices. Article I, Section 11(a)(2) of the

 Bylaws requires that stockholders must give notice in writing to the Company if they intend to

 nominate a director, and that such notice “shall be delivered to the [Company’s] secretary . . . not

 earlier than the 90th day nor later than 5:00 p.m., Eastern Time, on the 60th day prior to the first

 anniversary of the date of the preceding year’s annual meeting.”

           79.       Article I, Section 11(c)(1) of the Bylaws provides that, if any information submitted



 8
   Regulation 14A requires disclosure of, among other things, “any arrangement or understanding
 . . . with respect to any future transactions to which the registrant or any of its affiliates will or may
 be a party.” 17 C.F.R. § 240.14a-101, Item 5(b)(1).
 9
     The Bylaws do not require that a nominating shareholder’s disclosures be internally consistent.


                                                       21
                                                                                                              APP.175
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                     Page 184 of 276 PageID 1451
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                 Page 22 of 85 PageID 22



 in a nomination notice “shall be inaccurate in any material respect,” then the stockholder “shall

 notify the Corporation of any inaccuracy or change (within two Business Days of becoming aware

 of such inaccuracy or change) in any such information.”

        80.     A notification of an “inaccuracy or change” made by a nominating stockholder is

 timely if provided to the Company “within two Business Days” after the stockholder becomes

 “aware of such inaccuracy or change,” regardless of whether the stockholder’s notification is made

 within the 30-day window specified in Article I, Section 11(a)(2) of the Bylaws. The provision of

 the Bylaws permitting supplements, changes, and revisions would be rendered meaningless if

 shareholders were not permitted to make such changes after their initial nomination notices had

 been sent to the Company.

        E.      Mr. Bennett Repeatedly Uses His Mouthpiece The Dallas Express to Spread
                False and Misleading Statements About Blackwells and Mr. Aintabi, Without
                Ever Disclosing His Pay-to-Play Journalism Tactics to the Public

        81.     In addition to serving as the chairman of the boards of both the Company and

 Ashford Inc., Mr. Bennett controls a “newspaper” known as The Dallas Express. The Dallas

 Express is a tax-exempt 501(c)(3) nonprofit organization. The Dallas Express has its principal

 place of business in Dallas, Texas, and is published in Dallas, Texas.

        82.     Mr. Bennett is the publisher of The Dallas Express.

        83.     Mr. Bennett is the President of The Dallas Express.

        84.     Mr. Bennett is a director of The Dallas Express.

        85.     Non-party Brian Wheeler is the “Lead Director” of Ashford Inc. and the Secretary

 of The Dallas Express. Mr. Wheeler is also a director of The Dallas Express.

        86.     Mr. Bennett became the publisher of The Dallas Express in 2021. From 1892 until

 approximately 1970, a publication known as The Dallas Express published articles of interest to

 the Black community in Dallas. The publication now known as The Dallas Express has published


                                                 22
                                                                                                      APP.176
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 185 of 276 PageID 1452
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24                 Page 23 of 85 PageID 23



 what D Magazine recently described as “a mix of right-leaning opinion pieces, excitable crime

 reporting, and regurgitated press releases.” Peter Simek, The Real Story Behind the Dallas

 Express, D Magazine (June 11, 2021), https://perma.cc/G6M2-VHSX. One journalist recently

 described The Dallas Express as having been “resurrected as [a] right wing propaganda site.”

 Steven Monacelli, Formerly Black Owned Dallas Express Resurrected As Right Wing Propaganda

 Site, Dallas Weekly (Feb. 12, 2021), https://perma.cc/Z4FB-EM8J (capitalization altered).

        87.     On information and belief, The Dallas Express is an unprofitable enterprise that is

 being propped up by Mr. Bennett. In 2022, The Dallas Express had advertising revenues of

 approximately $24,000 and expenses of approximately $3 million.           In the last two years,

 Mr. Bennett has made over $3.4 million in “donations” to The Dallas Express. The Company

 rejected a Blackwells Business Proposal that would have required disclosures regarding the

 connections between the Company, the Ashford Affiliates, and The Dallas Express.

        88.     In October 2020, The New York Times published a story that discussed

 Mr. Bennett’s history of engaging in pay-to-play fake journalism. See Davey Alba & Jack Nicas,

 As Local News Dies, a Pay-for-Play Network Rises in Its Place, N.Y. Times (Oct. 18, 2020). That

 article indicated that Mr. Bennett had “ordered” news articles for publication, including, among

 others, articles about foreign policy that appeared in DC Business Daily. Mr. Bennett also ordered

 articles to lobby for the stimulus bill, which he believed would help Ashford Inc. Ashford Inc.

 and its affiliates received $69 million in federal loans, making them (collectively) the largest

 recipient of such loans. See Walters, supra ¶ 43; Sisson, supra ¶ 44. After being “cast as a face

 of corporate greed,” Mr. Bennett was forced to return the money. Walters, supra ¶ 43.

        89.     In continuation of his prior pattern of pay-to-play journalism, Mr. Bennett has in

 recent years leveraged The Dallas Express as a mouthpiece for the Company, the Ashford




                                                23
                                                                                                      APP.177
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                      Page 186 of 276 PageID 1453
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24                   Page 24 of 85 PageID 24



 Affiliates, and himself. Mr. Bennett has repeatedly used The Dallas Express to disseminate false

 and misleading statements in an attempt to deceive and influence the Company’s shareholders.

        90.     Shortly after the Company received the Blackwells October 21 Letter, The Dallas

 Express began publishing articles about Blackwells and Mr. Aintabi, as detailed below. Each of

 those articles was published after October 2023, which is when Mr. Bennett became aware of

 Blackwells’ then-existing interest in acquiring the Company. Each of these articles was published

 with the intent to discredit Blackwells and Mr. Aintabi in the eyes of the Company’s shareholders.

 Each of these articles was made with the intent of influencing the outcome of Blackwells’ proxy

 fight against the Company. Tellingly, among the hundreds of articles that have been published

 about Blackwells and/or Mr. Aintabi, Blackwells is not aware of any other articles that have

 attempted to paint a picture similar to the one confected by The Dallas Express—and certainly is

 not aware of any publication that has published a series of hit pieces about Mr. Aintabi in an effort

 to influence a matter in which the publication’s publisher has a financial interest.

        91.     The Company failed to file any of the articles referenced below as soliciting

 material, as is required by Section 14(a) and Regulation 14(A).

                1.      The November 1, 2023 Dallas Express Article

        92.     On November 1, 2023, The Dallas Express published an article entitled “Vinson &

 Elkins Helps New York Activist Investor Invade Texas.” A copy of that article is available at

 https://perma.cc/T4P8-TXEH.

        93.     That article described Blackwells as a “corporate raider” and alleged that the

 Blackwells October 21 Letter, which was not then public but was available to Mr. Bennett in his

 capacity as one of the Company’s directors, “ma[de] multiple unsupported claims.” This statement

 was materially false and misleading because it misconstrues Blackwells’ business history in a way

 calculated to affect the Company’s shareholders’ perception of Blackwells in the anticipated proxy


                                                  24
                                                                                                         APP.178
Case 3:24-cv-00707-L Document 38 Filed 04/15/24    Page 187 of 276 PageID 1454
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24 Page 25 of 85 PageID 25



 contest between Blackwells and the Company, and because the Blackwells October 21 Letter did

 not contain “multiple unsupported claims.”

        94.     The article stated that Blackwells had previously “reached out to [the Company’s]

 management team asking to enter a separate business partnership—a proposal that was rejected.”

 This statement was also materially false and misleading.

        95.     The article quoted Mr. Bennett as having said that Mr. Aintabi “operates with

 family money almost exclusively” and “hopes that by harassing [Braemar] he can prove that he’s

 worthy of managing his parents’ money.” These statements were materially false and misleading

 because they misconstrue Blackwells’ ownership structure and who wields ultimate control over

 Blackwells, both of which are issues that the Company’s shareholders are likely to consider in the

 proxy contest between Blackwells and the Company. In reality, Mr. Aintabi owns 100% of the

 equity in and wields full control over Blackwells and all related entities.10

        96.     The article reported that the Blackwells October 21 Letter had “urged the

 [C]ompany’s leadership to terminate its advisory agreement with its advisor Ashford

 [Hospitality],” and opined that it was “unclear how this would help the shareholders of Braemar.”




 10
   One journalist recently noted that the November 1, 2023 Dallas Express article is an example
 of “how the publication operates as a mouthpiece for its wealthy publisher” and how “Bennett
 wields the Dallas Express to attack his perceived enemies” in articles that tellingly have no “named
 byline.” Steven Monacelli (@stevanzetti), Twitter (Apr. 10, 2024, 10:01 a.m., 10:17 a.m., 10:22
 a.m.), https://perma.cc/38MC-AJZ7, https://perma.cc/YMP8-H8FV, https://perma.cc/ZGM4-
 8VVV. The same journalist (who Mr. Bennett has previously unsuccessfully sued for defamation)
 noted that it was “[i]ronic[]” for Mr. Bennett to “attack” Mr. Aintabi for purportedly “managing
 family money” given that Mr. Bennett himself “inherited family wealth.”


                                                  25
                                                                                                        APP.179
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                     Page 188 of 276 PageID 1455
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                 Page 26 of 85 PageID 26



                2.      The December 5, 2023 Dallas Express Article

        97.     On December 5, 2023, The Dallas Express published an article entitled

 “Blackwells’ Aintabi Accused of Improper Conduct in Past Hotel Dealings.” A copy of that article

 is available at https://perma.cc/2PSU-ZQLB.

        98.     That article again described the Blackwells October 21 Letter as “contain[ing]

 multiple unsupported claims.” This statement was materially false and misleading because the

 Blackwells October 21 Letter did not “contain[] multiple unsupported claims.”

        99.     The article claimed that Blackwells had “urged the [C]ompany’s leadership to

 breach its contract with its advisor, which would trigger hundreds of millions of dollars in damages

 at Braemar.” This statement was also materially false and misleading.

        100.    The article also alleged that Mr. Aintabi had made “a number of unsubstantiated

 claims” in an unrelated lawsuit. This statement was materially false and misleading because it

 misconstrues Mr. Aintabi’s business history in a way calculated to discredit the reputation of Mr.

 Aintabi and Blackwells in advance of an anticipated proxy contest between the Company and

 Blackwells.

                3.      The December 8, 2023 Dallas Express Article

        101.    On December 8, 2023, The Dallas Express published an article entitled “Disney

 Shareholder: Self-Described ‘Activist’ Aintabi Has ‘Questionable Personal and Business

 History.’” A copy of that article is available at https://perma.cc/Q5QP-5ST9.

        102.    That Article asserted that Mr. Aintabi had a “questionable personal and business

 history,” has “developed a reputation as a publicity seeker,” and is “known to engage in what could

 be described as retaliatory litigation.” These statements were materially false and misleading

 because they improperly impugn Mr. Aintabi’s character in a way calculated to influence the




                                                 26
                                                                                                        APP.180
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 189 of 276 PageID 1456
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24                 Page 27 of 85 PageID 27



 opinions held by the Company’s shareholders about Mr. Aintabi and Blackwells in advance of an

 anticipated proxy contest between the Company and Blackwells.

                4.     The December 17, 2023 Dallas Express Article

        103.    On December 17, 2023, The Dallas Express published an article entitled “Litigious

 Investor Aintabi Has History of Petty Lawsuits.”        A copy of that article is available at

 https://perma.cc/PL36-NQ5E.

        104.    That article claimed to present what it called “[m]ore evidence of seemingly

 retaliatory litigation” by Mr. Aintabi. This statement was materially false and misleading.

        105.    The December 17, 2023 article did not include any disclaimer regarding the

 relationship between Mr. Bennett, who is both the publisher of The Dallas Express and the

 chairman of the Company.

                5.     The January 9, 2024 Dallas Express Article

        106.    On January 9, 2024, The Dallas Express published an article entitled “‘Activist’

 Investor Aintabi Reportedly ‘Lied’ and ‘Schemed’ Against Business Partner.” A copy of that

 article is available at https://perma.cc/392E-T46T.

        107.    That article alleged a purported “pattern of alleged unethical behavior on the part

 of ‘activist’ investor Jason Aintabi,” who the article said “seeks to inject himself into activist

 disputes way above his past experience level.” These statements were materially false and

 misleading.

        108.    The article again asserted that Aintabi has “seemingly demonstrated a pattern of

 retaliatory behavior” and had “recently threatened litigation against The Dallas Express as well.”

 The article did not disclose why Mr. Aintabi had threatened litigation against The Dallas Express.




                                                 27
                                                                                                      APP.181
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 190 of 276 PageID 1457
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24                 Page 28 of 85 PageID 28



        109.    The January 9, 2024 article did not include any disclaimer regarding the

 relationship between Mr. Bennett, who is both the publisher of The Dallas Express and the

 chairman of the Company.

        F.      The Company Wrongfully Rejects the Blackwells Nominees

        110.    On March 22, 2024, Blackwells filed its preliminary proxy statement with the SEC.

 That proxy statement announced that Blackwells was soliciting proxies from the Company’s

 stockholders on multiple matters, including the election of Blackwells’ Nominees to the

 Company’s Board. Blackwells has already spent more than $2 million in connection with its proxy

 contest, and will spend millions more if necessary to unlock value for shareholders.

        111.    On March 24, 2024, the Company sent Blackwells’ counsel a letter (the

 “Company’s Rejection Letter”) that purported to “reject[] and disregard[]” the Blackwells

 Nominees and the Blackwells Business Proposals. The Company’s Rejection Letter identified

 three purported deficiencies in the Blackwells Nomination Notice, as detailed below.

        112.    First, the Company’s Rejection Letter wrongly claimed that Blackwells had

 violated Regulation 14A and Article I, Sections 11(a)(3)(C) and 11(a)(3)(D)(iii) of the Bylaws by

 stating in the Blackwells Nomination Notice that Blackwells “currently has no interest in making

 an offer to acquire the [C]ompany.” The Company believed that representation to be “false” and

 “not credible.” The Company’s Rejection Letter interpreted the December 2023 Slide Deck to

 mean that, as of March 10, 2024, Blackwells continued to maintain an interest in acquiring the

 Company.      The Company’s Rejection Letter also stated that the “Company believes that

 Blackwells currently intends to pursue an acquisition of . . . the Company” because “spending

 $5,000,000 on a proxy campaign in light of Blackwells’ small ownership stake defies economic

 sense” and would not be rational unless Blackwells intended to acquire the Company.




                                                28
                                                                                                     APP.182
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 191 of 276 PageID 1458
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                Page 29 of 85 PageID 29



        113.    The Company’s first stated basis for rejecting the Blackwells Nomination Notice is

 wholly unreasonable, materially inaccurate, contrary to the Bylaws, and illegal. The Blackwells

 Nomination Notice’s representation that Blackwells had no present intent to acquire the Company

 was truthful and accurate, and the Company’s contrary determination appears to have been based

 on its misimpression that the December 2023 Slide Deck represented Blackwells’ views as of

 March 2024. Moreover, the fact that Blackwells owned what the Company described as a “small

 ownership stake” in the Company as of the time of the Blackwells Nomination Notice is irrelevant

 to the question of whether Blackwells had a present intent to acquire the Company at that time. In

 any case, it is not clear what more Blackwells possibly could have disclosed, given that its

 Nomination Notice openly noted that Blackwells “could in the future make a bid to acquire the

 [Company]” (emphasis added). If the Company wants to try to convince its shareholders that

 Blackwells was lying in its nomination notice, the Company is free to do so. But what the

 Company cannot do is strip shareholders of the right to make their own decisions about the

 Blackwells Nominees.

        114.    Second, the Company’s Rejection Letter wrongly claimed that Blackwells had

 violated Article I, Section 11(a)(3) of the Bylaws by failing to provide certain information with

 respect to so-called “Stockholder Associated Persons.” The Company’s Rejection Letter claimed

 that the potential debt and equity investors who might have provided financing for Blackwells’

 now-abandoned plan to acquire the Company were “Stockholder Associated Persons” for purposes

 of the Bylaws, and that Blackwells violated the Bylaws by failing to provide certain details about

 those investors in the Blackwells Nomination Notice.

        115.    The Company’s second stated basis for rejecting the Blackwells Nomination Notice

 is wholly unreasonable, materially inaccurate, contrary to the Bylaws, and illegal. The Blackwells




                                                29
                                                                                                      APP.183
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                     Page 192 of 276 PageID 1459
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24                  Page 30 of 85 PageID 30



 Nomination Notice provided all information regarding “Stockholder Associated Persons” that was

 required by the Bylaws. And even if that were not the case, Article I, Section 11(a)(3) of the

 Bylaws is illegal under Maryland law and therefore cannot be enforced against Blackwells.

        116.    Article I, Section 11(a)(3) of the Bylaws was not amended on a “clear day” but was

 instead amended just seven days after Blackwells requested the Questionnaire. Knowing that

 Blackwells had previously expressed an interest in acquiring the Company and may have discussed

 such plans with financing sources, the Board amended the Company’s Bylaws in bad faith in order

 to unreasonably heighten the disclosure requirements that Blackwells in particular would face

 when it made its nominations. To make matters worse, the Company then interpreted the amended

 version of its Bylaws to require disclosure of information that a nominating stockholder might not

 even have access to. The new definition of “Stockholder Associated Person” includes any entity

 that “has engaged in activities undertaken with the purpose or effect of changing or influencing

 control of the [Company].” The Bylaws do not define the term “engaged in activities.” The Bylaw

 amendments are illegal because they are wholly unfair to shareholders, serve no legitimate

 business purpose, are impermissibly vague and subjective, were not adopted on a “clear day,” and

 were intended to chill the corporate franchise by requiring impossible and unnecessary disclosures.

 Because Article I, Section 11(a)(3) of the Bylaws is illegal, it cannot be enforced.11

        117.    Third, the Company’s Rejection Letter wrongly claimed that the Blackwells


 11
    Assuming that this portion of the Bylaws is legal (and it is not), the Company never explained
 in the Rejection Letter why the onerous disclosure requirements contained in the Bylaws would
 not also apply to the Company itself (which is seeking the reelection of the incumbent directors)
 or to Ashford Hospitality (which has a right to designate nominees to the Company’s Board). If
 the Bylaws are read to require those types of disclosures from the Company and the Ashford
 Affiliates, then the re-nomination of the incumbent directors is invalid, because the required
 disclosures were never made. If the Bylaws are read not to require the Company and the Ashford
 Affiliates to make such disclosures, then the bylaws are invalid because they create different
 classes of shareholders in violation of governing Maryland law and the Company’s own charter.


                                                  30
                                                                                                       APP.184
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                     Page 193 of 276 PageID 1460
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24                  Page 31 of 85 PageID 31



 Nomination Notice contained “additional inaccuracies and omissions.”            For example, the

 Company claimed that the Questionnaires submitted by certain of the Blackwells Nominees

 contained misstatements and omissions, and therefore violated Article I, Section 11(a)(4) of the

 Bylaws. The Company also claimed that Blackwells violated Article I, Section 11(a)(3)(D)(iv) of

 the Bylaws because the Blackwells Nomination Notice did not contain certain disclosures that

 would have been required in a filing made with the Committee on Foreign Investment in the United

 States (“CFIUS”).

        118.    The Company’s third stated basis for rejecting the Blackwells Nomination Notice

 is wholly unreasonable, materially inaccurate, contrary to the Bylaws, and illegal. The statements

 identified in the Company’s Rejection Letter are not material misstatements or omissions, and in

 any event the Bylaws require only that the Questionnaires be “complete[]” rather than accurate.

 The Company’s decision to reject the Blackwells Nominees based on supposed deficiencies in the

 Questionnaire was plainly inequitable, especially in light of the information provided in the

 Blackwells Supplement. See infra ¶¶ 120–125. Moreover, Article I, Sections 11(a)(3)(D)(iv) and

 11(a)(4) of the Bylaws do not require the types of CFIUS disclosures referenced in the Company’s

 Rejection Letter. And in any case, Article I, Section 11(a)(3)(D)(iv) of the Bylaws is illegal under

 Maryland law and therefore cannot be enforced against Blackwells.

        119.    Section 11(a)(3)(D)(iv) of the Bylaws is illegal because it is wholly unfair to

 shareholders, serves no legitimate business purpose, was not adopted on a “clear day,” and is

 intended to chill the corporate franchise by requiring onerous and unnecessary disclosures. When

 the Bylaws were amended, the Board knew that Blackwells had made an offer to acquire the

 Company within the last two years. The Company’s Rejection Letter baselessly asserted that

 Blackwells should be required to make disclosures under CFIUS, which is one of the most




                                                 31
                                                                                                        APP.185
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                        Page 194 of 276 PageID 1461
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24                     Page 32 of 85 PageID 32



 burdensome regulatory review processes implemented by the federal government. That assertion

 was apparently premised on the Company’s incorrect belief that Mr. Aintabi is a foreign national.

 It appears that the Company’s amendments to Section 11(a)(3)(D)(iv) of the Bylaws were designed

 with the specific intent of complicating nominations by Mr. Aintabi and Blackwells specifically,

 based on the false premise that Mr. Aintabi is not a U.S. citizen.

        G.      Blackwells Timely Provides a Supplement to its Nomination Notice

        120.    For the reasons explained above, the Blackwells Nomination Notice fully complied

 with the Company’s Bylaws and should not have been rejected.

        121.    In the spirit of disclosure and in hopes of avoiding needless litigation, Blackwells

 sent the Company a supplement to the Blackwells Nomination Notice on March 26, 2024 (the

 “Blackwells Supplement”). The Blackwells Supplement was sent within two business days after

 Blackwells received the Company’s Rejection Letter, and was therefore timely under the Bylaws.

        122.    In the Blackwells Supplement, Blackwells provided additional information that was

 relevant to certain of the arguments made by the Board in the Company’s Rejection Letter.

        123.    The Blackwells Supplement explained that:

        [i]n the process of preparing the Nomination Notice, the date listed on the first page
        of the [December 2023 Slide Deck] was inadvertently changed from “December
        2023” to “March 2024.” The version of the December 2023 Presentation that was
        provided to [Blackwells’ counsel] by the Nominating Stockholder was dated
        December 2023. In the process of redacting the name of the recipient of the
        December 2023 Presentation, [Blackwells’ counsel] erroneously titled the
        presentation March 2024. . . . [A]s stated in the Nomination Notice, the Nominating
        Stockholder currently has no intention of pursuing an acquisition or similar
        transaction with respect to the Corporation

        124.    The Blackwells Supplement also explained that Ms. McCoy was supplementing her

 answer to Question 14(b) of the Questionnaire, which sought information concerning bankruptcy

 proceedings in which the nominee may previously have been involved. Question 14(b) is worded

 confusingly, and Ms. McCoy reasonably interpreted that question to only be seeking information


                                                 32
                                                                                                       APP.186
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 195 of 276 PageID 1462
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                Page 33 of 85 PageID 33



 about bankruptcies that occurred within the two years prior to submission of the Questionnaire. In

 the interest of full disclosure, the Blackwells Supplement explained that Ms. McCoy had filed a

 petition for bankruptcy in Florida some twenty years earlier, in 2004.

        125.    On April 4, 2024, the Company sent Blackwells a letter that purported to “reject[]

 and disregard[]” the Blackwells Supplement because that supplement was supposedly untimely.

        H.      The Company Conducts an Illegal Proxy Campaign

                1.     The Company’s March 25, 2024 News Release

        126.    On March 25, 2024, the Company issued a so-called “News Release” (the “March

 25 News Release”) entitled “Braemar Hotels & Resorts Announces Rejection of Materially

 Deficient Director Nomination Notice from Blackwells Capital.”

        127.    The March 25 News Release stated that the Blackwells Nomination Notice contains

 “False Statements and Material Omissions.” This statement in the March 25, 2024 News Release

 was materially false and misleading because the Blackwells Nomination Notice does not contain

 “false statements and material omissions.”

        128.    The March 25 News Release stated that Blackwells has a “Plan” to “Sell the

 Company Below its Intrinsic Value to Blackwells and its Affiliates.” This statement in the March

 25 News Release was materially false and misleading because it incorrectly implied that

 Blackwells’ incentives are misaligned with those of other shareholders, when in reality Blackwells

 has abandoned its intent to acquire the Company and now seeks to unlock value for all shareholders

 by having reform-minded directors elected to the Board.

        129.    The March 25 News Release stated that the Blackwells Nomination Notice “fail[ed]

 to disclose the fund’s true objectives,” which it characterized as “an underhanded attempt to

 effectuate a takeover of the Company without paying an adequate price.” These statements in the

 March 25 News Release were materially false and misleading because, in addition to incorrectly


                                                 33
                                                                                                      APP.187
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                   Page 196 of 276 PageID 1463
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24               Page 34 of 85 PageID 34



 implying that Blackwells’ incentives were misaligned with other shareholders, they impugned the

 character and motivations of Blackwells and Mr. Aintabi without basis.

        130.   The March 25 News Release quoted Mr. Bennett as having said that Blackwells

 “disregarded Braemar’s bylaws,” “mask[ed] its real intentions,” and intended to “wag[e] . . . an

 illegal proxy contest.” These statements in the March 25 News Release were materially false and

 misleading because they wrongly assert that Blackwells has behaved illegally and been untruthful,

 when in fact it is the Company that has disregarded and misapplied its own Bylaws to entrench its

 incumbent directors.

        131.   The March 25 News Release accused Blackwells of “refus[ing] to provide the

 Company with the basic information needed to assess the viability of [Blackwells’] bid” to buy

 the Company. This statement in the March 25 News Release was materially false and misleading

 because it accused Blackwells of withholding information regarding its 2023 Proposed

 Acquisition, when in fact it was the Company that failed to reasonably engage with Blackwells.

        132.   The March 25 News Release stated: “Although its preliminary proxy statement

 filed on March 22, 2024 asserts that Blackwells has ‘withdrawn’ any interest it had in acquiring

 the Company, the facts contradict this.” This statement in the March 25 News Release was

 materially false and misleading because the Company had no legitimate basis for saying that “the

 facts contradict” that Blackwells withdrew its interest in acquiring the Company. Blackwells has

 no current intent to acquire the Company and has said so multiple times.

        133.   Also on March 25, 2024, the Company filed with the SEC a Current Report on

 Form 8-K. That Form 8-K attached the March 25 News Release as Exhibit 99.1.

        134.   The Company’s Form 8-K stated that the Company’s “Board has unanimously

 determined that the Blackwells Nomination Notice is invalid due to numerous deficiencies, most




                                                34
                                                                                                     APP.188
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                      Page 197 of 276 PageID 1464
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                  Page 35 of 85 PageID 35



 notably a failure to disclose the fund’s true objectives, which the Company believes include an

 underhanded attempt to effectuate a takeover of the Company without paying an adequate price.”

        135.    The March 25 News Release was a “communication to security holders under

 circumstances reasonably calculated to result in the procurement, withholding or revocation of a

 proxy.” 17 C.F.R. § 240.14a-1(l)(iii) (defining “solicitation”).

        136.    The Company did not file the March 25 News Release with the SEC as soliciting

 material, in violation of Rule 14a-12, 17 C.F.R. § 240.14a-12(b).

        137.    The March 25 News Release omits required legends, in violation of Rule 14a-12,

 17 C.F.R. § 240.14a-12(b).

                2.      The Company’s March 28, 2024 Definitive Proxy Statement

        138.    On March 28, 2024, the Company filed a definitive proxy statement with the SEC.

        139.    The Company’s decision to file a definitive proxy statement without having first

 filed a preliminary proxy statement violated the Exchange Act. See 17 C.F.R. § 240.14a-6.

        140.    The Company’s March 28, 2024 definitive proxy statement announced that the

 Company will hold its 2024 Annual Meeting on May 15, 2024. Under the Company’s Bylaws and

 Maryland law, the date of the Annual Meeting is set in the Company’s unilateral discretion, subject

 only to the limitation that it must occur at some point in 2024.

                3.      The Company’s April 2, 2024 Preliminary Proxy Statement

        141.    On April 2, 2024, the Company filed a preliminary proxy statement with the SEC.

        142.    The Company’s preliminary proxy statement contains a number of materially false

 and misleading claims, and violates SEC Rules in a variety of respects. The purposes of these

 violations were to (1) obscure the extent of control that Ashford Hospitality and the other Ashford

 Affiliates wield over the Company; (2) conceal the details of Mr. Bennett’s ongoing efforts to use

 The Dallas Express to spread materially false and misleading claims about Blackwells; and (3)


                                                  35
                                                                                                       APP.189
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                     Page 198 of 276 PageID 1465
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                 Page 36 of 85 PageID 36



 continue to impugn the character, motive, and credentials of Blackwells and Mr. Aintabi.

        143.    Although the Company’s preliminary proxy statement does disclose that it is

 required to nominate director candidates hand-picked by Ashford Hospitality, it failed to disclose

 certain information about Ashford Hospitality required by Schedule 14A, and failed to identify

 which directors were selected by Ashford Hospitality.

        144.    And while the preliminary proxy statement revealed that Mr. Bennett is the

 publisher of The Dallas Express, it did not disclose Mr. Bennett’s other titles held at The Dallas

 Express, and failed to provide the additional information required by Schedule 14A with respect

 to Mr. Bennett’s relationship with The Dallas Express.

        145.    The preliminary proxy statement failed to disclose The Dallas Express as a proxy

 participant, despite its frequent publication of what amount to Company press releases slandering

 a party the Company either knew or suspected would soon be filing a solicitation in opposition.

        146.    The preliminary proxy statement also falsely claimed that Blackwells was “acting

 in its own interest” rather than “on behalf of all shareholders” when it sought to buy the Company

 in December 2023. But when Blackwells offered to purchase the Company at a substantial

 premium, the transaction would have benefitted all stockholders.           The Company’s Board

 nonetheless declined to give Blackwells’ Proposed Acquisition the attention it deserved, because

 that acquisition would have ended the profiteering of Mr. Bennett and his loyalists.

        147.    The preliminary proxy statement also falsely stated that it had “substantial

 evidence—including a March 2024 investor presentation . . . —indicating that Blackwells had

 ongoing interest in an acquisition, and that its interest was a motivation for its proxy campaign.”

        148.    But Blackwells informed the Company well before it filed its preliminary proxy

 statement that the March date on the referenced investor presentation was a clerical error, and that




                                                 36
                                                                                                        APP.190
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 199 of 276 PageID 1466
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                Page 37 of 85 PageID 37



 the actual presentation was from December 2023. The Company ignored this information and

 insisted on publishing materially false and misleading claims in its preliminary proxy statement.

        149.    The Company’s preliminary proxy statement impugns Mr. Aintabi’s character

 without foundation by suggesting his purported “lack of candor, reputation in the business

 community, and personal history” contributed to the Board’s rejection of the Blackwells

 Nomination Notice. These statements are materially false and misleading because they could

 influence shareholders into voting against Blackwells nominees based on an incorrect perception

 of Blackwells’ and Mr. Aintabi’s business history.

        I.      Company Initiates Meritless Litigation

        150.    On March 24, 2024, within mere hours of sending its Rejection Letter to

 Blackwells, the Company filed a Complaint against Blackwells and certain Blackwells-related

 entities in this Court (the “Company’s Complaint”). That case, styled Braemar Hotels & Resorts

 Inc. v. Blackwells Capital LLC et al., was docketed as number 3:24-cv-00707 and assigned to the

 Honorable Sam Lindsay.

        151.    The Company’s meritless Complaint is consistent with its past practice of

 leveraging litigation to stop proxy contests involving the Company and/or the Ashford Affiliates.

        152.    The Company’s Complaint seeks (1) to enjoin Blackwells’ solicitation of proxies,

 (2) a declaratory judgment that the Blackwells Nomination Notice violated the Bylaws and that

 Blackwells’ Nominees are therefore invalid, and (3) a declaratory judgment that Blackwells cannot

 “cure” the purported deficiencies in the Blackwells Nomination Notice.

        153.    On March 24, 2024, the Company filed a motion for a preliminary injunction. The

 Court has not yet acted on the Company’s motion.




                                                37
                                                                                                     APP.191
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 200 of 276 PageID 1467
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                Page 38 of 85 PageID 38



                                     CLAIMS FOR RELIEF

    Count 1 (Declaratory Relief): The Blackwells Nomination Notice Is Proper and Valid

        154.    Blackwells incorporates by reference the allegations contained in all of the

 preceding paragraphs as though fully set forth herein.

        155.    There is a real and justiciable controversy between Blackwells and the Defendants

 concerning the validity of the Blackwells Nomination Notice—and, more specifically, on the

 question whether the Defendants properly rejected the Blackwells Nominees and the Blackwells

 Business Proposals.

        156.    The Blackwells Nomination Notice timely provided all information that the

 Company’s Bylaws required Blackwells to provide in connection with its nominations and

 business proposals.

        157.    The Blackwells Nomination Notice did not violate the Bylaws and is not invalid.

        158.    Because the Blackwells Nomination Notice was proper and valid, the Company

 acted wrongfully, and violated its own Bylaws, by rejecting the Blackwells Nominees and the

 Blackwells Business Proposals.

        159.    The Company’s rejection of the Blackwells Nominees and the Blackwells Business

 Proposals was impermissibly inequitable.

        160.    If a declaratory judgment is not provided and the Blackwells Nominees are not

 permitted to stand for election, the rights of Blackwells and the Company’s other stockholders will

 be adversely affected, and Blackwells and the Company’s stockholders will suffer harm.

        161.    Blackwells is entitled to a declaratory judgment that (1) the Blackwells Nomination

 Notice was valid under the Company’s Bylaws, (2) the Blackwells Nominees are eligible to stand

 for election to the Board at the Company’s upcoming 2024 Annual Meeting, and (3) the Blackwells




                                                 38
                                                                                                       APP.192
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 201 of 276 PageID 1468
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                Page 39 of 85 PageID 39



 Business Proposals are eligible to be considered and voted on at the Company’s upcoming 2024

 Annual Meeting.

            Count 2 (Declaratory Relief): The Blackwells Supplement Was Timely

        162.    Blackwells incorporates by reference the allegations contained in all of the

 preceding paragraphs as though fully set forth herein.

        163.    The four corners of the Blackwells Nomination Notice provided all information

 required by the Bylaws, and the Blackwells Nomination Notice should not have been rejected.

        164.    In the spirit of full disclosure, Blackwells sent the Blackwells Supplement to the

 Company two days after receiving the Company’s Rejection Letter. The Blackwells Supplement

 provided information concerning the December 2023 Slide Deck and Ms. McCoy’s bankruptcy.

        165.    To the extent that the information in Ms. McCoy’s initial Questionnaire might be

 construed as having been incomplete or inaccurate, the Blackwells Supplement fully corrected and

 cured any conceivable omission or inaccuracy.

        166.    To the extent that any information in the December 2023 Slide Deck might be

 construed as suggesting that Blackwells had an intent to acquire the Company as of March 2024,

 the Blackwells Supplement re-confirmed that no such intent existed at that time.

        167.    The Blackwells Supplement was timely under Article I, Section 11(c)(1) of the

 Bylaws because it was sent “within two Business Days” of the Company’s Rejection Letter.

        168.    By letter of April 4, 2024, the Company purported to “reject[] and disregard[]” the

 Blackwells Supplement because the Blackwells Supplement was supposedly untimely.

        169.    There is a real and justiciable controversy between Blackwells and the Defendants

 concerning the timeliness of the Blackwells Supplement.

        170.    Because the Blackwells Supplement was timely, the Company acted wrongfully,

 and breached its Bylaws, by rejecting the Blackwells Supplement as untimely.


                                                 39
                                                                                                      APP.193
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                   Page 202 of 276 PageID 1469
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24                Page 40 of 85 PageID 40



        171.    The Company’s decision to “reject[]” the Blackwells Supplement as untimely was

 impermissibly inequitable.

        172.    If a declaratory judgment is not provided and the Blackwells Supplement is not

 determined to be timely, the rights of Blackwells and the Company’s other stockholders will be

 adversely affected, and Blackwells and the Company’s stockholders will suffer harm.

        173.    Blackwells is entitled to a declaratory judgment that the Blackwells Supplement is

 timely and cured any conceivable omission or misstatement contained in the Blackwells

 Nomination Notice.

                                  Count 3: Breach of Contract

        174.    Blackwells incorporates by reference the allegations contained in all of the

 preceding paragraphs as though fully set forth herein.

        175.    Under Maryland law, the Companies’ Bylaws are a contract between the Company

 and its shareholders.

        176.    By purporting to reject the Blackwells Nominees and Blackwells Business

 Proposals based on spurious claims that the Blackwells Nomination Notice did not comply with

 the Bylaws, the Company violated its own Bylaws, and in so doing breached obligations owed to

 Blackwells and other stockholders under the Company’s Bylaws.

        177.    By purporting to reject the Blackwells Supplement as untimely, the Company

 violated its own Bylaws, and in so doing breached obligations owed to Blackwells and other

 stockholders under the Company’s Bylaws.

        178.    Blackwells has suffered damages as a result of the Company’s breaches.

 Blackwells’ damages exceed $75,000 and will be proven with particularity at trial.




                                                40
                                                                                                     APP.194
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                      Page 203 of 276 PageID 1470
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                  Page 41 of 85 PageID 41



           Count 4 (Declaratory Relief): The 2024 Bylaw Amendments Violate
       Maryland Code (Corporations and Associations) § 2-404 and Are Null and Void

        179.    Blackwells incorporates by reference the allegations contained in all of the

 preceding paragraphs as though fully set forth herein.

        180.    Count 1 of this Complaint seeks a declaration that Blackwells’ nominations were

 valid under the Bylaws. In the event that the Court determines that the Blackwells nominations

 were invalid under the Bylaws, Count 4 seeks, in the alternative, a declaration that the relevant

 Bylaws are null and void, and therefore cannot be enforced against Blackwells.

        181.    Section 2-404(b)(1) of the Maryland Corporations and Associations Code provides

 that, “at each annual meeting of stockholders, the stockholders shall elect directors to hold office.”

        182.    Under Section 2-404(b)(1) of the Maryland Corporations and Associations Code,

 shareholders are entitled to nominate and vote for directors of their choice.           The right of

 stockholders to elect directors is the cornerstone of American corporate law.

        183.    Defendants advance an interpretation of the Company’s Bylaws which would

 violate Blackwells’ rights as stockholder to nominate candidates for election to the Company’s

 Board, and to have an election on those nominations take place at the 2024 Annual Meeting.

        184.    Under Defendants’ application of the Bylaws, Blackwells would face onerous

 disclosure burdens that serve no legitimate business purpose and would create unreasonable

 obstacles to Blackwells’ lawful exercise of its shareholder nomination and voting rights.

        185.    The amended Bylaws include language that is impermissibly vague and ambiguous,

 including but not limited to the use of the undefined term “engaged in activities.”

        186.    If the Defendants’ interpretation of the 2024 Bylaw Amendments is correct, then

 the 2024 Bylaw Amendments violate Section 2-404(b)(1) of the Maryland Corporations and

 Associations Code.



                                                  41
                                                                                                          APP.195
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                     Page 204 of 276 PageID 1471
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                 Page 42 of 85 PageID 42



        187.     There is a real and justiciable controversy between Blackwells and the Defendants

 concerning the validity of the 2024 Bylaw Amendments under Maryland law.

        188.     Blackwells is entitled to a declaratory judgment that the 2024 Bylaw Amendments

 violate the Maryland Corporations and Associations Code and thus cannot be enforced by the

 Company.

                Count 5: Defendants Breached their Common Law, Fiduciary, and
               Statutory Duties to Enact Bylaws Containing Fair Voting Procedures

        189.     Blackwells incorporates by reference the allegations contained in all of the

 preceding paragraphs as though fully set forth herein.

        190.     Count 1 of this Complaint seeks a declaration that Blackwells’ nominations were

 valid under the Bylaws. In the event that the Court determines that the Blackwells nominations

 were invalid under the Bylaws, Count 5 seeks, in the alternative, a ruling that the Company and its

 directors breached their common law, fiduciary, and statutory duties when enacting the relevant

 Bylaws, and that the Bylaws therefore cannot be enforced against Blackwells.

        191.     Under Maryland law, a company and its directors cannot enact bylaws for the

 purpose of entrenching the current management of the company. Maryland law is especially

 skeptical of bylaws that were not adopted on the proverbial “clear day” and were instead adopted

 in direct response to a proxy contest.

        192.     Defendants adopted the 2024 Bylaw Amendments in direct response to Blackwells’

 anticipated proxy contest, and for the purpose of entrenching the current directors.

        193.     Defendants failed to enact Bylaws that provide fair and reasonable voting

 procedures, and in so doing they breached their common law, fiduciary, and statutory duties under

 Maryland law.




                                                 42
                                                                                                       APP.196
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                     Page 205 of 276 PageID 1472
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                 Page 43 of 85 PageID 43



        194.     Moreover, Defendants have prejudicially interpreted the Bylaws in the most

 restrictive way possible, for the sole purpose of excluding Blackwells’ duly nominated director

 candidates from election to the Company’s Board. Under Defendants’ interpretation, the Bylaws

 violate shareholders’ nomination and voting rights and are therefore illegal. Insofar as the Bylaws

 can be read in a manner that would support Defendants’ interpretation, the Bylaws allow for an

 impermissible degree of discretion in Board decisionmaking, which Defendants then exercised

 against Blackwells’ shareholder rights, in violation of Defendants’ common law, fiduciary, and

 statutory duties.

        195.     The Company’s Bylaws are null and void and cannot be applied to “reject”

 Blackwells’ nominations of candidates to the Company’s Board.

                  Count 6 (Violation of Section 14(a) of the Exchange Act and
               SEC Rule 14a-12): Unlawful Solicitation — March 25 News Release

        196.     Blackwells incorporates by reference the allegations contained in all of the

 preceding paragraphs as though fully set forth herein.

        197.     Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a), prohibits soliciting proxies

 in violation of SEC rules.

        198.     Rule 14a-12(a) requires all solicitations “made before furnishing security holders

 with a proxy statement” to identify “the participants in the solicitation” and carry a “prominent

 legend in clear, plain language advising security holders to read the proxy statement when it is

 available.”

        199.     Rule 14a-12(a) requires all solicitations “made before furnishing security holders

 with a proxy statement” to be filed with the SEC “no later than the date the material is first

 published.” Such material “must include a cover page in the form set forth in Schedule 14A . . .

 and the appropriate box on the cover page must be marked.”



                                                 43
                                                                                                       APP.197
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                      Page 206 of 276 PageID 1473
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                  Page 44 of 85 PageID 44



           200.   Rule 14a-12(c) applies to solicitations “by any person or group of persons for the

 purpose of opposing a solicitation,” and subjects such solicitations to additional requirements.

           201.   On March 25, 2024, the Company issued a “News Release” containing numerous

 materially false and misleading statements regarding Blackwells. See supra ¶¶ 127–134.

           202.   Rather than file the March 25 News Release as soliciting material using the cover

 page required by Schedule 14A, the Company sought to disguise its press release as an 8-K Current

 Report.

           203.   The March 25 News Release is an improper filing and is confusing to shareholders

 seeking to gain information about the ongoing proxy contest.

           204.   The Company further violated Rule 14a-12(a) by failing to include the legends

 required by that Rule and thereby depriving stockholders of relevant information.

           205.   The March 25 News Release violates Section 14(a) of the Exchange Act and Rule

 14a-12. Defendants should immediately provide complete and accurate corrective disclosures by

 filing such disclosures with the SEC.

                Count 7 (Violation of Section 14(a) of the Exchange Act and SEC
            Rule 14a-9): False and Misleading Statements — March 25 News Release

           206.   Blackwells incorporates by reference the allegations contained in all of the

 preceding paragraphs as though fully set forth herein.

           207.   Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a), prohibits soliciting proxies

 in violation of SEC rules.

           208.   Rule 14a-9 prohibits making a solicitation “by means of any . . . communication,

 written or oral, containing any statement which, at the time and in the light of the circumstances

 under which it is made, is false or misleading with respect to any material fact, or which omits to

 state any material fact necessary in order to make the statements therein not false or misleading.”



                                                  44
                                                                                                        APP.198
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 207 of 276 PageID 1474
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                Page 45 of 85 PageID 45



        209.    On March 25, 2024, the Company issued a News Release containing numerous

 materially false and misleading statements regarding Blackwells. These materially false and

 misleading statements are detailed in paragraphs 127 to 134 above.

        210.    The false statements in the March 25 News Release violate Rule 14a-9 because they

 are false, misleading, and material to stockholders’ consideration of the ongoing proxy contest

 between Blackwells and the Company. The misstatements in the March 25 News Release were

 calculated by the Company to give shareholders the false impression that Blackwells still harbored

 an intent to purchase the Company and that Blackwells’ incentives were therefore misaligned with

 other shareholders. This is not true. Blackwells had abandoned its intent to acquire the Company

 by March 2024, as the Board well knows.

        211.    Defendants consequently violated Section 14(a) of the Exchange Act and Rule 14a-

 9. Defendants should immediately provide complete and accurate corrective disclosures by filing

 such disclosures with the SEC.

              Count 8 (Violation of Section 14(a) of the Exchange Act and SEC
         Rules 14a-9 and 14a-12): Unlawful Solicitation Through The Dallas Express

        212.    Blackwells incorporates by reference the allegations contained in all of the

 preceding paragraphs as though fully set forth herein.

        213.    Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a), prohibits soliciting proxies

 in violation of SEC rules.

        214.    Under Rule 14a-1, “solicitation” includes “communication to security holders

 under circumstances reasonably calculated to result in the procurement, withholding or revocation

 of a proxy.”

        215.    Rule 14a-12(a) requires all solicitations “made before furnishing security holders

 with a proxy statement” to identify “the participants in the solicitation” and carry a “prominent



                                                45
                                                                                                      APP.199
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                     Page 208 of 276 PageID 1475
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                 Page 46 of 85 PageID 46



 legend in clear, plain language advising security holders to read the proxy statement when it is

 available.”

        216.    Rule 14a-12(a) requires all solicitations “made before furnishing security holders

 with a proxy statement” to be filed with the SEC “no later than the date the material is first

 published.” Such material “must include a cover page in the form set forth in Schedule 14A . . .

 and the appropriate box on the cover page must be marked.”

        217.    Rule 14a-12(c) applies to solicitations “by any person or group of persons for the

 purpose of opposing a solicitation,” and subjects such solicitations to additional requirements.

        218.    Rule 14a-9 prohibits making a solicitation “by means of any . . . communication,

 written or oral, containing any statement which, at the time and in the light of the circumstances

 under which it is made, is false or misleading with respect to any material fact, or which omits to

 state any material fact necessary in order to make the statements therein not false or misleading.”

        219.    As described in paragraphs 89 to 109 above, The Dallas Express published several

 articles between November 2023 and January 2024 which were clearly intended to disparage

 Blackwells and Mr. Aintabi in anticipation of an expected proxy contest.

        220.    At that time, the Company, Mr. Bennett, Ashford Inc., and The Dallas Express were

 all aware that Blackwells was likely to launch a proxy contest against the Company.

        221.    The Dallas Express is an undisclosed participant in a proxy contest because it has

 engaged in solicitation of Company shareholders by publishing articles “reasonably calculated” to

 influence shareholder voting in an anticipated proxy contest between Blackwells and the

 Company.

        222.    The articles published in The Dallas Express violate Rule 14a-12(a) by failing to

 include the required legend or identify the participants in Defendants’ proxy solicitation.




                                                 46
                                                                                                       APP.200
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                      Page 209 of 276 PageID 1476
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                  Page 47 of 85 PageID 47



        223.     The articles published in The Dallas Express violate Rule 14a-12(b) because they

 were not filed with the SEC as soliciting materials on the day they were published.

        224.     The articles published in The Dallas Express violate Rule 14a-9 because failing to

 include the information required by Rule 14a-12 renders the statements materially false and

 misleading. As presented, a shareholder reading The Dallas Express articles could conclude that

 the articles present the neutral point of view of a disinterested and professional news organization,

 when, in fact, The Dallas Express serves as a mouthpiece for Mr. Bennett and the Company.

        225.     Defendants consequently violated Section 14(a) of the Exchange Act and Rules

 14a-9 and 14a-12. Defendants should immediately provide complete and accurate corrective

 disclosures by filing such disclosures with the SEC.

                Count 9 (Violation of Section 14(a) of the Exchange Act and SEC
               Rule 14a-9): False and Misleading Statements by The Dallas Express

        226.     Blackwells incorporates by reference the allegations contained in all of the

 preceding paragraphs as though fully set forth herein.

        227.     Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a), prohibits soliciting proxies

 in violation of SEC rules.

        228.     Rule 14a-9 prohibits making a solicitation “by means of any . . . communication,

 written or oral, containing any statement which, at the time and in the light of the circumstances

 under which it is made, is false or misleading with respect to any material fact, or which omits to

 state any material fact necessary in order to make the statements therein not false or misleading.”

        229.     The Note to Rule 14a-9 further advises that, depending on the circumstances,

 among other things, “[m]aterial which directly or indirectly impugns character, integrity or

 personal reputation, or directly or indirectly makes charges concerning improper, illegal or




                                                  47
                                                                                                         APP.201
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 210 of 276 PageID 1477
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                Page 48 of 85 PageID 48



 immoral conduct or association, without factual foundation” can be “misleading” for purposes of

 Rule 14a-9.

        230.    As detailed in paragraphs 89 to 109 above, numerous statements in The Dallas

 Express articles published between November 2023 and January 2024 contained materially false

 and misleading information.

        231.    Defendants consequently violated Section 14(a) of the Exchange Act and Rule 14a-

 9. Defendants should immediately provide complete and accurate corrective disclosures by filing

 such disclosures with the SEC.

  Count 10 (Violation of Section 14(a) of the Exchange Act and SEC Rules 14a-3 and 14a-9):
       False and Misleading Statements — Company’s Preliminary Proxy Statement

        232.    Blackwells incorporates by reference the allegations contained in all of the

 preceding paragraphs as though fully set forth herein.

        233.    Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a), prohibits soliciting proxies

 in violation of SEC rules.

        234.    Rule 14a-3 requires that each person solicited shall be furnished with a “publicly-

 filed preliminary or definitive proxy statement” containing the information specified in Schedule

 14A.

        235.    The Company violated Rule 14a-3 by failing to include all information required in

 Schedule 14A in its preliminary proxy statement.

        236.    Schedule 14A Item 5(b)(1) instructs proxy statement filers in contested elections to

 disclose certain information about “each participant” in a proxy contest, including the identity of

 all participants. A “participant” is defined in Instruction 3 to Item 4 of Schedule 14A to include

 “any person who solicits proxies.” And per Rule 14a-1, “solicitation” includes “communication




                                                 48
                                                                                                       APP.202
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                     Page 211 of 276 PageID 1478
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                 Page 49 of 85 PageID 49



 to security holders under circumstances reasonably calculated to result in the procurement,

 withholding or revocation of a proxy.”

        237.    As described in paragraphs 81 to 109 above, The Dallas Express has acted as an

 undisclosed participant in this proxy contest. The Company violated Rule 14a-3 by omitting to

 disclose The Dallas Express as a participant in the proxy contest, materially misrepresenting the

 identity of the proxy participants, and failing to include in its preliminary proxy statement all of

 the information about The Dallas Express that is called for in Item 5(b)(1) of Regulation 14A.

        238.    Schedule 14A Item 5(b)(2) requires the disclosure of “any substantial interest,

 direct or indirect, by security holdings or otherwise” for “any person, other than a director or

 executive officer of the registrant acting solely in that capacity, who is a party to an arrangement

 or understanding pursuant to which a nominee for election as director is proposed to be elected.”

 For each such person, Item 5(b)(2) also requires the disclosure of certain additional information

 outlined in Item 5(b)(1)(xi) and (xii).

        239.    The Company’s preliminary proxy statement also materially misstates the

 Company’s relationship with Ashford Hospitality. The preliminary proxy disclosed that the

 Company is required to nominate directors designated by Ashford Hospitality, but failed to

 describe any substantial interest of Ashford Hospitality to be acted on at the Annual Meeting and

 failed to include the information about Ashford Hospitality called for in Schedule 14A, Item

 5(b)(1)(xi) and (xii). These material misstatements constitute violations of Rule 14a-3.

        240.    Schedule 14A Item 7(b) requires disclosure of, among other things, the information

 required by Item 401(e)(1) of Regulation S-K, which includes “the business experience during the

 past five years of each director, executive officer, person nominated or chosen to become a director

 or executive officer.”




                                                 49
                                                                                                        APP.203
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                     Page 212 of 276 PageID 1479
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                 Page 50 of 85 PageID 50



        241.    In the section titled “Background of the Solicitation,” the preliminary proxy

 statement revealed that Mr. Bennett is the publisher of The Dallas Express, but materially

 misstated Mr. Bennett’s other titles held at The Dallas Express, failed to provide the additional

 information required by Item 401(e)(1) with respect to Mr. Bennett’s time at The Dallas Express,

 and failed to disclose Mr. Bennett’s role in his biography. These material misstatements violate

 Rule 14a-3.

        242.    Rule 14a-9 prohibits making a solicitation “by means of any . . . communication,

 written or oral, containing any statement which, at the time and in the light of the circumstances

 under which it is made, is false or misleading with respect to any material fact, or which omits to

 state any material fact necessary in order to make the statements therein not false or misleading.”

        243.    The Note to Rule 14a-9 further advises that, depending on the circumstances,

 among other things, “[m]aterial which directly or indirectly impugns character, integrity or

 personal reputation, or directly or indirectly makes charges concerning improper, illegal or

 immoral conduct or association, without factual foundation” can be “misleading” for purposes of

 Rule 14a-9.

        244.    The Company’s preliminary proxy violates Rule 14a-9 by including numerous

 materially false and misleading statements.

        245.    On page 8 of its preliminary proxy statement, the Company falsely stated that it had

 “substantial evidence—including a March 2024 investor presentation . . . —indicating that

 Blackwells had ongoing interest in an acquisition, and that its interest was a motivation for its

 proxy campaign.” But Blackwells informed the Company on March 26, 2024 that the March 2024

 date on the referenced investor presentation was a clerical error, and that the slide deck was

 actually prepared in December 2023. The Company ignored this information and insisted on




                                                 50
                                                                                                       APP.204
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                    Page 213 of 276 PageID 1480
   Case 3:24-cv-00894-N Document 1 Filed 04/11/24                 Page 51 of 85 PageID 51



 publishing fiction in its preliminary proxy statement. The Company’s statements about the

 December 2023 Slide Deck are materially false and misleading because they intentionally

 disregard the facts presented to the Company by Blackwells and persist in misconstruing

 Blackwells motives in the proxy contest. These misstatements are calculated by the Company to

 cause shareholders to believe that Blackwells’ incentives are misaligned with other shareholders,

 when in fact Blackwells’ goal is to unlock value for all shareholders.

        246.    Also on page 8 of its preliminary proxy statement, the Company impugns, without

 foundation, Mr. Aintabi’s character by suggesting his purported “lack of candor, reputation in the

 business community, and personal history” contributed to the Board’s rejection of the Blackwells

 Nomination Notice. These statements are materially false and misleading because they are

 spurious and unfounded, and are clearly calculated to influence shareholder opinion of Blackwells

 and Mr. Aintabi.

        247.    On page 10 of its preliminary proxy statement, the Company omits key facts, thus

 rendering its statements materially false and misleading. The Company states that its “Nominating

 and Corporate Governance Committee” recommended eight candidates for election as directors.

 Later in the preliminary proxy statement, the Company reveals that Ashford Hospitality controls

 the nomination of two directors. The preliminary proxy materially misstates the nomination

 process for these candidates by failing to include the names of the candidates nominated by

 Ashford Hospitality. This material misstatement renders all statements by the Company about its

 nomination of director candidates misleading. As written, the preliminary proxy statement gives

 the impression that a Board committee was responsible for all nominations. But in reality, Ashford

 Hospitality, which profits handsomely from maintaining its grip on the Company, is directly

 responsible for two nominations.




                                                 51
                                                                                                      APP.205
Case 3:24-cv-00707-L Document 38 Filed 04/15/24                     Page 214 of 276 PageID 1481
    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                 Page 52 of 85 PageID 52



        248.    Defendants consequently violated Section 14(a) of the Exchange Act and Rules

 14a-3 and 14a-9. Defendants should immediately provide complete and accurate corrective

 disclosures by filing such disclosures with the SEC.

                                         JURY DEMAND

        Blackwells demands a trial by jury on all issues triable as such.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Blackwells Capital LLC respectfully requests that the Court

 enter each of the following forms of relief:

                a.      Granting the forms of declaratory relief set forth above;

                b.      Enjoining the Company from continuing to obstruct Blackwells from

        nominating candidates to the Company’s Board of directors;

                c.      Ordering that the Company must count votes cast in favor of the Blackwells

        Nominees at the Annual Meeting;

                d.      Ordering that the Company publicly correct the material misstatements and

        omissions outlined above, including by filing with the SEC complete and accurate

        disclosures required by Section 14(a) of the Exchange Act and the SEC Rules;

                e.      Enjoining the Company from soliciting proxies until such corrective

        disclosures are issued;

                f.      Awarding Blackwells money damages in an amount to be proven at trial;

                g.      An award of the attorneys’ fees, costs, and expenses that Blackwells has or

        will incur in connection with this action; and

                h.      Such other relief as is just and proper.




                                                  52
                                                                                                      APP.206
Case 3:24-cv-00707-L Document 38 Filed 04/15/24      Page 215 of 276 PageID 1482
       Case 3:24-cv-00894-N Document 1 Filed 04/11/24 Page 53 of 85 PageID 53



    Date: April 11, 2024               Respectfully submitted,

                                       /s/ Robert Ritchie

                                       Robert Ritchie
                                        Texas Bar No. 24079213
                                       K. Virginia Burke DeBeer
                                        Texas Bar No. 24097437
                                       VINSON & ELKINS LLP
                                       2001 Ross Avenue, Suite 3900
                                       Dallas, Texas 75201
                                       Phone: (214) 220-7823
                                       Email: rritchie@velaw.com
                                       Email: vdebeer@velaw.com

                                       Counsel for Plaintiff




                                        53
                                                                               APP.207
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24    Page 216 of 276   PageID 1483




  Case 3:24-cv-00894-N Document 1 Filed 04/11/24      Page 54 of 85 PageID 54




                       Exhibit A
 Fifth Amended and Restated Bylaws of Braemar Hotels & Resorts Inc.




                                                                                   APP.208
Case 3:24-cv-00707-L   Document 38      Filed 04/15/24       Page 217 of 276   PageID 1484




    Case 3:24-cv-00894-N Document 1 Filed 04/11/24            Page 55 of 85 PageID 55
                                                                                EXHIBIT 3.2




                           BRAEMAR HOTELS & RESORTS INC.


                        FIFTH AMENDED AND RESTATED BYLAWS

                                     February 27, 2024

                                      as amended by
                           Amendment No. 1 on February 27, 2024




                                                                                        APP.209
Case 3:24-cv-00707-L               Document 38             Filed 04/15/24             Page 218 of 276              PageID 1485




       Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                  Page 56 of 85 PageID 56




                                           BRAEMAR HOTELS & RESORTS INC.

                                       FIFTH AMENDED AND RESTATED BYLAWS

                                                          ARTICLE I
                                                       STOCKHOLDERS

                Section 1. Place. All meetings of stockholders shall be held at the principal executive office of Braemar Hotels &
Resorts Inc. (the “Corporation”) or at such other place as shall be set by the Board of Directors (the “Board”) in accordance with
these Bylaws and stated in the notice of the meeting.

              Section 2. Annual Meeting. An annual meeting of stockholders for the election of directors and the transaction of
any business within the powers of the Corporation shall be held on the date and at the time and place set by the Board of
Directors.

               Section 3. Special Meetings.

                        (a) General. Each of the Chairman of the Board, Chief Executive Officer and Board of Directors may call
       a special meeting of stockholders. Except as provided in subsection (b)(4) of this Section 3, a special meeting of
       stockholders shall be held on the date and at the time and place set by the Chairman of the Board, Chief Executive Officer
       or Board of Directors, whoever has called the meeting. Subject to subsection (b) of this Section 3, a special meeting of
       stockholders shall also be called by the secretary of the Corporation to act on any matter that may properly be considered
       at a meeting of stockholders upon the written request of stockholders entitled to cast not less than a majority of all the
       votes entitled to be cast on such matter at such meeting.
                       (b) Stockholder-Requested Special Meetings.

                                (1) Any stockholder of record seeking to have stockholders request a special meeting shall, by
                       sending written notice to the secretary (the “Record Date Request Notice”) by registered mail, return
                       receipt requested, request the Board of Directors to fix a record date to determine the stockholders
                       entitled to request a special meeting (the “Request Record Date”). The Record Date Request Notice shall
                       set forth the purpose of the meeting and the matters proposed to be acted on at it, shall be signed by one
                       or more stockholders of record as of the date of signature (or their agents duly authorized in a writing
                       accompanying the Record Date Request Notice), shall bear the date of signature of each such stockholder
                       (or such agent) and shall set forth all information relating to each such stockholder and each matter
                       proposed to be acted on at the meeting that would be required to be disclosed in connection with the
                       solicitation of proxies for the election of directors in an election contest (even if an election contest is not
                       involved), or would otherwise be required in connection with such a solicitation, in each case pursuant to
                       Regulation 14A (or any successor provision) under the Securities Exchange Act of 1934, as amended, and
                       the rules and regulations promulgated thereunder (the “Exchange Act”). Upon receiving the Record Date
                       Request Notice, the Board of Directors may fix a Request Record Date. The Request Record Date shall
                       not precede and shall not be more than ten days after the close of business on the date on which the
                       resolution fixing the Request Record Date is adopted by the Board of Directors. If the Board of




                                                                                                                                  APP.210
Case 3:24-cv-00707-L      Document 38             Filed 04/15/24            Page 219 of 276              PageID 1486




    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                           Page 57 of 85 PageID 57




              Directors, within ten days after the date on which a valid Record Date Request Notice is received, fails to
              adopt a resolution fixing the Request Record Date, the Request Record Date shall be the close of business
              on the tenth day after the first date on which a Record Date Request Notice is received by the secretary.

                       (2) In order for any stockholder to request a special meeting to act on any matter that may
              properly be considered at a meeting of stockholders, one or more written requests for a special meeting
              (collectively, the “Special Meeting Request”) signed by stockholders of record (or their agents duly
              authorized in a writing accompanying the request) as of the Request Record Date entitled to cast not less
              than a majority of all of the votes entitled to be cast on such matter at such meeting (the “Special Meeting
              Percentage”) shall be delivered to the secretary. In addition, the Special Meeting Request shall (a) set forth
              the purpose of the meeting and the matters proposed to be acted on at it (which shall be limited to those
              lawful matters set forth in the Record Date Request Notice received by the secretary), (b) bear the date of
              signature of each such stockholder (or such agent) signing the Special Meeting Request, (c) set forth (i) the
              name and address, as they appear in the Corporation’s books, of each stockholder signing such request
              (or on whose behalf the Special Meeting Request is signed), (ii) the class, series and number of all shares
              of stock of the Corporation which are owned (beneficially or of record) by each such stockholder and (iii)
              the nominee holder for, and number of, shares of stock of the Corporation owned beneficially but not of
              record by such stockholder, (d) be sent to the secretary by registered mail, return receipt requested, and
              (e) be received by the secretary within 30 days after the Request Record Date. Any requesting
              stockholder (or agent duly authorized in a writing accompanying the revocation of the Special Meeting
              Request) may revoke his, her or its request for a special meeting at any time by written revocation
              delivered to the secretary.

                      (3) The secretary shall inform the requesting stockholders of the reasonably estimated cost of
              preparing and mailing or delivering the notice of the meeting (including the Corporation’s proxy materials).
              The secretary shall not be required to call a special meeting upon stockholder request and such meeting
              shall not be held unless, in addition to the documents required by paragraph (2) of this Section 3(b), the
              secretary receives payment of such reasonably estimated cost prior to the preparation and mailing or
              delivery of such notice of the meeting.

                        (4) In the case of any special meeting called by the secretary upon the request of stockholders (a
              “Stockholder-Requested Meeting”), such meeting shall be held at such place, date and time as may be
              designated by the Board of Directors; provided, however, that the date of any Stockholder-Requested
              Meeting shall be not more than 90 days after the record date for such meeting (the “Meeting Record
              Date”); and provided further that if the Board of Directors fails to designate, within ten days after the date
              that a valid Special Meeting Request is actually received by the secretary (the “Delivery Date”), a date and
              time for a Stockholder-Requested Meeting, then such meeting shall be held at 2:00 p.m., local time, on the
              90th day after the Meeting Record Date or, if such 90th day is not a Business Day (as defined below), on
              the first preceding




                                                      -2-




                                                                                                                        APP.211
Case 3:24-cv-00707-L      Document 38             Filed 04/15/24            Page 220 of 276             PageID 1487




    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                          Page 58 of 85 PageID 58




              Business Day; and provided further that in the event that the Board of Directors fails to designate a place
              for a Stockholder-Requested Meeting within ten days after the Delivery Date, then such meeting shall be
              held at the principal executive office of the Corporation. In fixing a date for a Stockholder‑Requested
              Meeting, the Board of Directors may consider such factors as it deems relevant, including, without
              limitation, the nature of the matters to be considered, the facts and circumstances surrounding any request
              for the meeting and any plan of the Board of Directors to call an annual meeting or a special meeting. In the
              case of any Stockholder-Requested Meeting, if the Board of Directors fails to fix a Meeting Record Date
              that is a date within 30 days after the Delivery Date, then the close of business on the 30th day after the
              Delivery Date shall be the Meeting Record Date. The Board of Directors may revoke the notice for any
              Stockholder‑Requested Meeting in the event that the requesting stockholders fail to comply with the
              provisions of paragraph (3) of this Section 3(b).
                       (5) If written revocations of the Special Meeting Request have been delivered to the secretary and
              the result is that stockholders of record (or their agents duly authorized in writing), as of the Request
              Record Date, entitled to cast less than the Special Meeting Percentage have delivered, and not revoked,
              requests for a special meeting on the matter to the secretary: (i) if the notice of meeting has not already
              been delivered, the secretary shall refrain from delivering the notice of the meeting and send to all
              requesting stockholders who have not revoked such requests written notice of any revocation of a request
              for a special meeting on the matter, or (ii) if the notice of meeting has been delivered and if the secretary
              first sends to all requesting stockholders who have not revoked requests for a special meeting on the
              matter written notice of any revocation of a request for the special meeting and written notice of the
              Corporation’s intention to revoke the notice of the meeting or for the chairman of the meeting to adjourn
              the meeting without action on the matter, (A) the secretary may revoke the notice of the meeting at any
              time before ten days before the commencement of the meeting or (B) the chairman of the meeting may call
              the meeting to order and adjourn the meeting without acting on the matter. Any request for a special
              meeting received after a revocation by the secretary of a notice of a meeting shall be considered a request
              for a new special meeting.

                       (6) The Chairman of the Board, Chief Executive Officer or Board of Directors may appoint
              regionally or nationally recognized independent inspectors of elections to act as the agent of the
              Corporation for the purpose of promptly performing a ministerial review of the validity of any purported
              Special Meeting Request received by the secretary. For the purpose of permitting the inspectors to
              perform such review, no such purported Special Meeting Request shall be deemed to have been received
              by the secretary until the earlier of (i) five Business Days after actual receipt by the secretary of such
              purported request and (ii) such date as the independent inspectors certify to the Corporation that the valid
              requests received by the secretary represent, as of the Request Record Date, stockholders of record
              entitled to cast not less than the Special Meeting Percentage. Nothing contained in this paragraph (6) shall
              in any way be construed to suggest or imply that the Corporation or any stockholder shall not be entitled
              to contest the validity of any request, whether during or




                                                      -3-




                                                                                                                       APP.212
Case 3:24-cv-00707-L                 Document 38             Filed 04/15/24            Page 221 of 276             PageID 1488




        Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                  Page 59 of 85 PageID 59




                        after such five Business Day period, or to take any other action (including, without limitation, the
                        commencement, prosecution or defense of any litigation with respect thereto, and the seeking of injunctive
                        relief in such litigation).

                               (7) For purposes of these Bylaws, “Business Day” shall mean any day other than a Saturday, a
                        Sunday or a day on which banking institutions in the State of New York are authorized or obligated by law
                        or executive order to close.

                Section 4. Notice. A written notice of all annual meetings of stockholders stating the hour, date and place of such
annual meetings and, to the extent required by the Maryland General Corporation Law, the purpose for which the meeting has
been called shall be given by the Secretary or an Assistant Secretary (or other person authorized by these Bylaws or by law) not
less than 10 days nor more than 90 days before the meeting, unless any provisions of the Maryland General Corporation Law
prescribe a different period of notice, to each stockholder entitled to vote at such meeting or to each stockholder who, under the
Corporation’s charter, as amended from time to time (the “Charter”) or under these Bylaws, is entitled to such notice, by delivering
such notice, by mailing it, postage prepaid, addressed to such stockholder at the address of such stockholder as it appears on the
Corporation’s stock transfer books, by electronic transmission or by any other means permitted by Maryland law. If mailed, such
notice shall be deemed to be given when deposited in the United States mail addressed to the stockholder at the stockholder’s
address as it appears on the records of the Corporation, with postage thereon prepaid. If transmitted electronically, such notice
shall be deemed to be given when transmitted to the stockholder by an electronic transmission to any address or number of the
stockholder at which the stockholder receives electronic transmissions. The Corporation may give a single notice to all
stockholders who share an address, which single notice shall be effective as to any stockholder at such address, unless such
stockholder objects to receiving such single notice or revokes a prior consent to receiving such single notice. Failure to give notice
of any meeting to one or more stockholders, or any irregularity in such notice, shall not affect the validity of any meeting fixed in
accordance with this Article I or the validity of any proceedings at any such meeting.

                 Subject to Section 11(a) of this Article I, any business of the Corporation may be transacted at an annual meeting
of stockholders without being specifically designated in the notice, except such business as is required by any statute to be stated in
such notice. No business shall be transacted at a special meeting of stockholders except as specifically designated in the notice.
The Corporation may postpone or cancel a meeting of stockholders by making a public announcement (as defined in Section 11(c)
(3) of this Article I) of such postponement or cancellation prior to the meeting. Notice of the date, time and place to which the
meeting is postponed shall be given not less than ten days prior to such date and otherwise in the manner set forth in this section.
                 Section 5. Organization and Conduct. Every meeting of stockholders shall be conducted by the Chairman of the
Board or, in the case of a vacancy in the office or absence of the Chairman of the Board, by one of the following officers present at
the meeting in the following order: the Vice Chairman of the Board, if there is one, the Chief Executive Officer, the President, the
Vice Presidents in their order of rank and seniority, the Secretary, or, in the absence of such officers, a chairman chosen by the
stockholders by the vote of a majority of the votes cast by stockholders present in person or by proxy. The Secretary, or, in the
Secretary’s absence, an Assistant Secretary, or, in the absence of both the Secretary and Assistant Secretaries, an individual
appointed by the Board of Directors or, in the absence of such appointment, an individual appointed by the chairman of the
meeting shall act as secretary. In the event that the Secretary presides at a meeting of stockholders, an Assistant Secretary, or, in
the




                                                                 -4-




                                                                                                                                   APP.213
Case 3:24-cv-00707-L                Document 38             Filed 04/15/24            Page 222 of 276             PageID 1489




       Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                  Page 60 of 85 PageID 60




absence of all Assistant Secretaries, an individual appointed by the Board of Directors or the chairman of the meeting, shall record
the minutes of the meeting. The order of business and all other matters of procedure at any meeting of stockholders shall be
determined by the chairman of the meeting. The chairman of the meeting may prescribe such rules, regulations and procedures and
take such action as, in the discretion of the chairman and without any action by the stockholders, are appropriate for the proper
conduct of the meeting, including, without limitation, (a) restricting admission to the time set for the commencement of the meeting;
(b) limiting attendance at the meeting to stockholders of record of the Corporation, their duly authorized proxies and such other
individuals as the chairman of the meeting may determine; (c) limiting participation at the meeting on any matter to stockholders of
record of the Corporation entitled to vote on such matter, their duly authorized proxies and other such individuals as the chairman
of the meeting may determine; (d) limiting the time allotted to questions or comments; (e) determining when and for how long the
polls should be opened and when the polls should be closed; (f) maintaining order and security at the meeting; (g) removing any
stockholder or any other individual who refuses to comply with meeting procedures, rules or guidelines as set forth by the chairman
of the meeting;

                       (a) concluding a meeting or recessing or adjourning the meeting to a later date and time and at a place
        announced at the meeting; and (i) complying with any state and local laws and regulations concerning safety and security.
        Unless otherwise determined by the chairman of the meeting, meetings of stockholders shall not be required to be held in
        accordance with the rules of parliamentary procedure.

                 Section 6. Quorum. At any meeting of stockholders, the presence in person or by proxy of stockholders entitled to
cast a majority of all the votes entitled to be cast at such meeting on any matter shall constitute a quorum except, that the quorum
for any matter proposed by the Board of Directors shall be one-third of all the votes entitled to be cast at an annual meeting of
stockholders called by the Board of Directors. This section shall not affect any requirement under any statute or the charter of the
Corporation for the vote necessary for the approval of any matter. If such quorum is not established at any meeting of the
stockholders, the chairman of the meeting may adjourn the meeting sine die or from time to time to a date not more than 120 days
after the original record date without notice other than announcement at the meeting. At such adjourned meeting at which a quorum
shall be present, any business may be transacted which might have been transacted at the meeting as originally notified.

               The stockholders present either in person or by proxy, at a meeting which has been duly called and at which a
quorum has been established, may continue to transact business until adjournment, notwithstanding the withdrawal from the
meeting of enough stockholders to leave fewer than would be required to establish a quorum.
                 Section 7. Voting. Directors of the Corporation shall be elected by a plurality of the votes cast at any meeting of
stockholders at which directors are to be elected and at which a quorum is present; provided, however, subject to the
stockholders’ approval of the amendment to the Corporation’s charter at the next meeting of the Corporation’s stockholders and
the filing and acceptance for record of Articles of Amendment and Restatement implementing such amendment with the Maryland
State Department of Assessments and Taxation, effective as of the date on which the Corporation’s stockholders approve the
amendment to the Corporation’s charter, a nominee for director shall be elected to the Board of Directors if the votes cast for such
nominee’s election exceed the votes cast against such nominee’s election (with “withholds,” “abstentions” and “broker nonvotes”
not counted as a vote cast either “for” or “against” that nominee’s election); provided, however, that in the case of a contested
election, directors shall be elected by a plurality of the votes cast (in which case stockholders shall not be permitted to cast votes
against the election of directors). In the election of directors, each share may be voted for as many individuals as there are
directors to be elected and for whose election the share is




                                                                 -5-




                                                                                                                                  APP.214
Case 3:24-cv-00707-L                  Document 38             Filed 04/15/24             Page 223 of 276               PageID 1490




        Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                     Page 61 of 85 PageID 61




entitled to be voted. Cumulative voting is not permitted. For purposes of this Bylaw provision, a “contested election” shall mean
any election of directors with respect to which (i) the Corporation receives notice that any stockholder has nominated an individual
for election as a director in compliance with the requirements set forth in these Bylaws and (ii) all such nominations have not been
withdrawn by such stockholder(s) on or prior to the date the Corporation first mails its notice of meeting for such meeting to the
stockholders, and, as a result of which, there are more nominees than directorships.

                 A majority of the votes cast at a meeting of stockholders duly called and at which a quorum is present shall be
sufficient to approve any other matter which may properly come before the meeting, unless more than a majority of the votes cast
is required by law or by the charter of the Corporation. Unless otherwise provided by statute or by the charter, each outstanding
share, regardless of class, shall be entitled to one vote on each matter submitted to a vote at a meeting of stockholders. Voting on
any question or in any election may be viva voce unless the chairman of the meeting shall order that voting be by ballot or
otherwise.
                Section 8. Proxies. A holder of record of shares of stock of the Corporation may cast votes in person or by proxy
executed by the stockholder or by the stockholder’s duly authorized agent in any manner permitted by law. Such proxy or
evidence of authorization of such proxy shall be filed with the secretary of the Corporation before or at the meeting. No proxy shall
be valid more than eleven months after its date unless otherwise provided in the proxy.
                 Section 9. Voting of Stock by Certain Holders. Stock of the Corporation registered in the name of a corporation,
partnership, trust, limited liability company or other entity, if entitled to be voted, may be voted by the president or a vice president,
general partner, trustee or managing member thereof, as the case may be, or a proxy appointed by any of the foregoing individuals,
unless some other person who has been appointed to vote such stock pursuant to a bylaw or a resolution of the governing body of
such corporation or other entity or agreement of the partners of a partnership presents a certified copy of such bylaw, resolution or
agreement, in which case such person may vote such stock. Any director or fiduciary may vote stock registered in the name of
such person in the capacity of such director or fiduciary, either in person or by proxy.

                Shares of stock of the Corporation directly or indirectly owned by it shall not be voted at any meeting and shall not
be counted in determining the total number of outstanding shares entitled to be voted at any given time, unless they are held by it in
a fiduciary capacity, in which case they may be voted and shall be counted in determining the total number of outstanding shares at
any given time.

                  The Board of Directors may adopt by resolution a procedure by which a stockholder may certify in writing to the
Corporation that any shares of stock registered in the name of the stockholder are held for the account of a specified person other
than the stockholder. The resolution shall set forth the class of stockholders who may make the certification, the purpose for which
the certification may be made, the form of certification and the information to be contained in it; if the certification is with respect to
a record date, the time after the record date within which the certification must be received by the Corporation; and any other
provisions with respect to the procedure which the Board of Directors considers necessary or desirable. On receipt by the
Corporation of such certification, the person specified in the certification shall be regarded as, for the purposes set forth in the
certification, the holder of record of the specified stock in place of the stockholder who makes the certification.

                 Section 10. Inspectors. The Board of Directors or the chairman of the meeting may appoint, before or at the
meeting, one or more inspectors for the meeting and any successor to the inspector. Except as otherwise provided by the chairman
of the meeting, the inspectors, if




                                                                   -6-




                                                                                                                                      APP.215
Case 3:24-cv-00707-L                  Document 38              Filed 04/15/24             Page 224 of 276               PageID 1491




        Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                     Page 62 of 85 PageID 62




any, shall (i) determine the number of shares of stock represented at the meeting, in person or by proxy, and the validity and effect
of proxies, (ii) receive and tabulate all votes, ballots or consents, (iii) report such tabulation to the chairman of the meeting, (iv) hear
and determine all challenges and questions arising in connection with the right to vote, and (v) do such acts as are proper to fairly
conduct the election or vote. Each such report shall be in writing and signed by the inspector or by a majority of them if there is
more than one inspector acting at such meeting. If there is more than one inspector, the report of a majority shall be the report of
the inspectors. The report of the inspector or inspectors on the number of shares represented at the meeting and the results of the
voting shall be prima facie evidence thereof.
                 Section 11. Advance Notice of Stockholder Nominees for Director and Other Stockholder Proposals.

                         (a) Annual Meetings of Stockholders.

                                  (1) Nominations of individuals for election to the Board of Directors and the proposal of other
                         business to be considered by the stockholders may be made at an annual meeting of stockholders (i)
                         pursuant to the Corporation’s notice of meeting, (ii) by or at the direction of the Board of Directors, (iii) by
                         any stockholder of the Corporation who was a stockholder of record both at the time of giving of notice
                         by the stockholder as provided for in this Section 11(a) and at the time of the annual meeting, who is
                         entitled to vote at the meeting in the election of each individual so nominated or on any such other business
                         and who has complied with this Section 11(a), or (iv) by any Eligible Holder (as defined in Article I,
                         Section 12 below) whose Nominee (as defined in Article I, Section 12 below) is included in the
                         Corporation’s proxy materials for the relevant annual meeting. For the avoidance of doubt, the foregoing
                         clauses (iii) and (iv) shall be the exclusive means for a stockholder to make director nominations, and the
                         foregoing clause (iii) shall be the exclusive means for a stockholder to propose other business (other than a
                         proposal included in the Corporation’s proxy materials pursuant to and in compliance with Exchange Act
                         Rule 14a-8), at an annual meeting of stockholders.

                                  (2) For any nomination or other business to be properly brought before an annual meeting by a
                         stockholder pursuant to clause (iii) of paragraph (a)(1) of this Section 11, the stockholder must have given
                         timely notice thereof in writing to the secretary of the Corporation and any such other business must
                         otherwise be a proper matter for action by the stockholders. To be timely, a stockholder’s notice shall set
                         forth all information required under this Section 11 and shall be delivered to the secretary at the principal
                         executive office of the Corporation not earlier than the 90th day nor later than 5:00 p.m., Eastern Time, on
                         the 60th day prior to the first anniversary of the date of the preceding year’s annual meeting; provided,
                         however, that in the event that the date of the annual meeting is advanced or delayed by more than 30 days
                         from the first anniversary of the date of the preceding year’s annual meeting, in order for notice by the
                         stockholder to be timely, such notice must be so delivered not earlier than the 90th day prior to the date of
                         such annual meeting and not later than 5:00 p.m., Eastern Time, on the later of the 60th day prior to the
                         date of such annual meeting or the tenth day following the day on which public announcement of the date
                         of such meeting is first made. The postponement or adjournment of an annual meeting, or the public




                                                                    -7-




                                                                                                                                       APP.216
Case 3:24-cv-00707-L      Document 38              Filed 04/15/24           Page 225 of 276              PageID 1492




    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                           Page 63 of 85 PageID 63




              announcement thereof, shall not commence a new time period for the giving of a stockholder’s notice as
              described above.
                      (3) Such stockholder’s notice shall set forth:

                      (A) as to any business other than the nomination of an individual for election or reelection as a
              director that the stockholder proposes to bring before the meeting, a description of such business, the
              stockholder’s reasons for proposing such business at the meeting and any material interest in such business
              of such stockholder or any Stockholder Associated Person (as defined below), individually or in the
              aggregate, including any anticipated benefit to the stockholder or the Stockholder Associated Person
              therefrom;

                      (B) as to the stockholder giving notice and any Stockholder Associated Person, the information
              required pursuant to Rule 14a-19(b) promulgated under the Exchange Act if the stockholder, such
              Stockholder Associated Person or any of their respective affiliates, associates or others acting in concert
              intends to engage in a solicitation in support of director nominees other than the Corporation’s nominees;

                     (C) as to the stockholder giving the notice, any individual whom the stockholder proposes to
              nominate for election or reelection as a director (each, a “Proposed Nominee”) and any Stockholder
              Associated Person:

                              (i) the class, series and number of all shares of stock or other securities of the Corporation
                      or any affiliate thereof (collectively, the “Company Securities”), if any, which are owned
                      (beneficially or of record) by such stockholder, Proposed Nominee or Stockholder Associated
                      Person, the date on which each such Company Security was acquired and the investment intent of
                      such acquisition, and any short interest (including any opportunity to profit or share in any benefit
                      from any decrease in the price of such stock or other security) in any Company Securities of any
                      such person,
                              (ii) the nominee holder for, and number of, any Company Securities owned beneficially but
                      not of record by such stockholder, Proposed Nominee or Stockholder Associated Person,

                               (iii) whether and the extent to which such stockholder, Proposed Nominee or Stockholder
                      Associated Person, directly or indirectly (through brokers, nominees or otherwise), is subject to or
                      during the last six months has engaged in any hedging, derivative or other transaction or series of
                      transactions or entered into any other agreement, arrangement or understanding (including any
                      short interest, any borrowing or lending of securities or any proxy or voting agreement), the effect
                      or intent of which is to (I) manage risk or benefit from changes in the price of Company Securities
                      for such stockholder, Proposed Nominee or Stockholder Associated Person or (II) increase or
                      decrease the voting power of such stockholder, Proposed Nominee or Stockholder Associated
                      Person in the Corporation or any affiliate thereof




                                                       -8-




                                                                                                                        APP.217
Case 3:24-cv-00707-L      Document 38             Filed 04/15/24             Page 226 of 276              PageID 1493




    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                            Page 64 of 85 PageID 64




                     disproportionately to such person’s economic interest in the Company Securities, and
                             (iv) any substantial interest, direct or indirect (including, without limitation, any existing or
                     prospective commercial, business or contractual relationship with the Corporation), by security
                     holdings or otherwise, of such stockholder, Proposed Nominee or Stockholder Associated
                     Person, in the Corporation or any affiliate thereof, other than an interest arising from the ownership
                     of Company Securities where such stockholder, Proposed Nominee or Stockholder Associated
                     Person receives no extra or special benefit not shared on a pro rata basis by all other holders of
                     the same class or series;

                    (D) as to the stockholder giving the notice, any Stockholder Associated Person with an interest or
              ownership referred to in clauses (i) or (iii) of paragraph (3)(C) of this Section 11(a) and any Proposed
              Nominee:

                            (i) the name and address of such stockholder, as they appear on the Corporation’s stock
                     ledger, and the current name and business address, if different, of each such Stockholder
                     Associated Person and any Proposed Nominee;

                            (ii) (i) a description of the investment strategy or objective, if any, of such stockholder and
                     each such Stockholder Associated Person who is not an individual and (ii) a copy of the
                     prospectus, offering memorandum or similar document and any presentation, document or
                     marketing material provided to third parties (including investors and potential investors) to solicit an
                     investment in such stockholder and each such Stockholder Associated Person that contains or
                     describes such stockholder’s and each such Stockholder Associated Person’s performance,
                     personnel or investment thesis or plans or proposals with respect to the Corporation;
                             (iii) all information relating to the stockholder, the Proposed Nominee or the Stockholder
                     Associated Person that would be required to be disclosed in connection with the solicitation of
                     proxies pursuant to Regulation 14A (or any successor provision) under the Exchange Act; and

                              (iv) in the event that any of the stockholder, the Proposed Nominee or the Stockholder
                     Associated Person has in the twenty-four months immediately preceding the date of such notice
                     made a proposal to acquire control of the Corporation (whether through the acquisition of a
                     majority of the outstanding securities of the Corporation, the acquisition of all or substantially all of
                     the Corporation’s assets or otherwise), all information relating to the stockholder, the Proposed
                     Nominee or the Stockholder Associated Person that would be disclosed in any notices, forms or
                     filings required by U.S. federal laws or the rules and regulations of any agency, department or
                     other instrumentality of the U.S. federal government (“U.S. Federal Agency”) in connection with
                     the direct




                                                      -9-




                                                                                                                          APP.218
Case 3:24-cv-00707-L      Document 38             Filed 04/15/24            Page 227 of 276             PageID 1494




    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                          Page 65 of 85 PageID 65




                      or indirect acquisition by such person of control of the Corporation (including (i) all information
                      that would be set forth under any U.S. federal laws or the rules and regulations of any U.S.
                      Federal Agency that have been proposed and not withdrawn and (ii) all information that would be
                      set forth in a voluntary filing made by an acquiror in connection with any transaction subject to the
                      jurisdiction of any U.S. Federal Agency);

                      (E) the name and address of any person who contacted or was contacted by the stockholder
              giving the notice or any Stockholder Associated Person about the Proposed Nominee or other business
              proposal prior to the date of such stockholder’s notice and;

                     (F) to the extent known by the stockholder giving the notice, the name and address of any other
              stockholder supporting the nominee for election or reelection as a director or the proposal of other
              business on the date of such stockholder’s notice.

                       (4) Such stockholder’s notice shall, with respect to any Proposed Nominee, be accompanied by a
              certificate executed by the Proposed Nominee (i) certifying that such Proposed Nominee (a) is not, and
              will not become, a party to any agreement, arrangement or understanding with any person or entity other
              than the Corporation in connection with service or action as a director that has not been disclosed to the
              Corporation and (b) will serve as a director of the Corporation if elected; and (ii) attaching a completed
              Proposed Nominee questionnaire (which questionnaire shall be provided by the Corporation, upon
              request, to the stockholder providing the notice and shall include all information relating to the Proposed
              Nominee that would be required to be disclosed in connection with the solicitation of proxies for the
              election of the Proposed Nominee as a director in an election contest (even if an election contest is not
              involved), or would otherwise be required in connection with such solicitation, in each case pursuant to
              Regulation 14A (or any successor provision) under the Exchange Act and the rules thereunder, or would
              be required pursuant to the rules of any national securities exchange on which any securities of the
              Corporation are listed or over-the-counter market on which any securities of the Corporation are traded).
                      (5) Notwithstanding anything in this subsection (a) of this Section 11 to the contrary, in the event
              that the number of directors to be elected to the Board of Directors is increased, and there is no public
              announcement of such action at least 130 days prior to the first anniversary of the date of the proxy
              statement (as defined in Section 11(c)(3) of this Article I) for the preceding year’s annual meeting, a
              stockholder’s notice required by this Section 1(a) shall also be considered timely, but only with respect to
              nominees for any new positions created by such increase, if it shall be delivered to the secretary at the
              principal executive office of the Corporation not later than 5:00 p.m., Eastern Time, on the tenth day
              following the day on which such public announcement is first made by the Corporation.
                     (6) For purposes of this Section 11, a “Stockholder Associated Person” of any stockholder shall
              mean any person (and such person’s affiliates and associates): (i) acting in concert with such stockholder;
              (ii)




                                                     -10-




                                                                                                                       APP.219
Case 3:24-cv-00707-L               Document 38           Filed 04/15/24             Page 228 of 276              PageID 1495




    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                   Page 66 of 85 PageID 66




                    that has formed, or is acting together as, a group with such stockholder (or such stockholder’s affiliates or
                    associates) for the purposes of acquiring, holding, voting or disposing Company Securities, regardless of
                    whether such person is party to any written or unwritten agreement, arrangement or understanding; (iii) that
                    shares, or with which is shared, information about an upcoming Schedule 13D filing (or amendment
                    thereto) that such person and/or such stockholder and/or their respective affiliates and associates will be
                    required to make, to the extent such information is not yet public and communicated with the purpose of
                    causing others to make purchases, and such person and/or such stockholder and/or their respective
                    affiliates and associates subsequently purchases Company Securities based on such information; (iv) that
                    has entered into any pooling arrangement, whether formal or informal, written or unwritten, with such
                    stockholder; (v) that, together with such stockholder and/or its affiliates and associates, has engaged in
                    activities undertaken with the purpose or effect of changing or influencing control of the Corporation or in
                    connection with or as a participant in any transaction having such purpose or effect; (vi) that has taken
                    concerted actions related to Company Securities where such person and such stockholder are directly or
                    indirectly obligated to take such concerted action; (vii) that is the beneficial owner of shares of stock of the
                    Corporation owned of record or beneficially by such stockholder (other than a stockholder that is a
                    depositary); or (viii) directly, or indirectly through one or more intermediaries, controls, or is controlled by,
                    or is under common control with, such stockholder or any other Stockholder Associated Person.

                     (b) Special Meetings of Stockholders. Only such business shall be conducted at a special meeting of
    stockholders as shall have been brought before the meeting pursuant to the Corporation’s notice of meeting. Nominations
    of individuals for election to the Board of Directors may be made at a special meeting of stockholders at which directors
    are to be elected only (i) by or at the direction of the Board of Directors or (ii) provided that the special meeting has been
    called in accordance with Section 3(a) of this Article I for the purpose of electing directors, by any stockholder of the
    Corporation who is a stockholder of record both at the time of giving of notice provided for in this Section 11 and at the
    time of the special meeting, who is entitled to vote at the meeting in the election of each individual so nominated and who
    has complied with the notice procedures set forth in this Section 11. In the event the Corporation calls a special meeting of
    stockholders for the purpose of electing one or more individuals to the Board of Directors, any stockholder may nominate
    an individual or individuals (as the case may be) for election as a director as specified in the Corporation’s notice of
    meeting, if the stockholder’s notice, containing the information required by paragraphs (a)(3) and (4) of this Section 11, is
    delivered to the secretary at the principal executive office of the Corporation not earlier than the 90th day prior to such
    special meeting and not later than 5:00 p.m., Eastern Time, on the later of the 60th day prior to such special meeting or the
    tenth day following the day on which public announcement is first made of the date of the special meeting and of the
    nominees proposed by the Board of Directors to be elected at such meeting. The public announcement of a postponement
    or adjournment of a special meeting shall not commence a new time period for the giving of a stockholder’s notice as
    described above.
                    (c) General.

                             (1) If information submitted pursuant to this Section 11 by any stockholder proposing a nominee
                    for election as a director or any proposal




                                                             -11-




                                                                                                                                 APP.220
Case 3:24-cv-00707-L      Document 38             Filed 04/15/24            Page 229 of 276             PageID 1496




    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                          Page 67 of 85 PageID 67




              for other business at a meeting of stockholders shall be inaccurate in any material respect, such information
              may be deemed not to have been provided in accordance with this Section 11. Any such stockholder shall
              notify the Corporation of any inaccuracy or change (within two Business Days of becoming aware of such
              inaccuracy or change) in any such information. Upon written request by the secretary or the Board of
              Directors, any such stockholder shall provide, within five Business Days of delivery of such request (or
              such other period as may be specified in such request), (A) written verification, satisfactory, in the
              discretion of the Board of Directors or any authorized officer of the Corporation, to demonstrate the
              accuracy of any information submitted by the stockholder pursuant to this Section 11, and (B) a written
              update of any information (including, if requested by the Corporation, written confirmation by such
              stockholder that it continues to intend to bring such nomination or other business proposal before the
              meeting) submitted by the stockholder pursuant to this Section 11 as of an earlier date. If a stockholder
              fails to provide such written verification or written update within such period, the information as to which
              written verification or a written update was requested may be deemed not to have been provided in
              accordance with this Section 11.
                      (2) Only such individuals who are nominated in accordance with this Section 11 shall be eligible for
              election by stockholders as directors, and only such business shall be conducted at a meeting of
              stockholders as shall have been brought before the meeting in accordance with this Section 11. The
              chairman of the meeting shall have the power to determine whether a nomination or any other business
              proposed to be brought before the meeting was made or proposed, as the case may be, in accordance
              with this Section 11.

                      (3) For purposes of this Section 11, “the date of the proxy statement” shall have the same meaning
              as “the date of the company’s proxy statement released to shareholders” as used in Rule 14a-8(e)
              promulgated under the Exchange Act, as interpreted by the Securities and Exchange Commission (the
              “SEC”) from time to time. “Public announcement” shall mean disclosure (A) in a press release reported by
              the Dow Jones News Service, Associated Press, Business Wire, PR Newswire or other widely circulated
              news or wire service or (B) in a document publicly filed by the Corporation with the SEC pursuant to the
              Exchange Act.
                      (4) Notwithstanding the foregoing provisions of this Section 11, (i) a stockholder shall also comply
              with all applicable requirements of state law and of the Exchange Act and the rules and regulations
              thereunder with respect to the matters set forth in this Section 11, (ii) no stockholder, Stockholder
              Associated Person, or any of their respective affiliates, associates and other persons acting in concert
              therewith shall solicit proxies in support of any nominees other than the nominees of the Board of Directors
              unless such person has complied with Rule 14a-19 promulgated under the Exchange Act in connection
              with the solicitation of such proxies, including the provision to the Corporation of notices required
              thereunder in a timely manner and (iii) if such stockholder, Stockholder Associated Person, or any of their
              respective affiliates, representatives or others acting in concert therewith (1) provides notice




                                                     -12-




                                                                                                                       APP.221
Case 3:24-cv-00707-L            Document 38             Filed 04/15/24             Page 230 of 276              PageID 1497




    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                  Page 68 of 85 PageID 68




                   pursuant to Rule 14a-19(b) promulgated under the Exchange Act as required by Article I, Section 11(a)
                   (3)(B) and (2) subsequently fails to comply with any of the requirements of Rule 14a-19 promulgated
                   under the Exchange Act, then the Corporation shall disregard any proxies or votes solicited for such
                   stockholder’s nominees. Upon request by the Corporation, if any stockholder, Stockholder Associated
                   Person, or any of their respective affiliates, associates and other persons acting in concert therewith
                   provides notice pursuant to Rule 14a-19(b) promulgated under the Exchange Act, such stockholder shall
                   deliver to the Corporation, no later than five (5) business days prior to the applicable meeting, reasonable
                   evidence that such stockholder, Stockholder Associated Person, and any of their respective affiliates,
                   associates or other persons acting in concert therewith have met the requirements of Rule 14a-19
                   promulgated under the Exchange Act. Except to the extent provided by Rule 14a-19 promulgated under
                   the Exchange Act with respect to a nomination made pursuant to Article I, Section 11(a) and that
                   otherwise complies with the applicable provisions of these Bylaws, nothing in these Bylaws shall be
                   construed to grant any stockholder the right to include or have disseminated or described in the
                   Corporation’s proxy statement any such nomination of directors. Nothing in this Section 11 shall be
                   deemed to affect any right of a stockholder to request inclusion of a proposal in, or the right of the
                   Corporation to omit a proposal from, the Corporation’s proxy statement pursuant to Rule 14a-8 (or any
                   successor provision) under the Exchange Act. Nothing in this Section 11 shall require disclosure of
                   revocable proxies received by the stockholder or Stockholder Associated Person pursuant to a solicitation
                   of proxies after the filing of an effective Schedule 14A by such stockholder or Stockholder Associated
                   Person under Section 14(a) of the Exchange Act.
           Section 12. Proxy Access for Director Nominations.

                    (a) Inclusion of Stockholder Nominee in Proxy Materials. Subject to the provisions of this Section 12, if
    expressly requested in the relevant Nomination Notice (as defined below), the Corporation shall include in its proxy
    statement for any annual meeting of stockholders:

                            (1) the names of any person or persons nominated for election for whom notice is provided in
                   accordance with this Section 12 (each such nominee, a “Stockholder Nominee”), which shall also be
                   included on the Corporation’s form of proxy and ballot, by any Eligible Holder (as defined below) or
                   group of up to 20 Eligible Holders that has (individually and collectively, in the case of a group) satisfied, as
                   determined by the Board of Directors or any committee thereof, all applicable conditions and complied
                   with all applicable procedures set forth in this Section 12 (such Eligible Holder or group of Eligible Holders
                   being a “Nominating Stockholder”);
                          (2) disclosure about each Stockholder Nominee and the Stockholder required under the rules of
                   the SEC in the proxy statement;

                           (3) any statement included by the Nominating Stockholder in the Nomination Notice for inclusion
                   in the proxy statement in support of each Stockholder Nominee’s election to the Board of Directors
                   (subject, without limitation, to Section 12(e)(2)), if such statement does not exceed




                                                            -13-




                                                                                                                                APP.222
Case 3:24-cv-00707-L               Document 38              Filed 04/15/24             Page 231 of 276              PageID 1498




       Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                   Page 69 of 85 PageID 69




                       500 words and fully complies with Section 14 of the Exchange Act and the rules and regulations
                       thereunder, including Rule 14a-9 (the “Supporting Statement”); and
                              (4) nothing in this Section 12 shall limit the Corporation’s ability to solicit against and include in its
                       proxy materials any statement in opposition to the nomination, any of the information provided pursuant to
                       this Section 12 and any solicitation materials or related information with respect to a Stockholder
                       Nominee.
For purposes of this Section 12, any determination to be made by the Board of Directors may be made by the Board of Directors,
a committee of the Board of Directors or any officer of the Corporation designated by the Board of Directors or a committee of
the Board of Directors, and any such determination shall be final and binding on the Corporation, any Eligible Holder, any
Nominating Stockholder, any Stockholder Nominee and any other person so long as made in good faith (without any further
requirements). The chairman of any annual meeting of stockholders, in addition to making any other determinations that may be
appropriate to the conduct of the meeting, shall have the power and duty to determine whether a Stockholder Nominee has been
nominated in accordance with the requirements of this Section 12 and, if not so nominated, shall direct and declare at the meeting
that such Stockholder Nominee shall not be considered. This Section 12 shall be the exclusive method for stockholders to include
nominees for Director election in the Corporation’s proxy materials.
                       (b) Maximum Number of Stockholder Nominees.

                               (1) The Corporation shall not be required to include in the proxy statement for an annual meeting
                       of stockholders more Stockholder Nominees than that number of directors constituting the greater of (i)
                       two or (ii) 20% of the total number of directors of the Corporation on the last day on which a Nomination
                       Notice may be submitted pursuant to this Section 12 (rounded down to the nearest whole number) (the
                       “Maximum Number”). The Maximum Number for a particular annual meeting shall be reduced by: (i)
                       Stockholder Nominees who the Board of Directors itself decides to nominate for election at such annual
                       meeting; (ii) Stockholder Nominees who cease to satisfy, or Stockholder Nominees of Nominating
                       Stockholders that cease to satisfy, the eligibility requirements in this Section 12, as determined by the
                       Board of Directors; (iii) Stockholder Nominees whose nomination is withdrawn by the Nominating
                       Stockholder or who become unwilling to serve on the Board of Directors; and (iv) the number of
                       incumbent directors who had been Stockholder Nominees with respect to any of the preceding two annual
                       meetings of stockholders and whose reelection at the upcoming annual meeting is being recommended by
                       the Board of Directors. In the event that one or more vacancies for any reason occurs on the Board of
                       Directors after the deadline for submitting a Nomination Notice as set forth in Section 12(d) below but
                       before the date of the annual meeting, and the Board of Directors resolves to reduce the size of the board
                       in connection therewith, the Maximum Number shall be calculated based on the number of directors in
                       office as so reduced.

                              (2) If the number of Stockholder Nominees pursuant to this Section 12 for any annual meeting of
                       stockholders exceeds the Maximum Number then, promptly upon notice from the Corporation, each
                       Nominating Stockholder will select one Stockholder Nominee for inclusion in the proxy statement until the
                       Maximum Number is reached,




                                                                -14-




                                                                                                                                   APP.223
Case 3:24-cv-00707-L       Document 38             Filed 04/15/24            Page 232 of 276              PageID 1499




    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                            Page 70 of 85 PageID 70




              going in order of the amount (largest to smallest) of the ownership position as disclosed in each Nominating
              Stockholder’s Nomination Notice and if the amount of the ownership position is tied, in the order of the
              date of the Nominating Stockholder’s Nomination Notice (earliest to latest), with the process repeated if
              the Maximum Number is not reached after each Nominating Stockholder has selected one Stockholder
              Nominee. If, after the deadline for submitting a Nomination Notice as set forth in Section 12(d), a
              Nominating Stockholder or a Stockholder Nominee ceases to satisfy the eligibility requirements in this
              Section 12, as determined by the Board of Directors, a Nominating Stockholder withdraws its nomination
              or a Stockholder Nominee becomes unwilling to serve on the Board of Directors, whether before or after
              the mailing or other distribution of the definitive proxy statement, then the nomination shall be disregarded,
              and the Corporation: (i) shall not be required to include in its proxy statement or on any ballot or form of
              proxy the disregarded Stockholder Nominee or any successor or replacement nominee proposed by the
              Nominating Stockholder or by any other Nominating Stockholder and (ii) may otherwise communicate to
              its stockholders, including without limitation by amending or supplementing its proxy statement or ballot or
              form of proxy, that a Stockholder Nominee will not be included as a nominee in the proxy statement or on
              any ballot or form of proxy and will not be voted on at the annual meeting.
              (c) Eligibility of Nominating Stockholder.

                      (1) An “Eligible Holder” is a person who has either (i) been a record holder of the shares of
              common stock used to satisfy the eligibility requirements in this Section 12(c) continuously for the three-
              year period specified in Subsection (2) below or (ii) provides to the Secretary of the Corporation, within
              the time period referred to in Section 12(d), evidence of continuous ownership (as defined below) of such
              shares for such three-year period from one or more securities intermediaries in a form that the Board of
              Directors or any committee thereof determines would be deemed acceptable for purposes of a
              stockholder proposal under Rule 14a‑8(b)(2) under the Exchange Act (or any successor rule).
                       (2) An Eligible Holder or group of up to 20 Eligible Holders may submit a nomination in
              accordance with this Section 12 only if the person or group (in the aggregate) has continuously owned at
              least the Minimum Number (as defined below) of shares of the Corporation’s common stock throughout
              the three-year period preceding and including the date of submission of the Nomination Notice, and
              continues to own at least the Minimum Number through the date of the annual meeting. Two or more funds
              that are (x) under common management and investment control, (y) under common management and
              funded primarily by a single employer or (z) a “group of investment companies,” as such term is defined in
              Section 12(d)(1)(G)(ii) of the Investment Company Act of 1940, as amended, shall be treated as one
              Eligible Holder if such Eligible Holder shall provide together with the Nomination Notice documentation
              reasonably satisfactory to the Corporation that demonstrates that the funds meet the criteria set forth in (x),
              (y) or (z) hereof. For the avoidance of doubt, in the event of a nomination by a group of Eligible Holders,
              any and all requirements and obligations for an individual Eligible Holder that are set forth in this Section
              12, including the minimum holding period,




                                                      -15-




                                                                                                                         APP.224
Case 3:24-cv-00707-L             Document 38              Filed 04/15/24             Page 233 of 276              PageID 1500




    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                   Page 71 of 85 PageID 71




                    shall apply to each member of such group; provided, however, that the Minimum Number shall apply to
                    the ownership of the group in the aggregate. Should any stockholder cease to satisfy the eligibility
                    requirements in this Section 12, as determined by the Board of Directors, or withdraw from a group of
                    Eligible Holders at any time prior to the annual meeting of stockholders, the group of Eligible Stockholders
                    shall only be deemed to own the shares held by the remaining members of the group.
                             (3) The “Minimum Number” of shares of the Corporation’s common stock means 3% of the
                    number of outstanding shares of common stock as of the most recent date for which such amount is given
                    in any filing by the Corporation with the SEC prior to the submission of the Nomination Notice.
                           (4) For purposes of this Section 12, an Eligible Holder “owns” only those outstanding shares of the
                    Corporation as to which the Eligible Holder possesses both:
                            (A) the full voting and investment rights pertaining to the shares; and
                             (B) the full economic interest in (including the opportunity for profit and risk of loss on) such
                    shares; provided that the number of shares calculated in accordance with clauses (A) and (B) shall not
                    include any shares: (1) purchased or sold by such Eligible Holder or any of its affiliates in any transaction
                    that has not been settled or closed, (2) sold short by such Eligible Holder, (3) borrowed by such Eligible
                    Holder or any of its affiliates for any purpose or purchased by such Eligible Holder or any of its affiliates
                    pursuant to an agreement to resell or subject to any other obligation to resell to another person, or (4)
                    subject to any option, warrant, forward contract, swap, contract of sale, other derivative or similar
                    agreement entered into by such Eligible Holder or any of its affiliates, whether any such instrument or
                    agreement is to be settled with shares or with cash based on the notional amount or value of outstanding
                    shares of the Corporation, in any such case which instrument or agreement has, or is intended to have, the
                    purpose or effect of: (x) reducing in any manner, to any extent or at any time in the future, such Eligible
                    Holder’s or any of its affiliates’ full right to vote or direct the voting of any such shares, and/or (y) hedging,
                    offsetting, or altering to any degree, gain or loss arising from the full economic ownership of such shares by
                    such Eligible Holder or any of its affiliates.
    An Eligible Holder “owns” shares held in the name of a nominee or other intermediary so long as the Eligible Holder retains
    the right to instruct how the shares are voted with respect to the election of directors and possesses the full economic
    interest in the shares. An Eligible Holder’s ownership of shares shall be deemed to continue during any period in which the
    Eligible Holder has delegated any voting power by means of a proxy, power of attorney, or other similar instrument or
    arrangement that is revocable at any time by the Eligible Holder. An Eligible Holder’s ownership of shares shall be deemed
    to continue during any period in which the Eligible Holder has loaned such shares provided that the Eligible Holder has the
    power to recall such loaned shares on three business days’ notice, has recalled such loaned shares as of the date of the
    Nomination Notice and continues to hold such shares through the date of the annual meeting. The terms “owned,”




                                                             -16-




                                                                                                                                  APP.225
Case 3:24-cv-00707-L            Document 38             Filed 04/15/24           Page 234 of 276             PageID 1501




    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                Page 72 of 85 PageID 72




    “owning” and other variations of the word “own” shall have correlative meanings. Whether outstanding shares of the
    Corporation are “owned” for these purposes shall be determined by the Board.
                            (5) No Eligible Holder shall be permitted to be in more than one group constituting a Nominating
                    Stockholder, and if any Eligible Holder appears as a member of more than one group, it shall be deemed
                    to be a member of the group that has the largest ownership position as reflected in the Nomination Notice.
                     (d) Nomination Notice. To nominate a Stockholder Nominee, the Nominating Stockholder must, no earlier
    than the 120th day and no later than 5:00 p.m., Eastern Time, on the 90th day prior to the first anniversary of the date of
    the proxy statement for the preceding year’s annual meeting, submit to the Secretary of the Corporation at the principal
    executive office of the Corporation all of the following information and documents (collectively, the “Nomination Notice”);
    provided, however, that in the event that the date of the annual meeting is advanced or delayed by more than 30 days from
    the first anniversary of the date of the preceding year’s annual meeting, the Nomination Notice shall be given in the manner
    provided herein not earlier than the 120th day prior to the date of such annual meeting and not later than 5:00 p.m.,
    Eastern Time, on the later of the 90th day prior to the date of such annual meeting or the tenth day following the day on
    which public announcement of the date of such meeting is first made:
                            (1) A Schedule 14N (or any successor form) relating to each Stockholder Nominee, completed
                    and filed with the SEC by the Nominating Stockholder as applicable, in accordance with SEC rules;

                            (2) A written notice, in a form deemed satisfactory by the Board of Directors, of the nomination of
                    each Stockholder Nominee that includes the following additional information, agreements, representations
                    and warranties by the Nominating Stockholder (including each group member):
                            (A) the information required with respect to the nomination of directors pursuant to Section 11 of
                    these Bylaws;
                           (B) the details of any relationship that existed within the past three years and that would have been
                    described pursuant to Item 6(e) of Schedule 14N (or any successor item) if it existed on the date of
                    submission of the Schedule 14N;
                           (C) a representation and warranty that the Nominating Stockholder acquired the securities of the
                    Corporation in the ordinary course of business and did not acquire, and is not holding, securities of the
                    Corporation for the purpose or with the effect of influencing or changing control of the Corporation;

                           (D) a representation and warranty that each Stockholder Nominee’s candidacy or, if elected,
                    Board membership would not violate applicable state or federal law or the rules of any stock exchange on
                    which the Corporation’s securities are traded;




                                                           -17-




                                                                                                                            APP.226
Case 3:24-cv-00707-L      Document 38               Filed 04/15/24          Page 235 of 276             PageID 1502




    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                          Page 73 of 85 PageID 73




                      (E) a representation and warranty that each Stockholder Nominee:
                              (i) does not have any direct or indirect relationship with the Corporation that would cause
                      the Stockholder Nominee to be considered not independent pursuant to the Corporation’s policy
                      on director independence contained in the Corporation’s Corporate Governance Guidelines as
                      most recently published on its website and otherwise qualifies as independent under the rules of the
                      New York Stock Exchange;
                              (ii) meets the audit committee and compensation committee independence requirements
                      under the rules of the New York Stock Exchange;

                              (iii) is a “non-employee director” for the purposes of Rule 16b-3 under the Exchange Act
                      (or any successor rule);

                             (iv) is an “outside director” for the purposes of Section 162(m) of the Internal Revenue
                      Code (or any successor provision);
                              (v) [reserved]; and

                              (vi) is not and has not been subject to any event specified in Rule 506(d)(1) of Regulation
                      D (or any successor rule) under the Securities Act of 1933 or Item 401(f) of Regulation S-K (or
                      any successor rule) under the Exchange Act, without reference to whether the event is material to
                      an evaluation of the ability or integrity of such Stockholder Nominee;

                      (F) a representation and warranty that the Nominating Stockholder satisfies the eligibility
              requirements set forth in Section 12(c) and has provided evidence of ownership to the extent required by
              Section 12(c)(1);
                       (G) a representation and warranty that the Nominating Stockholder intends to continue to satisfy
              the eligibility requirements described in Section 12(c) through the date of the annual meeting and intends to
              continue to hold the Minimum Number of shares for at least one year following the annual meeting;
                        (H) details of any position of a Stockholder Nominee as an officer or director of any competitor
              (that is, any entity that produces products or provides services that compete with or are alternatives to the
              principal products produced or services provided by the Corporation or its affiliates) of the Corporation,
              within the three years preceding the submission of the Nomination Notice;
                       (I) a representation and warranty that the Nominating Stockholder will not engage in a
              “solicitation” within the meaning of Rule 14a-1(l) (without reference to the exception in Section 14a-(l)(2)
              (iv)) (or any successor rules) with respect to the annual meeting, other than with respect to a Stockholder
              Nominee or any nominee of the Board of the Directors;




                                                      -18-




                                                                                                                       APP.227
Case 3:24-cv-00707-L      Document 38             Filed 04/15/24            Page 236 of 276             PageID 1503




    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                          Page 74 of 85 PageID 74




                      (J) a representation and warranty that the Nominating Stockholder will not use any proxy card
              other than the Corporation’s proxy card in soliciting stockholders in connection with the election of a
              Stockholder Nominee at the annual meeting;
                      (K) if desired, a Supporting Statement; and
                     (L) in the case of a nomination by a group, the designation by all group members or one group
              member that is authorized to act on behalf of all group members with respect to matters relating to the
              nomination, including withdrawal of the nomination;
                     (3) An executed agreement, in a form deemed satisfactory by the Board of Directors or any
              committee thereof pursuant to which the Nominating Stockholder (including each group member) agrees:
                        (A) to comply with all applicable laws, rules and regulations in connection with the nomination,
              solicitation and election;
                      (B) to file any written solicitation or other communication with the Corporation’s stockholders
              relating to one or more of the Corporation’s directors or director nominees or any Stockholder Nominee
              with the SEC, regardless of whether any such filing is required under rule or regulation or whether any
              exemption from filing is available for such materials under any rule or regulation;
                      (C) to assume all liability stemming from an action, suit or proceeding concerning any actual or
              alleged legal or regulatory violation arising out of any communication by the Nominating Stockholder or
              any of its Stockholder Nominees with the Corporation, its stockholders or any other person in connection
              with the nomination or election of directors, including, without limitation, the Nomination Notice;
                       (D) to indemnify and hold harmless (jointly with all other group members, in the case of a group
              member) the Corporation and each of its directors, officers and employees individually against any liability,
              loss, damages, expenses or other costs (including attorneys’ fees) incurred in connection with any
              threatened or pending action, suit or proceeding, whether legal, administrative or investigative, against the
              Corporation or any of its directors, officers or employees arising out of or relating to a failure or alleged
              failure of the Nominating Stockholder or any of its Stockholder Nominees to comply with, or any breach
              or alleged breach of, it or their obligations, agreements or representations under this Section 12;
                      (E) in the event that any information included in the Nomination Notice, or any other
              communication by the Nominating Stockholder (including with respect to any group member), with the
              Corporation, its stockholders or any other person in connection with the nomination or election ceases to
              be true and accurate in all material respects (or omits a material fact necessary to make the statements
              made not misleading), or that the Nominating Stockholder (including any group member) has failed to
              continue to satisfy the eligibility requirements described in Section 12(c), to promptly (and in any event
              within 48 hours of discovering such misstatement, omission or failure) notify the




                                                     -19-




                                                                                                                       APP.228
Case 3:24-cv-00707-L               Document 38            Filed 04/15/24           Page 237 of 276             PageID 1504




       Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                Page 75 of 85 PageID 75




                       Corporation and any other recipient of such communication of (A) the misstatement or omission in such
                       previously provided information and of the information that is required to correct the misstatement or
                       omission or (B) such failure; and
                             (4) An executed agreement, in a form deemed satisfactory by the Board of Directors or any
                       committee thereof or by each Stockholder Nominee:
                              (A) to provide to the Corporation such other information and certifications, including completion of
                       the Corporation’s director questionnaire, as it may reasonably request;

                               (B) at the reasonable request of the Nominating and Corporate Governance Committee, to meet
                       with the Nominating and Corporate Governance Committee to discuss matters relating to the nomination
                       of such Stockholder Nominee to the Board of Directors, including the information provided by such
                       Stockholder Nominee to the Corporation in connection with his or her nomination and such Stockholder
                       Nominee’s eligibility to serve as a member of the Board of Directors;
                              (C) that such Stockholder Nominee has read and agrees, if elected, to serve as a member of the
                       Board of Directors, to adhere to the Corporation’s Corporate Governance Guidelines and Code of
                       Business Conduct and Ethics and any other Corporation policies and guidelines applicable to directors;
                       and
                               (D) that such Stockholder Nominee is not and will not become a party to (i) any compensatory,
                       payment or other financial agreement, arrangement or understanding with any person or entity in
                       connection with his or her nomination, service or action as a director of the Corporation that has not been
                       disclosed to the Corporation, (ii) any agreement, arrangement or understanding with any person or entity
                       as to how such Stockholder Nominee would vote or act on any issue or question as a director (a “Voting
                       Commitment”) that has not been disclosed to the Corporation or (iii) any Voting Commitment that could
                       limit or interfere with such Stockholder Nominee’s ability to comply, if elected as a director of the
                       Corporation, with its director duties under applicable law.
                 The information and documents required by this Section 12(d) to be provided by the Nominating Stockholder shall
be: (i) provided with respect to and executed by each group member, in the case of information applicable to group members; and
(ii) provided with respect to the persons specified in Instruction 1 to Items 6(c) and (d) of Schedule 14N (or any successor item)
in the case of a Nominating Stockholder or group member that is an entity. The Nomination Notice shall be deemed submitted on
the date on which all the information and documents referred to in this Section 12(d) (other than such information and documents
contemplated to be provided after the date the Nomination Notice is provided) have been delivered to or, if sent by mail, received
by the Secretary of the Corporation.

                       (e) Exceptions.
                               (1) Notwithstanding anything to the contrary contained in this Section 12, the Corporation may
                       omit from its proxy statement any Stockholder Nominee and any information concerning such Stockholder




                                                              -20-




                                                                                                                              APP.229
Case 3:24-cv-00707-L      Document 38            Filed 04/15/24           Page 238 of 276             PageID 1505




    Case 3:24-cv-00894-N Document 1 Filed 04/11/24                         Page 76 of 85 PageID 76




              Nominee (including a Nominating Stockholder’s Supporting Statement) and no vote on such Stockholder
              Nominee will occur (notwithstanding that proxies in respect of such vote may have been received by the
              Corporation), and the Nominating Stockholder may not, after the last day on which a Nomination Notice
              would be timely, cure in any way any defect preventing the nomination of such Stockholder Nominee, if:

                     (A) the Corporation receives a notice pursuant to Section 11 of these Bylaws that a stockholder
              intends to nominate a candidate for director at the annual meeting, whether or not such notice is
              subsequently withdrawn or made the subject of a settlement with the Corporation;
                      (B) the Nominating Stockholder or the designated lead group member, as applicable, or any
              qualified representative thereof, does not appear at the meeting of stockholders to present the nomination
              submitted pursuant to this Section 12 or the Nominating Stockholder withdraws its nomination or the
              chairman of the annual meeting declares that such nomination was not made in accordance with the
              procedures prescribed by this Section 12 and shall therefore be disregarded;

                       (C) the Board of Directors determines that such Stockholder Nominee’s nomination or election to
              the Board of Directors would result in the Corporation violating or failing to be in compliance with the
              Corporation’s bylaws or charter or any applicable law, rule or regulation to which the Corporation is
              subject, including any rules or regulations of the New York Stock Exchange;

                      (D) such Stockholder Nominee was nominated for election to the Board of Directors pursuant to
              this Section 12 at one of the Corporation’s two preceding annual meetings of stockholders and either
              withdrew or became ineligible or received a vote of less than 25% of the votes cast in favor of such
              Stockholder Nominee’s election;

                     (E) such Stockholder Nominee has been, within the past three years, an officer or director of a
              competitor, as defined for purposes of Section 8 of the Clayton Antitrust Act of 1914, as amended; or
                      (F) the Corporation is notified, or the Board of Directors determines, that the Nominating
              Stockholder or the Stockholder Nominee has failed to continue to satisfy the eligibility requirements
              described in Section 12(c), any of the representations and warranties made in the Nomination Notice
              ceases to be true and accurate in all material respects (or omits a material fact necessary to make the
              statements made not misleading), such Stockholder Nominee becomes unwilling or unable to serve on the
              Board of Directors or any material violation or breach occurs of the obligations, agreements,
              representations or warranties of the Nominating Stockholder or such Stockholder Nominee under this
              Section 12.
                      (2) Notwithstanding anything to the contrary contained in this Section 12, the Corporation may
              omit from its proxy statement, or may supplement or correct, any information, including all or any portion
              of the Supporting Statement or any other statement in support of a Stockholder




                                                    -21-




                                                                                                                    APP.230
Case 3:24-cv-00707-L                Document 38             Filed 04/15/24            Page 239 of 276             PageID 1506




       Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                  Page 77 of 85 PageID 77




                        Nominee included in the Nomination Notice, if the Board of Directors determines that:
                               (A) such information is not true in all material respects or omits a material statement necessary to
                        make the statements made not misleading; or
                                 (B) the inclusion of such information in the proxy statement would otherwise violate the SEC proxy
                        rules or any other applicable law, rule or regulation.
              The Corporation may solicit against, and include in the proxy statement its own statement relating to, any
Stockholder Nominee.

                                                           ARTICLE II
                                                           DIRECTORS
                Section 1. Powers. All of the powers of the Corporation shall be exercised by or under the direction of the Board
of Directors except as otherwise provided by the Charter or required by law.
                 Section 2. Number and Terms. The Board of Directors shall establish and may increase or decrease the number of
directors of the Corporation, provided, that the number thereof shall never be less than the minimum number permitted under the
Maryland General Corporation Law nor more than 15, and further provided, that the tenure of office of a director shall not be
affected by any decrease in the number of directors. A majority of the directors shall have been affirmatively determined by the
Board to be independent, as defined and to the extent required in the applicable rules of the SEC and the listing standards of the
New York Stock Exchange. The directors shall be elected at the annual meeting of the stockholders and each director shall be
elected to serve for a term of one year and until his successor shall be elected and shall qualify or until his earlier resignation or
removal.

                Section 3. Director Nominations. Nomination of candidates for election as directors of the Corporation at any
annual or special meeting of stockholders may be made (a) by, or at the direction of, a majority of the Board of Directors or (b) by
any stockholder entitled to vote at such annual meeting and has complied with Article 1, Section 11.
                Section 4. Stockholder Status. No Director need be a stockholder of the Corporation.
                 Section 5. Vacancies. Any vacancy occurring on the Board of Directors, including any vacancy created by reason
of an increase in the number of directors, shall be filled in the manner provided in Article VII, Section 6 of the Charter.
                 Section 6. Resignation. Any Director may resign at any time by giving written notice to the Board of Directors,
effective upon execution and delivery to the Corporation of such written notice or upon any future date specified in the notice,
unless the resignation otherwise provides.
                 Section 7. Regular Meetings. The regular annual meeting of the Board of Directors shall be held, without other
notice than this Bylaw, on the same date and at the same place as the annual meeting of stockholders following the close of such
meeting of stockholders. Other regular meetings of the Board of Directors may be held at such hour, date and place as the




                                                                -22-




                                                                                                                                  APP.231
Case 3:24-cv-00707-L                Document 38             Filed 04/15/24            Page 240 of 276             PageID 1507




       Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                  Page 78 of 85 PageID 78




Board of Directors may by resolution from time to time determine without other notice than such resolution.
              Section 8. Executive Sessions. To ensure free and open discussion and communication among the
non‑management directors, the non-management directors shall meet in executive session at least twice a year with no members of
management present.

                Section 9. Special Meetings. Special meetings of the Board of Directors may be called, orally or in writing, by or
at the request of a majority of the Directors, the Chairman of the Board, if one is elected, the Lead Director, if one is elected, or
the Chief Executive Officer. The person calling any such special meeting of the Board of Directors may fix the hour, date and place
thereof.

                Section 10. Notice of Meetings. Notice of the hour, date and place of all special meetings of the Board of
Directors shall be given to each Director by the Secretary or an Assistant Secretary, or in case of the death, absence, incapacity or
refusal of such persons, by the Chairman of the Board, if one is elected, or the Chief Executive Officer or such other officer
designated by the Chairman of the Board, if one is elected, or the Chief Executive Officer. Notice of any special meeting of the
Board of Directors shall be given to each Director in person or by telephone, electronic mail, facsimile transmission or by telegram
sent to his business or home address at least 24 hours in advance of the meeting, or by written notice mailed to his business or
home address at least 48 hours in advance of the meeting. Such notice shall be deemed to be delivered when hand delivered to
such address, when read to such Director by telephone, when deposited in the mail so addressed with postage thereon prepaid,
upon transmission of the message by electronic mail, upon completion of transmission of a facsimile message and receipt of a
completed answer back indicating receipt or when delivered to the telegraph company if sent by telegram.
               When any Board of Directors meeting, either regular or special, is adjourned for more than 30 days, notice of the
adjourned meeting shall be given as in the case of an original meeting. It shall not be necessary to give any notice of the hour, date
or place of any meeting adjourned for 30 days or less or of the business to be transacted at such meeting, other than an
announcement at the meeting at which such adjournment is taken of the hour, date and place to which the meeting is adjourned.
                 A written waiver of notice executed before or after a meeting by a director and filed with the records of the
meeting shall be deemed to be equivalent to an effective notice of the meeting. The attendance of a director at a meeting shall
constitute a waiver of notice of such meeting. Except as otherwise required by law, by the Charter or by these Bylaws, neither the
business to be transacted at, nor the purpose of, any meeting of the Board of Directors need be specified in the notice or waiver of
notice of such meeting.
                 Section 11. Quorum. At any meeting of the Board of Directors, a majority of the Directors then in office shall
constitute a quorum for the transaction of business, but if less than a quorum is present at a meeting, a majority of the directors
present may adjourn the meeting from time to time, and the meeting may be held as adjourned without further notice, except as
provided in Section 10 of this Article II. Any business which might have been transacted at the meeting as originally noticed may
be transacted at such adjourned meeting at which a quorum is present.

                Section 12. Action at Meeting. At any meeting of the Board of Directors at which a quorum is present and subject
to Section 8 of Article VII of the Charter, a majority of the Directors present may take any action on behalf of the Board of
Directors, unless otherwise required by law, by the Charter or these Bylaws.




                                                                -23-




                                                                                                                                  APP.232
Case 3:24-cv-00707-L                Document 38            Filed 04/15/24            Page 241 of 276             PageID 1508




       Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                 Page 79 of 85 PageID 79




                Section 13. Action by Consent. Any action required or permitted to be taken at any meeting of the Board of
Directors may be taken without a meeting if all members of the Board of Directors consent thereto in writing. Such written consent
shall be filed with the records of the proceedings of the Board of Directors and shall be treated for all purposes as a vote at a
meeting of the Board of Directors.

                Section 14. Manner of Participation. Members of the Board of Directors or of committees elected by the Board
pursuant to Section 15 of this Article II may participate in meetings of the Board or of such committees by means of telephone
conference or similar communications equipment by means of which all directors participating in the meeting can hear each other at
the same time, and participation in a meeting in accordance herewith shall constitute presence in person at such meeting for
purposes of these Bylaws.

                Section 15. Committees. The Board of Directors, by the affirmative vote of a majority of the directors then in
office may elect from its number directors to serve on one or more committees, including an Audit Committee, a Compensation
Committee and an Nominating/Corporate Governance Committee, and may delegate thereto some or all of its powers except
those which by law, by the Charter or by these Bylaws, may not be delegated. Except as the Board of Directors may otherwise
determine or as required by law, by the Charter or by these Bylaws, any such committee may make rules for conduct of its
business, but unless otherwise provided by the Board of Directors or in such rules, its business shall be conducted so far as
possible in the same manner as is provided by the Charter and by these Bylaws for the Board of Directors. Any committee to
which the Board of Directors delegates any of its powers or duties shall keep records of its meetings and shall report its action to
the Board of Directors.

                The Board of Directors shall have power to rescind any action of any committee, other than the Audit Committee,
but no such rescission shall have retroactive effect. With the approval of the Board of Directors, the Chief Executive Officer may
appoint such other committees consisting of such directors as the Chief Executive Officer shall select. Any recommendations of
such committees appointed by the Chief Executive Officer shall be submitted to the Board of Directors.

                Section 16. Compensation of Directors. Directors shall receive compensation for their services as shall be
determined by a majority of the Board of Directors, provided that Directors who are serving the Corporation as officers or
employees and who receive compensation for their services as such (“Employee Directors”) shall not receive any salary or other
compensation for their services as Directors of the Corporation; provided, however, that such Employee Directors may be paid
their reasonable expenses incurred as a director.

                                                           ARTICLE III
                                                           OFFICERS
                Section 1. Enumeration. The officers of the Corporation shall consist of a Chief Executive Officer, a President, a
Secretary and a Treasurer and such other officers, including without limitation a Chairman of the Board, a Chief Operating Officer,
a Chief Legal Officer, a Chief Financial Officer, a Chief Accounting Officer, one or more Vice Presidents (including Executive Vice
Presidents or Senior Vice Presidents), Assistant Vice Presidents, Assistant Treasurers and Assistant Secretaries, as the Board of
Directors may determine. Effective on the date on which the Corporation hires a Chief Executive Officer that is not also the
Chairman of the Board, any number of offices may be held by the same person, except the offices of Chairman of the Board and
the Chief Executive Officer.




                                                               -24-




                                                                                                                                APP.233
Case 3:24-cv-00707-L                 Document 38             Filed 04/15/24             Page 242 of 276              PageID 1509




        Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                   Page 80 of 85 PageID 80




                Section 2. Election and Appointment. At the regular annual meeting of the Board of Directors following the annual
meeting of stockholders, the Board of Directors shall elect the Chief Executive Officer, the President, the Treasurer and the
Secretary. Other officers may be appointed by the Board of Directors at such regular annual meeting of the Board of Directors or
at any other regular or special meeting, or other officers may be appointed by the Chief Executive Officer.
                 Section 3. Qualification. No officer need be a stockholder or a director. Any person may occupy more than one
office of the Corporation at any time except the offices of President and Vice President. Any officer may be required by the Board
of Directors to give bond, at the Corporation’s expense, for the faithful performance of his duties in such amount and with such
sureties as the Board of Directors may determine.
                 Section 4. Tenure. Except as otherwise provided by the Charter or by these Bylaws, each of the officers of the
Corporation shall hold office until the regular annual meeting of the Board of Directors following the next annual meeting of
stockholders and until his successor is elected and qualified or until his earlier resignation or removal. Election or appointment of an
officer, employee or agent shall not of itself create contract rights. The Board of Directors may, however, authorize the Corporation
to enter into an employment contract with any officer in accordance with law, but no such contract right shall prohibit the right of
the Board of Directors to remove any officer at any time in accordance with Section 6 of this Article III.
                Section 5. Resignation. Any officer may resign by delivering his written resignation to the Corporation addressed to
the Chief Executive Officer or the Secretary, and such resignation shall be effective upon receipt unless it is specified to be effective
at some other time or upon the happening of some other event.
                Section 6. Removal. If the Board of Directors in its judgment finds that the best interests of the Corporation will be
served, the Board of Directors may remove any officer by the affirmative vote of a majority of the Directors then in office. Such
removal shall be without prejudice to the contract rights, if any, of the person so removed.
               Section 7. Absence or Disability. In the event of the absence or disability of any officer, the Board of Directors
may designate another officer to act temporarily in place of such absent or disabled officer.

                Section 8. Vacancies. Any vacancy in any office may be filled for the unexpired portion of the term by the Board of
Directors.
                Section 9. Chief Executive Officer. The President may be the Chief Executive Officer or the Board of Directors
may elect another person to be the Chief Executive Officer. In the absence of the Chairman of the Board, the Chief Executive
Officer shall preside, when present, at all meetings of the Board of Directors. The Chief Executive Officer shall, subject to the
direction of the Board of Directors, have general supervision and control of the Corporation’s business and shall preside, if the
Chairman of the Board is not present, at all meetings of the stockholders. Effective on the date on which the Corporation hires a
Chief Executive Officer that is not also the Chairman of the Board, the Chief Executive Officer shall not concurrently serve as the
Chairman of the Board.
                Section 10. Chairman of the Board. The Chairman of the Board shall preside at all meetings of the Board of
Directors and at all meetings of stockholders. If the Chairman of the Board is absent, the Chief Executive Officer shall preside at
meetings of the Board of Directors and at meetings of stockholders. The Chairman of the Board shall have such other powers and




                                                                  -25-




                                                                                                                                    APP.234
Case 3:24-cv-00707-L                Document 38             Filed 04/15/24           Page 243 of 276              PageID 1510




       Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                  Page 81 of 85 PageID 81




shall perform such other duties as the Board of Directors may from time to time designate and shall act as an officer of the
Corporation if so designated by the Board.
               Section 11. President. If the President is not the Chief Executive Officer or Chairman of the Board and in the
absence of such persons, the President shall preside, when present, at all meetings of the stockholders. If the President is not the
Chief Executive Officer, he shall have such powers and perform such duties as the Board of Directors or the Chief Executive
Officer may from time to time designate.
                Section 12. Chief Operating Officer, Chief Legal Officer, Chief Financial Officer and Chief Accounting Officer.
Any Chief Operating Officer, Chief Legal Officer, Chief Financial Officer or Chief Accounting Officer shall have such powers and
shall perform such duties as the Board of Directors or the Chief Executive Officer may from time to time designate.
               Section 13. Vice Presidents and Assistant Vice Presidents. Any Vice President (including any Executive Vice
President or Senior Vice President) and Assistant Vice President shall have such powers and shall perform such duties as the
Board of Directors or the Chief Executive Officer may from time to time designate.
                Section 14. Treasurer and Assistant Treasurers. The Chief Financial Officer shall be the Treasurer, unless the
Board of Directors shall elect another officer to be the Treasurer. The Treasurer shall, subject to the direction of the Board of
Directors and except as the Board of Directors or the Chief Executive Officer may otherwise provide, have general charge of the
financial affairs of the Corporation and shall cause to be kept accurate books of account. He shall have custody of all funds,
securities and valuable documents of the qCorporation. He shall have such other duties and powers as may be designated from
time to time by the Board of Directors or the Chief Executive Officer. In the absence of a Chief Financial Officer, the office of the
Treasurer shall be deemed to be the office of the Chief Financial Officer of the Corporation whenever the signature of the Chief
Financial Officer is required on any document or instrument, by the laws of the United States or any state, or elsewhere in the
Bylaws, and the Treasurer shall have authority to affix his signature in such capacity.
                 The office of the Chief Accounting Officer shall be deemed an Assistant Treasurer of the Corporation whenever
the signature of an Assistant Treasurer is required on any document or instrument, by the laws of the United States or any state, or
elsewhere in these Bylaws, and the Vice President of Finance and Accounting shall have authority to affix his signature in such
capacity. Any Treasurer or Assistant Treasurer shall have such powers and perform such duties as the Board of Directors or the
Chief Executive Officer may from time to time designate.
                 Section 15. Secretary and Assistant Secretaries. The Secretary shall record all the proceedings of the meetings of
the stockholders and the Board of Directors (including committees of the Board) in books kept for that purpose. In the absence of
the Secretary from any such meeting, a temporary secretary chosen at the meeting shall record the proceedings thereof. The
Secretary shall have charge of the stock ledger (which may, however, be kept by any transfer or other agent of the Corporation).
The secretary shall have custody of the seal of the Corporation, and the Secretary, or an Assistant Secretary, shall have authority
to affix it to any instrument requiring it, and, when so affixed, the seal may be attested by the signature of the Secretary or an
Assistant Secretary. The Secretary shall have such other duties and powers as may be designated from time to time by the Board
of Directors or the Chief Executive Officer. In the absence of the Secretary, any Assistant Secretary may perform the duties and
responsibilities of the Secretary.




                                                                -26-




                                                                                                                                 APP.235
Case 3:24-cv-00707-L                 Document 38             Filed 04/15/24            Page 244 of 276              PageID 1511




        Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                   Page 82 of 85 PageID 82




               Any Assistant Secretary shall have such powers and perform such duties as the Board of Directors or the Chief
Executive Officer may from time to time designate.
                 Section 16. Other Powers and Duties. Subject to these Bylaws and to such limitations as the Board of Directors
may from time to time prescribe, the officers of the Corporation shall each have such powers and duties as generally pertain to
their respective offices, as well as such powers and duties as from time to time may be conferred by the Board of Directors or the
Chief Executive Officer.

                                                            ARTICLE IV
                                                             STOCK
                 Section 1. Certificates of Stock. Unless otherwise provided by the Board of Directors or by law, each stockholder
shall be entitled to a certificate of the stock of the Corporation in such form as may from time to time be prescribed by the Board
of Directors. Such certificate shall bear the seal of the Corporation, if one has been adopted, and shall be signed by the Chairman
of the Board of Directors, Chief Executive Officer or President and countersigned by the Treasurer or an Assistant Treasurer or
the Secretary or an Assistant Secretary. The seal of the Corporation, if one has been adopted, and any and all signatures on the
certificate may be a facsimile, including those of any transfer agent or registrar. In case any officer, transfer agent or registrar who
has signed or whose facsimile signature has been placed on such certificate shall have ceased to be such officer, transfer agent or
registrar before such certificate is issued, it may be issued by the Corporation with the same effect as if he were such officer,
transfer agent or registrar at the time of its issue. Every certificate for shares of stock which are subject to any restriction on
transfer and every certificate issued when the Corporation is authorized to issue more than one class or series of stock shall contain
such legend with respect thereto as is required by law.

                Section 2. Transfers. Subject to any restrictions on transfer and unless otherwise provided by the Board of
Directors, shares of stock may be transferred only on the books of the Corporation by the surrender to the Corporation or its
transfer agent of the certificate therefor properly endorsed or accompanied by a written assignment or power of attorney properly
executed, with transfer stamps (if necessary) affixed, and with such proof of the authenticity of signature as the Corporation or its
transfer agent may reasonably require.

                Section 3. Record Holders. Except as may otherwise be required by law, by the Charter or by these Bylaws, the
Corporation shall be entitled to treat the record holder of stock as shown on its books as the owner of such stock for all purposes,
including the payment of dividends and the right to vote with respect thereto, regardless of any transfer, pledge or other disposition
of such stock, until the shares have been transferred on the books of the Corporation in accordance with the requirements of these
Bylaws.

               It shall be the duty of each stockholder to notify the Corporation or its transfer agent of his post office address and
any changes thereto.

                 Section 4. Record Date. In order that the Corporation may determine the stockholders entitled to receive notice of
or to vote at any meeting of stockholders or any adjournments thereof, or entitled to receive payment of any dividend or other
distribution or allotment of any rights, or entitled to exercise any rights in respect of any change, conversion or exchange of stock
or for the purpose of any other lawful action, the Board of Directors may fix, in advance, a record date, which shall not be more
than 90 days nor less than 10 days before the date of such meeting, nor more than 90 days prior to any other action. In such case,
only




                                                                 -27-




                                                                                                                                   APP.236
Case 3:24-cv-00707-L                 Document 38             Filed 04/15/24            Page 245 of 276              PageID 1512




        Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                   Page 83 of 85 PageID 83




stockholders of record on such record date shall be so entitled, notwithstanding any transfer of stock on the stock transfer books
of the Corporation after the record date.
                If no record date is fixed:

                        (a) the record date for determining stockholders entitled to receive notice of or to vote at a meeting of
        stockholders shall be the later of (i) the close of business on the day on which notice is mailed or (ii) the 30th day before
        the meeting; and

                        (b) the record date for determining stockholders entitled to receive payment of a dividend or an allotment
        of any rights shall be at the close of business on the day on which the Board of Directors adopts the resolution relating
        thereto.

                 Section 5. Replacement of Certificates. In case of the alleged loss, destruction or mutilation of a certificate of
stock, a duplicate certificate may be issued in place thereof upon such terms as the Corporation or its transfer agent may prescribe.

                 Section 6. Transfer Agents and Registrars. The Corporation may serve as the transfer agent and registrar of the
shares of stock, or the Board of Directors may, in its discretion, appoint one or more responsible bank, trust company or other
entity as the Board of Directors may deem advisable, from time to time, to act as transfer agent and registrar of shares of stock.
No certificate for shares of stock shall be valid until countersigned by the transfer agent and registered by the registrar.

                 Section 7. Stockholders’ Addresses. Every stockholder or transferee shall furnish the Secretary or a transfer agent
with the address to which notice of meetings and all other notices may be served upon or mailed to such stockholder or transferee,
and in default thereof, such stockholder or transferee shall not be entitled to service or mailing of any such notice.
                Section 8. Repurchase of Shares of Stock. The Corporation may purchase its shares of stock and invest its assets
in its own shares of stock, provided that in each case the consent of the Board of Directors shall have been obtained.

                                                          ARTICLE V
                                                       INDEMNIFICATION

                 Section 1. Right to Indemnification. The Corporation shall, to the maximum extent permitted by the Maryland
General Corporation Law in effect from time to time, indemnify, and, without a preliminary determination of the ultimate entitlement
to indemnification, pay or reimburse reasonable expenses in advance of final disposition of a proceeding to (a) any individual who
is a present or former director or officer of the Corporation or (b) any individual who, while a director or officer of the
Corporation and at the request of the Corporation, serves or has served another corporation, real estate investment trust,
partnership, joint venture, trust, employee benefit plan or any other enterprise as a director, officer, partner or trustee and, in each
case, shall indemnify such person from and against any claim or liability to which such person may become subject or which such
person may incur by reason of his status as a present or former director or officer of the Corporation or director, officer, partner or
trustee of such other entity (each, an “Indemnitee”). The Corporation shall, to the maximum extent permitted by the Maryland
General Corporation Law in effect from time to time, provide such indemnification and advancement of expenses to a person who
served a predecessor of the Corporation in any of the capacities described above (any such person shall also be deemed to be an
“Indemnitee”).




                                                                 -28-




                                                                                                                                   APP.237
Case 3:24-cv-00707-L                Document 38             Filed 04/15/24           Page 246 of 276              PageID 1513




       Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                  Page 84 of 85 PageID 84




                Section 2. Indemnification of Employees and Agents of the Corporation. With the approval of the Board of
Directors, the Corporation shall, to the maximum extent permitted by the Maryland General Corporation Law in effect from time
to time, and to such further extent as it shall deem appropriate under the circumstances, provide such indemnification and
advancement of expenses as described in Section 1 above, to any employee or agent of the Corporation or a predecessor of the
Corporation (each such person shall also be deemed to be an “Indemnitee”).

                 Section 3. Right of Indemnitee to Bring Suit. If a claim under this Article V is not paid in full by the Corporation
within 60 days after a written claim has been received by the Corporation, except in the case of a claim for an advancement of
expenses, in which case the applicable period shall be 20 days, the Indemnitee may at any time thereafter bring suit against the
Corporation to recover the unpaid amount of the claim. If the Indemnitee is successful in whole or in part in any such suit, or in a
suit brought by the Corporation to recover an advancement of expenses pursuant to the terms of an undertaking, the Indemnitee
shall also be entitled to be paid the expense of prosecuting or defending such suit. In any suit brought by an Indemnitee who is a
present or former director to enforce a right to indemnification hereunder (but not in a suit brought by the Indemnitee to enforce a
right to an advancement of expenses), it shall be a defense that such Indemnitee has not met the applicable standard of conduct set
forth in the Maryland General Corporation Law. In addition, in any suit by the Corporation to recover an advancement of
expenses pursuant to the terms of an undertaking, the Corporation shall be entitled to recover such expenses upon a final
adjudication that the Indemnitee who is a present or former director has not met the applicable standard of conduct set forth in the
Maryland General Corporation Law. Neither the failure of the Corporation (including its Board of Directors, independent legal
counsel, or stockholders) to have made a determination prior to the commencement of such suit that indemnification of the
Indemnitee is proper in the circumstances because the Indemnitee has met the applicable standard of conduct set forth in the
Maryland General Corporation Law, nor an actual determination by the Corporation (including its Board of Directors, independent
legal counsel or stockholders) that the Indemnitee has not met such applicable standard of conduct, shall create a presumption that
the Indemnitee has not met the applicable standard of conduct. In any suit brought by the Indemnitee to enforce a right to
indemnification or to an advancement of expenses hereunder, or by the Corporation to recover an advancement of expenses
pursuant to the terms of an undertaking, the burden of proving that the Indemnitee is not entitled to be indemnified, or to such
advancement of expenses, under this Article V or otherwise shall be on the Corporation.

                Section 4. Non-Exclusivity of Rights. The rights to indemnification and to advancement of expenses conferred in
this Article V shall not be exclusive of any other right that any person may have or hereafter acquire under these Bylaws, the
Charter or any statute, agreement, vote of stockholders or disinterested directors or otherwise.

                 Section 5. Insurance. The Corporation may maintain insurance, at its expense, to protect itself and any director,
officer, employee or agent of the Corporation or any director, officer, employee or agent of another corporation, partnership, joint
venture, trust or other enterprise against any expense, liability or loss, whether or not the Corporation would have the power to
indemnify such person against such expense, liability or loss under the Maryland General Corporation Law.

                                                      ARTICLE VI
                                               MISCELLANEOUS PROVISIONS

                Section 1. Fiscal Year. The fiscal year of the Corporation shall end on December 31 of each year or on such other
date as may be fixed by the Board of Directors.




                                                                -29-




                                                                                                                                 APP.238
Case 3:24-cv-00707-L                Document 38            Filed 04/15/24            Page 247 of 276             PageID 1514




       Case 3:24-cv-00894-N Document 1 Filed 04/11/24                                 Page 85 of 85 PageID 85




                 Section 2. Seal. The seal of the Corporation shall be in the form of a circle and shall have inscribed thereon the
name of the Corporation and the year of its organization. The seal may be used by causing it or a facsimile thereof to be impressed
or affixed or reproduced.
                 Section 3. Investment Policies. The directors may from time to time adopt, amend, revise or terminate any policy
or policies with respect to investments by the Corporation as they shall deem appropriate in their sole discretion.
                 Section 4. Execution of Instruments. All deeds, leases, transfers, contracts, bonds, notes and other obligations to
be entered into by the Corporation in the ordinary course of its business without director action may be executed on behalf of the
Corporation by the Chairman of the Board, if one is elected, the Chief Executive Officer, the President or the Treasurer or any
other officer, employee or agent of the Corporation as the Board of Directors may authorize.
                Section 5. Voting of Securities. Unless the Board of Directors otherwise provides, the Chairman of the Board, if
one is elected, the Chief Executive Officer, the President or the Treasurer may waive notice of and act on behalf of this
Corporation, or appoint another person or persons to act as proxy or attorney in fact for this Corporation with or without
discretionary power and/or power of substitutions at any meeting of stockholders or stockholders of any other corporation or
organization, any of whose securities are held by this Corporation.
                Section 6. Resident Agent. The Board of Directors may appoint a resident agent upon whom legal process may be
served in any action or proceeding against the Corporation.
                 Section 7. Corporate Records. The original or attested copies of the Charter, Bylaws and records of all meetings
of the incorporators, stockholders and the Board of Directors and the stock transfer books, which shall contain the names of all
stockholders, their record addresses and the amount of stock held by each, may be kept outside the State of Maryland and shall
be kept at the principal office of the Corporation, at the office of its counselor at an office of its transfer agent.
                 Section 8. Amendments. The exclusive power to alter, amend or repeal these bylaws, and to adopt new bylaws,
shall be vested in the Board of Directors.
                Section 9. Offices. The principal office of the Corporation within the State of Maryland shall be located at such
place as the Board of Directors may designate. The Corporation may have additional offices, including a principal executive office,
at such place or places both within and without the State of Maryland as the Board of Directors may from time to time determine
or the business of the Corporation may require.




                                                               -30-




                                                                                                                                APP.239
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 248 of 276   PageID 1515




                         EXHIBIT E
     Case 3:24-cv-00707-L                  Document 38           Filed 04/15/24           Page 249 of 276           PageID 1516
8-K 1 tm2020161-1_8k.htm FORM 8-K



                                           UNITED STATES
                               SECURITIES AND EXCHANGE COMMISSION
                                                         Washington, D.C. 20549



                                                               FORM 8-K
                                                         CURRENT REPORT
                                                 Pursuant to Section 13 or 15(d) of the
                                                   Securities Exchange Act of 1934
                                      Date of Report (Date of earliest event reported): May 14, 2020



                                      BRAEMAR HOTELS & RESORTS INC.
                                            (Exact name of registrant as specified in its charter)



                   Maryland                                   001-35972                                        XX-XXXXXXX
         (State or other jurisdiction of                 (Commission file number)                     (I.R.S. Employer Identification
        incorporation or organization)                                                                          Number)


                14185 Dallas Parkway, Suite 1100
                          Dallas, Texas                                                                75254
                  (Address of principal executive                                                    (Zip Code)
                             offices)


                                   Registrant’s telephone number, including area code: (972) 490-9600

                                                                 N/A
                                       (Former name or former address, if changed since last report)

Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant under
any of the following provisions:

¨        Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)
¨        Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)
¨        Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))
¨        Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))

Indicate by check mark whether the registrant is an emerging growth company as defined in Rule 405 of the Securities Act of
1933(§230.405 of this chapter) or Rule 12b-2 of the Securities Exchange Act of 1934 (§240.12b-2 of this chapter).

Emerging growth company ¨

If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for
complying with any new or revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. ¨

Securities registered pursuant to Section 12(b) of the Act:

             Title of each class                              Trading Symbol(s)                      Name of each exchange on which
                                                                                                               registered
                                                                                                                                        APP.240
Case 3:24-cv-00707-L          Document 38   Filed 04/15/24   Page 250 of 276    PageID 1517




       Common Stock                           BHR                      New York Stock Exchange
  Preferred Stock, Series B                  BHR-PB                    New York Stock Exchange
  Preferred Stock, Series D                  BHR-PD                    New York Stock Exchange




                                                                                                 APP.241
      Case 3:24-cv-00707-L                Document 38         Filed 04/15/24          Page 251 of 276            PageID 1518




Item 5.07         Submission of Matters to a Vote of Security Holders.

(a) On May 14, 2020, Braemar Hotels & Resorts Inc. (the “Company”) held its Annual Meeting of Stockholders (the “Annual
Meeting”). As of March 20, 2020, the record date for the Annual Meeting, there were 33,519,263 shares of common stock outstanding
and entitled to vote. At the Annual Meeting, 25,668,905 shares, or approximately 76.57% of the eligible voting shares, were
represented either in person or by proxy.

(b) At the Annual Meeting, the stockholders voted on the following items:

1. Proposal 1 – To elect seven nominees to the Board of Directors to hold office until the next annual meeting of stockholders and until
their successors are elected and qualified. The following nominees were elected to the Company's Board of Directors (constituting the
entire Board of Directors), with the voting results for each nominee as shown:

                                                                                                                           Broker
Name                                                                                      For            Withheld         Non-votes
Monty J. Bennett                                                                       19,215,410        2,541,022        3,912,473
Stefani D. Carter                                                                      16,863,707        4,892,725        3,912,473
Candace Evans                                                                          21,645,369         111,063         3,912,473
Kenneth H. Fearn, Jr.                                                                  21,524,035         232,397         3,912,473
Curtis B. McWilliams                                                                   21,066,008         690,424         3,912,473
Matthew D. Rinaldi                                                                     21,059,934         696,498         3,912,473
Abteen Vaziri                                                                          17,652,141        4,104,291        3,912,473

2. Proposal 2 – To obtain advisory approval of the Company’s executive compensation. This proposal was approved by the votes
indicated below:

                                                                                                               Broker
                   For                              Against                     Abstain                       Non-votes
                20,894,105                          827,148                      35,179                       3,912,473

3. Proposal 3 – To recommend the frequency of advisory votes on the Company’s executive compensation. “1 Year” was approved by
the votes indicated below:

                                                                                                                 Broker
              1 Year                      2 Years               3 Years                   Abstain               Non-votes
             20,710,374                    12,077               997,137                    36,844               3,912,473

Based on these voting results, the Company will hold an advisory vote on executive compensation every year until the next stockholder
vote on the frequency of votes on executive compensation. A stockholder vote on the frequency of votes on executive compensation is
required to be held at least once every six years.

4. Proposal 4 – To ratify the appointment of BDO USA, LLP, a national public accounting firm, as the Company's independent auditors
for the fiscal year ending December 31, 2020. This proposal was approved by the votes indicated below:

                                For                             Against                             Abstain
                             25,564,294                          68,590                              36,021


                                                                   2




                                                                                                                                 APP.242
   Case 3:24-cv-00707-L            Document 38           Filed 04/15/24         Page 252 of 276          PageID 1519




                                                       SIGNATURES

        Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be
signed on its behalf by the undersigned hereunto duly authorized.

                                                               BRAEMAR HOTELS & RESORTS INC.

                                                               By: /s/ Robert G. Haiman
                                                                   Robert G. Haiman
                                                                   Executive Vice President, General Counsel & Secretary

Date: May 19, 2020


                                                              3




                                                                                                                         APP.243
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 253 of 276   PageID 1520




                         EXHIBIT F
      Case 3:24-cv-00707-L                       Document 38              Filed 04/15/24         Page 254 of 276           PageID 1521



                                                                     UNITED STATES
                                               SECURITIES AND EXCHANGE COMMISSION
                                                                    Washington, D.C. 20549


                                                                      FORM 8-K
                                                                    CURRENT REPORT

                                                  PURSUANT TO SECTION 13 OR 15(d)
                                              OF THE SECURITIES EXCHANGE ACT OF 1934

                                        Date of Report (date of earliest event reported): May 11, 2021


                                  BRAEMAR HOTELS & RESORTS INC.
                                                  (Exact name of registrant as specified in its charter)



                             Maryland                                        001-35972                            XX-XXXXXXX
   (State or other jurisdiction of incorporation or organization)     (Commission File Number)        (IRS employer identification number)
                     14185 Dallas Parkway
                            Suite 1200
                              Dallas
                              Texas                                                                                  75254
              (Address of principal executive offices)                                                             (Zip code)


                                         Registrant’s telephone number, including area code: (972) 490-9600

                                                                  Not Applicable
                                             (Former name or former address, if changed since last report)

Check the appropriate box if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant under any of the
following provisions:

☐ Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)

☐ Soliciting material pursuant to Rule 14-a-12 under the Exchange Act (17 CFR 240.14a-12)

☐ Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))

☐ Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))

Indicate by check mark whether the registrant is an emerging growth company as defined in Rule 405 of the Securities Act of 1933 (§230.405
of this chapter) or Rule 12b-2 of the Securities Exchange Act of 1934 (§240.12b-2 of this chapter).

Emerging growth company           ☐

If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying
with any new or revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. ☐




                                                                                                                                             APP.244
      Case 3:24-cv-00707-L               Document 38            Filed 04/15/24   Page 255 of 276        PageID 1522




Securities registered pursuant to Section 12(b) of the Act:
            Title of each class                          Trading Symbol(s)         Name of each exchange on which registered
             Common Stock                                      BHR                       New York Stock Exchange
      Preferred Stock, Series B                              BHR-PB                      New York Stock Exchange
      Preferred Stock, Series D                              BHR-PD                      New York Stock Exchange




                                                                                                                       APP.245
    Case 3:24-cv-00707-L              Document 38                Filed 04/15/24          Page 256 of 276          PageID 1523


ITEM 5.07   SUBMISSION OF MATTERS TO A VOTE OF SECURITIES HOLDERS.
  (a) On May 11, 2021, Braemar Hotels & Resorts Inc. (the “Company”) held its Annual Meeting of Stockholders (the “Annual
  Meeting”). As of March 15, 2021, the record date for the Annual Meeting, there were 41,124,073 shares of common stock
  outstanding and entitled to vote. At the Annual Meeting, 22,237,566 shares, or approximately 54.07% of the eligible voting shares,
  were represented either in person or by proxy.

  (b) At the Annual Meeting, the stockholders voted on the following items:

  1. Proposal 1 – To elect eight nominees to the Board of Directors to hold office until the next annual meeting of stockholders and
  until their successors are elected and qualified. The following nominees were elected to the Company’s Board of Directors
  (constituting the entire Board of Directors), with the voting results for each nominee as shown:

                                                                                                     Broker
                                   Name                          For           Withheld            Non-votes
                             Monty J. Bennett               10,887,055          1,660,267           9,690,244
                             Stefani D. Carter               9,819,456          2,727,866           9,690,244
                             Candace Evans                  12,278,479            268,843           9,690,244
                             Kenneth H. Fearn,
                             Jr.                            12,272,772            274,550           9,690,244
                             Curtis              B.
                             McWilliams                     11,865,715            681,607           9,690,244
                             Matthew D. Rinaldi             11,811,432            735,890           9,690,244
                             Richard J. Stockton            12,255,770            291,552           9,690,244
                             Abteen Vaziri                      9,820,075       2,727,247           9,690,244


  2. Proposal 2 – To obtain advisory approval of the Company’s executive compensation. This proposal was approved by the votes
  indicated below:
                                                                                                 Broker
                                     For                Against             Abstain             Non-votes
                                10,824,261             1,603,839            119,222             9,690,244


  3. Proposal 3 – To ratify the appointment of BDO USA, LLP, a national public accounting firm, as the Company’s independent
  auditors for the fiscal year ending December 31, 2021. This proposal was approved by the votes indicated below:
                                           For                   Against              Abstain
                                       21,928,058                226,397              83,111


  4. Proposal 4 – To approve Amendment No. 2 to the Company’s Second Amended and Restated 2013 Equity Incentive Plan. This
  proposal was approved by the votes indicated below:
                                                                                                      Broker
                             For                      Against                Abstain                 Non-votes
                         9,936,141                2,540,171                   71,010                  9,690,244




                                                                                                                            APP.246
      Case 3:24-cv-00707-L              Document 38           Filed 04/15/24           Page 257 of 276           PageID 1524




                                                             SIGNATURE

    Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its
behalf by the undersigned hereunto duly authorized.

Dated: May 11, 2021

                                                                      BRAEMAR HOTELS & RESORTS INC.

                                                                      By: /s/ ROBERT G. HAIMAN
                                                                          Robert G. Haiman
                                                                          Executive Vice President, General Counsel & Secretary




                                                                                                                                 APP.247
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 258 of 276   PageID 1525




                         EXHIBIT G
      Case 3:24-cv-00707-L                       Document 38             Filed 04/15/24         Page 259 of 276             PageID 1526


                                                                     UNITED STATES
                                               SECURITIES AND EXCHANGE COMMISSION
                                                        Washington, D.C. 20549

                                                                     FORM 8-K
                                                                    CURRENT REPORT

                                                  PURSUANT TO SECTION 13 OR 15(D)
                                              OF THE SECURITIES EXCHANGE ACT OF 1934

                                        Date of Report (date of earliest event reported): May 11, 2022


                                  BRAEMAR HOTELS & RESORTS INC.
                                                  (Exact name of registrant as specified in its charter)



                             Maryland                                       001-35972                             XX-XXXXXXX
   (State or other jurisdiction of incorporation or organization)    (Commission File Number)         (IRS employer identification number)
                      14185 Dallas Parkway
                           Suite 1100
                             Dallas
                             Texas                                                                                  75254
              (Address of principal executive offices)                                                             (Zip code)


                                         Registrant’s telephone number, including area code: (972) 490-9600

                                                                  Not Applicable
                                             (Former name or former address, if changed since last report)

Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant under any of
the following provisions:

☐ Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)

☐ Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)

☐ Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))

☐ Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))

Indicate by check mark whether the registrant is an emerging growth company as defined in Rule 405 of the Securities Act of 1933 (§230.405
of this chapter) or Rule 12b-2 of the Securities Exchange Act of 1934 (§240.12b-2 of this chapter).

Emerging growth company           ☐

If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying
with any new or revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. ☐




                                                                                                                                             APP.248
      Case 3:24-cv-00707-L                 Document 38           Filed 04/15/24   Page 260 of 276        PageID 1527




Securities registered pursuant to Section 12(b) of the Act:
              Title of each class                             Trading Symbol(s)       Name of each exchange on which registered
               Common Stock                                         BHR                     New York Stock Exchange
          Preferred Stock, Series B                               BHR-PB                    New York Stock Exchange
          Preferred Stock, Series D                               BHR-PD                    New York Stock Exchange




                                                                                                                        APP.249
     Case 3:24-cv-00707-L              Document 38               Filed 04/15/24            Page 261 of 276     PageID 1528



ITEM 5.02 DEPARTURE OF DIRECTORS OR CERTAIN OFFICERS; ELECTION OF DIRECTORS; APPOINTMENT
OF CERTAIN OFFICERS; COMPENSATORY ARRANGEMENTS OF CERTAIN OFFICERS.

    On May 11, 2022, the stockholders of Braemar Hotels & Resorts Inc. (the “Company”) approved an amendment to the Company’s
Second Amended and Restated 2013 Equity Incentive Plan (as amended, the “2013 Plan”) at the Company's Annual Meeting of
Stockholders (the “Annual Meeting”) in accordance with the voting results set forth below under item 5.07.

     The amendment increases the amount of common stock available for issuance under the 2013 Plan by 1,600,000 shares. A
summary of the amendment and the 2013 Plan, as amended, is included in the Company's definitive proxy statement for the Annual
Meeting, which was filed with the Securities and Exchange Commission on March 30, 2022 as updated by the supplement to the proxy
statement filed on April 22, 2022. The summary is incorporated by reference herein.
ITEM 5.07    SUBMISSION OF MATTERS TO A VOTE OF SECURITIES HOLDERS.

   (a) On May 11, 2022, the Company held its Annual Meeting. As of March 11, 2022, the record date for the Annual Meeting, there
   were 74,276,341 shares of voting stock outstanding and entitled to vote, consisting of 71,327,378 shares of common stock,
   2,912,159 shares of Series E Preferred Stock and 36,804 shares of Series M Preferred Stock. At the Annual Meeting, 46,155,936
   shares, or approximately 62.1% of the eligible voting shares, were represented either in person or by proxy.

   (b)   At the Annual Meeting, the stockholders voted on the following items:
   1. Proposal One – To elect eight nominees to the Board of Directors to hold office until the next annual meeting of stockholders and
   until their successors are duly elected and qualified. The following nominees were elected to the Company’s Board of Directors
   (constituting the entire Board of Directors), with the voting results for each nominee as shown:

                                                                                                   Broker
                                      Name                        For           Withheld         Non-Votes
                                Monty J. Bennett              31,987,119        4,789,668         9,379,149
                                Stefani D. Carter             25,286,894       11,489,893         9,379,149
                                Candace Evans                 34,852,345       1,924,442          9,379,149
                                Kenneth H. Fearn,
                                Jr.                           34,702,307       2,074,480          9,379,149
                                Rebeca           Odino-
                                Johnson                       35,064,833        1,711,954         9,379,149
                                Matthew D. Rinaldi            34,311,871       2,464,916          9,379,149
                                Richard J. Stockton           34,843,132       1,933,655          9,379,149
                                Abteen Vaziri                 26,130,969       10,645,818         9,379,149

   2. Proposal Two – To obtain advisory approval of the Company’s executive compensation. This proposal was approved by the votes
   indicated below:

                                                                                            Broker
                                           For              Against         Abstain        Non-Votes
                                       31,037,628           2,469,011      3,270,148       9,379,149

   3. Proposal Three – To ratify the appointment of BDO USA, LLP, a national public accounting firm, as the Company's independent
   auditors for the fiscal year ending December 31, 2022. This proposal was approved by the votes indicated below:

                                                      For          Against       Abstain
                                                  42,237,657       49,324       3,868,955

   4. Proposal Four – To approve Amendment No. 3 to the Company’s Second Amended and Restated 2013 Equity Incentive Plan.
   This proposal was approved by the votes indicated below:



                                                                                                                               APP.250
Case 3:24-cv-00707-L   Document 38       Filed 04/15/24     Page 262 of 276   PageID 1529




                                                             Broker
                                                              Non-
                          For       Against     Abstain      Votes
                       30,098,423   3,443,333   3,235,031   9,379,149




                                                                                        APP.251
      Case 3:24-cv-00707-L              Document 38           Filed 04/15/24           Page 263 of 276           PageID 1530




                                                        SIGNATURE

    Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its
behalf by the undersigned hereunto duly authorized.


                                                           BRAEMAR HOTELS & RESORTS INC.


 Dated: May 11, 2022                                       By:    /s/ Alex Rose
                                                                  Alex Rose
                                                                  Executive Vice President, General Counsel & Secretary




                                                                                                                                 APP.252
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 264 of 276   PageID 1531




                         EXHIBIT H
      Case 3:24-cv-00707-L                       Document 38             Filed 04/15/24         Page 265 of 276             PageID 1532


                                                                     UNITED STATES
                                               SECURITIES AND EXCHANGE COMMISSION
                                                        Washington, D.C. 20549

                                                                     FORM 8-K
                                                                    CURRENT REPORT

                                                  PURSUANT TO SECTION 13 OR 15(D)
                                              OF THE SECURITIES EXCHANGE ACT OF 1934

                                        Date of Report (date of earliest event reported): May 10, 2023


                                  BRAEMAR HOTELS & RESORTS INC.
                                                  (Exact name of registrant as specified in its charter)



                             Maryland                                       001-35972                             XX-XXXXXXX
   (State or other jurisdiction of incorporation or organization)    (Commission File Number)         (IRS employer identification number)
                      14185 Dallas Parkway
                           Suite 1200
                             Dallas
                             Texas                                                                                  75254
              (Address of principal executive offices)                                                             (Zip code)


                                         Registrant’s telephone number, including area code: (972) 490-9600

                                                                  Not Applicable
                                             (Former name or former address, if changed since last report)

Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant under any of
the following provisions:

☐ Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)

☐ Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)

☐ Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))

☐ Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))

Indicate by check mark whether the registrant is an emerging growth company as defined in Rule 405 of the Securities Act of 1933 (§230.405
of this chapter) or Rule 12b-2 of the Securities Exchange Act of 1934 (§240.12b-2 of this chapter).

Emerging growth company           ☐

If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying
with any new or revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. ☐




                                                                                                                                             APP.253
     Case 3:24-cv-00707-L                Document 38            Filed 04/15/24   Page 266 of 276        PageID 1533




Securities registered pursuant to Section 12(b) of the Act:
              Title of each class                           Trading Symbol(s)      Name of each exchange on which registered
               Common Stock                                       BHR                    New York Stock Exchange
          Preferred Stock, Series B                             BHR-PB                   New York Stock Exchange
          Preferred Stock, Series D                             BHR-PD                   New York Stock Exchange




                                                                                                                        APP.254
     Case 3:24-cv-00707-L              Document 38           Filed 04/15/24             Page 267 of 276            PageID 1534

ITEM 5.02 DEPARTURE OF DIRECTORS OR CERTAIN OFFICERS; ELECTION OF DIRECTORS; APPOINTMENT
OF CERTAIN OFFICERS; COMPENSATORY ARRANGEMENTS OF CERTAIN OFFICERS.

    On May 10, 2023, the stockholders of Braemar Hotels & Resorts Inc. (the “Company”) approved an amendment to the Company’s
Second Amended and Restated 2013 Equity Incentive Plan (as amended, the “2013 Plan”) at the Company's Annual Meeting of
Stockholders (the “Annual Meeting”) in accordance with the voting results set forth below under item 5.07.

    The amendment increases the amount of common stock available for issuance under the 2013 Plan by 1,200,000 shares. A
summary of the amendment and the 2013 Plan, as amended, is included in the Company's definitive proxy statement for the Annual
Meeting, which was filed with the Securities and Exchange Commission on March 28, 2023. The summary is incorporated by reference
herein.

ITEM 5.07    SUBMISSION OF MATTERS TO A VOTE OF SECURITIES HOLDERS.

     (a) On May 10, 2023, the Company held its Annual Meeting. As of March 10, 2023, the record date for the Annual Meeting,
there were 84,458,550 shares of voting stock outstanding and entitled to vote, consisting of 66,032,496 shares of common stock,
16,466,721 shares of Series E Preferred Stock and 1,959,333 shares of Series M Preferred Stock. At the Annual Meeting, 61,276,237
shares, or approximately 72.55% of the eligible voting shares, were represented either in person or by proxy.

    (b)   At the Annual Meeting, the stockholders voted on the following items:

    1. Proposal One – To elect eight nominees to the Board of Directors to hold office until the next annual meeting of stockholders
    and until their successors are duly elected and qualified. The following nominees were elected to the Company’s Board of
    Directors (constituting the entire Board of Directors), with the voting results for each nominee as shown:

                                 Name                       For             Withheld            Broker Non-Votes
                       Monty J. Bennett                 34,612,576           6,832,961             19,830,700
                       Stefani D. Carter                29,001,569          12,443,968             19,830,700
                       Candace Evans                    37,717,785          3,727,752              19,830,700
                       Kenneth H. Fearn, Jr.            36,046,273          5,399,264              19,830,700
                       Rebeca Odino-Johnson             36,011,684          5,433,853              19,830,700
                       Matthew D. Rinaldi               37,345,719          4,099,818              19,830,700
                       Richard J. Stockton              37,813,193          3,632,344              19,830,700
                       Abteen Vaziri                    28,347,336          13,098,201             19,830,700


    2. Proposal Two – To obtain advisory approval of the Company’s executive compensation. This proposal was approved by the
    votes indicated below:

                                                                                           Broker Non-
                                       For           Against           Abstain                Votes
                                  36,504,535        3,264,357         1,676,645            19,830,700


    3.    Proposal Three – To ratify the appointment of BDO USA, LLP, a national public accounting firm, as the Company's
    independent auditors for the fiscal year ending December 31, 2023. This proposal was approved by the votes indicated below:

                                                  For             Against        Abstain
                                               58,823,481         907,899     1,544,857


    4. Proposal Four – To approve Amendment No. 4 to the Company’s Second Amended and Restated 2013 Equity Incentive Plan.
    This proposal was approved by the votes indicated below:


                                                                                                                             APP.255
Case 3:24-cv-00707-L      Document 38          Filed 04/15/24   Page 268 of 276   PageID 1535




                                                                Broker Non-
                          For        Against        Abstain        Votes
                       37,529,807   2,299,290      1,616,440    19,830,700




                                                                                            APP.256
      Case 3:24-cv-00707-L              Document 38           Filed 04/15/24           Page 269 of 276           PageID 1536




                                                        SIGNATURES

    Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its
behalf by the undersigned hereunto duly authorized.


                                                           BRAEMAR HOTELS & RESORTS INC.


 Dated: May 10, 2023                                       By:    /s/ Alex Rose
                                                                  Alex Rose
                                                                  Executive Vice President, General Counsel & Secretary




                                                                                                                                 APP.257
Case 3:24-cv-00707-L   Document 38   Filed 04/15/24   Page 270 of 276   PageID 1537




                          EXHIBIT I
Case 3:24-cv-00707-L                   Document 38            Filed 04/15/24            Page 271 of 276              PageID 1538




TABLE OF CONTENTS




                                              UNITED STATES
                                  SECURITIES AND EXCHANGE COMMISSION
                                                     Washington, D.C. 20549
                                                       SCHEDULE 14A
                                            Proxy Statement Pursuant to Section 14(a) of
                                       the Securities Exchange Act of 1934 (Amendment No.)
Filed by the Registrant ☒
Filed by a Party other than the Registrant ☐
Check the appropriate box:
☐    Preliminary Proxy Statement

☐    Confidential, for Use of the Commission Only (as permitted by Rule 14a-6(e)(2))

☒    Definitive Proxy Statement

☐    Definitive Additional Materials

☐    Soliciting Material under §240.14a-12

                                  Braemar Hotels & Resorts Inc.
                                        (Name of Registrant as Specified In Its Charter)

(Name of Person(s) Filing Proxy Statement, if other than the Registrant)
Payment of Filing Fee (Check the appropriate box):
☒    No fee required.
☐    Fee computed on table below per Exchange Act Rules 14a-6(i)(1) and 0-11.
     (1)     Title of each class of securities to which transaction applies:

      (2)     Aggregate number of securities to which transaction applies:

      (3)     Per unit price of other underlying value of transaction computed pursuant to Exchange Act Rule 0-11 (set forth the amount
              on which the filing fee is calculated and state how it was determined):

      (4)     Proposed maximum aggregate value of transaction

      (5)     Total fee paid:

☐     Fee paid previously with preliminary materials.
☐     Check box if any part of the fee is offset as provided by Exchange Act Rule 0-11(a)(2) and identify the filing for which the offset
      fee was paid previously. Identify the previous filing by registration statement number, or the Form or Schedule and the date of its
      filing.
      (1)     Amount Previously Paid:

      (2)     Form, Schedule or Registration Statement No.:

      (3)     Filing Party:

      (4)     Date Filed:




                                                                                                                                     APP.258
Case 3:24-cv-00707-L   Document 38    Filed 04/15/24      Page 272 of 276   PageID 1539




  TABLE OF CONTENTS




 2024 Proxy Statement Annual Meeting of Stockholders




                               Wednesday, May 15, 2024
                            9:00 A.M., Central Daylight Time
                             Braemar Hotels & Resorts Inc.
                           14185 Dallas Parkway, Suite 1200
                                  Dallas, Texas 75254




                                                                                    APP.259
Case 3:24-cv-00707-L                         Document 38                  Filed 04/15/24                  Page 273 of 276                    PageID 1540




TABLE OF CONTENTS




March 28, 2024

Dear Stockholders of Braemar Hotels & Resorts Inc.:

On behalf of the Board of Directors of Braemar Hotels & Resorts Inc., I cordially invite you to attend the 2024 annual meeting of stockholders of the Company,
which will be held at 9:00 A.M., Central Daylight Time, on Wednesday, May 15, 2024 at our offices located at 14185 Dallas Parkway, Suite 1200, Dallas, Texas
75254.

The year started with an unsettling fear of recession hanging over the industry. However, with the support of full employment, our economy continued to
demonstrate growth. The recession never came. But the Fed remained hawkish and pushed up interest rates to quell inflation. And it worked. The COVID-inspired
inflation started to subside and soon we were talking about a pivot to lower interest rates in 2024.

Early in 2023 global travel restrictions were lifted, and Americans started traveling internationally again. Unfortunately, this resulted in some softening of demand
for domestic resorts. But conventions and meetings were back on the calendar as companies started to insist that their employees spend at least some of their
time back in the office. But unfortunately, the work from home trend started a malaise within the office property sector, which now looks to be with us for many
years to come. Values are down as much as 40% and refinancing is proving difficult and costly. Fortunately, these loans do not comprise a high proportion of the
book within our money center banks. Nevertheless, some regional banks will be more acutely impacted. For the lodging industry, the result of this trend has been
slightly lower occupancies, but higher average daily rates, placing RevPAR for the industry solidly above 2019 levels.

In 2023 our portfolio fared well, albeit generating RevPAR and EBITDA results below 2022. 2024 looks to be shaping up nicely, with very strong group pace and an
industry forecast of 4% RevPAR growth across the industry and over 5% for the luxury segment. Expenses continue to be in focus, but will be very manageable,
with unemployment ticking up slightly and having already booked significant increases in property taxes and insurance over the past two years.

Looking at our balance sheet, we have already addressed all of our 2024 debt maturities through a combination of extensions, refinancings and planned
repayments. As we look forward, we anticipate more constructive debt capital markets for lodging, including lower interest costs in the form of lower base rates
and credit spreads.

As always, we will continue to look at ways to fulfill our mission to create and protect stockholder value. Thank you for your continued interest in Braemar. We
encourage you to read this proxy statement carefully and to vote your gold proxy as soon as possible so that your shares will be represented at the meeting.

Sincerely,




Monty J. Bennett
Founder and Chairman of the Board




                                                                                                                                                                APP.260
Case 3:24-cv-00707-L                         Document 38                Filed 04/15/24                     Page 274 of 276          PageID 1541




    TABLE OF CONTENTS




                                             Notice of 2024 Annual Meeting of Stockholders
Meeting Date:                    Wednesday, May 15, 2024

Meeting Time:                    9:00 A.M., Central Daylight Time

Location:                        Braemar Hotels & Resorts Inc.

                                 14185 Dallas Parkway, Suite 1200

                                 Dallas, Texas 75254


Agenda
    1.   Election of eight directors;
    2.   Advisory approval of our executive compensation;
    3.   Ratification of the appointment of BDO USA, P.C. as our independent auditor for 2024; and
    4.   Transaction of any other business that may properly come before the annual meeting.


Record Date
You may vote at the 2024 annual meeting of stockholders the shares of common stock, Series E Preferred Stock and Series M Preferred Stock of which you were
a holder of record at the close of business on March 14, 2024.

Review your proxy statement and vote in one of four ways:
    •    In person: Attend the annual meeting and vote by ballot.
    •    By telephone: Call the telephone number and follow the instructions on your gold proxy card.
    •    Via the internet: Go to the website address shown on your gold proxy card and follow the instructions on the website.
    •    By mail: Mark, sign, date and return the enclosed gold proxy card in the postage paid envelope.


By order of the Board of Directors,




Deric S. Eubanks
Chief Financial Officer

14185 Dallas Parkway, Suite 1200
Dallas, Texas 75254
March 28, 2024




                                                                                                                                                      APP.261
Case 3:24-cv-00707-L       Document 38        Filed 04/15/24      Page 275 of 276       PageID 1542

                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


BRAEMAR HOTELS & RESORTS INC.,

                                         Plaintiff,

                           -against-                                Civil Action No. 3:24-cv-707-L

BLACKWELLS CAPITAL LLC, BLACKWELLS
ONSHORE I, LLC, BLACKWELLS HOLDING CO. LLC,
VANDEWATER CAPITAL HOLDINGS, LLC,
BLACKWELLS ASSET MANAGEMENT LLC, BW
COINVEST MANAGEMENT I LLC, JASON AINTABI,
MICHAEL CRICENTI, JENNIFER M. HILL, BETSY L.
MCCOY, AND STEVEN J. PULLY,

                                         Defendants.




                          DECLARATION OF PAUL SCHULMAN

       My name is Paul Schulman. I am over 21 years old, and the information contained in this

Declaration is based upon my personal knowledge

               1.     I am Senior Managing Director and Co-Head of the M&A and Activism

Advisory Group of Morrow Sodali Global LLC (“Morrow Sodali”), a provider of strategic advice

and shareholder services to corporate clients. Braemar Hotels & Resorts Inc. (“Braemar”) has

retained Morrow Sodali for certain advisory and proxy solicitation services.

               2.     Broadridge Financial Solutions (“Broadridge”) is the proxy mailing and

tabulation agent for a significant majority of banks and brokers holding shares in “street” name on

behalf of the underlying beneficial owners of shares.

               3.     On Thursday, April 11, 2024, Broadridge informed me that Blackwells

Capital LLC’s (“Blackwells”) printed proxy materials had been delivered to Broadridge for



                                                -1-

                                                                                                      APP.262
Case 3:24-cv-00707-L       Document 38        Filed 04/15/24       Page 276 of 276     PageID 1543

mailing and that Blackwells had given instructions to Broadridge to mail the proxy materials to

Braemar’s shareholders with 1,000 shares and up.          Based on information we have from

Broadridge, these accounts hold in the aggregate approximately 66,500,000 Braemar

shares (including common shares, Series E and Series M preferred shares.)

               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of

the United States of America that the foregoing facts are true and correct.

               Executed in New York, New York on April 15, 2024.




                                                 __________________________
                                                 PAUL SCHULMAN




                                                -2-

                                                                                                    APP.263
